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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Public Service Insurance Company,        :
                                         :
                       Plaintiff,        : Docket No.
v.                                       :
                                         : CLASS ACTION COMPLAINT
Janssen Pharmaceuticals, Inc.;           :
Johnson & Johnson, Inc.; Noramco,        : Jury Trial Demanded
Inc.; Ortho-McNeil-Janssen;              :
Pharmaceuticals, Inc.; Janssen           :
Pharmaceutica, Inc.; Cephalon, Inc.;     :
Teva Pharmaceutical Industries, Ltd.;    :
Teva Pharmaceuticals USA, Inc.;          :
Allergan PLC; Actavis Kadian LLC;        :
Watson Pharmaceuticals, Inc.;            :
Actavis Pharma, Inc.; Endo Health        :
Solutions, Inc.; Endo                    :
Pharmaceuticals, Inc. d/b/a Endo         :
Generic Products; Endo International     :
plc; Par Pharmaceutical Companies,       :
Inc. d/b/a Par Pharmaceutical;           :
Richard S. Sackler;                      :
Jonathan D. Sackler; Mortimer D.A.       :
Sackler; Kathe A. Sackler; Ilene         :
Sackler Lefcourt; Beverly Sackler;       :
Theresa Sackler; David A. Sackler;       :
Trust for the Benefit of Members of      :
the Raymond Sackler Family;              :
The P.F. Laboratories, Inc.; Stuart D.   :
Baker; American Academy of Pain          :
Medicine, Inc.; American Geriatrics      :
Society; American Pain Society, Inc.;    :
AmerisourceBergen Drug                   :
Corporation; Bellco Drug Corp.;          :
Cardinal Health, Inc.; Kinray, LLC;      :
McKesson Corporation; Rochester          :
Drug Cooperative, Inc.;                  :
Bellco Drug Corp.; Rochester Drug        :
Cooperative, Inc.; Walgreens Co.; and    :
Walgreens Boots Alliance, Inc.,          :

                    Defendants.
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                            NATURE OF THE ACTION

    1.       Plaintiff Public Service Insurance Company (“Plaintiff”), on behalf of

itself and for all other similarly situated workers’ compensation insurers and self-

insured employers in the United States (including territories and possessions),

which pay for and provide injured workers’ compensation benefits, including

medical treatment, prescription, disability, and death benefits (collectively

“Workers’ Compensation Payors” or the “Class”), brings this action against the

Manufacturing, Front Group, and Distributor Defendants (collectively

“Defendants”), as defined below. The claims and causes of action against

Defendants are based upon Plaintiff’s business records and institutional knowledge

as to matters relating to it, and its losses complained of, and upon information

provided to it from its counsel’s investigation, the findings and reports of

government agencies and industry research organizations, as well as the records,

proceedings, and reports in related legal proceedings brought against the

Defendants and their affiliates, all of which Plaintiff believes to be true.

    2.       Defendants actively misrepresented and/or suppressed material

information about the safety and efficacy of opioid drugs, and/or violated various

duties regarding the distribution of controlled substances, which permitted and

resulted in massive diversions of prescription opiates to enter illicit distribution

channels.




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    3.       Defendants’ activities have harmed many people, families, businesses,

organizations and government bodies, including Plaintiff and other Workers’

Compensation Payors.

    4.       Defendants, individually and in concert, did this to increase the market

for opioid pain medications and to in turn garner tremendous profits, returns on

investments and compensation.

    5.       Central to Defendants’ fraudulent scheme, which resulted in ultimately

generating what public health authorities have declared to be a national opioid

medication epidemic or crisis, was that third-party payors such as Plaintiff, would

pay for these addictive drugs where licensed prescribers wrote a patient a

prescription regardless of what the U.S. Food and Drug Administration (“FDA”)

actually approved them for, which was very limited.

    6.       Defendants did what they did—developed, expanded and maintained a

national market demand for opioid drugs for uses and indications well beyond what

the FDA approved in the drugs’ labelling—because third-party payors would cover

the cost of opioid pain medications if doctors and other licensed health care

providers prescribed them. That Plaintiff and other Workers’ Compensation Payors

would cover the costs of these prescriptions for injured workers who, as is often the

case, developed chronic pain conditions was both the foreseeable and intended

consequence of Defendants’ fraudulent marketing scheme (hereinafter the “Opioid

Marketing Enterprise”). Indeed, the very point of Defendants’ scheme was to obtain

payment for opioid prescriptions from third-party payors such as the Workers’



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Compensation Payors. Indeed, if third-party payors such as Plaintiff and the

Workers’ Compensation Payors Class did not cover the cost of the opioid pain

medications as a prescription benefit, none of the Defendants would have had any

incentive to engage in the multifaceted fraudulent marketing scheme at the heart of

this case.

     7.       While many individuals, families, groups, institutions and government

organizations have been profoundly harmed by the prescription opioid epidemic

besieging our nation, Plaintiff and other Workers’ Compensation Payors are without

question, one group which has been directly, massively, and disproportionately,

financially hard hit by Defendants’ fraudulent marketing and distribution scheme.

     8.       Workers’ Compensation Payors were (and continue to be) forced to

shoulder a wide array of substantial costs relating to the prescription of opioids to

treat injured workers, the payment of which, has and continues to directly and

foreseeably harm Plaintiff and the other Workers’ Compensation Payors.

     9.       Many of the benefits Workers’ Compensation Payors are required to

pay injured workers and/or their families distinguish them from other third-party

payors. In addition to paying for the full cost of the opioid pain medications

themselves (as injured workers do not pay deductibles or co-pays)—an amount

totaling in the millions of dollars for Plaintiff alone—are the medical care costs

associated with multiple doctor/nurse practitioner visits to obtain opioid

prescriptions or for monitoring/testing the injured worker while on the drugs;

treating the injured worker for a wide array of Opioid Use Disorders that come from



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using opioids to treat chronic pain, such as the occurrence of other conditions or

injuries related to taking opioids, addiction treatment, and overdoses. On top of

these medical costs, unlike other third-party payors, Workers’ Compensation Payors

are required to also pay for an array of costly workers’ compensation benefit items

that others affected by the epidemic are not required to bear. These include death

benefit payments to the families or estates of injured workers that sustained

fatalities due to opioid use, and, significantly, the cost of prolonged temporary

disability income benefit payments that must be paid to injured workers when they

are unable to work.

    10.       The longer duration of disability income payments that Workers’

Compensation Payors pay to injured workers that were prescribed opioids to treat

chronic pain from their work injuries is a recognized and demonstrated fact, and

one responsible for the Workers’ Compensation Payors sustaining very substantial

losses. The positive association between opioid drugs and longer duration of workers

disability payments has been scientifically established through statistical studies

conducted by a number of different investigators.

    11.       A 2018 research report published by the Workers’ Compensation

Research Institute (“WCRI”), 1 which investigated whether opioid drug




1The WCRI is an independent, not for profit research organization, dedicated to
providing objective data and analysis to assist stakeholders interested in making
improvements to the workers’ compensation system, including employers, insurers
and labor unions.

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prescriptions alone caused prolonged duration of temporary disability payments,

references a number of them:

         Many studies found longer duration of temporary disability benefits for
         low back pain cases with opioid prescriptions. Compared with workers
         without opioid prescriptions, the studies reported longer duration of
         temporary disability when workers had opioid prescriptions for over
         seven days (Mahmud et al., 2000), when they had more than seven
         days of opioid prescriptions within six weeks after an injury (Franklin
         et al., 2008), when they had more than seven opioid prescriptions
         (Swedlow et al., 2008), when they had any filled prescriptions for
         opioids (Volinn et al., 2009), or when they had opioid prescriptions
         within 15 days of an injury (Webster et al., 2007; Shraim et al., 2015).
         These studies typically found stronger relationships with duration of
         temporary disability for larger numbers of prescriptions or amounts of
         opioids, longer-term filling of opioid prescriptions, or more potent
         opioids (Schedule II versus Schedule III or IV). Similar evidence was
         also reported for a broader sample of workers’ compensation cases.
         Gross et al. (2009) used data on workers’ compensation claims in
         Alberta, Canada, and showed that workers who received early opioid
         prescriptions stayed on disability benefits longer; the exit rate from
         benefits was double for those not prescribed early opioids versus those
         prescribed early opioids. 2

      12.        The results of WCRI’s 2018 study on the impact of opioid prescriptions

on the duration of workers’ disabilities determined that a causal relation existed.

The Institute’s researchers examined data on worker low back injury claims from 28

states and found that longer-term opioid prescriptions resulted in temporary

disability payment durations that were more than triple the duration of claimants

with no opioid medication prescriptions. 3




2Bogdan Savych, et al, The Impact of Opioid Prescriptions on Duration of
Temporary Disability, Workers’ Compensation Research Institute pg. 13 (2018).
3   Id. at 39.

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      13.        Longer worker disability duration has translated into huge amounts of

benefit dollars paid by Plaintiff and other Workers’ Compensation Payors,

especially when other statistics compiled by WCRI on the prevalence of opioid

prescriptions are considered.

      14.        Statistics the WCRI has compiled from workers’ compensation claims

data further demonstrate that opioids were widely prescribed and filled by injured

workers. Approximately 55%–85% of injured workers with more than seven days of

lost time from work received opioids for pain relief 4—and a significant proportion of

these injured workers received opioids on a longer-term basis 5:


      15.        Prescription opioids, which include well-known brand-name drugs like

OxyContin and Percocet, and generics like oxycodone and hydrocodone, are

narcotics. They are derived from or possess properties similar to opium and heroin,

which is why they are regulated as controlled substances. 6 Like heroin, prescription

opioids work by binding to receptors on the spinal cord and in the brain, dampening



4Dongchun Wang, Longer-Term Dispensing of Opioids, 4th Edition, Workers’
Compensation Research Institute pg. 17 (2017).
5   Id. at 13.
6 Since passage of the Controlled Substances Act (“CSA”) in 1970, opioids have been
regulated as “controlled substances”. As controlled substances, they are categorized
in five schedules, ranked in order of their potential for abuse, with Schedule I being
the most dangerous. The CSA imposes a hierarchy of restrictions on prescribing and
dispensing drugs based on their medicinal value, likelihood of addiction or abuse,
and safety. Opioids generally had been categorized as Schedule II or Schedule III
drugs. Schedule II drugs have a high potential for abuse, have a currently accepted
medical use, and may lead to severe psychological or physical dependence. Schedule
III drugs are deemed to have a lower potential for abuse, but their abuse still may
lead to moderate or low physical dependence or high psychological dependence.
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the perception of pain. Opioids also can create a euphoric high, which makes them

highly addictive.

        16.   Addiction is a spectrum of substance use disorders that range from

misuse and abuse of drugs to addiction. 7 Throughout this Complaint, “addiction”

refers to the entire range of substance abuse disorders. Individuals suffer negative

consequences wherever they fall on the substance use disorder spectrum.

        17.   Defendants knew that opioids were effective treatments for short-term

post-surgical and trauma-related pain, and for palliative (end-of-life) care. Yet they

also knew—and had known for years—that opioids were addictive and subject to

abuse, particularly when used long-term for chronic non-cancer pain—that is, pain

lasting three months or longer, hereinafter referred to as “chronic pain”—and

should not be used in those circumstances, except as a last-resort.

        18.   Defendants knew that, barring exceptional circumstances, opioids were

too addictive and too debilitating for long-term use for chronic non-cancer pain

lasting three months or longer.

        19.   Defendants further knew—and had known for years—that with

prolonged use, the effectiveness of opioids in pain management wanes, requiring

increases in dosage, which markedly increases the risk of significant side effects

and addiction.

        20.   Defendants also knew that controlled studies of the safety and efficacy

of opioids were limited to short-term use (not longer than 90 days), and in managed


7   Diagnostic and Statistical Manual of Mental Disorders (5th ed. 2013) (“DSM-V”).

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settings (e.g., hospitals), where the risk of addiction and other adverse outcomes

was much less significant. Indeed, the U.S. Food and Drug Administration (“FDA”)

has expressly recognized that there have been no long-term studies demonstrating

the safety and efficacy of opioids for long-term use.

      21.     In order to expand the market for opioids and realize blockbuster

profits, Defendants needed to create a sea of change in the medical and public

perception of opioids that would permit and lead to their use not just for acute and

palliative care, but also for longer periods of time to treat more common aches and

pains, like those commonly endured by injured workers.

      22.     Defendants, through a sophisticated and highly deceptive and unfair

marketing campaign that began in the late 1990s, set out to and did, in fact, reverse

the popular and medical understanding of opioids. Chronic opioid therapy—the

prescribing of opioids to treat chronic pain long-term—became commonplace, as a

result.

      23.     To accomplish this reversal, Defendants spent hundreds of millions of

dollars: (a) developing and disseminating seemingly truthful scientific and

educational materials and advertising that misrepresented the risks, benefits, and

superiority of opioids long-term use to treat chronic pain; (b) deploying sales

representatives who visited doctors and other prescribers and delivered misleading

messages about the use of opioids; (c) recruiting prescribing physicians as paid

speakers as a means to secure those physicians’ future “brand loyalty” and to

extend their reach to all physicians; (d) funding, assisting, encouraging, and



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directing certain doctors, known as “key opinion leaders” (“KOLs”), to (i) deliver

scripted talks, (ii) draft misleading studies, (iii) present continuing medical

education programs (“CMEs”) that were deceptive and lacked balance, and to (iv)

serve on the boards and committees of professional societies and patient advocacy

groups that delivered messages and developed guidelines supporting chronic opioid

therapy; and (e) funding, assisting, directing, and encouraging seemingly neutral

and credible professional societies and patient advocacy groups (referred to

hereinafter as “Front Groups”) that developed educational materials and treatment

guidelines that were then distributed by Defendants, which urged doctors to

prescribe, and patients to use, opioids long-term to treat chronic pain.

      24.    These efforts were executed, developed, supported, and directed by

Defendants, and designed not to present a fair view of how and when opioids could

be safely and effectively used, but rather to convince doctors, patients and others

that the benefits of using opioids to treat chronic pain outweighed the risks and that

opioids could be used safely by most patients.

      25.    At the heart of these efforts were seven primary misleading and

unfounded representations that Defendants and the third-parties, with which they

teamed, made:

         •   misrepresented that opioids improve function;

         •   concealed the link between long-term use of opioids and addiction;

         •   misrepresented that addiction risk can be managed;

         •   masked the signs of addiction by calling them “pseudoaddiction”;



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         •     falsely claimed withdrawal is easily managed;

         •     misrepresented or omitted the greater dangers from higher doses of

opioids; and

         •     deceptively minimized the adverse effects of opioids and overstated the

risks of NSAIDs.

      26.      Through these misleading and unfounded representations, Defendants

established a new and far broader market for their potent and highly addictive

drugs—the chronic pain market.

      27.      Defendants persuaded doctors, patients and others, that what they had

long understood—that opioids are addictive drugs and unsafe in most circumstances

for long-term use—was untrue, and to the contrary, that the compassionate

treatment of pain required opioids.

      28.      There was, and is, no reliable scientific evidence to support Defendants’

marketing claims. To the contrary, there was, and is, a wealth of scientific evidence

that these claims are simply false.

      29.      Defendants also deceptively and unfairly marketed the drugs for

indications and benefits that were outside of the drugs’ labels and not supported by

substantial evidence.

      30.      Even Defendants’ KOLs were initially very cautious about whether

opioids were appropriate to treat chronic pain. Some of these same KOLs have since

recanted their pro-opioid marketing messages and acknowledged that Defendants’

marketing went too far.



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      31.   Yet despite the voices of renowned pain specialists, researchers, and

physicians who have sounded the alarm on the over-prescription of opioids to treat

chronic pain, Defendants continue even today, to offer their misleading and unfair

marketing claims to justify and defend their conduct and activities.

      32.   Defendants’ efforts were wildly successful in expanding opioid abuse:

the United States is now awash in opioids.

      33.   In 2012, health care providers wrote 259 million prescriptions for opioid

painkillers—enough to medicate every adult in America around the clock for a

month.

      34.   Twenty percent of all doctors’ visits in 2010 resulted in the prescription

of an opioid, nearly double the rate in 2000.

      35.   Opioids—once a niche drug—are now the most prescribed class of

drugs—more than blood pressure, cholesterol, or anxiety drugs.

      36.   While Americans represent only 4.6% of the world’s population, they

consume 80% of the opioids supplied around the world and 99% of the global

hydrocodone supply.

      37.   Together, opioids generated $8 billion in revenue for drug companies in

2012. And by 2015, sales of opioids grew further to approximately $9.6 billion. 8




8David Crow, Drugmakers hooked on $10bn opioid habit, Financial Times (August
10, 2016).

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      38.   As had been reported by CompPharma, LLC and the Wall Street

Journal, Workers’ Compensation Payors spent $ 1.54 billion on opioids in 2015,

which amounted to 13% of all spending on opioids in the United States that year. 9

      39.   It was Defendants’ marketing—and not any medical breakthrough—

that spurred the spike in prescribing opioids for chronic pain and opened the

floodgates of opioid use and abuse. The result has been catastrophic in human,

social and financial terms.

      40.   Indeed, the National Institutes of Health (“NIH”) not only recognizes

the opioid abuse problem, but also identifies Defendants’ “aggressive marketing” as

a major cause: “Several factors are likely to have contributed to the severity of the

current prescription drug abuse problem. They include drastic increases in the

number of prescriptions written and dispensed, greater social acceptability for using

medications for different purposes, and aggressive marketing by

pharmaceutical companies.” 10 As shown herein, the “drastic increases in the

number of prescriptions written and dispensed” and the “greater social acceptability

for using medications for different purposes” are not really independent causative



9 Prescription Drug Management in Workers’ Compensation, CompPharma, LLC
(2016), available at https://comppharma.com/wp-content/uploads/2016/10
/2016CompPharmaPharmacySurvey.Final_.pdf (accessed on November 14, 2019);
Rachel Emma Silverman, Targeting Opioid Use When Workers Get Hurt, Wall
Street Journal (Nov. 15, 2016), available at https://www.wsj.com/articles/targeting-
opioid-use-when-workers-get-hurt-1479205803 (accessed on December 4, 2019).
10America’s Addiction to Opioids: Heroin and Prescription Drug Abuse. Available at
http://www.drugabuse.gov/about-nida/legislative-activities/testimony-to-
congress/2015/americas-addiction-to-opioids-heroin-prescription-drug-abuse#_ftn2
(accessed November 13, 2019) (emphasis added).

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factors but are in fact the direct result of “the aggressive marketing by

pharmaceutical companies.”

      41.       According to the U.S. Centers for Disease Control and Prevention

(“CDC”), the nation has been swept up in an opioid-induced “public health

epidemic.” 11

      42.       Prescription opioid use contributed to 16,651 overdose deaths

nationally in 2010; 16,917 in 2011; and 16,007 in 2012. One Defendant’s 2010

internal data shows that it knew that the use of prescription opioids gave rise to

40% of drug-related emergency department visits in 2010 and 40% of drug

poisoning deaths in 2008, and that the trend of opioid poisonings was increasing

from 1999-2008.

      43.       Defendants’ actions resulted in tremendous numbers of injured workers

throughout the country routinely being prescribed opiates for pain relief, which

Plaintiff and other Workers’ Compensation Payors paid for as they were obligated to

by workers’ compensation laws and their policies.

      44.       Because Defendants’ engaged in both branded and unbranded

marketing to expand the chronic pain market, Defendants are responsible for not

only increasing the demand for opioid pain prescriptions for their own medications,

but also those of the other Manufacturing Defendants, as well. Therefore, having

engaged in unbranded marketing, Defendants are collectively responsible for



11CDC, Examining the Growing Problems of Prescription Drug and Heroin Abuse
(Apr. 29, 2014), http://www.cdc.gov/washington/testimony/2014/t20140429.htm
(accessed November 13, 2019).
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Plaintiff and the other Workers’ Compensation Payors’ damages resulting from all

opioid pain medications that were prescribed in connection with the treatment of

the injured workers’ injuries and not for acute pain, surgical recovery, cancer

treatment, or end-of-life palliative care. 12


      45.      Defendants’ actions are not permitted or excused by the fact that their

labels may have allowed, or did not exclude, the use of opioids for chronic non-

cancer pain.


      46.      The FDA’s approval moreover did not give Defendants license to

misrepresent the risks, benefits, or superiority of opioids.


      47.      Indeed, what makes Defendants’ efforts particularly nefarious—and, in

fact, dangerous—is that, unlike other prescription drugs marketed unlawfully in

the past, opioids are highly addictive controlled substances.


      48.      Defendants thus deceptively and unfairly engaged a patient base that—

physically and psychologically—could not turn away from their drugs, many of

whom were not helped by the drugs and/or were profoundly damaged by them.




12Joe Paduda, Workers com’s top problem drug, Managed Care Matters (Sept. 27,
20016), available at https://www.joepaduda.com/2006/09/27/workers_comps_t_1/
(accessed December 11, 2019); Stephanie Goldberg, Workers comp sector seeks to
curb off-label drug use, Business Insurance (Jan. 18, 2015), available at
https://www.businessinsurance.com/article/00010101/NEWS08/301189979/Workers-
comp-sector-seeks-to-curb-off-label-drug-use (accessed December 11, 2016).

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      49.     Defendants’ causal role is not broken by the involvement of doctors who

prescribed their medications.

      50.     Defendants’ marketing efforts were both ubiquitous and highly

persuasive; their deceptive messages tainted virtually every source that doctors

could rely on for information and prevented them from making informed treatment

decisions.

      51.     Defendants targeted not only pain specialists, but also primary care

physicians (“PCPs”), nurse practitioners, physician assistants, and other non-pain

specialists who were even less likely to be able to assess the companies’ misleading

statements.

      52.     Defendants were also able to callously manipulate what doctors wanted

to believe—namely, that opioids represented a means of relieving their patients’

suffering and of practicing medicine more compassionately.

   53.        Because of the misinformation campaign by Defendants, claimants and

their doctors have been deprived of their chance to exercise informed judgment. As

a direct and foreseeable result, Plaintiff and other Workers’ Compensation Payors

have been left to pay for medically unnecessary opioid pain medications—i.e., not

for acute pain, surgical recovery, cancer treatment, or end-of-life palliative care—

and the attendant costs, including those for opioid addiction treatment as well as

disability and death benefits, and thus, have been substantially harmed because of

Defendants’ fraud.




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                             JURISDICTION AND VENUE

   54.          This Court has subject-matter jurisdiction under 28 U.S.C. § 1331 and

28 U.S.C. § 1362 because this action presents a federal question.

   55.          This Court has supplemental jurisdiction over the state-law causes of

action under 28 U.S.C. § 1367 because the state-law claims are part of the same

case or controversy.

        56.     This Court has personal jurisdiction over all Defendants because each

Defendant has substantial contacts and business relationships with Pennsylvania,

including consenting to be sued in Pennsylvania by registering an agent for service

of process and/or obtaining a distributor license, and has purposefully availed itself

of business opportunities in Pennsylvania, including by marketing, distributing, or

selling prescription opioids in Pennsylvania.

        57.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391(b)(1)

and 1391(b)(2) because numerous Defendants, as described above, reside in, are

headquartered in, and/or conduct business in, this judicial district, and because a

substantial part of the acts or omissions giving rise to the claims set forth herein

occurred in this judicial district, or were directed and controlled from within this

judicial district.


                                         PARTIES

   I.         Plaintiff.

        58.     Plaintiff Public Service Insurance Company (“Plaintiff” or “PSIC”) is a

property/casualty insurance company incorporated under the laws of Illinois and


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headquartered in New York. It is licensed to write insurance throughout the United

States. At all material times herein, it has provided and paid for workers’

compensation benefits to injured claimants throughout the United States, including

to injured workers who were prescribed opioid medications that are at issue in this

case in California, Connecticut, Illinois, Massachusetts, New Jersey, New York, and

Pennsylvania. PSIC has also incurred substantial costs and losses for treating

opioid use disorders and for prolonged temporary disability payments resulting

from its injured claimants’ prescriptions and use of opioids to treat or alleviate

chronic non-cancer chronic pain.

         59.     Plaintiff PSIC assumed the assets and liabilities, including the workers’

compensation policies, of Paramount Insurance Company (“PMT”), a New York

headquartered property and casualty company, through a merger in 2016. PMT,

like PSIC, provided (and continues to provide) workers’ compensation benefits to

injured workers on behalf of its insured employers.

   II.         Defendants.

               A. Manufacturing Defendants.

         60.     Janssen Pharmaceuticals, Inc. (“Janssen”) is a Pennsylvania

corporation with its principal place of business in Titusville, New Jersey, and is a

wholly owned subsidiary of Johnson & Johnson, Inc. (“Johnson & Johnson”), a New

Jersey corporation with its principal place of business in New Brunswick, New

Jersey.

         61.     Johnson & Johnson is the only company that owns over 10 percent of

Janssen’s stock, and the company corresponds with the FDA regarding Janssen’s
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products. Johnson & Johnson controls the sale and development of Janssen’s drugs,

and Janssen’s profits inure to Johnson & Johnson’s benefit.

      62.    Noramco, Inc. (“Noramco”) is a Delaware company headquartered in

Wilmington, Delaware, and was a wholly owned subsidiary of Johnson & Johnson

until July 2016.

      63.    Ortho-McNeil-Janssen Pharmaceuticals, Inc. (“Ortho-McNeil-Janssen”)

and Janssen Pharmaceutica, Inc., (“Janssen Pharmaceutica”) are both

Pennsylvania corporations with their principal places of business in Titusville, New

Jersey. Both are now known as Janssen Pharmaceuticals, Inc. These entities—

Janssen, Johnson & Johnson, Noramco, Ortho-McNeil-Janssen, and Janssen

Pharmaceutica—are collectively referred to herein as “Janssen” unless otherwise

specified.

      64.    At all times relevant hereto, Defendant Janssen conducted substantial

and continuous business in Pennsylvania, including the marketing, selling, and

distribution of its opioid drugs to claimants in Pennsylvania

      65.    Janssen manufactures, sells, and distributes a range of medical devices

and pharmaceutical drugs to the claimants of Plaintiff and the Workers’

Compensation Payors, and the rest of the nation, including Duragesic (fentanyl),

which is a Schedule II opioid agonist transdermal patch first approved in 1990 and

indicated for the “management of pain in opioid-tolerant patients, severe enough to

require daily, around-the-clock, long-term opioid treatment and for which

alternative treatment options are inadequate.”



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      66.     Until January 2015, Janssen also developed, marketed, and sold

Nucynta and Nucynta ER:

            (a) Nucynta ER (tapentadol extended release) is a Schedule II opioid

agonist tablet first approved in 2011 and indicated for the “management of pain

severe enough to require daily, around-the-clock, long-term opioid treatment and for

which alternative treatment options are inadequate.” Prior to April 2014, Nucynta

ER was indicated for the “management of moderate to severe chronic pain in adults

[and] neuropathic pain associated with diabetic peripheral neuropathy (DPN) in

adults.” The DPN indication was added in August 2012.

            (b) Nucynta (tapentadol) is a Schedule II opioid agonist tablet and oral

solution first approved in 2008 and indicated for the “relief of moderate to severe

acute pain in patients 18 years of age or older.”

            (c) Together, Nucynta and Nucynta ER accounted for $172 million in sales

in 2014. 13 Prior to 2009, Duragesic accounted for at least $1 billion in annual sales.

      67.     Cephalon, Inc. (“Cephalon”) is a Delaware corporation with its principal

place of business in Frazer, Pennsylvania. Teva Pharmaceutical Industries, Ltd.

(“Teva Ltd.”) is an Israeli corporation with its principal place of business in Petah

Tikva, Israel. Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a Delaware




13http://www.prnewswire.com/news-releases/depomed-announces-closing-of-
acquisition-of-us-rights-to-nucynta-tapentadol-nucynta-er-tapentadol-extended-
release-tablets-and-nucynta-tapentadol-oral-solution-from-janssen-
pharmaceuticals-inc-for-105-billion-300060453.html (accessed November 18, 2019)

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corporation and wholly owned subsidiary of Teva Ltd. with its principal place of

business in Montgomery County, Pennsylvania. Teva Ltd. and Teva USA acquired

Cephalon in 2011. Teva Ltd. directs the business practices of Cephalon, and Teva

USA, and their profits inure to the benefit of Teva Ltd. as controlling shareholder.

These three entities—Teva Ltd., Teva USA, and Cephalon—are referred to as

“Cephalon” herein, unless otherwise specified.

         (a) At all times relevant hereto, Defendant Cephalon conducted

substantial and continuous business in Pennsylvania, including the marketing,

selling, and distribution of its opioid drugs to claimants in Pennsylvania

         (b) Cephalon has been in the business of manufacturing, selling, and

distributing the following opioids, nationally and on information and belief,

specifically to claimants of Workers’ Compensation Payors:

          (i) Actiq (fentanyl citrate) is a Schedule II opioid agonist lozenge (lollipop)

first approved in 1998 and indicated for the “management of breakthrough cancer

pain in patients 16 years of age and older who are already receiving and who are

tolerant to opioid therapy for their underlying persistent cancer pain.”

         (ii) Fentora (fentanyl citrate) is a Schedule II opioid agonist buccal tablet

(similar to plugs of smokeless tobacco) first approved in 2006 and indicated for the

“management of breakthrough pain in cancer patients 18 years of age and older

who are already receiving and who are tolerant to around-the-clock opioid therapy

for their underlying persistent cancer pain.”




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      68.   Allergan PLC (“Allergan”) is a public company incorporated in Ireland

with its principal place of business in Dublin, Ireland. Actavis Kadian LLC

(“Actavis Kadian”) is a Delaware corporation and subsidiary of Allergan, with its

principal place of business in Morristown, New Jersey.

      69.   Actavis Elizabeth, LLC (“Actavis Elizabeth”) is a Delaware corporation

with its principal place of business in Elizabeth, New Jersey. Actavis PLC is a

Delaware limited liability company with its principal place of business in

Parsippany, New Jersey.

      70.   Actavis PLC acquired Allergan in March 2015, and the company took

the Allergan name. Before that, Watson Pharmaceuticals, Inc. (“Watson

Pharmaceuticals”) acquired Actavis PLC in October 2012.

      71.   Watson Laboratories, Inc. (“Watson Labs”) is a Nevada corporation

with its principal place of business in Corona, California, and is a wholly-owned

subsidiary of Allergan. Actavis Pharma, Inc. (“Actavis Pharma”) is a Delaware

corporation with its principal place of business in New Jersey, and was formerly

known as Watson Pharma, Inc.

      72.   Prior to 2016, Allergan was the corporate parent of Actavis, Actavis

PLC, Actavis Pharma, Actavis Elizabeth, Actavis Kadian, Watson Pharmaceuticals,

and Watson Labs (together, the “Actavis Generics”).

      73.   In 2016, Teva USA wholly acquired the Actavis Generics. Teva Ltd.

now exercises control over these marketing and sales efforts, and the Actavis




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Generics products ultimately inure to its benefit. The Actavis Generics are referred

to as “Actavis” herein, unless otherwise specified.

              (a) At all times relevant hereto, Defendant Actavis conducted substantial

and continuous business in Pennsylvania, including the marketing, selling, and

distribution of its opioid drugs to claimants in Pennsylvania

              (b) Actavis engages in the business of marketing and selling opioids to the

claimants of Plaintiff and the Workers’ Compensation Payors, and across the

country, including the branded drugs Kadian and Norco, a generic version of

Kadian, and generic versions of Duragesic and Opana. Kadian (morphine sulfate

extended release) is a Schedule II opioid agonist capsule first approved in 1996 and

indicated for the “management of pain severe enough to require daily, around-the-

clock, long-term opioid treatment and for which alternative treatment options are

inadequate.”

              (c) Prior to April 2014, Kadian was indicated for the “management of

moderate to severe pain when a continuous, around-the-clock opioid analgesic is

needed for an extended period of time.” Actavis acquired the rights to Kadian from

King Pharmaceuticals, Inc., on December 30, 2008 and began marketing Kadian in

2009.

        74.     Endo Health Solutions, Inc. (“Endo Health Solutions”) is a Delaware

corporation with its principal place of business in Malvern, Pennsylvania. Endo

Pharmaceuticals, Inc. d/b/a Endo Generic Products (“Endo Pharmaceuticals”) is a

wholly owned subsidiary of Endo Health Solutions and is a Delaware corporation



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with its principal place of business in Malvern, Pennsylvania. Endo International

PLC is an Irish public limited company, with its U.S. headquarters in Malvern,

Pennsylvania.

      75.      Par Pharmaceutical Companies, Inc. d/b/a Par Pharmaceutical (“Par

Pharmaceutical”) is a Delaware corporation with its principal place of business in

Chestnut Ridge, New York.

      76.      Endo Health Solutions acquired Par Pharmaceutical in September

2015. Endo Health Solutions now exercises control over these marketing and sales

efforts, and the Par Pharmaceutical products ultimately inure to its benefit. Endo

Health Solutions, Endo Pharmaceuticals, Endo International PLC and Par

Pharmaceutical are collectively referred to herein as “Endo,” unless otherwise

specified.

             (a) At all times relevant hereto, Defendant Endo conducted substantial

and continuous business in Pennsylvania, including the marketing, selling, and

distribution of its opioid drugs to claimants in Pennsylvania

             (b) Endo develops, markets, and sells prescription drugs, including the

following opioids nationally and specifically to claimants of Plaintiff and the

Workers’ Compensation Payors:

             (i) Opana ER (oxymorphone hydrochloride extended release) is a Schedule

II opioid agonist tablet first approved in 2006 and indicated for the “management of

pain severe enough to require daily, around-the-clock, long-term opioid treatment

and for which alternative treatment options are inadequate.” Prior to April 2014,


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Opana ER was indicated for the “relief of moderate to severe pain in patients

requiring continuous, around-the-clock opioid treatment for an extended period of

time.”

           (ii) On June 8, 2017, the FDA requested that Endo Pharmaceuticals

remove its opioid medication, reformulated Opana ER (oxymorphone hydrochloride),

from the market. 14

          (iii) Opana (oxymorphone hydrochloride) is a Schedule II opioid agonist

tablet first approved in 2006 and indicated for the “relief of moderate to severe

acute pain where the use of an opioid is appropriate.”

          (iv) Percodan (oxycodone hydrochloride and aspirin) is a Schedule II opioid

agonist tablet first approved in 1950 and first marketed by Endo in 2004 and

indicated for the “management of moderate to moderately severe pain.”

           (v) Percocet (oxycodone hydrochloride and acetaminophen) is a Schedule II

opioid agonist tablet first approved in 1999 and first marketed by Endo in 2006 and

indicated for the “relief of moderate to moderately severe pain.”

           (c) Opioids made up roughly $403 million of Endo’s overall revenues of $3

billion in 2012. Opana ER yielded revenue of $1.15 billion from 2010 to 2013, and

alone accounted for 10% of Endo’s total revenue in 2012. Endo also manufactures

and sells generic opioids nationally and specifically to the claimants of Plaintiff and


14Press Release, U.S. Food & Drug Admin., FDA Requests Removal of Opana ER for
Risks Related to Abuse, (June 8, 2017),
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.

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the Workers’ Compensation Payors, both itself and through its subsidiary, Qualitest

Pharmaceuticals, Inc., including generic oxycodone, oxymorphone, hydromorphone,

and hydrocodone products.

      77.   On September 15, 2019 Purdue Pharma L.P. (“Purdue L.P.”), a limited

partnership organized under the laws of Delaware with its principal place of

business in Stamford, Connecticut, filed a petition for Bankruptcy protection under

Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

Southern District of New York, docketed as Case No. 19-23649. In addition to

Purdue L.P., the following affiliated or related companies to Purdue L.P. filed

petitions for Bankruptcy protection under Chapter 11 of the Bankruptcy Code in the

Southern District of New York which are being jointly administered: Purdue

Pharma Inc., (“Purdue Inc.”), Purdue Transdermal Technologies L.P., Purdue

Pharma Manufacturing L.P., Purdue Pharmaceuticals L.P., Imbrium Therapeutics

L.P., Adlon Therapeutics L.P., Greenfield BioVentures L.P., Seven Seas Hill Corp.,

Ophir Green Corp., Purdue Pharma of Puerto Rico, Avrio Health L.P., Purdue

Pharmaceutical Products L.P., Purdue Neuroscience Company, Nayatt Cove

Lifescience Inc., Button Land L.P., Rhodes Associates L.P., Paul Land Inc.,

Quidnick Land L.P., Rhodes Pharmaceuticals L.P., Rhodes Technologies, UDFLP,

SVC Pharma LP, and SVC Pharma Inc. (collectively the “Bankrupt Purdue

Companies”). Due to the automatic stay imposed by Section 362 of the Bankruptcy

Code, none of the potentially responsible Bankrupt Purdue Companies are joined as

a defendant.



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      78.   Purdue L.P. is the main operating entity for the Purdue

Pharmaceutical enterprise. It is, and was, at all times material herein, managed

and operated by its general partner, Purdue Inc., which in turn is and was governed

by Purdue Inc.’s Board of Directors. Purdue L.P. and its affiliates and subsidiaries

are owned by various trusts for the benefit of members of the two Sackler Families

who together are identified below and named as constituents of the “Purdue-Related

Additional Defendants”.

      79.   Pursuant to a November 6, 2019 Order of the United States

Bankruptcy Court for the Southern District of New York, a preliminary injunction

was entered pursuant to § 105(a) of the Bankruptcy Code and Rule 7065 of the

Bankruptcy Rules as to the Purdue-Related Additional Defendants named herein

with respect to cases then filed and pending, which this matter is not one and

accordingly, they may and have been named and joined herein as co-defendants in

this matter. In entering that Order, the Bankruptcy Court found that the

representatives of the Raymond Sackler and the Mortimer Sackler families agreed

on the record “to toll all applicable statutes of limitations and similar time limits on

the commencement of Additional Actions against any member of the Sackler

Families . . . for the duration of this preliminary injunction.” Docket No. 19-08289,

Doc. 105. The Order further provides that Bankruptcy Court reserved discretion to

extend its injunction to subsequently filed “Additional Actions”.

      80.   Purdue Inc., the managing general partner of Purdue L.P. is a New

York corporation with its principal place of business in Stamford, Connecticut. The



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Purdue Frederick Company Inc. (“Purdue Frederick”), which did not file a

bankruptcy petition, is named herein as a defendant, is a New York corporation

with its principal place of business in Stamford, Connecticut. Rhodes

Pharmaceuticals, L.P. (“Rhodes”), which did file a bankruptcy petition is subject to

Bankruptcy Code §362 stay and accordingly is not named herein as defendant, is a

limited partnership organized under the laws of Delaware with its principal place of

business in Coventry, Rhode Island. These four entities are collectively referred to

herein as “Purdue” unless otherwise specified.

          (a) At all times relevant hereto, Purdue conducted substantial and

continuous business in Pennsylvania, including the marketing, selling, and

distribution of its opioid drugs to claimants in Pennsylvania

          (b) Purdue is and was primarily engaged in the manufacture, promotion,

sale, and distribution of opioids including the following:

          (i) OxyContin (oxycodone hydrochloride extended release) is a Schedule II

opioid agonist 15 tablet first approved in 1995 and indicated for the “management of

pain severe enough to require daily, around-the-clock, long-term opioid treatment

and for which alternative treatment options are inadequate.” Prior to April 2014, 16


15An opioid agonist is a drug that activates certain opioid receptors in the brain. An
antagonist, by contrast, blocks the receptor and can also be used in pain relief or to
counter the effect of an opioid overdose.
16The labels for OxyContin and other long-acting opioids were amended in response
to a 2012 citizens’ petition to FDA by doctors. The changes were intended to clarify
the existing obligation to “make an individualized assessment of patient needs.” The
petitioners also successfully urged that the revised labels heighten the
requirements for boxed label warnings related to addiction, abuse, and misuse by
changing “Monitor for signs of misuse, abuse, and addiction” to “[Drug name]
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OxyContin was indicated for the “management of moderate to severe pain when a

continuous, around-the- clock opioid analgesic is needed for an extended period of

time.”

           (ii) MS Contin (morphine sulfate extended release) is a Schedule II opioid

agonist tablet first approved in 1987 and indicated for the “management of pain

severe enough to require daily, around-the-clock, long-term opioid treatment and for

which alternative treatment options are inadequate.” Prior to April 2014, MS

Contin was indicated for the “management of moderate to severe pain when a

continuous, around-the-clock opioid analgesic is needed for an extended period of

time.”

          (iii) Dilaudid (hydromorphone hydrochloride) is a Schedule II opioid

agonist first approved in 1984 (injection) and 1992 (oral solution and tablet) and

indicated for the “management of pain in patients where an opioid analgesic is

appropriate.”

          (iv) Dilaudid-HP (hydromorphone hydrochloride) is a Schedule II opioid

agonist injection first approved in 1984 and indicated for the “relief of moderate-to-

severe pain in opioid-tolerant patients who require larger than usual doses of

opioids to provide adequate pain relief.”




exposes users to risks of addiction, abuse, and misuse, which can lead to overdose
and death.” Letter from Bob Rappaport, Dir. Ctr. for Drug Evaluations & Res.,
Labeling Supplement and PMR [Post-Marketing Research] Required (Sept. 10,
2013), http://www.fda.gov/downloads/Drugs/DrugSafety/InformationbyDrugClass/
UCM367697.pdf (accessed November 12, 2019).
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           (v) Butrans (buprenorphine) is a Schedule III opioid partial agonist

transdermal patch first approved in 2010 and indicated for the “management of

pain severe enough to require daily, around- the-clock, long-term opioid treatment

and for which alternative treatment options are inadequate.” Prior to April 2014,

Butrans was indicated for the “management of moderate to severe pain when a

continuous, around-the-clock opioid analgesic is needed for an extended period of

time.”

          (vi) Hysingla ER (hydrocodone bitrate) is a Schedule II opioid agonist

tablet first approved in 2014 and indicated for the management of pain severe

enough to require daily, around-the-clock, long-term opioid treatment and for which

alternative treatment options are inadequate.

          (vii) Targiniq ER (oxycodone hydrochloride and naloxone hydrochloride) is a

Schedule II combination product of oxycodone, an opioid agonist, and naloxone, an

opioid antagonist, first approved in 2014 and indicated for the management of pain

severe enough to require daily, around-the-clock, long-term opioid treatment and for

which alternative treatment options are inadequate.

           (c) The Purdue-Related Additional Defendants are entities and

individuals associated with Purdue L.P., Purdue Inc., and The Purdue Frederick

Company, Inc. These three entities are members of a worldwide group of associated

companies all of which are owned and controlled, directly or indirectly through

family trusts and holding companies, 50% by the widow and descendants of

Mortimer D. Sackler (“Mortimer Sackler Family”) and 50% by the widow and

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descendants of Raymond R. Sackler (“Raymond Sackler Family”) (together the

Mortimer Sackler Family and the Raymond Sackler Family are referred to as the

“Sackler Families”). At all relevant times, the Sackler Families jointly managed and

controlled all of the associated companies that the two families owned through

trusts and holding companies. Each of the Purdue-related individuals and entities

named herein as Additional Defendants knowingly aided, abetted, participated in,

and benefitted from the wrongdoing of Purdue as alleged in the Complaint; none is

named merely because of his, her, or its status as a shareholder, limited partner,

member of a limited liability company, or beneficiary of a trust.

          (d) At all times relevant hereto, the Purdue-Related Additional

Defendants conducted substantial and continuous business in Pennsylvania,

including the marketing, selling, and distribution of its opioid drugs to claimants in

Pennsylvania

          (e) Purdue has been sued by many plaintiffs for the role it played in

creating the prescription opioid epidemic. The Purdue entities originally and now in

Bankruptcy lacked sufficient assets to satisfy their liabilities to those plaintiffs,

other creditors, Plaintiff, and members of the Class herein because billions of

dollars of profits from the Purdue enterprise’s sale of opioids has been distributed to

the Sackler Families since the 1980s. Accordingly, Plaintiff is joining as defendants

the following members of the Sackler Families and their controlled entities who

knowingly participated in the wrongdoing of Purdue as alleged in this Complaint,

and who knowingly received the benefits of that wrongdoing:



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          (i) Defendant Richard S. Sackler resides in Travis County, Texas. He is a

son of Raymond Sackler and, beginning in the 1990’s, served as a member of the

Board of Directors of Purdue and Purdue-related entities.

         (ii) Defendant Jonathan D. Sackler resides in Fairfield County,

Connecticut. He is a son of Raymond Sackler and has been a member of the Board

of Directors of Purdue and Purdue-related entities since the 1990s.

        (iii) Defendant Mortimer D.A. Sackler resides in New York County, New

York. He is the son of Mortimer Sackler and has been a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.

         (iv) Defendant Kathe A. Sackler resides in Fairfield County, Connecticut.

She is the daughter of Mortimer Sackler and has served as a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.

         (v) Defendant Ilene Sackler Lefcourt resides in New York County, New

York. She is the daughter of Mortimer Sackler and has served as a member of the

board of directors of Purdue and Purdue-related entities since the 1990s.

         (vi) Defendant Beverly Sackler resides in Fairfield County, Connecticut.

She is the widow of Raymond Sackler and has served as a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.

        (vii) Defendant Theresa Sackler resides in New York County, New York.

She is the widow of Mortimer Sackler and has served as a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.


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        (viii) Defendant David A. Sackler resides in New York County, New York.

He is the son of Richard Sackler (the grandson of Raymond Sackler) and has served

as a member of the board of directors of Purdue and Purdue-related entities since

2012.

         (ix) Defendant Rhodes Pharmaceuticals Inc. (“Rhodes Pharma Inc.”) is a

New York corporation formed on November 9, 2007. Rhodes Pharma Inc. is a

general partner of Rhodes Pharma. At all relevant times, Rhodes Pharma Inc. has

marketed a generic form of OxyContin which is manufactured by PPNC.

          (x) Defendant Trust for the Benefit of Members of the Raymond Sackler

Family (the “Raymond Sackler Trust”) is a trust of which Defendants Beverly

Sackler, Richard S. Sackler, and/or Jonathan D. Sackler are trustees. It is the 50%

direct or indirect beneficial owner of Purdue and the Purdue-related Additional

Defendants and the recipient of 50% of the profits from the sale of opioids by

Purdue and the Purdue-related Additional Defendants.

         (xi) Defendant The P.F. Laboratories, Inc. (“PF Labs”) is a New Jersey

corporation with its principal place of business located in Totowa, New Jersey. It

was, at relevant times, engaged in the business of manufacturing OxyContin for

Purdue. At all relevant times, PF Labs has been beneficially owned, managed, and

controlled by Defendant Sackler Family members.

         (xii) Defendant Stuart D. Baker is a natural person residing in Suffolk

County, New York. He has served as a senior executive of, and/or counsel to,



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Purdue, Purdue-related entities, and members of the Sackler Families since the

1990s.

      81.     Actavis, Cephalon, Endo, Janssen, and the Purdue-Related Additional

Defendants as described above are collectively referred to as the “Manufacturing

Defendants”.

            B. Front Group Defendants.

      82.     The American Academy of Pain Medicine, Inc. (“AAPM”) is a 501(c)(6)

tax exempt organization with its principal place of operation in Chicago, Illinois.

According to one of its more recent Form 990 filings with the Internal Revenue

Service, AAPM’s purpose is to “optimize the health of patients and eliminate the

major public health problem of pain by advancing the practice and the specialty of

pain medicine.”

            (a) At all times relevant hereto, Defendant AAPM conducted substantial

and continuous business in Pennsylvania, including the marketing and promotion

of opioid drugs in Pennsylvania.

      83.     The American Geriatrics Society (“AGS”) is a 501(c)(3) tax exempt

organization with its principal place of operations in New York, New York.

According to its more recent Form 990 filing with the Internal Revenue Service,

AGS’s purpose is to “[i]mprove the health, independence[, and] quality of life of all

older people[.]”




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             (a) At all times relevant hereto, Defendant AGS conducted substantial

and continuous business in Pennsylvania, including the marketing and promotion

of opioid drugs in Pennsylvania.

       84.     The American Pain Society, Inc. (“APS”) is a 501(c)(3) tax exempt

organization with its principal place of operations in Chicago, Illinois. According to

one of its more recent Form 990 filings with the Internal Revenue Service, APS’s

purpose is to “increase the knowledge of pain and transform public policy and

clinical practice.”

             (a) At all times relevant hereto, Defendant APS conducted substantial and

continuous business in Pennsylvania, including the marketing and promotion of

opioid drugs in Pennsylvania.

       85.     AAPM, AGS and PSA are collectively referred to as the “Front Group

Defendants”.

             C. Distributor Defendants.

       86.     AmerisourceBergen Corporation (“AmerisourceBergen”) is a Delaware

corporation with its principal place of business located in Chesterbrook,

Pennsylvania. AmerisourceBergen operates a distribution center in Romeoville,

Illinois.

             (a) At all times relevant hereto, Defendant AmerisourceBergen conducted

substantial and continuous business in Pennsylvania, including the sale and

distribution of opioid drugs to claimants in Pennsylvania.




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      87.     Bellco Drug Corp. (“Bellco”) is a New York Corporation with its

principal place of business in Amityville, New York. Bellco is a subsidiary of

AmeriSource.

            (a) At all times relevant hereto, Defendant Bellco conducted substantial

and continuous business in Pennsylvania, including the sale and distribution of

opioid drugs to claimants in Pennsylvania.

      88.     Cardinal Health, Inc. (“Cardinal Health”) is an Ohio corporation with

its principal office location in Dublin, Ohio. Cardinal Health operates distribution

centers in Aurora and Waukegan, Illinois.

            (a) At all times relevant hereto, Defendant Cardinal Health conducted

substantial and continuous business in Pennsylvania, including the sale and

distribution of opioid drugs to claimants in Pennsylvania.

      89.     Kinray, LLC (“Kinray”) is a New York corporation with its principal

place of business in Whitestone, New York.

            (a) At all times relevant hereto, Defendant Kinray conducted substantial

and continuous business in Pennsylvania, including the sale and distribution of

opioid drugs to claimants in Pennsylvania.

            (b) Kinray is a subsidiary of Cardinal Health.

      90.     McKesson Corporation (“McKesson”) is a Delaware corporation with its

principal place of business in San Francisco, California. McKesson operates a

distribution center in Aurora, Illinois.




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            (a) At all times relevant hereto, Defendant McKesson conducted

substantial and continuous business in Pennsylvania, including the sale and

distribution of opioid drugs to claimants in Pennsylvania.

      91.     Together, AmerisourceBergen, Cardinal Health, and McKesson

presently collect about 94% of the revenues for prescription drugs distributed in the

United States, and during and through the times material herein similarly

dominated this area of commerce.

      92.     Rochester Drug Cooperative, Inc. (“Rochester Drug”) is a New York

Corporation with its principal place of business in Rochester, New York.

            (a) At all times relevant hereto, Defendant Rochester Drug conducted

substantial and continuous business in Pennsylvania, including the sale and

distribution of opioid drugs to claimants in Pennsylvania.

      93.     Walgreens Co. is a Delaware Corporation with its principal place of

business in Illinois.

            (a) At all times relevant hereto, Defendant Walgreens Co. conducted

substantial and continuous business in Pennsylvania, including the sale and

distribution of opioid drugs to claimants in Pennsylvania.

      94.     Walgreens Boots Alliance, Inc. (“Walgreens Boots”) is a Delaware

Corporation with its principal place of business in Illinois. Walgreens Co. and

Walgreens Boots are collectively referred to herein as “Walgreens”.




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              (a) At all times relevant hereto, Defendant Walgreens Boots conducted

substantial and continuous business in Pennsylvania, including the sale and

distribution of opioid drugs to claimants in Pennsylvania.

        95.     Defendants AmerisourceBergen, Bellco, Cardinal Health, Kinray,

McKesson, Rochester Drug and Walgreens are referred to as the “Distributor

Defendants”.


              D. Defendants’ Agents and Concerted Activity

        96.     Defendants, collectively and individually, at all times material herein

acted by and through their respective agents, officers, employees, servants and

workers, actual, apparent or ostensible, any and all of whom were acting within the

course and scope of their actual or apparent duties, employment or authority.

        97.     Defendants, at all times material herein, acted in concert with each

other to cause and produce the harms alleged herein.


                               FACTUAL BACKGROUND

   I.         Workers’ Compensation.

        98.     Plaintiff provided and provides injured workers of its insured

employers (these injured workers are referred to herein as “claimants”) with

comprehensive workers’ compensation benefits, including the payment of all

medical bills associated with treatment of work-related injuries, including

prescription drug benefits, income benefits if the injured worker is temporarily or

permanently disabled, and death benefits if the injury sustained results in death.



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Other members of the Workers’ Compensation Payors Class make similar

payments.

      99.   When a claimant is injured on the job, the worker may file a claim for

workers’ compensation with Plaintiff, or other members of the Class, as applicable.

     100.   For covered work-related injuries, Plaintiff and members of the Class

must pay workers’ medical, temporary total disability, and permanent partial

disability payments and death benefits where the injury results in death.

     101.   As to the prescription drugs, doctors and pharmacies submit bills or

claims to Plaintiff and members of the Class directly, through Third-Party

Administrators or Pharmacy Benefit Managers, who in turn make payment for the

costs associated with the prescriptions, including office visits and toxicology screens.

     102.   Plaintiff and members of the Class paid for prescription opioids

prescribed to injured workers to treat non-cancer, chronic pain from work-related

injuries, which payments would not have occurred or been necessary but for

Defendants’ tortious omission, conduct or activities described herein.

     103.   Plaintiff and members of the Class made disability income and death

benefit payments to covered claimants who were prescribed and/or otherwise took

prescription opioids Defendants manufactured, marketed, promoted or distributed,

which would not have occurred or been necessary but for Defendants’ tortious

omission, conduct or activities described herein.

     104.   Plaintiff and members of the Class paid for medical care and treatment

(including emergency room and additional treatments) which would not have



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occurred or been necessary but for Defendants’ tortious omission, conduct or

activities described herein.

     105.     Plaintiff and members of the Class incurred administrative costs as a

result of the prescription opioid epidemic which would not have been incurred or

been necessary but for Defendants’ tortious omission, conduct or activities described

herein.

     106.     Plaintiff and members of the Class thereby sustained ascertainable

financial and economic losses proximately caused by Defendants’ tortious omission,

conduct or activities described herein.

   II.      Background on pain medicine.

            A. Safe and effective treatment of chronic pain centers on
               informed risk management.

     107.     The practice of medicine centers on informed risk management:

prescribers must weigh the potential risks and benefits of each treatment option, as

well as the risk of non-treatment.

     108.     The safe and effective treatment of chronic pain accordingly requires

that a physician be able to weigh the relative risks of prescribing opioids against

both (a) the relative benefits that may be expected during the course of opioid

treatment and (b) the risks and benefits of alternatives, including non-treatment.

     109.     This bedrock principle of full disclosure is particularly important in the

context of chronic opioid therapy because of the risk that patients will become

physically and psychologically dependent on the drugs, finding it difficult to manage

or terminate their use.


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     110.     The FDA-approved drug labels on each of the Manufacturing

Defendants’ opioids do not attempt to advise physicians on how to maximize the

benefits and minimize the risks for patients on long-term chronic opioid therapy.

            (a) The labels contain no dosing cap above which it would be unsafe for

any doctor to prescribe to any patient.

            (b) Nor do any of the labels provide a duration limit, after which the risks

to a patient might increase.

            (c) Doctors and patients are thus left to rely on educational materials such

as treatment guidelines, CMEs, and scientific and patient education articles and

websites to inform their treatment decisions, which, as described below and as a

part of the Manufacturing and Front Group Defendants’ fraudulent marketing

scheme, were flooded with inaccurate, false and misleading information.

            B. Opioids are highly addictive and offer no proven benefits for
               the treatment of chronic pain in non-cancer patients.

     111.     Opioids are a class of drugs that act on the human nervous system by

attaching to specific proteins called “opioid receptors.” When these receptors are

activated by opioids, analgesic effects and a sense of euphoria in the user result.

While this response masks pain, it also causes opioids to be highly addictive and to

have diminishing efficacy over time, which requires users to resort to higher and

higher doses.

     112.     Common opioids include the drugs morphine, methadone, oxycodone,

hydrocodone, codeine, and fentanyl, which are available by prescription, and heroin,

which is illegal and only available on the black market.

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     113.     Opium has been recognized as a tool to relieve pain for millennia; so

has the magnitude of its potential for abuse, addiction and its dangers. Opioids are

related to illegal drugs like opium and heroin.

     114.     Due to concerns about t hei r addictive properties, opioids have been

regulated at the federal level as controlled substances by the U.S. Drug

Enforcement Administration (“DEA”) since 1970.

     115.     The labels for scheduled opioid drugs carry black box warnings of

potential addiction and “[s]erious, life-threatening, or fatal respiratory depression,”

as the result of an excessive dose.

     116.     With there being few randomized controlled trials regarding opioid

efficacy for chronic pain—and indeed, even fewer double-blind studies—the efficacy

of long-term opioid use for non-cancer, chronic pain has never been reliably

demonstrated.

            (a) The first random, placebo-controlled study on the use of opioids for

chronic pain was reported in the 1990s. While that study provided evidence for

short-term efficacy, it did so only for a minority of patients. 17

            (b) Later studies reported similar results. For example, a review of 213

randomized, controlled trials of treatments for cancer pain that was reported in

2004 showed efficacy in the short-term, the data could not substantiate the long-

term effectiveness of opioids.


17    Nathaniel Katz, Opioids: After Thousands of Years, Still Getting to Know
You, 23(4) Clin J. Pain 303 (2007); Roger Cou, et al., Research Gaps on Use of
Opioids for Chronic Noncancer Pain, 10(2) J. Pain 147 (2009).

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          (c) A systematic review of opioid use for back pain likewise reported in

2007 that opioids have limited efficacy for short-term use and that the data did not

permit a conclusion on long-term use.

          (d) In much the same vein, a systematic review of studies reported in 2011

found that the evidence of long-term efficacy of opioid use for the treatment of non-

cancer pain is poor.

          (e) A 2006 Canadian meta-analysis found that opioids did not improve

functional outcomes over other non-opioid analgesics. To the contrary, the 2006

meta-analysis stated that “[f]or functional outcomes, the other analgesics were

significantly more effective than were opioids.” 18

          (f) A Danish study, also reported in 2006, likewise stated that “it is

remarkable that opioid treatment of chronic non-cancer pain does not seem to fulfill

any of the key outcome goals: pain relief, improved quality of life, and improved

functionality.” 19

          (g) The FDA confirmed in a 2013 letter that it was not aware “of [any]

adequate and well-controlled studies of opioid use longer than 12-weeks.” 20




18      Andrea D. Furlan et al., Opioids for chronic noncancer pain: a meta-analysis
of effectiveness and side effects, 174(11) Can. Med. Ass’n J. 1589 (2006).
19    Jorgen Eriksen, et al., Critical Issues on Opioids in Chronic Non-Cancer
Pain: An Epidemiological Study, 125 Pain 172, 176-77 (2006).
20    Letter from Janet Woodcock, M.D., Director, Ctr. For Drug Evaluation &
Research, to Andrew Kolodny, M.D., President, Physicians for Responsible Opioid
Prescribing (Sept. 10, 2013), available at http://bit.ly/2F430US (accessed November
13, 2019).

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             (h) There are no controlled studies of the use of opioids beyond 16 weeks,

and no evidence that opioids improve patients’ pain and function long-term. The

first random, placebo-controlled studies appeared in the 1990s, and revealed

evidence only for short-term efficacy and only in a minority of patients. 21

     117.      In contrast to the dearth of evidence in the scientific literature for the

long-term efficacy of opioids, there is evidence that opioid users develop a tolerance

and therefore require ever greater doses to obtain the same effect.

             (a) In a 2002 paper, the authors described how “[r]epeated exposure to

escalating dosages of opioids alters the brain so that it functions more or less

normally when the drugs are present and abnormally when they are not.” 22 That

paper continued, also noting that as time goes on, opioid users need higher dose to

feel “normal, produce a sense of euphoria comparable to prior doses, and to avoid

symptoms of withdrawal. 23

             (b) A patient’s tolerance to opioids may even begin after just the first

dose. 24




21Nathaniel Katz, Opioids: After Thousands of Years, Still Getting to Know You,
23(4) Clin J. Pain 303 (2007); Roger Chou et al., Research Gaps on Use of Opioids
for Chronic Noncancer Pain, 10(2) J. Pain 147 (2009).

22     Thomas R. Kosten & Rony P. George, The Neurobiology of Opioid
Dependence: Implications for Treatment, 1 Sci. & Practice Perspectives 14 (July
2002).
23     Id.
24    Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—
Misconception and Mitigation Strategies, 374 N. Eng. J. Med. 1253 (2016); Jessica
Wapner, CDC Study Finds Opioid Dependency Beings Within a Few Days of Initial
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     118.    Endo’s research shows that patients taking opioids, as opposed to other

prescription pain medicines, report higher rates of obesity (30% to 39%); insomnia

(9% to 22%); and self-described fair or poor health (24% to 34%).

     119.    Increasing duration of opioid use is strongly associated with an

increasing prevalence of mental health conditions (depression, anxiety, post-

traumatic stress disorder, or substance abuse), increased psychological distress, and

greater health care utilization.

     120.    As one pain specialist has explained in an article titled, Are We Making

Pain Patients Worse?, “[O]pioids may work acceptably well for a while, but over the

long term, function generally declines, as does general health, mental health, and

social functioning. Over time, even high doses of potent opioids often fail to control

pain, and these patients are unable to function normally.” 25

     121.    This is true both generally and for specific pain-related conditions.

Studies of the use of opioids long-term for chronic lower back pain have been unable

to demonstrate an improvement in patients’ function.

     122.    Conversely, research consistently shows that long-term opioid therapy

for patients who have lower back injuries does not help patients return to work or to

physical activity. This is due partly to addiction and other side effects.




Use, Newsweek (Mar. 22, 2017), available at http://www.newsweek.com/cdc-opiate-
addiction-572498 (accessed November 13, 2019).
25     Andrea Rubenstein, Are We Making Pain Patients Worse?, Sonoma Medicine
(Fall 2009).

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     123.   The lack of evidence for the utility of opioid use, especially long-term

use for chronic pain, was eventually recognized and well-documented nationally in

the context of workers’ compensation claims, where some of the most detailed data

exists. Studies using workers compensation claim datasets establish that injured

workers prescribed even one opioid had average total workers compensation claim

costs that are four to eight times greater than claimants with similar claims who

did not take opioids and that claims involving workers who take opioids are almost

four times as likely to reach costs of over $ 100,000 than claims without opioids, as

these patients suffer greater side effects and are slower to return to work. 26

     124.   Indeed, as one industry consultant and commentator in a whitepaper

published on his firm’s website described the growing situation:

      Prescription drug abuse is the nation’s fastest-growing drug issue, an
      epidemic affecting all of society and workers’ compensation in
      particular. Prescription opioids are presently the number one workers’
      compensation problem in terms of controlling the ultimate cost of
      indemnity losses. There has never been a more damaging impact on the
      cost of workers’ compensation claims from a single issue than the abuse
      of opioid prescriptions for the management of chronic pain. Nationally,
      an estimated 55 to 86 percent of all claimants are receiving opioids for
      chronic pain relief. However, the overwhelming consensus of evidence-
      based medicine does not support its long-term treatment protocol




26 See Keith E. Rosenblum, Opioids Wreak Havoc on Workers’ Compensation Costs,
Lockton Companies pg. 5 (August 2012) available at https://www.lockton.com
/Resource_/PageResource/MKT/wc-pbm-3%20update%208-31.pdf (Accessed Nov. 2,
2019); International Association of Industrial Accident Boards and Commissions,
Reducing Inappropriate Opioid Use in Treatment of Injured Workers: A Policy Guide
(August 28, 2013).

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        outside of very specific cases, most of which involve end-stage cancer
        treatment. 27

      125.      Yet, putting profits before public health and patient safety, and

realizing that substantial money could be obtained from increasing opioid usage and

that there were third-party payors such as Plaintiff who could do little but pay the

costs, Defendants devised a scheme to expand the market for opioids beyond cases

of acute pain, surgical recovery, cancer treatment, and end-of-life palliative care.

     III.     To change the then-prevailing perception of opioids, the
              Manufacturing Defendants promoted their branded opiate
              products through direct marketing to prescribers and consumers.

      126.      Before the 1990s, the generally accepted standards of medical practice

limited the uses of opioids to only cases of acute pain, surgical recovery, cancer

treatment, and end-of-life palliative care. The prevailing view then held that opioids

should not be used to treat chronic pain as their efficacy had not been scientifically

demonstrated. To the contrary, because patients developed tolerance to opioids over

time and the serious risks of addiction and other side effects, there was widespread

medical consensus that opioid prescriptions should be limited and controlled.

      127.      Studies and articles from the 1970s and 1980s made the reasons to

avoid opioids clear. Scientists observed negative outcomes from long-term opioid

therapy in pain management programs: opioids’ mixed record in reducing pain long-

term and failure to improve patients’ function; greater pain complaints as most

patients developed tolerance to opioids; opioid patients’ diminished ability to



27Rosenblum, Opioids Wreak Havoc on Workers’ Compensation Costs, Lockton
Companies, pg. 1.

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perform basic tasks; their inability to make use of complementary treatments like

physical therapy due to the side effects of opioids; and addiction. Leading

authorities discouraged, or even prohibited, the use of opioid therapy for chronic

pain. 28

     128.      According to one researcher from the Harvard Medical School, “it did

not enter [doctors’] minds that there could be a significant number of chronic pain

patients who were successfully managed with opioids.” 29 The Manufacturing and

Front Group Defendants changed that perception.

     129.      The Manufacturing Defendants’ direct marketing proceeded on two

tracks, serving two related purposes, hereinafter referred to as the “Opioid

Marketing Enterprise.”

             (a) First, these Defendants worked through branded and unbranded

marketing to build confidence in long-term opioid use by overstating the benefits of

long-term opioid use and downplaying its risks, thereby creating and expanding the

chronic pain market.

             (b) Second, the Manufacturing Defendants worked through their own

staffs of sales representatives, physician speakers whom those representatives

recruited, and advertising in medical journals to claim their share of this broader


28Russell K. Portenoy & Kathleen M. Foley, Chronic Use of Opioid Analgesics in
Non-Malignant Pain: Report of 38 cases, 25(2) Pain 171 (1986) (“[f]ew substantial
gains in employment or social function could be attributed to the institution of
opioid therapy.”)
29 Igor Kissin, Long-term opioid treatment of chronic nonmalignant pain: unproven
efficacy and neglected safety?, 6 J. Pain Research 513, 514 (2013) (quoting Loeser
JD, Five crises in pain management, 20(1) Pain Clinical Updates 1-4 (2012).
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market. These Defendants directed all of this activity through carefully designed

marketing plans that were based on extensive research into prescriber habits and

the efficacy of particular sales approaches and messages.

            A. The Manufacturing Defendants employed branded
               advertisements to develop and increase the market for
               prescription opiate drugs.

     130.     The Manufacturing Defendants engaged in widespread advertising

campaigns touting the benefits of their branded opioid drugs.

     131.     The Manufacturing Defendants published print advertisements in a

broad array of medical journals, ranging from those aimed at specialists, such as

the Journal of Pain and Clinical Journal of Pain, to journals with wider medical

audiences, such as the Journal of the American Medical Association.

     132.     The Manufacturing Defendants’ advertising budgets peaked in 2011,

when they collectively spent more than $14 million on the medical journal

advertising of opioids, nearly triple what they spent in 2001. The 2011 total

includes $8.3 million by Purdue, $4.9 million by Janssen, and $1.1 million by Endo.

     133.     A number of these branded advertisements deceptively portrayed the

benefits of opioid therapy for chronic pain.

     134.     As just one example, a 2005 Purdue advertisement for OxyContin that

ran in the Journal of Pain touted the drug as an “around-the-clock analgesic . . . for

an extended period of time.” The advertisement featured a man and boy fishing and

proclaimed that “There Can Be Life With Relief.” This depiction falsely implied that

OxyContin provides both effective long-term pain relief and functional



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improvement, claims that, as described below, are unsubstantiated and

contradicted in medical literature.

            B. The Manufacturing Defendants employed their sales forces and
               recruited physician speakers to develop and increase the
               market for prescription opiate drugs.

     135.     Each Manufacturing Defendant promoted the use of opioids for chronic

pain through “detailers”— sales representatives who visited individual physicians

and their staff in their offices—and small group speaker programs.

     136.     By establishing close relationships with doctors, the Manufacturing

Defendants’ sales representatives were able to disseminate their

misrepresentations in targeted, structured one-on-one settings that allowed them to

differentiate their opioid products and to address individual prescribers’ concerns

about prescribing opioids for chronic pain. Representatives were trained on

techniques to build these relationships.

     137.     The Manufacturing Defendants developed sophisticated plans to select

prescribers for sales visits based on their specialties and prescribing habits.

     138.     In accordance with common industry practice, the Manufacturing

Defendants purchased and closely analyzed prescription sales data from IMS

Health. This data allows them to precisely track the rates of initial prescribing and

renewal by individual doctors, which in turn allows them to target, tailor, and

monitor the impact of their appeals.




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     139.   In particular, the Manufacturing Defendants relied upon “influence

mapping”—i.e., using decile rankings or similar breakdowns to identify the high-

volume prescribers on whom detailing would have the greatest sales impact.

     140.   Endo, for example, identified prescribers representing 30% of its

nationwide sales volume and planned to visit these physicians three times per

month.

     141.   The Manufacturing Defendants also closely monitored doctors’

prescribing after a sales representative’s visit to allow them to refine their planning

and messaging and to evaluate and compensate their detailers.

     142.   The Manufacturing Defendants’ sales representatives eventually

visited hundreds of thousands of doctors that prescribed opioid pain medications

paid for by Plaintiff and the Workers’ Compensation Payors, and as described

herein, spread misinformation regarding the risks, benefits, and superiority of

opioids for the treatment of chronic pain. This misinformation includes deceptive

and unfair claims regarding the risks and benefits of opioids for chronic pain,

particularly the risks of addiction, withdrawal, and high doses.

     143.   Each Manufacturing Defendant carefully trained its sales

representatives to deliver company-approved messages designed to generate

prescriptions of that company’s drugs specifically, and opioids in general.

     144.   The Manufacturing Defendants exactingly directed and monitored their

sales representatives—through detailed action plans, trainings, tests, scripts, role-

plays, supervisor tag-alongs, and other means—to ensure that individual detailers



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actually delivered the desired messages and do not veer off-script. Pharmaceutical

companies likewise required their detailers to deploy sales aids commissioned,

reviewed, approved, and supplied by the company and forbade them to use, in

industry parlance, “homemade bread”—i.e., promotional materials not approved by

the company’s marketing and compliance departments. Sales representatives’

adherence to their corporate training is typically included in their work agreements.

Departing from their company’s approved messaging could lead to severe

consequences including termination of employment.

     145.   Besides carefully training their sales representatives, the

Manufacturing Defendants used surveys of physicians—conducted by third-party

research firms—to assess how well their core messages came across to prescribers.

     146.   In addition to making sales calls, the Manufacturing Defendants’

detailers also identified doctors to serve, for payment, on their speakers’ bureaus

and/or to attend programs with speakers and meals paid for by the Manufacturing

Defendants. the Manufacturing Defendants almost always selected physicians who

were “product loyalists,” as they were sure to be asked whether they prescribe the

drug themselves.

     147.   Endo, for instance, sought to use specialists in pain medicine—

including high prescribers of its drugs—as local “thought leaders” to market Opana

ER to primary care doctors. Such invitations are lucrative to the physicians selected

for these bureaus with honorarium rates ranging from $800 to $2,000 per program,




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depending on the type of event, and speaker training typically compensated at $500

per hour.

     148.    These speaker programs and associated speaker trainings served three

purposes: (a) they provided an incentive to doctors to prescribe, or increase their

prescriptions of, a particular drug; (b) they provided a medium in which to further

market to the speaker him or herself; and (c) the provided an opportunity to market

to the speaker’s peers.

     149.    The Manufacturing Defendants graded their speakers and future

opportunities were based on speaking performance, post-program sales, and product

usage. The Manufacturing Defendants also tracked the prescribing of the events’

attendees, with Endo noting that “physicians who came into our speaker programs

wrote more prescriptions for Opana ER after attending than before.” It would make

little sense for these defendants to devote significant resources to programs that

they did if they did not increase their sales.

     150.    Like the sales representatives who select them, speakers are expected

to stay “on message”—indeed, they agree in writing to follow the slide decks

provided to them.

     151.    Endo’s speaker rules, for example, provide that “all slides must be

presented in their entirety and without alterations . . . and in sequence.” This is

important because the FDA regards promotional talks as part of product labeling

and requires their submission for review.




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     152.    Speakers gave the appearance of providing independent, unbiased

presentations on opioids, when, in fact, they were presenting a script prepared by

the Manufacturing Defendants’ marketing departments. Although these meal-based

speaker events are more expensive to host, and typically have lower attendance

than CMEs, they are subject to less professional scrutiny and thus afforded the

Manufacturing Defendants greater freedom in the messages they present.

     153.    The Manufacturing Defendants devoted massive resources to these

direct sales contacts with prescribers.

     154.    In 2014, the Manufacturing Defendants collectively spent $168 million

on detailing branded opioids to physicians nationwide. This figure includes $108

million spent by Purdue, $34 million by Janssen, $13 million by Cephalon, $10

million by Endo, and $2 million by Actavis. The total figure is more than double the

Manufacturing Defendants’ collective spending on detailing in 2000.

     155.    The detailers’ role in the Manufacturing Defendants’ overall

promotional efforts was also carefully calibrated; Endo, for example, found that

devoting 61% of its marketing budget to sales representatives reflected an

“[a]ppropriate combination of personal . . . and non-personal . . . selling initiatives.”

     156.    The Manufacturing Defendants have spent hundreds of millions of

dollars promoting their opioids through their respective sales forces because they

understand that detailers’ sales pitches are effective. Numerous studies indicate




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that marketing can and does impact doctors’ prescribing habits, 30 and face-to-face

detailing has the highest influence on intent to prescribe. The Manufacturing

Defendants could see this phenomenon at work not only in the aggregate, as their

sales climbed with their promotional spending, but also at the level of individual

prescribers whom they targeted for detailing, and who responded by prescribing

more of the Manufacturing Defendants’ drugs.

            C. The Manufacturing Defendants directed these promotional
               efforts through detailed marketing plans.

     157.     The Manufacturing Defendants guided their efforts to expand opioid

prescribing through comprehensive marketing and business plans for each drug.

These documents, based on the companies’ extensive market research, laid out

ambitious plans to bring in new prescribers and increase overall prescribing of

Defendants’ opioids.

               i.   Targeting categories of prescribers.

     158.     The Manufacturing Defendants targeted, by zip codes and other local

boundaries, individual health care providers for detailing.



30See, e.g., Puneet Manchanda & Pradeep K. Chintagunta, Responsiveness of
Physician Prescription Behavior to Salesforce Effort: An Individual Level Analysis,
15 (2-3) Mktg. Letters 129 (2004) (detailing has a positive impact on prescriptions
written); Ian Larkin, Restrictions on Pharmaceutical Detailing Reduced Off-Label
Prescribing of Antidepressants and Antipsychotics in Children, 33(6) Health Affairs
1014 ( 2014) (finding academic medical centers that restricted direct promotion by
pharmaceutical sales representatives resulted in a 34% decline in on-label use of
promoted drugs); see also Art Van Zee, The Promotion and Marketing of OxyContin:
Commercial Triumph, Public Health Tragedy, 99(2) Am J. Pub. Health 221 (2009)
(correlating an increase of OxyContin prescriptions from 670,000 annually in 1997
to 6.2 million in 2002 to a doubling of Purdue’s sales force and trebling of annual
sales calls).
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     159.     The Manufacturing Defendants chose their targets based on the

potential for persuading a provider to prescribe, ease of in-person access, and the

likelihood of higher numbers of prescriptions at higher doses, with no correlation to

demonstrated need or demand for opioid therapy, or to risk of abuse.

     160.     Collectively, the Manufacturing Defendants’ marketing plans evinced

dual strategies, which often operated parallel to one another.

            (a) The Manufacturing Defendants’ sales representatives continued to

focus their detailing efforts on pain specialists and anesthesiologists, the highest-

volume prescribers of opioids and, as a group, more educated than other

practitioners about opioids’ risks and benefits.

            (b) Seeking to develop market share and expand sales, however, the

Manufacturing Defendants also targeted increasing numbers and types of other

prescribers for marketing.

     161.     This expanded market of prescribers was, as a group, less informed

about opioids and, as the Manufacturing Defendants’ market research concluded,

more susceptible to the Manufacturing Defendants’ marketing messages. These

prescribers included nurse practitioners and physician assistants who, a 2012 Endo

business plan noted, were “share acquisition” opportunities because they were “3x

times more responsive than MDs to details” and wrote “96% of [their] prescriptions .

. . without physician consult.”

     162.     The expanded prescribers market also included internists and general

practitioners who were low- to mid-volume prescribers.



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     163.   Actavis, for example, rolled out a plan in 2008 to move beyond “Kadian

loyalists” to an “expanded audience” of “low morphine writers.”

             ii.   Increased “direct to consumer” marketing to develop and
                   increase the market for prescription opiate drugs.

     164.   The Manufacturing Defendants knew that physicians were more likely

to prescribe their branded medications when patients asked for those medications.

     165.   Endo’s research, for example, found that such communications resulted

in greater patient “brand loyalty,” with longer durations of Opana ER therapy and

fewer discontinuations.

     166.   The Manufacturing Defendants thus increasingly took their opioid

sales campaigns directly to consumers, including through patient-focused

“education and support” materials. These took the form of pamphlets, videos, or

other publications that patients could view in their physician’s office, as well as

employer and workers’ compensation plan initiatives to, as Endo put it, “[d]rive

demand for access through the employer audience by highlighting cost of disease

and productivity loss.”

     167.   The Manufacturing Defendants also knew that one of the largest

obstacles to patients starting and remaining on their branded opioids—including by

switching from a competitor’s drug—was out-of-pocket cost. They recognized they

could overcome this obstacle by providing patients financial assistance with their

insurance co-payments, and each of the Manufacturing Defendants did so through

vouchers and coupons distributed during detailing visits with prescribers.




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    168.    A 2008 Actavis business review, for example, highlighted co-pay

assistance, good for up to $600 per patient per year, as a way to drive conversions to

Kadian from competitor drugs like Avinza and MS Contin. In 2012, Janssen

planned to distribute 1.5 million savings cards worth $25 each.

            iii.   Differentiating each brand.

    169.    By 2010, Defendants had begun facing increasing pushback from the

medical community and regulators based on the growing problems of opioid

addiction and abuse.

    170.    Market conditions prompted the Manufacturing Defendants to pursue

product differentiation strategies—particularly an emphasis on their products being

less subject to diversion, abuse, and addiction—as a means of grabbing market

share from Purdue and other competitors.

    171.    Endo, for example, tracked in detail prescriber “switching” from

OxyContin to Opana ER. Actavis and Janssen did the same for switches to Kadian

and Nucynta ER, respectively.

    172.    Pressure to stand out among other drugs resulted in Manufacturing

Defendants identifying marketing themes that thereafter were reflected in

Defendants’ deceptive and harmful messages to physicians and consumers.

    173.    A 2008 Janssen plan emphasized “value” messaging in support of

Nucynta ER, including claims of less dose escalation, lower toxicity, fewer

withdrawal symptoms, and less dependence, and a 2009 Opana ER market research




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report focused on greater potency and lower abuse potential of Opana ER vis-à-vis

OxyContin.

              iv.   Moving beyond office visits.

     174.     The Manufacturing Defendants sought to reach additional prescribers

by expanding beyond traditional sales calls and speaker events to new channels for

their messages. For their sales forces, these included marketing to prescribers

through voice mail, postcards, and email—so-called “e-detailing.”

     175.     The Manufacturing Defendants also created new platforms for their

speakers by implementing “peer to peer” programs such as teleconferences and

webinars that were available to prescribers nationally.

     176.     These programs allowed the Manufacturing Defendants to use this

seemingly more credible vehicle to market to, among other hard-to-reach audiences,

prescribers at hospitals, academic centers, and other locations that limit or prohibit

in-person detailing.

     177.     Employing these new approaches, each Defendant relied heavily on

speakers to promote its drugs.

            D. The Manufacturing Defendants marketed opioids using the
               same strategies and messages they employed nationwide.

     178.     The Manufacturing Defendants employed the same marketing plans

and strategies and deployed the same messages to prescribers that wrote opioid

prescriptions for the claimants of Plaintiff and other Workers’ Compensation

Payors, and which were paid for by Plaintiff and the other Workers’ Compensation

Payors.

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     179.     Across the pharmaceutical industry, “core message” development is

funded and overseen on a national basis by corporate headquarters.

     180.     This comprehensive approach ensures that the Manufacturing

Defendants’ messages were accurately and consistently delivered across marketing

channels—including detailing visits, speaker events, and advertising—and in each

sales territory.

     181.     The Manufacturing Defendants considered this high level of

coordination and uniformity crucial to successfully marketing their drugs.

     182.     The Manufacturing Defendants ensured marketing consistency

nationwide through national and regional sales representative training; national

training of local medical liaisons, the company employees who respond to physician

inquiries; centralized speaker training; single sets of visual aids, speaker slide

decks, and sales training materials; and nationally coordinated advertising. The

Manufacturing Defendants’ sales representatives and physician speakers were

required to stick to prescribed talking points, sales messages, and slide desks, and

supervisors traveled with them periodically to check on both their performance and

compliance.

     183.     As they did nationwide, the Manufacturing Defendants extensively

tracked the prescribing behavior of health care providers that wrote opioid

prescriptions paid for by Plaintiff and the Workers’ Compensation Payors and used

that data to target their detailing and speaker recruiting efforts. Top prescribers

were profiled at the city, region, zip code, and sometimes facility levels, with



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information about their specialty, prescribing patterns (including product and dose),

product loyalty and refill history. Providers’ prescribing volume was ranked and

sorted into deciles.

     184.     Misrepresentations and deceptions regarding the risks, benefits, and

superiority of opioid use to treat chronic pain were part and parcel of the

Manufacturing Defendants’ marketing campaigns.

   IV.      The Manufacturing Defendants used “unbranded” marketing to
            evade regulations and consumer protection laws.

     185.     In addition to their direct marketing efforts, the Manufacturing

Defendants used unbranded, third-party marketing, which they deployed as part of

their national marketing strategies for their branded drugs.

     186.     Each Manufacturing Defendant executed these strategies through a

network of third-party KOLs and Front Groups, with which it acted in concert by

funding, assisting, encouraging, and directing their efforts.

     187.     The Manufacturing Defendants exercised substantial control over the

content of the messages third parties generated, disseminated, and distributed

certain of those materials themselves.

     188.     As with their other marketing strategies, the Manufacturing

Defendants’ unbranded marketing created, and relied upon, an appearance of

independence and credibility that was undeserved but central to its effectiveness.

     189.     Unlike their direct promotional activities, the Manufacturing

Defendants’ unbranded marketing allowed them to evade the oversight of federal

regulators and gave them greater freedom to expand their deceptive messages.

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            A. Regulations governing branded promotion require that it be
               truthful, balanced, and supported by substantial evidence.

     190.     Drug companies that make, market, and distribute opioids are subject

to generally applicable rules requiring truthful marketing of prescription drugs.

     191.     A drug company’s branded marketing, which identifies and promotes a

specific drug, must: (a) be consistent with its label and supported by substantial

scientific evidence; (b) not include false or misleading statements or material

omissions; and (c) fairly balance the drug’s benefits and risks. 31

     192.     The regulatory framework governing the marketing of specific drugs

reflects a public policy designed to ensure that drug companies, which are best

suited to understand the properties and effects of their drugs, are responsible for

providing prescribers with the information they need to accurately assess the risks

and benefits of drugs for their patients.

     193.     Further, the Federal Food, Drug, and Cosmetic Act (“FDCA”) prohibits

the sale in interstate commerce of drugs that are “misbranded.” A drug is

“misbranded” if it lacks “adequate directions for use” or if the label is false or

misleading “in any particular” way.   32   “Adequate directions for use” are directions

“under which the layman can use a drug safely and for the purposes for which it is

intended.” 33 “Labeling” includes more than the drug’s physical label; it also includes

“all . . . other written, printed, or graphic matter . . . accompanying” the drug,




31 21 U.S.C. § 352(a); 21 C.F.R. §§ 1.21(a), 202.1(e)(3), 202.1(e)(6).
32 21 U.S.C. §§ 352.
33 21 C.F.R. § 201.5.


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including promotional material. 34 “The term “accompanying” is interpreted broadly

to include promotional materials—posters, websites, brochures, books, and the

like—disseminated by or on behalf of the manufacturer of the drug. 35 Thus, the

Manufacturing Defendants’ promotional materials are part of their drugs’ labels

and are required to be accurate, balanced, and not misleading.

     194.    Labeling is misleading if it is not based on substantial evidence, if it

materially misrepresents the benefits of the drug, or if it omits material information

about or minimizes the frequency or severity of a product’s risks. “The most serious

risks set forth in a product’s labeling are generally material to any presentation of

efficacy.” The FDA notes that “[b]ecause people expect to see risk information, there

is no reason for them to imagine that the product has important risks that have

been omitted . . . especially if some risks are included.” 36 Promotion that fails to

present the most important risks of the drug as prominently as its benefits lacks

fair balance and is therefore deceptive.

     195.    It is also illegal for drug companies to distribute materials that exclude

contrary evidence or information about the drug’s safety or efficacy or present

conclusions that “clearly cannot be supported by the results of the study.” 37 Further,

drug companies must not make comparisons between their drugs and other drugs

that represent or suggest that “a drug is safer or more effective than another drug



34 21 U.S.C. § 321(m).
35 See id.
36 FDA, Draft Guidance for Industry, Presenting Risk Information in Prescription

Drug and Medical Device Promotion, May 2009, at 14.
37 21 C.F.R. § 99.101(a)(4).


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in some particular way when it has not been demonstrated to be safer or more

effective in such particular by substantial evidence or substantial clinical

experience.” 38

     196.     While the FDA must approve a drug’s label, it is the drug company’s

responsibility to ensure that the material in its label is accurate and complete and

is updated to reflect any new information. 39 Promotional materials also must be

submitted to the FDA when they are first used or disseminated. The FDA does not

have to approve these materials in advance; if, upon review, the FDA determines

that materials marketing a drug are misleading, it can issue an untitled letter or a

warning letter. The FDA uses untitled letters for violations such as overstating the

effectiveness of the drug or making claims without context or balanced information.

Warning letters address promotions involving safety or health risks and indicate

the FDA may take further enforcement action.

            B. Defendants deployed front groups and doctors to disseminate
               unbranded information on their behalf.

     197.     Drug companies market both directly and indirectly, using third-party

validators (such as scientists, physicians, patient or professional organizations) that




3821 C.F.R. § 202.1(e)(6)(ii).
39See 21 C.F.R. § 201.56 (providing general requirements for prescription drug
labeling); see also Wyeth v. Levine, 555 U.S. 555 (2009) (holding that a drug
company bears responsibility for the content of its drug labels at all times); 21
C.F.R. § 314.70(c)(6) (iii)(A-C) (allowing manufacturers to make changes that
“strengthen . . . a warning, precaution, or adverse reaction” or “strengthen a
statement about drug abuse, dependence, psychological effect, or overdosage”).
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appear to be independent and therefore more credible. The FDA has made clear

that its promotional requirements apply to both forms of marketing:

      FDA’s regulation of prescription drug product promotion extends both
      to promotional activities that are carried out by the firm itself, and to
      promotion conducted on the firm’s behalf.

                                         ...

      Therefore, a firm is responsible for the content generated by its
      employees or any agents acting on behalf of the firm who promote the
      firm’s product. For example, if an employee or agent of a firm, such as
      a medical science liaison or paid speaker (e.g., a key opinion leader)
      acting on the firm’s behalf, comments on a third-party site about the
      firm’s product, the firm is responsible for the content its employee or
      agent provides. A firm is also responsible for the content on a blogger’s
      site if the blogger is acting on behalf of the firm. 40

     198.   In addition to being carried out directly or through third parties, drug

companies’ promotional activities can be branded or unbranded.

     199.   Unbranded marketing refers not to a specific drug, but more generally

to a disease state or treatment. By using unbranded communications, drug

companies can sidestep the extensive regulatory framework governing branded

communications.

     200.   The Manufacturing Defendants disseminated many of their false,

misleading, imbalanced, and unsupported statements indirectly, through KOLs and

Front Groups, and in unbranded marketing materials.




40FDA, Draft Guidance for Industry on Fulfilling Regulatory Requirements for
Postmarketing Submissions of Interactive Promotional Media for Prescription
Human and Animal Drugs and Biologics, January 2014, at 1, 4,
http://www.fda.gov/downloads/drugs/guidancecomplianceregulatoryinformation/guid
ances/ucm381352.pdf (accessed November 18, 2019).
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     201.    These KOLs and Front Groups were important elements of the

Manufacturing Defendants’ marketing plans, which specifically contemplated their

use, because they seemed independent and thus outside FDA oversight.

     202.    Through unbranded materials, the Manufacturing and Front Group

Defendants, with their own knowledge of the risks, benefits and advantages of

opioids, presented information and instructions concerning opioids generally that

were contrary to, or at best, inconsistent with information and instructions listed on

the Manufacturing Defendants’ branded marketing materials and drug labels.

     203.    The Manufacturing Defendants did so knowing that unbranded

materials typically are not submitted to or reviewed by the FDA.

     204.    Even where such unbranded messages were channeled through third-

party vehicles, the Manufacturing Defendants adopted these messages as their own

when they cited to, edited, approved, and distributed such materials knowing they

were false, misleading, unsubstantiated, unbalanced, and incomplete.

     205.    Unbranded brochures and other materials that are “disseminated by or

on behalf of [the] manufacturer” constitute drug “labeling” that may not be false or

misleading in any particular. See 21. C.F.R. 202.1(e)(7)(l)(2). 41




41 This regulation provides: “Brochures, booklets, mailing pieces, detailing pieces,
file cards, bulletins, calendars, price lists, catalogs, house organs, letters, motion
picture films, film strips, lantern slides, sound recordings, exhibits, literature, and
reprints and similar pieces of printed, audio, or visual matter descriptive of a drug
and the references published . . . containing drug information supplied by the
manufacturer, packer, or distributor of the drug and which are disseminated by or
on behalf of its manufacturer, packer, or distributor are hereby determined to be
labeling, as defined in section 201(m) of the act.” As labeling, such third party-
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     206.    The Manufacturing Defendants’ sales representatives distributed third-

party marketing material that was deceptive to Defendants’ target audiences.

Defendants are responsible for these materials.

     207.    Moreover, the Manufacturing Defendants took an active role in guiding,

reviewing, and approving many of the misleading statements issued by these third

parties, ensuring that Defendants were consistently aware of their content.

     208.    By funding, directing, editing, and distributing these materials, the

Manufacturing Defendants exercised control over their deceptive messages and

acted in concert with these third parties to fraudulently promote the use of opioids

for the treatment of chronic pain. 42

     209.    For example, drug companies have been admonished for making

functional claims in FDA-reviewed branded materials if there is no evidence for

such claims. Thus, drug companies were put on notice that the FDA does not allow

such claims in branded materials. The Manufacturing and Front Group Defendants

instead created and disseminated these same unsupported claims—that opioids

allow patients to sleep, return to work, or walk more easily—through unbranded

marketing materials.




created content distributed by a drug company may not be misleading and must
meet the accuracy, substantiation, and fair balance requirements in the FDCA.
42 As used in this Complaint, the allegation that Defendants “acted in concert” with

third parties is intended to mean both that they conspired with these third parties
to achieve some end and that they aided and abetted these third parties in the
commission of acts necessary to achieve it.
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     210.   The third-party publications Manufacturing and Front Group

Defendants assisted in creating and distributing did not include the warnings and

instructions mandated by their FDA-required drug labels and consistent with the

risks and benefits known to Defendants. For example, these publications either did

not disclose the risks of addiction, abuse, misuse, and overdose, or affirmatively

denied that patients faced a serious risk of addiction.

     211.   By acting through third-parties, the Manufacturing Defendants were

able to both avoid FDA scrutiny and give the false appearance that the messages

reflected the views of independent third parties. Later, the Manufacturing

Defendants would cite to these sources as “independent” corroboration of their own

statements. As one physician adviser to Defendants noted, third-party documents

not only had greater credibility, but broader distribution as doctors did not “push

back” at having materials from, for example, the non-profit American Pain

Foundation (“APF”) on display in their offices, as they might with first-party, drug

company pieces. Nevertheless, the independence of these materials was a ruse— the

Manufacturing Defendants were in close contact with these third parties, paid for

and were aware of the misleading information they were disseminating about the

use of opioids to treat chronic pain, and regularly helped them to tailor and

distribute their misleading, pro-opioid messaging.

     212.   As part of a strategic marketing scheme, the Manufacturing

Defendants spread and validated their deceptive messages through the following

vehicles: (a) KOLs, who could be counted upon to write favorable journal articles



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and deliver supportive CMEs; (b) a body of biased and unsupported scientific

literature; (c) treatment guidelines; (d) CMEs; (e) unbranded patient education

materials; and (f) Front Group patient-advocacy and professional organizations,

which exercised their influence both directly and through Defendant-controlled

KOLs who served in leadership roles in those organizations.

                i.   The Manufacturing Defendants’ use of KOLs.

     213.   The Manufacturing and Front Group Defendants cultivated a small

circle of doctors who, upon information and belief, were selected and sponsored by

Defendants solely because they favored the aggressive treatment of chronic pain

with opioids.

     214.   The Manufacturing and Front Group Defendants’ support helped these

doctors become respected industry experts. In return, these doctors repaid

Defendants by touting the benefits of opioids to treat chronic pain.

     215.   Pro-opioid doctors have been at the hub of the Manufacturing and

Front Group Defendants’ promotional efforts, presenting the appearance of

unbiased and reliable medical research supporting the broad use of opioid therapy

for chronic pain.

     216.   KOLs have written, consulted on, edited, and lent their names to books

and articles, and given speeches and CMEs supportive of chronic opioid therapy.

They have served on committees that developed treatment guidelines that strongly

encourage the use of opioids to treat chronic pain (even while acknowledging the

lack of evidence in support of that position) and on the boards of pro-opioid advocacy



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groups and professional societies that develop, select, and present CMEs. The

Manufacturing and Front Group Defendants were able to exert control of each of

these modalities through their KOLs.

    217.    In return, the KOLs’ association with the Manufacturing and Front

Group Defendants provided them not only money, but prestige, recognition,

research funding, and avenues to publish. This positioned them to exert even more

influence in the medical community.

    218.    Although some KOLs initially may have advocated for more permissive

opioid prescribing with honest intentions, the Manufacturing and Front Group

Defendants cultivated and promoted only those KOLs who could be relied on to help

broaden the chronic opioid therapy market.

    219.    The Manufacturing and Front Group Defendants selected, funded, and

elevated those doctors whose public positions were unequivocal and supportive of

using opioids to treat chronic pain. These doctors’ professional reputations were

then dependent on continuing to promote a pro-opioid message, even in activities

that were not directly funded by the drug companies.

    220.    The Manufacturing and Front Group Defendants cited and promoted

favorable studies or articles by these KOLs.

    221.    By contrast, the Manufacturing and Front Group Defendants did not

support, acknowledge, or disseminate the publications of doctors critical of the use

of chronic opioid therapy.




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     222.   Indeed, one prominent KOL sponsored by the Manufacturing and Front

Group Defendants, Russell Portenoy, stated that he was told by a drug company

that research critical of opioids (and the doctors who published that research) would

never obtain funding.

     223.   Some KOLs have even gone on to become direct employees and

executives of Defendants, like Dr. David Haddox, Purdue’s Vice President of Risk

Management, or Dr. Bradley Galer, Endo’s former Chief Medical Officer.

     224.   The Manufacturing Defendants provided substantial opportunities for

KOLs to participate in research studies on topics Defendants suggested or chose,

with the predictable effect of ensuring that many favorable studies appeared in the

academic literature. As described by Dr. Portenoy, drug companies would approach

him with a study that was well underway and ask if he would serve as the study’s

author. Dr. Portenoy regularly agreed.

     225.   The Manufacturing Defendants also paid KOLs to serve as consultants

or on their advisory boards and give talks or present CMEs, typically over meals or

at conferences. Since 2000, Cephalon, for instance, has paid doctors more than $4.5

million for programs relating to its opioids.

     226.   These KOLs were carefully vetted to ensure that they were likely to

remain on-message and supportive of a pharmaceutical industry agenda. One

measure was a doctor’s prior work for trusted Front Groups.

     227.   The Manufacturing Defendants kept close tabs on the content of the

misleading materials published by these KOLs. In many instances, they also



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scripted what these KOLs said—as they did with all their recruited speakers. The

KOLs knew, or deliberately ignored, the misleading way in which they portrayed

the use of opioids to treat chronic pain to patients and prescribers, but they

continued to publish those misstatements to benefit themselves and Defendants, all

the while causing harm to Plaintiff and the Workers’ Compensation Payors.

                              a. Russel Portenoy

     228.   Dr. Russell Portenoy, former Chairman of the Department of Pain

Medicine and Palliative Care at Beth Israel Medical Center in New York, is one

example of a KOL whom the Manufacturing Defendants identified and promoted to

further their marketing campaign.

     229.   Dr. Portenoy received research support, consulting fees, and honoraria

from Cephalon, Endo, Janssen, and Purdue (among others), and was a paid

consultant to Cephalon and Purdue.

     230.   Dr. Portenoy was instrumental in opening the door for the regular use

of opioids to treat chronic pain. He served on the American Pain Society (“APS”) /

American Academy of Pain Medicine (“AAPM”) Guidelines Committees, which

endorsed the use of opioids to treat chronic pain, first in 1997 and again in 2009. He

was also a member of the board of APF, an advocacy organization almost entirely

funded by Defendants.

     231.   Dr. Portenoy also made frequent media appearances promoting opioids

and spreading misrepresentations. He appeared on Good Morning America in 2010

to discuss the use of opioids long-term to treat chronic pain. On this widely watched



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program, Dr. Portenoy claimed: “Addiction, when treating pain, is distinctly

uncommon. If a person does not have a history, a personal history, of substance

abuse, and does not have a history in the family of substance abuse, and does not

have a very major psychiatric disorder, most doctors can feel very assured that that

person is not going to become addicted.” 43

     232.    Portenoy has recently admitted that he “gave innumerable lectures in

the late 1980s and ‘90s about addiction that weren’t true.” These lectures falsely

claimed that fewer than 1% of patients would become addicted to opioids.

     233.    According to Dr. Portenoy, because the primary goal was to

“destigmatize” opioids, he and other doctors promoting them overstated their

benefits and glossed over their risks. Dr. Portenoy also conceded that “[d]ata about

the effectiveness of opioids does not exist.” 44 Portenoy candidly stated: “Did I teach

about pain management, specifically about opioid therapy, in a way that reflects

misinformation? Well, . . . I guess I did.” 45

                                b. Lynn Webster

     234.    Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical

Director of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt

Lake City, Utah. Dr. Webster was President in 2013 and is a current board member




43 Good Morning America television broadcast, ABC News (Aug. 30, 2010).
44 Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts,
Wall St. J., Dec. 17, 2012.
45 Id.


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of AAPM, a front group that ardently supports chronic opioid therapy. 46 He is a

Senior Editor of Pain Medicine, the same journal that published Endo special

advertising supplements touting Opana ER. Dr. Webster was the author of

numerous CMEs sponsored by Cephalon, Endo, and Purdue. At the same time, Dr.

Webster was receiving significant funding from the Manufacturing Defendants

(including nearly $2 million from Cephalon).

     235.   Dr. Webster had been under investigation for overprescribing by the

DEA, which raided his clinic in 2010. More than 20 of Dr. Webster’s former patients

at the Lifetree Clinic have died of opioid overdoses. Ironically, Dr. Webster created

and promoted the Opioid Risk Tool, a five question, one-minute screening tool

relying on patient self-reports that purportedly allows doctors to manage the risk

that their patients will become addicted to or abuse opioids. The claimed ability to

pre-sort patients likely to become addicted is an important tool in giving doctors

confidence to prescribe opioids long-term, and for this reason, references to

screening appear in various industry-supported guidelines. Versions of Dr.

Webster’s Opioid Risk Tool appear on, or are linked to, websites run by Endo,

Janssen, and Purdue. In 2011, Dr. Webster presented, via webinar, a program

sponsored by Purdue titled, Managing Patient’s Opioid Use: Balancing the Need

and the Risk. Dr. Webster recommended use of risk screening tools, urine testing,

and patient agreements to prevent “overuse of prescriptions” and “overdose deaths.”



46Journal supplements are paid for by drug manufacturers and, although they may
be designed to blend into the rest of the journal, are not peer-reviewed and
constitute drug company advertising.
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This webinar was available to and was intended to reach doctors that wrote opioid

prescriptions for Plaintiff and the Workers’ Compensation Payors.

     236.    Dr. Webster also was a leading proponent of the concept of

“pseudoaddiction,” the notion that addictive behaviors should be seen not as

warnings, but as indications of undertreated pain. In Dr. Webster’s description, the

only way to differentiate the two was to increase a patient’s dose of opioids. As he

and his co-author wrote in a book entitled Avoiding Opioid Abuse While Managing

Pain (2007), when faced with signs of aberrant behavior, increasing the dose “in

most cases . . . should be the clinician’s first response.” Endo distributed this book to

doctors. Years later, Dr. Webster reversed himself, acknowledging that

“[pseudoaddiction] obviously became too much of an excuse to give patients more

medication.” 47

              ii.   “Research” that lacked supporting evidence.

     237.    Rather than find a way to validly test the safety and efficacy of opioids

for long-term use, the Manufacturing and Front Group Defendants led people to

believe that they already had.

     238.    The Manufacturing and Front Group Defendants created a body of

false, misleading, and unsupported medical and popular literature about opioids

that (a) understated the risks and overstated the benefits of long-term use; (b)




 John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, Milwaukee
47

Wisc. J. Sentinel (Feb. 19, 2012).
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appeared to be the result of independent, objective research; and (c) was thus more

likely to shape the perceptions of prescribers, patients and payors.

     239.     This literature was, in fact, marketing material focused on persuading

doctors and consumers that the benefits of long-term opioid use outweighed the

risks.

     240.     To accomplish this, the Manufacturing and Front Group Defendants—

sometimes through third-party consultants and/or advocacy organizations—

commissioned, edited, and arranged for the placement of favorable articles in

academic journals. Defendants’ internal documents reveal plans to submit research

papers and “studies” to long lists of journals, including back-up options and last

resort, “fast-track” application journals, that they could use if the pending paper

was rejected everywhere else.

     241.     The Manufacturing and Front Group Defendants coordinated the

timing and publication of manuscripts, abstracts, posters/oral presentations, and

educational materials in peer-reviewed journals and other publications to support

the launch and sales of their drugs.

            (a) The plans for these materials did not originate in the departments

within the Defendant organizations that were responsible for research, development

or any other area that would have specialized knowledge about the drugs and their

effects on patients, but in the Manufacturing Defendants’ marketing departments

and with Defendants’ marketing and public relations consultants.




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            (b) The Manufacturing and Front Defendants often relied on “data on file”

or presented posters, neither of which are subject to peer review.

            (c) They also published their articles not through a competitive process,

but in paid journal supplements, which allowed Defendants to publish, in nationally

circulated journals, studies supportive of their drugs.

     242.     The Manufacturing and Front Defendants also made sure that

favorable articles were disseminated and cited widely in the medical literature,

even where references distorted the significance or meaning of the underlying

study.

     243.     For example, Purdue promoted a 1980 reference in the well-respected

New England Journal of Medicine: J. Porter & H. Jick, Addiction Rare in Patients

Treated with Narcotics, 302(2) New Eng. J. Med. 123 (1980) (“Porter-Jick Letter”),

which has been be cited frequently in articles appearing on Google Scholar. It also

appears as a reference in two CME programs in 2012 sponsored by Purdue and

Endo. 48 Defendants, and those acting on their behalf, fail to reveal that this “article”

is actually a letter-to-the-editor and not a peer-reviewed study (or any kind of study

at all). The Porter-Jick Letter, reproduced in full below, describes a review of the

charts of hospitalized patients who had received opioids. (Because it was a 1980




48AAPM, Safe Opioid Prescribing Course, February 25-26, 2012, sponsored by
Purdue and Endo; “Chronic Pain Management and Opioid Use,” October 11, 2012,
sponsored by Purdue. Each CME is available for online credit, including to
prescribers that wrote opioid prescriptions for Plaintiff and the Workers’
Compensation Payors.
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study, standards of care almost certainly would have limited opioids to acute or end-

of-life situations, not chronic pain.)

     244.    The Porter-Jick Letter notes that, when these patients’ records were

reviewed, it found almost no references to signs of addiction, though there is no

indication that caregivers were instructed to assess or document signs of addiction.

None of these serious limitations is disclosed when Defendants, or those acting on

their behalf, cite the Porter-Jick Letter, typically as the sole scientific support for

the proposition that opioids are rarely addictive, even when taken long-term. In

fact, Dr. Jick later complained that his letter had been distorted and misused.




     245.    The Manufacturing and Front Group Defendants worked not only to

create or elevate favorable studies in the literature, but to discredit or bury negative

information. The Manufacturing and Front Group Defendants’ studies and articles

often targeted articles that contradicted the Manufacturing Defendants’ claims or


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raised concerns about chronic opioid therapy. In order to do so, the Manufacturing

Defendants—often with the help of third-party consultants—targeted a broad range

of media to get their message out, including negative review articles, letters to the

editor, commentaries, case-study reports, and newsletters.

     246.    The Manufacturing and Front Group Defendants’ strategies—first, to

plant and promote supportive literature and then, to cite the pro-opioid evidence in

their promotional materials, while failing to disclose evidence that contradicts those

claims—are in dereliction of their legal obligations.

     247.    The Manufacturing and Front Group Defendants’ strategies were

intended to, and did, knowingly and intentionally distort the truth regarding the

risks, benefits and superiority of opioids for chronic pain relief resulting in distorted

prescribing patterns.

             iii.   Treatment Guidelines.

     248.    Treatment guidelines have been particularly important in securing

acceptance for chronic opioid therapy. They are relied upon by doctors, especially

the general practitioners and family doctors targeted by Defendants, who are

otherwise not experts, nor trained, in the treatment of chronic pain. Treatment

guidelines not only directly inform doctors’ prescribing practices, but are cited

throughout the scientific literature and referenced by third-party payors (including

Workers’ Compensation Payors) in determining whether they should cover

treatments for specific indications. Furthermore, Endo’s internal documents




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indicate that pharmaceutical sales representatives employed by Endo, Actavis, and

Purdue discussed treatment guidelines with doctors during individual sales visits.

                                a. Federation of State Medical Boards

    249.    The Federation of State Medical Boards (“FSMB”) is a trade

organization representing the various state medical boards in the United States.

The state boards that comprise the FSMB membership have the power to license

doctors, investigate complaints, and discipline physicians. The FSMB finances

opioid- and pain-specific programs through grants from Defendants.

    250.    In 1998, the FSMB developed Model Guidelines for the Use of

Controlled Substances for the Treatment of Pain (“FSMB Guidelines”), which FSMB

admitted was produced “in collaboration with pharmaceutical companies.” The

FSMB Guidelines taught not that opioids could be appropriate in limited cases or

after other treatments had failed, but that opioids were “essential” for treatment of

chronic pain, including as a first prescription option. The FSMB Guidelines failed to

mention risks relating to respiratory depression and overdose, and they discussed

addiction only in the sense that “inadequate understandings” of addiction can lead

to “inadequate pain control.”

    251.    A 2004 iteration of the FSMB Guidelines and the 2007 book adapted

from the 2004 guidelines, Responsible Opioid Prescribing, also make these same

claims. These guidelines were posted online and were available to and intended to

reach physicians that wrote opioid prescriptions paid for by Plaintiff and the

Workers’ Compensation Payors for their claimants.



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     252.    The publication of Responsible Opioid Prescribing was backed largely

by drug manufacturers, including Cephalon, Endo, and Purdue. The FSMB financed

the distribution of Responsible Opioid Prescribing by its member boards by

contracting with drug companies, including Endo and Cephalon, for bulk sales and

distribution to sales representatives (for distribution to prescribing doctors).

     253.    In all, 163,131 copies of Responsible Opioid Prescribing were

distributed to state medical boards (and through the boards, to practicing doctors),

and the FSMB benefitted by earning approximately $250,000 in revenue and

commissions from their sale. The FSMB website describes the book as the “leading

continuing medication education (CME) activity for prescribers of opioid

medications.”

     254.    Drug companies relied on FSMB guidelines to convey the message that

“under-treatment of pain” would result in official discipline, but no discipline would

result if opioids were prescribed as part of an ongoing patient relationship and

prescription decisions were documented. FSMB turned doctors’ fear of discipline on

its head—doctors, who used to believe that they would be disciplined if their

patients became addicted to opioids, were taught that they would be punished

instead if they failed to prescribe opioids to their patients with pain.

     255.    FSMB, subsequently moderated its stance. Although the 2012 revision

of Responsible Opioid Prescribing continued to teach that “pseudoaddiction” is real

and that opioid addiction risk can be managed through risk screening, it no longer




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recommended chronic opioid therapy as a first choice after the failure of over-the-

counter medication and has heightened its addiction and risk warnings.

                              b. AAPM/APS Guidelines

     256.   AAPM and the APS are professional medical societies, each of which

received substantial funding from Defendants from 2009 to 2013 (with AAPM

receiving over $2 million).

     257.   The AAPM and the APS issued a consensus statement in 1997, The Use

of Opioids for the Treatment of Chronic Pain, which endorsed opioids to treat

chronic pain and claimed that the risk that patients would become addicted to

opioids was low. 49 The co-author of the statement, Dr. Haddox, was, at the time, a

paid speaker for Purdue. Dr. Portenoy was the sole consultant. The consensus

statement, which also formed the foundation of the FSMB Guidelines, remained on

AAPM’s website until 2011.

     258.   AAPM and APS issued their own guidelines in 2009 (“2009 Guidelines”

or “Consensus Recommendation”) and continued to recommend the use of opioids to

treat chronic pain. 50 Fourteen of the 21 panel members who drafted the AAPM/APS




49 Consensus statement, The Use of Opioids for the Treatment of Chronic Pain, APS
& AAPM (1997), available at https://www.stgeorgeutah.com/wp-
content/uploads/2016/05/OPIOIDES.DOLORCRONICO.pdf (accessed November
2, 2019).
50 Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in

Chronic Noncancer Pain, 10(2) The J. of Pain: Official J. of the Am. Pain Soc’y 113-
130 (2009).


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Guidelines, including KOLs Dr. Portenoy and Dr. Perry Fine of the University of

Utah, received support from Janssen, Cephalon, Endo, and Purdue.

     259.   The 2009 Guidelines promote opioids as “safe and effective” for treating

chronic pain, despite acknowledging limited evidence, and conclude that the risk of

addiction is manageable for patients regardless of past abuse histories.

     260.   One panel member, Dr. Joel Saper, Clinical Professor of Neurology at

Michigan State University and founder of the Michigan Headache & Neurological

Institute, resigned from the panel because of his concerns that the 2009 Guidelines

were influenced by contributions that drug companies, including Defendants, made

to the sponsoring organizations and committee members. These AAPM/APS

Guidelines have been a particularly effective channel of deception and have

influenced not only treating physicians, but also the body of scientific evidence on

opioids; the Guidelines went on to be cited often in academic literature, were widely

disseminated during the relevant time period, are still available online 51, and were

reprinted in the Journal of Pain.

     261.   Defendants widely referenced and promoted the 2009 Guidelines

without disclosing the acknowledged lack of evidence to support them.

                              c. American Geriatrics Society

     262.   The American Geriatrics Society (“AGS”), a nonprofit organization

serving health care professionals who work with the elderly, disseminated


51 See e.g., https://www.stgeorgeutah.com/wp-
content/uploads/2016/05/OPIOIDES.DOLORCRONICO.pdf (accessed November
2, 2019).

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guidelines regarding the use of opioids for chronic pain in 2002 (The Management of

Persistent Pain in Older Persons, hereinafter “2002 AGS Guidelines”) and 2009

(Pharmacological Management of Persistent Pain in Older Persons, hereinafter

“2009 AGS Guidelines”).

     263.   The 2009 AGS Guidelines included the following recommendations: “All

patients with moderate to severe pain . . . should be considered for opioid therapy

(low quality of evidence, strong recommendation),” and “the risks [of addiction] are

exceedingly low in older patients with no current or past history of substance

abuse.” 52 These recommendations, which continue to appear on AGS’s website, are

not supported by any study or other reliable scientific evidence. Nevertheless, they

have been cited numerous times in Google Scholar since their 2009 publication.

     264.   AGS contracted with Defendants Endo, Purdue, and Janssen to

disseminate the 2009 Guidelines, and to sponsor CMEs based on them. These

Defendants were aware of the content of the 2009 Guidelines when they agreed to

provide funding for these projects. The 2009 Guidelines were first published online

on July 2, 2009. AGS submitted grant requests to Defendants including Endo and

Purdue beginning July 15, 2009. Internal AGS discussions in August 2009 reveal

that it did not want to receive up-front funding from drug companies, which would

suggest drug company influence, but would instead accept commercial support to




52Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am.
Geriatrics Soc’y 1331, 1339, 1342 (2009), available at
http://onlinelibrary.wiley.com/doi/10.1111/j.1526-4637.2009.00699.x/full (accessed
November 13, 2019).
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disseminate the publication. However, by drafting the guidelines knowing that

pharmaceutical company funding would be needed and allowing these companies to

determine whether to provide support only after they had approved the message,

AGS ceded significant control to these companies.

     265.   Endo, Janssen, and Purdue all agreed to provide support to distribute

the guidelines.

     266.   According to one news report, AGS has received $344,000 in funding

from opioid makers since 2009. 53 Five of 10 of the experts on the guidelines panel

disclosed financial ties to Defendants, including serving as paid speakers and

consultants, presenting CMEs sponsored by Defendants, receiving grants from

Defendants, and investing in Defendants’ stock.

     267.   The Institute of Medicine recommends that, to ensure an unbiased

result, fewer than 50% of the members of a guidelines committee should have

financial relationships with drug companies.

             c. Guidelines that did not receive Defendants’ support.

     268.   The extent of Defendants’ influence on treatment guidelines is

demonstrated by the fact that independent guidelines—the authors of which did not

accept drug company funding—reached very different conclusions.

     269.   The 2012 Guidelines for Responsible Opioid Prescribing in Chronic

Non-Cancer Pain, issued by the American Society of Interventional Pain Physicians




 John Fauber & Ellen Gabler, Narcotic Painkiller Use Booming Among Elderly,
53

Milwaukee J. Sentinel (May 30, 2012).

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(“ASIPP”), warned that “[t]he recent revelation that the pharmaceutical industry

was involved in the development of opioid guidelines as well as the bias observed in

the development of many of these guidelines illustrate that the model guidelines are

not a model for curtailing controlled substance abuse and may, in fact, be

facilitating it.” ASIPP’s Guidelines further advise that “therapeutic opioid use,

specifically in high doses over long periods of time in chronic non-cancer pain

starting with acute pain, not only lacks scientific evidence, but is in fact associated

with serious health risks including multiple fatalities, and is based on emotional

and political propaganda under the guise of improving the treatment of chronic

pain.” ASIPP recommends long-acting opioids in high doses only “in specific

circumstances with severe intractable pain” and only when coupled with

“continuous adherence monitoring, in well-selected populations, in conjunction with

or after failure of other modalities of treatments with improvement in physical and

functional status and minimal adverse effects.” 54

     270.   Similarly, the 2011 Guidelines for the Chronic Use of Opioids, issued by

the American College of Occupational and Environmental Medicine, recommend

against the “routine use of opioids in the management of patients with chronic

pain,” finding “at least moderate evidence that harms and costs exceed benefits




54Laxmaiah Manchikanti, et al., American Society of Interventional Pain
Physicians (ASIPP) Guidelines for Responsible Opioid Prescribing in Chronic Non-
Cancer Pain: Part 1, Evidence Assessment, 15 Pain Physician (Special Issue) S1-
S66; Part 2 – Guidance, 15 Pain Physician (Special Issue) S67-S116 (2012).

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based on limited evidence,” while conceding there may be patients for whom opioid

therapy is appropriate. 55

     271.   The Clinical Guidelines on Management of Opioid Therapy for Chronic

Pain, issued by the U.S. Department of Veterans Affairs (“VA”) and Department of

Defense (“DOD”) in 2010, noted that their review:

      revealed the lack of solid evidence based research on the efficacy of
      long-term opioid therapy. Almost all of the randomized trials of opioids
      for chronic non-cancer pain were short-term efficacy studies. Critical
      research gaps . . . include: lack of effectiveness studies on long-term
      benefits and harms of opioids . . .; insufficient evidence to draw strong
      conclusions about optimal approaches to risk stratification . . .; lack of
      evidence on the utility of informed consent and opioid management
      plans . . .; and treatment of patients with chronic non-cancer pain at
      higher risk for drug abuse or misuse. 56

             iv.   Continuing medical education.

     272.   CMEs are ongoing professional education programs provided to doctors.

Doctors are required to attend a certain number and, often, type of CME programs

each year as a condition of their licensure. These programs are delivered in person,

often in connection with professional organizations’ conferences, online, or through

written publications. Doctors rely on CMEs not only to satisfy licensing

requirements, but to get information on new developments in medicine or to deepen

their knowledge in specific areas of practice. Because CMEs are typically delivered



55 American College of Occupational and Environmental Medicine’s Guidelines for
the Chronic Use of Opioids, (2011), available at: https://www.nhms.org/sites/
default/files/Pdfs/ACOEM%202011-Chronic%20Pain%20Opioid%20.pdf (accessed
February 18, 2019).
56 Management of Opioid Therapy for Chronic Pain Working Group, VA/DoD

Clinical Practice Guideline for Management of Opioid Therapy for Chronic Pain
(May 2010).
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by KOLs who are highly respected in their fields, and are thought to reflect these

physicians’ medical expertise, they can be especially influential with doctors.

     273.   The countless doctors and other health care professionals who

participate in accredited CMEs constitute an enormously important audience for

opioid reeducation. As one target, Defendants aimed to reach general practitioners,

whose broad area of focus and lack of specialized training in pain management

made them particularly dependent upon CMEs and, as a result, especially

susceptible to Defendants’ deceptions.

     274.   In all, Defendants sponsored CMEs that were delivered thousands of

times, promoting chronic opioid therapy and supporting and disseminating the

deceptive and biased messages described in this Complaint. These CMEs, while

often generically titled to relate to the treatment of chronic pain, focused on opioids

to the exclusion of alternative treatments, inflated the benefits of opioids, and

frequently omitted or downplayed their risks and adverse effects.

     275.   The American Medical Association (“AMA”) has recognized that support

from drug companies with a financial interest in the content being promoted

“creates conditions in which external interests could influence the availability

and/or content” of the programs and urges that “[w]hen possible, CME[s] should be

provided without such support or the participation of individuals who have financial

interests in the educational subject matter.” 57




57Opinion 9.0115, Financial Relationships with Industry in CME, Am. Med. Ass’n
(Nov. 2011).
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      276.     Dozens of CMEs that were available to and attended or reviewed by

doctors that wrote opioid prescriptions paid for by Plaintiff and the Workers’

Compensation Payors during the relevant time period did not live up to the AMA’s

standards.

      277.     The influence of Defendants’ funding on the content of these CMEs is

clear.

      278.     One study by a Georgetown University Medical Center professor

compared the messages retained by medical students who reviewed an industry-

funded CME article on opioids versus another group who reviewed a non-industry-

funded CME article. The industry-funded CME did not mention opioid-related

death once; the non-industry-funded CME mentioned opioid-related death 26 times.

Students who read the industry-funded article more frequently noted the

impression that opioids were underused in treating chronic pain. The “take-aways”

of those reading the non-industry-funded CMEs mentioned the risks of death and

addiction much more frequently than the other group. Neither group could

accurately identify whether the article they read was industry-funded, making clear

the difficulty health care providers have in screening and accounting for source

bias. 58




58Adriane Fugh-Berman, Marketing Messages in Industry-Funded CME,
PharmedOut (June 25, 2010).
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     279.    By sponsoring CME programs presented by Front Groups like APF,

AAPM, and others, Defendants could expect messages to be favorable to them, as

these organizations were otherwise dependent on Defendants for other projects.

     280.    The sponsoring organizations honored this principle by hiring pro-

opioid KOLs to give talks that supported chronic opioid therapy. Defendant-driven

content in these CMEs had a direct and immediate effect on prescribers’ views on

opioids. Producers of CMEs and Defendants measured the effects of CMEs on

prescribers’ views on opioids and their absorption of specific messages, confirming

the strategic marketing purpose in supporting them.

               v.      Unbranded patient education.

     281.    Pharmaceutical industry marketing experts see patient-focused

advertising, including direct-to-consumer marketing, as particularly valuable in

“increas[ing] market share . . . by bringing awareness to a particular disease that

the drug treats.” 59

     282.    Evidence also demonstrates that physicians are willing to acquiesce to

patient demands for a particular drug—even for opioids and for conditions for which

they are not generally recommended. 60




59 Kanika Johar, An Insider’s Perspective: Defense of the Pharmaceutical Industry’s
Marketing Practices, 76 Albany L. Rev. 299, 308 (2013).
60 Prescribers often accede to patient requests. According to one study, nearly 20%

of sciatica patients requesting oxycodone would receive a prescription for it,
compared with 1% making no request. More than half of patients requesting a
strong opioid received one. J.B. McKinlay et al., Effects of Patient Medication
Requests on Physician Prescribing Behavior, 52(2) Med. Care 294 (2014).
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    283.    An Actavis marketing plan, for example, noted that “[d]irect-to-

consumer marketing affects prescribing decisions.”

    284.    The Manufacturing Defendants put their relationships with Front

Groups to work to engage in largely unbranded patient education about opioid

treatment for chronic pain.

    285.    The drug companies expected and continue to expect that they will

recoup their investment in direct-to-consumer advertisements by capturing at least

some of any additional prescriptions that result from patients “asking their doctor”

about drugs that can treat their pain. Doctors also may review direct-to-consumer

materials sales representatives give them to distribute to patients.

             vi.   The Manufacturing Defendants’ use of front groups.

    286.    As noted above, Defendants Cephalon, Endo, Janssen, and Purdue

entered into arrangements with numerous organizations to promote opioids. These

organizations depend upon the Manufacturing Defendants for significant funding

and, in some cases, for their survival. They were involved not only in generating

materials and programs for doctors and patients that supported chronic opioid

therapy, but also in assisting the Manufacturing Defendants’ marketing in other

ways—for example, responding to negative articles and advocating against

regulatory changes that would constrain opioid prescribing. They developed and

disseminated pro-opioid treatment guidelines; conducted outreach to groups

targeted by the Manufacturing Defendants, such as veterans and the elderly; and

developed and sponsored CMEs that focused exclusively on the use of opioids to



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treat chronic pain. The Manufacturing Defendants funded these Front Groups in

order to ensure supportive messages from these seemingly neutral and credible

third parties, and their funding did, in fact, ensure such supportive messages.

     287.    Several representative examples of such Front Groups are highlighted

below, but there are others, too, such as APS, AGS, FSMB, American Chronic Pain

Association (“ACPA”), AAPM, American Society of Pain Educators (“ASPE”), NPF,

and PPSG.

                              a. American Pain Foundation

     288.    The most prominent of the Front Groups was APF, which received more

than $10 million in funding from opioid manufacturers from 2007 until it closed its

doors in May 2012. Endo alone provided more than half of that funding; Purdue was

next, at $1.7 million.

     289.    APF issued education guides for patients, reporters, and policymakers

that touted the benefits of opioids for chronic pain and trivialized their risks,

particularly the risk of addiction. APF also launched a campaign to promote opioids

for returning veterans, which has contributed to high rates of addiction and other

adverse outcomes—including death—among returning soldiers. APF also engaged

in a significant multimedia campaign—through radio, television and the internet—

to educate patients about their “right” to pain treatment, namely opioids. All of the

programs and materials were available nationally and were intended to reach

prescribers that wrote opioid prescriptions paid for by Plaintiff and other Workers’

Compensation Payors.



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     290.   In addition to Perry Fine, Russell Portenoy, and Scott Fishman, who

served on APF’s Board and reviewed its publications, another board member, Lisa

Weiss, was an employee of a public relations firm that worked for both Purdue and

APF.

     291.   In 2009 and 2010, more than 80% of APF’s operating budget came from

pharmaceutical industry sources. Including industry grants for specific projects,

APF received about $2.3 million from industry sources out of total income of about

$2.85 million in 2009; its budget for 2010 projected receipts of roughly $2.9 million

from drug companies out of total income of about $3.5 million. By 2011, APF was

entirely dependent on incoming grants from Defendants Purdue, Cephalon, Endo,

and others to avoid using its line of credit. As one of its board members, Russell

Portenoy, explained, the lack of funding diversity was one of the biggest problems at

APF.

     292.   APF held itself out as an independent patient advocacy organization. It

often engaged in grassroots lobbying against various legislative initiatives that

might limit opioid prescribing, and thus the profitability of its sponsors. It was often

called upon to provide “patient representatives” for the Manufacturing Defendants’

promotional activities, including for Purdue’s Partners Against Pain and Janssen’s

Let’s Talk Pain. As laid out below, APF functioned largely as an advocate for the

interests of the Manufacturing Defendants, not patients.

     293.   In practice, APF operated in close collaboration with opioid makers. On

several occasions, representatives of the drug companies, often at informal meetings



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at Front Group conferences, suggested activities and publications APF could

pursue. APF then submitted grant proposals seeking to fund these activities and

publications, knowing that drug companies would support projects conceived as a

result of these communications.

     294.   APF assisted in other marketing projects for drug companies. One

project funded by another drug company—APF Reporter’s Guide: Covering Pain and

Its Management (2008) 61—recycled text that was originally created as part of the

company’s training document.

     295.   The same drug company made general grants, but even then, it

directed how APF used them. In response to an APF request for funding to address

a potentially damaging state Medicaid decision related to pain medications

generally, the company representative responded, “I provided an advocacy grant to

APF this year—this would be a very good issue on which to use some of that. How

does that work?”

     296.   The close relationship between APF and the drug company was not

unique, but in fact mirrors the relationships between APF and the Manufacturing

Defendants. APF’s clear lack of independence—in its finances, management, and

mission—and its willingness to allow the Manufacturing Defendants to control its

activities and messages, support an inference that each Defendant that worked with

APF was able to exercise editorial control over its publications.




61https://assets.documentcloud.org/documents/277606/apf-reporters-guide.pdf
(accessed February 18, 2019).
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       297.    Indeed, the U.S. Senate Finance Committee began looking into APF in

May 2012 to determine the links, financial and otherwise, between the organization

and the manufacturers of opioid painkillers.

       298.    The Finance Committee’s investigation caused considerable damage to

APF’s credibility as an objective and neutral third party and the Manufacturing

Defendants stopped funding it.

       299.    Within days of being targeted by Senate investigation, APF’s board

voted to dissolve the organization “due to irreparable economic circumstances.” APF

“cease[d] to exist, effective immediately.” 62

                               b. The American Academy of Pain Medicine

       300.    The American Academy of Pain Medicine (“AAPM”), with the

assistance, prompting, involvement, and funding of the Manufacturing Defendants,

issued treatment guidelines and sponsored and hosted medical education programs

essential to Defendants’ deceptive marketing of chronic opioid therapy.

       301.    AAPM has received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintains a corporate relations council, whose members pay

$25,000 per year (on top of other funding) to participate. The benefits include

allowing members to present educational programs at off-site dinner symposia in

connection with AAPM’s marquee event—its annual meeting held in Palm Springs,

California, or other resort locations. AAPM describes the annual event as an

“exclusive venue” for offering education programs to doctors.



62   http://www.painfoundation.org (last visited May 30, 2017).
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     302.     Membership in the corporate relations council also allows drug

company executives and marketing staff to meet with AAPM executive committee

members in small settings.

     303.     Defendants Endo, Purdue, Cephalon and Actavis were members of the

council and presented deceptive programs to doctors who attended this annual

event.

     304.     AAPM is viewed internally by Endo as “industry friendly,” with Endo

advisors and speakers among its active members.

     305.     Endo attended AAPM conferences, funded its CMEs, and distributed its

publications.

     306.     The conferences sponsored by AAPM heavily emphasized sessions on

opioids—37 out of roughly 40 at one conference alone. AAPM’s presidents have

included top industry-supported KOLs Perry Fine, Russell Portenoy, and Lynn

Webster. Dr. Webster was even elected president of AAPM while under a DEA

investigation. Another past AAPM president, Dr. Scott Fishman, stated that he

would place the organization “at the forefront” of teaching that “the risks of

addiction are . . . small and can be managed.” 63

     307.     AAPM’s staff understood that they and their industry funders were

engaged in a common practice.




63Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of
Anesthesiology and Pain Medicine, Chief of the Division of Pain Medicine, Univ. of
Cal., Davis (2005).
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     308.     The Manufacturing Defendants were able to influence AAPM through

both their significant and regular funding, and the leadership of pro-opioid KOLs

within the organization.

            C. The Manufacturing Defendants acted in concert with KOLs
               and Front Groups in the creation, promotions, and control of
               unbranded marketing.

     309.     Like cigarette manufacturers, which engaged in an industry-wide effort

to misrepresent the safety and risks of smoking, the Manufacturing Defendants

worked with each other and with the Front Groups and KOLs they funded and

directed to carry out a common scheme to deceptively present the risks, benefits,

and superiority of opioids to treat chronic pain.

     310.     The Manufacturing Defendants acted through and with the same

network of Front Groups, funded the same KOLs, and often used the very same

language and format to disseminate the same deceptive messages. These KOLs

have worked reciprocally with the Manufacturing Defendants to promote

misleading messaging regarding the appropriate use of opioids to treat chronic pain.

Although participants knew this information was false and misleading, these

misstatements were nevertheless disseminated to prescribers and the claimants of

Plaintiff and the Workers’ Compensation Payors.

                     (a) Pain Care Forum

     311.     One vehicle for their collective collaboration was Pain Care Forum

(“PCF”). PCF began in 2004 as an APF project with the stated goals of offering “a

setting where multiple organizations can share information” and to “promote and


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support taking collaborative action regarding federal pain policy issues.” APF

President Will Rowe described the Forum as “a deliberate effort to positively merge

the capacities of industry, professional associations, and patient organizations.”

     312.   PCF is comprised of representatives from opioid manufacturers and

distributors (including Cephalon, Endo, Janssen, and Purdue); doctors and nurses

in the field of pain care; professional organizations (e.g., American Academy of Pain

Management, APS, and American Society of Pain Educators); patient advocacy

groups (e.g., APF and ACPA); and other like-minded organizations (e.g., FSMB and

Wisconsin Pain & Policy Studies Group), almost all of which received substantial

funding from the Manufacturing Defendants.

     313.   PCF, for example, developed and disseminated “consensus

recommendations” for a Risk Evaluation and Mitigation Strategy (“REMS”) for

long-acting opioids that the FDA mandated in 2009 to communicate the risks of

opioids to prescribers and patients. 64 This was critical as a REMS that went too far

in narrowing the uses or benefits, or highlighting the risks of chronic opioid

therapy, would deflate the Manufacturing Defendants’ marketing efforts. The

recommendations—drafted by Will Rowe of APF—claimed that opioids were

“essential” to the management of pain, and that the REMS “should acknowledge the

importance of opioids in the management of pain and should not introduce new




64 The FDA can require a drug maker to develop a REMS—which could entail (as in
this case) an education requirement or distribution limitation—to manage serious
risks associated with a drug.

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barriers.” 65 The Manufacturing Defendants worked with PCF members to limit the

reach and manage the message of the REMS, which enabled them to maintain, and

not undermine, their deceptive marketing of opioids for chronic pain.

     V.      Why Defendants’ marketing is misleading and unfair.

      314.       The marketing of opioids for long-term use to treat chronic pain, both

directly and with and through third parties, included information that was false,

misleading, contrary to credible scientific evidence and their own labels, and lacked

balance and substantiation. Their marketing materials omitted material

information about the risks of opioids while overstating their benefits. Defendants

moreover inaccurately suggested that chronic opioid therapy was supported by

evidence and failed to disclose the lack of evidence in support of treating chronic

pain with opioids.

      315.       There are seven primary misleading and unfounded representations

Defendants and the third parties with which they teamed made:

             •   misrepresented that opioids improve function;

             •   concealed the link between long-term use of opioids and addiction;

             •   misrepresented that addiction risk can be managed;

             •   masked the signs of addiction by calling them “pseudoaddiction”;

             •   falsely claimed withdrawal is easily managed;




65Defendants also agreed that short-acting opioids should also be included in REMS
as not to disadvantage the long-acting, branded drugs.

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            •   misrepresented or omitted the greater dangers from higher doses of

                opioids; and

            •   deceptively minimized the adverse effects of opioids and overstated the

                risks of NSAIDs.

     316.       In addition to these misstatements, Purdue purveyed an eighth

deception that OxyContin provides a full 12 hours of pain relief.

     317.       Exacerbating each of these misrepresentations and deceptions was the

collective effort of Defendants and third parties to hide from the medical community

the fact that the FDA “is not aware of adequate and well-controlled studies of opioid

use longer than 12 weeks.” 66

            A. Regulations governing branded promotion require that it be
               truthful, balanced, and supported by substantial evidence.

     318.       Each of the following materials was created with the expectation that,

by instructing patients and prescribers that opioids would improve patients’

function and quality of life, patients would demand opioids and doctors would

prescribe them. These claims also encouraged doctors to continue opioid therapy in

the belief that failure to improve pain, function, or quality of life, could be overcome

by increasing dosage or prescribing supplemental short-acting opioids to take on an

as-needed basis for breakthrough pain.




 Letter from Janet Woodcock, M.D., Dir., Ctr. for Drug Eval. & Res., to Andrew
66

Kolodny, M.D., Pres. Physicians for Responsible Opioid Prescribing, Re Docket No.
FDA-2012-P-0818 (Sept. 10, 2013).

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     319.    Not only is there no evidence of improvement in long-term functioning,

a 2006 study-of-studies found that “[f]or functional outcomes . . . other analgesics

were significantly more effective than were opioids.” 67 Studies of the use of opioids

in chronic conditions for which they are commonly prescribed, such as low back

pain, corroborate this conclusion and have failed to demonstrate an improvement in

patients’ function. Instead, research consistently shows that long-term opioid

therapy for patients who have lower back injuries does not cause patients to return

to work or physical activity. 68 Indeed, one of Defendant’s own internal marketing

plans characterized functional improvement claims as “aspirational.” Another

acknowledged in 2012 that “[s]ignificant investment in clinical data [was] needed”

to establish opioids’ effect on mitigating quality of life issues, like social isolation.

     320.    The long-term use of opioids carries a host of serious side effects,

including addiction, mental clouding and confusion, sleepiness, hyperalgesia, and

immune-system and hormonal dysfunction that degrade, rather than improve,

patients’ ability to function. Defendants often omitted these adverse effects as well

as certain risks of drug interactions from their publications.




67 Andrea D. Furlan et al., Opioids for chronic noncancer pain: a meta-analysis of
effectiveness and side effects, 174(11) Can. Med. Ass’n J. 1589-1594 (2006). This
study revealed that efficacy studies do not typically include data on opioid
addiction, such that, if anything, the data overstate effectiveness.
68Moreover, users of opioids had the highest increase in the number of headache
days per month, scored significantly higher on the Migraine Disability Assessment
(MIDAS), and had higher rates of depression, compared to non-opioid users. They
also were more likely to experience sleepiness, confusion, and rebound headaches,
and reported a lower quality of life than patients taking other medications.
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     321.   Yet each of the following statements made by Defendants suggests that

the long-term use of opioids improve patients’ function and quality of life, and that

scientific evidence supports this claim.



 Actavis         a. Documents from a 2010 sales training indicate that Actavis
                    trained its sales force to instruct prescribers that “most chronic
                    benign pain patients do have markedly improved ability to
                    function when maintained on chronic opioid therapy.”
                    (Emphasis added.)

                 b. Documents from a 2010 sales training indicate that Actavis
                    trained its sales force that increasing and restoring function is
                    an expected outcome of chronic Kadian therapy, including
                    physical, social, vocational, and recreational function.

                 c. Actavis distributed a product advertisement that claimed that
                    use of Kadian to treat chronic pain would allow patients to
                    return to work, relieve “stress on your body and your mental
                    health,” and cause patients to enjoy their lives. The FDA
                    warned Actavis that such claims were misleading, writing:
                    “We are not aware of substantial evidence or substantial
                    clinical experience demonstrating that the magnitude of the
                    effect of the drug has in alleviating pain, taken together with
                    any drug-related side effects patients may experience . . .
                    results in any overall positive impact on a patient’s work,
                    physical and mental functioning, daily activities, or enjoyment
                    of life.” 69

                 d. Actavis sales representatives told prescribers who wrote opioid
                    prescriptions paid for by Plaintiff and the Workers’
                    Compensation Payors that prescribing Actavis’s opioids would
                    improve their patients’ ability to function and improve their
                    quality of life.


69 Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., &
Commc’ns, to Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18. 2010), available
at
http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/Enforcement
ActivitiesbyFDA/WarningLettersandNoticeofViolationLetterstoPharmaceuticalCom
panies/ucm259240.htm.
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Cephalon    e. Cephalon sponsored the FSMB’s Responsible Opioid
               Prescribing (2007), which taught that relief of pain itself
               improved patients’ function. Responsible Opioid Prescribing
               explicitly describes functional improvement as the goal of a
               “long-term therapeutic treatment course.” Cephalon also
               spent $150,000 to purchase copies of the book in bulk and
               distributed the book through its pain sales force to 10,000
               prescribers and 5,000 pharmacists.

            f. Cephalon sponsored the American Pain Foundation’s
               Treatment Options: A Guide for People Living with Pain
               (2007), which taught patients that opioids, when used properly
               “give [pain patients] a quality of life we deserve.” The
               Treatment Options Guide notes that non-steroidal anti-
               inflammatory drugs have greater risks associated with
               prolonged duration of use, but there was no similar warning
               for opioids. APF distributed 17,200 copies in one year alone,
               according to its 2007 annual report.

            g. Cephalon sponsored a CME written by key opinion leader Dr.
               Lynn Webster, titled Optimizing Opioid Treatment for
               Breakthrough Pain, which was offered online by Medscape,
               LLC from September 28, 2007, to December 15, 2008. The
               CME taught that Cephalon’s Actiq and Fentora improve
               patients’ quality of life and allow for more activities when
               taken in conjunction with long- acting opioids.

            h. Cephalon sales representatives told prescribers that wrote
               opioid prescriptions paid for the Workers’ Compensation
               Payors that opioids would increase patients’ ability to function
               and improve their quality of life.

Endo        i. Endo sponsored a website, painknowledge.com, through APF
               and NIPC, which, in 2009, claimed that with opioids, “your
               level of function should improve; you may find you are now
               able to participate in activities of daily living, such as work
               and hobbies, that you were not able to enjoy when your pain
               was worse.” Endo continued to provide funding for this
               website through 2012, and closely tracked unique visitors to it.

            j. A CME sponsored by Endo, titled Persistent Pain in the Older
               Patient, taught that chronic opioid therapy has been “shown to
               reduce pain and improve depressive symptoms and cognitive
               functioning. A CME sponsored by Endo, titled Persistent Pain
               in the Older Patient, taught that chronic opioid therapy has

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                   been “shown to reduce pain and improve depressive symptoms
                   and cognitive functioning

                k. Endo distributed handouts to prescribers that claimed that use
                   of Opana ER to treat chronic pain would allow patients to
                   perform work as a chef. This flyer also emphasized Opana
                   ER’s indication without including equally prominent disclosure
                   of the “moderate to severe pain” qualification. 70

                l. Endo’s sales force distributed FSMB’s Responsible Opioid
                   Prescribing (2007), which taught that relief of pain itself
                   improved patients’ function. Responsible Opioid Prescribing
                   explicitly describes functional improvement as the goal of a
                   “long-term therapeutic treatment course.”

                m. Endo provided grants to APF to distribute Exit Wounds to
                   veterans, which taught that opioid medications “increase your
                   level of functioning” (emphasis in the original). Exit Wounds
                   also omits warnings of the risk of interactions between opioids
                   and benzodiazepines, which would increase fatality risk.
                   Benzodiazepines are frequently prescribed to veterans
                   diagnosed with post-traumatic stress disorder.

                n. Endo sales representatives told prescribers who wrote opioid
                   prescriptions paid for by Plaintiff and the Workers’
                   Compensation Payors that opioids would increase patients’
                   ability to function and improve their quality of life by helping
                   them become more physically active and return to work.

 Janssen        o. Janssen sponsored a patient education guide titled Finding
                   Relief: Pain Management for Older Adults (2009), which its
                   personnel reviewed and approved, and its sales force
                   distributed. This guide features a man playing golf on the
                   cover and lists examples of expected functional improvement
                   from opioids, like sleeping through the night, returning to
                   work, recreation, sex, walking, and climbing stairs. The guide
                   states as a “fact” that “opioids may make it easier for people to
                   live normally” (emphasis in the original). The myth/fact
                   structure implies authoritative backing for the claims that



70FDA regulations require that warnings or limitations be given equal prominence
in disclosure, and failure to do so constitutes “misbranding” of the product. 21
C.F.R. § 202.1(e)(3); see also 21 U.S.C. §331(a).


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               does not exist. The targeting of older adults also ignored
               heightened opioid risks in this population

            p. Janssen sponsored, developed, and approved content of a
               website, Let’s Talk Pain in 2009, acting in conjunction with the
               APF, AAPM, and ASPMN, whose participation in Let’s Talk
               Pain Janssen financed and orchestrated. This website
               featured an interview, which was edited by Janssen personnel,
               claiming that opioids were what allowed a patient to “continue
               to function,” inaccurately implying her experience would be
               representative.

            q. Janssen provided grants to APF to distribute Exit Wounds to
               veterans, which taught that opioid medications “increase your
               level of functioning” (emphasis in the original). Exit Wounds
               also omits warnings of the risk of interactions between opioids
               and benzodiazepines, which would increase fatality risk.
               Benzodiazepines are frequently prescribed to veterans
               diagnosed with post-traumatic stress disorder.

            r. Janssen sales representatives told prescribers of workers’
               compensation payors that opioids would increase patients’
               ability to function and improve their quality of life by helping
               them become more physically active and return to work.

Purdue      s. Purdue ran a series of advertisements for OxyContin in 2012
               in medical journals titled “Pain vignettes,” which were case
               studies featuring patients, each with pain conditions
               persisting over several months, recommending OxyContin for
               each. One such patient, “Paul,” is described as a “54-year- old
               writer with osteoarthritis of the hands,” and the vignettes
               imply that an OxyContin prescription will help him work more
               effectively.

            t. Purdue sponsored APF’s A Policymaker’s Guide to
               Understanding Pain & Its Management, which inaccurately
               claimed that “multiple clinical studies” had shown that opioids
               are effective in improving daily function, psychological health,
               and health-related quality of life for chronic pain patients.”
               The sole reference for the functional improvement claim noted
               the absence of long-term studies and actually stated: “For
               functional outcomes, the other analgesics were significantly
               more effective than were opioids.”




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                 u. Purdue sponsored APF’s Treatment Options: A Guide for
                    People Living with Pain (2007), which counseled patients that
                    opioids, when used properly, “give [pain patients] a quality of
                    life we deserve.” APF distributed 17,200 copies in one year
                    alone, according to its 2007 annual report.

                 v. Purdue sponsored APF’s Exit Wounds (2009), which taught
                    veterans that opioid medications “increase your level of
                    functioning.” Exit Wounds also omits warnings of the risk of
                    interactions between opioids and benzodiazepines, which
                    would increase fatality risk. Benzodiazepines are frequently
                    prescribed to veterans diagnosed with post-traumatic stress
                    disorder.

                 w. Purdue sponsored the FSMB’s Responsible Opioid Prescribing
                    (2007), which taught that relief of pain itself improved
                    patients’ function. Responsible Opioid Prescribing explicitly
                    describes functional improvement as the goal of a “long-term
                    therapeutic treatment course.” Purdue also spent over
                    $ 100,000 to support distribution of the book.

                 x. Purdue sales representatives told prescribers that wrote
                    opioid prescriptions paid for by Plaintiff and the Workers’
                    Compensation Payors that opioids would increase patients’
                    ability to function and improve their quality of life.


           B. Defendants and their third-party allies concealed the truth
              about the risk of addiction from long-term opioid use.

    322.     The fraudulent representation that opioids are rarely addictive is

central to the Manufacturing Defendants’ scheme. To reach chronic pain patients,

Defendants, and the Front Groups and KOLs that they directed, assisted, and

collaborated with, had to overcome doctors’ legitimate concerns and fears that

opioids would addict their patients. The risk of addiction is an extremely weighty

risk—condemning patients to, among other things, dependence, compulsive use,

haziness, a lifetime of battling relapse, and a dramatically heightened risk of

serious injury or death. But for the Manufacturing Defendants’ campaign to

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convince doctors otherwise, finding benefits from opioid use for common chronic

pain conditions sufficient to justify that risk would have, and previously had, posed

a nearly insurmountable challenge.

     323.   Through their well-funded, comprehensive marketing efforts, the

Manufacturing Defendants and their KOLs and Front Groups were able to change

prescriber perceptions despite the well-settled historical understanding and clear

evidence that opioids taken long-term are often addictive. Defendants and their

third-party partners: (a) brazenly maintained that the risk of addiction for patients

who take opioids long-term was low; and (b) omitted the risk of addiction and abuse

from the list of adverse outcomes associated with chronic opioid use, even though

the frequency and magnitude of the risk—and the Manufacturing Defendants’ own

labels—compelled disclosure.

     324.   Further, in addition to falsely claiming opioids had low addiction risk or

omitting disclosure of the risk of addiction altogether, the Manufacturing and Front

Group Defendants employed language that conveyed to prescribers that the drugs

had lower potential for abuse and addiction. Further, in addition to making outright

misrepresentations about the risk of addiction, or failing to disclose that serious

risk at all, these defendants used code words that conveyed to prescribers that their

opioid was less prone to abuse and addiction. For instance, sales representatives for

Actavis, Endo, Janssen, and Purdue promoted their drugs as having “steady-state”

properties with the intent and expectation that prescribers would understand this

to mean that their drugs caused less of a rush or a feeling of euphoria, which can



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trigger abuse and addiction. Further, Endo actively promoted its reformulated

Opana ER on the basis that it was “designed to be crush-resistant,” suggesting both

(a) that Endo had succeeded in making the drug harder to adulterate, and (b) that it

was less addictive, in consequence. In fact, however, Endo knew that “the clinical

significance of INTAC Technology or its impact on abuse/misuse has not been

established for Opana ER” and that Opana ER could still be ground and cut into

small pieces by those looking to abuse the drug. In the same vein, Janssen denied

that Nucynta ER was an opioid and claimed that it was not addictive, and Purdue

claimed that its opioids were not favored by addicts and did not produce a buzz, all

of which falsely suggested that its opioids were less likely to be abused or addictive.

     325.    Each of the following was created with the expectation that, by

instructing patients and prescribers that addiction rates are low and that addiction

is unlikely when opioids are prescribed for pain, doctors would prescribe opioids to

more patients. For example, one publication sponsored exclusively by Purdue—

APF’s 2011 A Policymaker’s Guide to Understanding Pain & Its Management—

claimed that opioids are not prescribed often enough because of “misconceptions

about opioid addiction.” 71

     326.    Acting directly or with and through third parties, each of the

Manufacturing Defendants claimed that the potential for addiction from its drugs

was relatively small, or non-existent, even though there was no scientific evidence




71http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf
(accessed November 18, 2019).
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to support those claims, and the available research contradicted them. A 2015

literature survey found that while ranges of “problematic use” of opioids ranged

from <1% to 81%, 72 abuse averages ranged between 21% and 29% and addiction

averages between 8% and 12%. 73 These estimates are well in line with Purdue’s

own studies, showing that between 8% and 13% of OxyContin patients became

addicted, but on which Purdue chose not to rely, instead citing the Porter-Jick

letter.

       327.    The FDA has found that 20% of opioid patients use two or more

pharmacies, 26% obtain opioids from two or more prescribers, and 16.5% seek early

refills—all potential “red flags” for abuse or addiction. 74 The FDA, in fact, has

ordered manufacturers of long-acting opioids to “[c]onduct one or more studies to

provide quantitative estimates of the serious risks of misuse, abuse, addiction,

overdose and death associated with long-term use of opioid analgesics for

management of chronic pain,” in recognition of the fact that it found “high rates of

addiction” in the medical literature. 75




72Kevin Vowels et al., Rates of opioid misuse, abuse, and addiction in chronic pain:
a systematic review and data synthesis, 156 PAIN 569-76 (April 2015).Cited as basis
for the low end of that range was the 1980 Porter-Jick letter in the New England
Journal of Medicine.
73   Ibid.
 Len Paulozzi, M.D., “Abuse of Marketed Analgesics and Its Contribution to the
74

National Problem of Drug Abuse.”
75September 10, 2013 letter from Bob Rappaport, M.D., to NDA applicants of
ER/LA opioid analgesics, available at
http://www.fda.gov/downloads/Drugs/DrugSafety/InformationbyDrugClass/UCM367
697.pdf (accessed November 13, 2019).; Letter from Janet Woodcock, M.D., Dir., Ctr.
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    328.    Of course, the significant (and growing) incidence of abuse, misuse, and

addiction to opioids is also powerful evidence that Defendants’ statements regarding

the low risk of addiction were, and are, untrue. This was well-known to Defendants

who had access to sales data and reports, adverse event reports, federal abuse and

addiction-related surveillance data, and other sources that demonstrated the

widening epidemic of opioid abuse and addiction.

    329.    Acting directly or through and with third parties, each of the

Defendants claimed that the potential for addiction even from long-term use of its

drugs was relatively small, or non-existent, despite the fact that the contention was

false and there was no scientific evidence to support it. Examples of these

misrepresentations are laid out below:

 Actavis          a. Documents from a 2010 sales training indicate that Actavis
                    trained its sales force that long-acting opioids were less likely
                    to produce addiction than short-acting opioids, although there
                    is no evidence that either form of opioid is less addictive or
                    that any opioids can be taken long-term without the risk of
                    addiction.
                  b. Actavis had a patient education brochure distributed in 2007
                    that claimed addiction is possible, but it is “less likely if you
                    have never had an addiction problem.” Although the term “less
                    likely” is not defined, the overall presentation suggests the
                    risk is so low as not to be a worry.
                  c. Kadian sales representatives told prescribers that wrote
                     opioid prescriptions paid for by Plaintiff and the Workers’
                     Compensation Payors that Kadian was “steady state” and had
                     extended release mechanisms, the implication of which was
                     that it did not produce a rush or euphoric effect, and therefore
                     was less addictive and less likely to be abused.



for Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. Physicians for Responsible
Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).

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              d. Kadian sales representatives told prescribers that wrote
                opioid prescriptions paid for by Plaintiff and the Workers’
                Compensation Payors that the contents of Kadian could not be
                dissolved in water if the capsule was opened, implying that
                Kadian was less likely to be abused—and thereby less
                addictive—than other opioids.
              e. Kadian sales representatives omitted any discussion of
                 addiction risks related to Actavis’s drugs to prescribers that
                 wrote opioid prescriptions paid for by Plaintiff and the
                 Workers’ Compensation Payors.
Cephalon      f. Cephalon sponsored and facilitated the development of a
                 guidebook, Opioid Medications and REMS: A Patient’s Guide,
                 which claims, among other things, that “patients without a
                 history of abuse or a family history of abuse do not commonly
                 become addicted to opioids.”
              g. Cephalon sponsored APF’s Treatment Options: A Guide for
                 People Living with Pain (2007), which taught that addiction is
                 rare and limited to extreme cases of unauthorized dose
                 escalations, obtaining opioids from multiple sources, or theft.
              h. Cephalon sales representatives omitted any discussion of
                addiction risks related to Cephalon’s drugs to prescribers that
                wrote opioid prescriptions paid for by the Workers’
                Compensation Payors.
Endo          i. Endo trained its sales force in 2012 that use of long-acting
                 opioids resulted in increased patient compliance, without any
                 supporting evidence.
              j. Endo’s advertisements for the 2012 reformulation of Opana ER
                 claimed it was designed to be crush resistant, in a way that
                 conveyed that it was less likely to be abused. This claim was
                 false; the FDA warned in a May 10, 2013 letter that there was
                 no evidence Endo’s design “would provide a reduction in oral,
                 intranasal or intravenous abuse” and Endo’s “post-marketing
                 data submitted are insufficient to support any conclusion
                 about the overall or route-specific rates of abuse.” Further,
                 Endo instructed its sales representatives to repeat this claim
                 about “design,” with the intention of conveying Opana ER was
                 less subject to abuse.
              k. Endo sponsored a website, painknowledge.com, through APF
                and NIPC, which, in 2009, claimed that: “[p]eople who take
                opioids as prescribed usually do not become addicted.”
                Although the term “usually” is not defined, the overall
                presentation suggests the risk is so low as not to be a concern.
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            The language also implies that, as long as a prescription is
            given, opioid use will not become problematic. Endo continued
            to provide funding for this website through 2012, and closely
            tracked unique visitors to it.
          l. Endo sponsored a website, PainAction.com, which stated “Did
             you know? Most chronic pain patients do not become addicted
             to the opioid medications that are prescribed for them.”
          m. Endo sponsored CMEs published by APF’s NIPC, of which
           Endo was the sole funder, titled Persistent Pain in the Older
           Adult and Persistent Pain in the Older Patient. These CMEs
           claimed that opioids used by elderly patients present “possibly
           less potential for abuse than in younger patients[,]” which
           lacks evidentiary support and deceptively minimizes the risk
           of addiction for elderly patients.
          n. Endo distributed an education pamphlet with the Endo logo
            titled Living with Someone with Chronic Pain, which
            inaccurately minimized the risk of addiction: “Most health care
            providers who treat people with pain agree that most people
            do not develop an addiction problem.”
          o. Endo distributed a patient education pamphlet edited by key
             opinion leader Dr. Russell Portenoy titled Understanding Your
             Pain: Taking Oral Opioid Analgesics. It claimed that “[a]ddicts
             take opioids for other reasons [than pain relief], such as
             unbearable emotional problems.” This implies that pain
             patients prescribed opioids will not become addicted, which is
             unsupported and untrue.
          p. Endo contracted with AGS to produce a CME promoting the
            2009 guidelines for the Pharmacological Management of
            Persistent Pain in Older Persons. These guidelines falsely
            claim that “the risks [of addiction] are exceedingly low in older
            patients with no current or past history of substance abuse.”
            None of the references in the guidelines corroborates the claim
            that elderly patients are less likely to become addicted to
            opioids, and there is no such evidence. Endo was aware of the
            AGS guidelines’ content when it agreed to provide this
            funding, and AGS drafted the guidelines with the expectation
            it would seek drug company funding to promote them after
            their completion.
          q. Endo sales representatives told prescribers that wrote opioid
            prescriptions paid for by Plaintiff and the Workers’
            Compensation Payors that its drugs were “steady state,” the
            implications of which was that they did not produce a rush or

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                euphoric effect, and therefore were less addictive and less
                likely to be abused.
              r. Endo provided grants to APF to distribute Exit Wounds (2009)
                 to veterans, which taught that “[l]ong experience with opioids
                 shows that people who are not predisposed to addiction are
                 very unlikely to become addicted to opioid pain medications.”
                 Although the term “very unlikely” is not defined, the overall
                 presentation suggests that the risk is so low as not to be a
                 concern.
              s. Endo sales representatives omitted discussion of addiction
                 risks related to Endo’s drugs.
Janssen       t. Janssen sponsored a patient education guide titled Finding
                 Relief: Pain Management for Older Adults (2009), which its
                 personnel reviewed and approved and which its sales force
                 distributed. This guide described a “myth” that opioids are
                 addictive, and asserts as fact that “[m]any studies show that
                 opioids are rarely addictive when used properly for the
                 management of chronic pain.” Although the term “rarely” is
                 not defined, the overall presentation suggests the risk is so
                 low as not to be a concern. The language also implies that as
                 long as a prescription is given, opioid use is not a problem.
              u. Janssen contracted with AGS to produce a CME promoting
                the 2009 guidelines for the Pharmacological Management of
                Persistent Pain in Older Persons. These guidelines falsely
                claim that “the risks [of addiction] are exceedingly low in older
                patients with no current or past history of substance abuse.”
                The study supporting this assertion does not analyze addiction
                rates by age and, as already noted, addiction remains a
                significant risk for elderly patients. Janssen was aware of the
                AGS guidelines’ content when it agreed to provide this
                funding, and AGS drafted the guidelines with the expectation
                it would seek drug company funding to promote them after
                their completion.
              v. Janssen provided grants to APF to distribute Exit Wounds
                 (2009) to veterans, which taught that [l]ong experience with
                 opioids shows that people who are not predisposed to addiction
                 are very unlikely to become addicted to opioid pain
                 medications.” Although the term “very unlikely” is not defined,
                 the overall presentation suggests the risk is so low as not to be
                 a concern.




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                 w. Janssen currently runs a website, Prescriberesponsibly.com
                   (last modified July 2, 2015), which claims that concerns about
                   opioid addiction are “overstated.”
                 x. A June 2009 Nucynta Training module warns Janssen’s sales
                    force that physicians are reluctant to prescribe controlled
                    substances like Nucynta, but this reluctance is unfounded
                    because “the risks . . . are much smaller than commonly
                    believed.”
                 y. Janssen sales representatives told prescribers that wrote
                    opioid prescriptions paid for by Plaintiff and the Workers’
                    Compensation Payors that its drugs were “steady state,” the
                    implication of which was that they did not produce a rush or
                    euphoric effect, and therefore were less addictive and less
                    likely to be abused.
                 z. Janssen sales representatives told prescribers that wrote
                    opioid prescriptions paid for by Plaintiff and the Workers’
                    Compensation Payors that Nucynta and Nucynta ER were
                    “not opioids,” implying that the risks of addiction and other
                    adverse outcomes associated with opioids were not applicable
                    to Janssen’s drugs. In truth, however, as set out in Nucynta’s
                    FDA-mandated label, Nucynta “contains tapentadol, an opioid
                    agonist and Schedule II substance with abuse liability similar
                    to other opioid agonists, legal or illicit.”
                 aa. Janssen sales representatives falsely told prescribers that
                   Duragesic had anti abuse properties when it had none.
                 bb. Janssen’s sales representatives told prescribers that wrote
                   opioid prescriptions paid for by Plaintiff and the Workers’
                   Compensation Payors that Nucynta’s unique properties
                   eliminated the risk of addiction associated with the drug.
                 cc. Janssen sales representatives omitted discussion of addiction
                   risks related to Janssen’s drugs.
 Purdue        dd. Purdue published a prescriber and law enforcement education
                   pamphlet in 2011 entitled Providing Relief, Preventing Abuse,
                   which under the heading, “Indications of Possible Drug
                   Abuse,” shows pictures of the stigmata of injecting or snorting
                   opioids—skin popping, track marks, and perforated nasal
                   septa. In fact, opioid addicts who resort to these extremes are
                   uncommon; the far more typical reality is patients who become
                   dependent and addicted through oral use. 76 Thus, these

 Purdue itself submitted briefing materials in October 2010 to a meeting of the
76

FDA’s Joint Meeting of the Anesthetic and Life Support Drugs Advisory Committee
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                     misrepresentations wrongly reassure doctors that, as long as
                     they do not observe those signs, they need not be concerned
                     that their patients are abusing or addicted to opioids.
                 ee. Purdue sponsored APF’s A Policymaker’s Guide to
                     Understanding Pain & Its Management, which inaccurately
                     claimed that less than 1% of children prescribed opioids will
                     become addicted. This publication also asserted that pain is
                     undertreated due to “misconceptions about opioid addiction.”
                  ff. Purdue sponsored APF’s Treatment Options: A Guide for
                     People Living with Pain (2007), which asserted that addiction
                     is rare and limited to extreme cases of unauthorized dose
                     escalations, obtaining opioids from multiple sources, or theft.
                 gg. A Purdue-funded study with a Purdue co-author claimed that
                     “evidence that the risk of psychological dependence or
                     addiction is low in the absence of a history of substance
                     abuse.” 77 The study relied only on the Porter-Jick letter to the
                     editor concerning a chart review of hospitalized patients, not
                     patients taking Purdue’s long-acting, take-home opioid.
                     Although the term “low” is not defined, the overall
                     presentation suggests the risk is so low as not to be a concern.
                 hh. Purdue contracted with AGS to produce a CME promoting the
                     2009 guidelines for the Pharmacological Management of
                     Persistent Pain in Older Persons. These guidelines falsely
                     claim that “the risks [of addiction] are exceedingly low in older
                     patients with no current or past history of substance abuse.”
                     None of the references in the guidelines corroborates the claim
                     that elderly patients are less likely to become addicted to
                     opioids and the claim is, in fact, untrue. Purdue was aware of
                     the AGS guidelines’ content when it agreed to provide this
                     funding, and AGS drafted the guidelines with the expectation
                     it would seek drug company funding to promote them after
                     their completion.
                 ii. Purdue sponsored APF’s Exit Wounds (2009), which counseled
                      veterans that “[l]ong experience with opioids shows that
                      people who are not predisposed to addiction are very unlikely
                      to become addicted to opioid pain medications.” Although the



and the Drug Safety and Risk Management Advisory Committee in which it stated
that OxyContin was used non-medically by injection 4-17% of the time.
77 C. Peter N. Watson et al., Controlled-release oxycodone relieves neuropathic pain:

a randomized controlled trial I painful diabetic neuropathy, 105 Pain 71 (2003).
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                     term “very unlikely” is not defined, the overall presentation
                     suggests it is so low as not to be a worry.
                 jj. Purdue sales representatives told prescribers that wrote opioid
                      prescriptions paid for by Plaintiff and the Workers’
                      Compensation Payors that its drugs were “steady state,” the
                      implication of which was that they did not produce a rush or
                      euphoric effect, and therefore were less addictive and less
                      likely to be abused.
                 kk. Purdue sales representatives told prescribers that wrote
                     opioid prescriptions paid for by Plaintiff and the Workers’
                     Compensation Payors that Butrans has a lower abuse
                     potential than other drugs because it was essentially tamper-
                     proof and, after a certain point, patients no longer experience
                     a “buzz” from increased dosage.
                  ll. Advertisements that Purdue sent to prescribers that wrote
                     opioid prescriptions paid for by Plaintiff and the Workers’
                     Compensation Payors stated that OxyContin ER was less
                     likely to be favored by addicts, and, therefore, less likely to be
                     abused or diverted, or result in addiction.
               mm. Purdue sales representatives omitted discussion of addiction
                   risk related to Purdue’s drugs.

     330.   In addition to denying or minimizing the risk of addiction and abuse

generally, the Manufacturing Defendants also falsely claimed that their particular

drugs were safer, less addictive, and less likely to be abused or diverted than their

competitors’ or predecessor drugs. In making these claims, the Manufacturing

Defendants said or implied that because their drug had a “steady-state” and did not

produce peaks and valleys, which cause drug-seeking behavior—either to obtain the

high or avoid the low—it was less likely to be abused or addicting. Endo also

asserted in particular that, because a reformulation of Opana ER was (or was

designed to be) abuse-deterrent or tamper-resistant, patients were less likely to

become addicted to it. The Manufacturing Defendants had no evidence to support

any of these claims, which, by FDA regulation, must be based on head-to-head
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trials; 78 the claims also were false and misleading in that they misrepresented the

risks of both the particular drug and opioids as a class.

     331.   Further, rather than honestly disclose the risk of addiction, the

Manufacturing Defendants, and the third parties they directed and assisted and

whose materials they distributed, attempted to portray those who were concerned

about addiction as unfairly denying treatment to needy patients. To increase

pressure on doctors to prescribe chronic opioid therapy, The Manufacturing and

Front Group Defendants turned the tables; it was doctors who fail to treat their

patients’ chronic pains with opioids—not doctors who cause their patients to become

addicted to opioids—who are failing their patients (and subject to discipline). The

Manufacturing Defendants and their third-party allies claimed that purportedly

overblown worries about addiction cause pain to be under-treated and opioids to be

over-regulated and under-prescribed. This mantra of under-treated pain and under-

used drugs reinforced Defendants’ messages that the risks of addiction and abuse

were not significant and were overblown.

     332.   For example, Janssen’s website, Let’s Talk Pain, warns in a video

posted online that “strict regulatory control has made many physicians reluctant to

prescribe opioids. The unfortunate casualty in all of this is the patient, who is often

undertreated and forced to suffer in silence.” The program goes on to say: “Because

of the potential for abusive and/or addictive behavior, many healthcare




78See Guidance for Industry, “Abuse-Deterrent Opioids—Evaluation and Labeling,”
April 2015 (describing requirements for premarket and postmarket studies).
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professionals have been reluctant to prescribe opioids for their patients . . . . This

prescribing environment is one of many barriers that may contribute to the

undertreatment of pain, a serious problem in the United States.”

     333.     In the same vein, a Purdue website called In the Face of Pain

complains, under the heading of “Protecting Access,” that, through at least mid-

2013, policy governing the prescribing of opioids was “at odds with” best medical

practices by “unduly restricting the amounts that can be prescribed and dispensed”;

“restricting access to patients with pain who also have a history of substance

abuse”; and “requiring special government-issued prescription forms only for the

medications that are capable of relieving pain that is severe.” This unsupported and

untrue rhetoric aims to portray doctors who do not prescribe opioids as uncaring,

converting their desire to relieve patients’ suffering into a mandate to prescribe

opioids.

            C. Defendants and their third-party allies misrepresented that
               addiction risk can be avoided and managed.

     334.     To this day, Defendants each continue to maintain that most patients

can safely take opioids long-term for chronic pain without becoming addicted.

Presumably only to explain why doctors encounter so many patients addicted to

opioids, Defendants and their third-party allies have come to admit that some

patients could become addicted, but that doctors can avoid or manage that risk by

using screening tools or questionnaires. These tools, they say, identify those with

higher addiction risks (stemming from personal or family histories of substance




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abuse, mental illness, or abuse) so that doctors can more closely monitor patients at

greater risk of addiction.

     335.   There are three fundamental flaws in these assurances that doctors can

identify and manage the risk of addiction. First, there is no reliable scientific

evidence that screening works to accurately predict risk or reduce rates of addiction.

Second, there is no reliable scientific evidence that high-risk or addicted patients

can take opioids long-term without triggering addiction, even with enhanced

monitoring and precautions. Third, there is no reliable scientific evidence that

patients without these red flags are necessarily free of addiction risk.

     336.   Addiction is difficult to predict on a patient-by-patient basis, and there

are no reliable, validated tools to do so. A 2014 Evidence Report by the Agency for

Healthcare Research and Quality (“AHRQ”), which “systematically review[ed] the

current evidence on long-term opioid therapy for chronic pain” identified “[n]o

study” that had “evaluated the effectiveness of risk mitigation strategies, such as

use of risk assessment instruments, opioid management plans, patient education,

urine drug screening, prescription drug monitoring program data, monitoring

instruments, more frequent monitoring intervals, pill counts, or abuse- deterrent

formulations on outcomes related to overdose, addiction, abuse or misuse.” 79

Furthermore, attempts to treat high-risk patients, such as those who have a

documented predisposition to substance abuse, by resorting to patient contracts,




79The Effectiveness and Risks of Long-term Opioid Treatment of Chronic Pain,
Agency for Healthcare Res. & Quality (September 19, 2014).
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more frequent refills, or urine drug screening are not proven to work in the real

world, if busy doctors even in fact attempt them.

      337.     Most disturbingly, despite the widespread use of screening tools,

patients with past substance use disorders—which every tool rates as a risk

factor—receive, on average, higher doses of opioids.

      338.     Each Defendant claimed that the risk of addiction could be avoided or

managed, claims that are deceptive and without scientific support:

     Actavis         a. Documents from a 2010 sales training indicate that Actavis
                        trained its sales force that prescribers can use risk screening
                        tools to limit the development of addiction.
     Cephalon        b. Cephalon sponsored APF’s Treatment Options: A Guide for
                        People Living with Pain (2007), which taught patients that
                        “opioid agreements” between doctors and patients can “ensure
                        that you take the opioid as prescribed.”
     Endo            c. Endo paid for a 2007 supplement 80 available for continuing
                        education credit in the Journal of Family Practice. This
                        publication, titled Pain Management Dilemmas in Primary Care:
                        Use of Opioids, recommended screening patients using tools like
                        the Opioid Risk Tool or the Screener and Opioid Assessment for
                        Patients with Pain, and advised that patients at high risk of
                        addiction could safely (e.g., without becoming addicted) receive
                        chronic opioid therapy using a “maximally structured approach”
                        involving toxicology screens and pill counts.
     Purdue          d. Purdue’s unbranded website, In the Face of Pain
                        (inthefaceofpain.com) states that policies that “restrict[] access to
                        patients with pain who also have a history of substance abuse”
                        and “requiring special government-issued prescription forms for
                        the only medications that are capable of relieving pain that is
                        severe” are “at odds with” best medical practices. 81



80 The Medical Journal, The Lancet, found that all of the supplement papers it
received failed peer-review. Editorial, “The Perils of Journal and Supplement
Publishing,” 375 The Lancet 9712 (347) 2010.
81 See In the Face of Pain Fact Sheet: Protecting Access to Pain Treatment, Purdue

Pharma L.P.


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                   e. Purdue sponsored a 2012 CME program taught by a KOL titled
                      Chronic Pain Management and Opioid Use: Easing Fears,
                      Managing Risks, and Improving Outcomes. This presentation
                      recommended that use of screening tools, more frequent refills,
                      and switching opioids could treat a high-risk patient showing
                      signs of potentially addictive behavior.

                   f. Purdue sponsored a 2011 webinar taught by Dr. Lynn Webster,
                      titled Managing Patient’s Opioid Use: Balancing the Need and
                      Risk. This publication taught prescribers that screening tools,
                      urine tests, and patient agreements have the effect of preventing
                      “overuse of prescriptions” and “overdose deaths.”

                   g. Purdue sales representatives told prescribers that wrote opioid
                      prescriptions paid for by Plaintiff and the Workers’
                      Compensation Payors that screening tools can be used to select
                      patients appropriate for opioid therapy and to manage the risks
                      of addiction.


           D. Defendants and their third-party allies created confusion by
              promoting the misleading term “pseudoaddiction.”

    339.     Defendants and their third-party allies developed and disseminated

each of the following misrepresentations with the intent and expectation that, by

instructing patients and prescribers that signs of addiction are actually the product

of untreated pain, doctors would prescribe opioids to more patients and continue to

prescribing them, and patients would continue to use opioids despite signs that the

patient was addicted.

    340.     The concept of “pseudoaddiction” was coined by Dr. David Haddox, who

went to work for Purdue, and popularized by Dr. Russell Portenoy, who consulted

for Cephalon, Endo, Janssen, and Purdue. Much of the same language appears in

other Defendants’ treatment of this issue, highlighting the contrast between

“undertreated pain” and “true addiction,” as if patients could not experience both.

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As KOL Dr. Lynn Webster wrote: “[Pseudoaddiction] obviously became too much of

an excuse to give patients more medication. . . . It led us down a path that caused

harm. It is already something we are debunking as a concept.” 82

     341.   Each of the publications and statements below falsely states or

suggests that the concept of “pseudoaddiction” is substantiated by scientific

evidence and accurately describes the condition of patients who only need, and

should be treated with, more opioids:

 Actavis         a. Documents from a 2010 sales training indicate that Actavis
                    trained its sales force to instruct physicians that aberrant
                    behaviors like self-escalation of doses constituted
                    “pseudoaddiction.”

 Cephalon        b. Cephalon sponsored FSMB’s Responsible Opioid Prescribing
                    (2007), which taught that behaviors such as “requesting drugs by
                    name,” “demanding or manipulative behavior,” seeing more than
                    one doctor to obtain opioids, and hoarding are all signs of
                    “pseudoaddiction.” Cephalon also spent $150,000 to purchase
                    copies of the book in bulk and distributed it through its pain sales
                    force to 10,000 prescribers and 5,000 pharmacists.

 Endo            c. Endo distributed copies of a book by KOL Dr. Lynn Webster
                    entitled Avoiding Opioid Abuse While Managing Pain (2007).
                    Endo’s internal planning documents describe the purpose of
                    distributing this book as to “[i]ncrease the breadth and depth of
                    the Opana ER prescriber base.” The book claims that when faced
                    with signs of aberrant behavior, the doctor should regard it as
                    “pseudoaddiction” and thus, increasing the dose in most cases . . .
                    should be the clinician’s first response.” (emphasis added).

                 d. Endo spent $246,620 to buy copies of FSMB’s Responsible Opioid
                    Prescribing (2007), which was distributed by Endo’s sales force.
                    This book asserted that behaviors such as “requesting drugs by
                    name,” “demanding or manipulative behavior,” seeing more than



 John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, Milwaukee
82

Wisc. J. Sentinel (Feb.19, 2012).


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                one doctor to obtain opioids, and hoarding, are all signs of
                “pseudoaddiction.”

Janssen      e. From 2009 to 2011 Janssen’s website, Let’s Talk Pain, stated that
                “pseudoaddiction . . . refers to patient behaviors that may occur
                when pain is under-treated” and that “[p]seudoaddiction is
                different from true addiction because such behaviors can be
                resolved with effective pain management.” (emphasis added).

Purdue       f. Purdue published a prescriber and law enforcement education
                pamphlet in 2011 entitled Providing Relief, Preventing Abuse,
                which described “pseudoaddiction” as a concept that “emerged in
                the literature to describe the inaccurate interpretation of [drug-
                seeking behaviors] in patients who have pain that has not been
                effectively treated.”

             g. Purdue distributed to physicians, at least as of November 2006,
                and posted on its unbranded website, Partners Against Pain, a
                pamphlet copyrighted 2005 and titled Clinical Issues in Opioid
                Prescribing. This pamphlet included a list of conduct, including
                “illicit drug use and deception” it defined as indicative of
                “pseudoaddiction” or untreated pain. It also states:
                “Pseudoaddiction is a term which has been used to describe patient
                behaviors that may occur when pain is undertreated. . . . Even such
                behaviors as illicit drug use and deception can occur in the patient’s
                efforts to obtain relief. Pseudoaddiction can be distinguished from
                true addiction in that the behaviors resolve when the pain is
                effectively treated.” (Emphasis added.)

             h. Purdue sponsored FSMB’s Responsible Opioid Prescribing (2007),
                which taught that behaviors such as “requesting drugs by name,
                “demanding or manipulative behavior,” seeing more than one
                doctor to obtain opioids, and hoarding, are all signs of
                “pseudoaddiction.” Purdue also spent over $ 100,000 to support
                distribution of the book.

             i. Purdue sponsored APF’s A Policymaker’s Guide to Understanding
                Pain & Its Management, which states: “Pseudo-addiction describes
                patient behaviors that may occur when pain is undertreated. . . .
                Pseudo-addiction can be distinguished from true addiction in that
                this behavior ceases when pain is effectively treated.” (Emphasis
                added.)




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            E. Defendants and their third-party allies claimed withdrawal
               could be simply managed.

     342.     Defendants and their third-party allies promoted the false and

misleading messages below with the intent and expectation that, by

misrepresenting the difficulty of withdrawing from opioids, prescribers and patients

would be more likely to start chronic opioid therapy and would fail to recognize the

actual risk of addiction.

     343.     In an effort to underplay the risk and impact of addiction, Defendants

and their third-party allies frequently claim that, while patients become

“physically” dependent on opioids, physical dependence can be addressed by

gradually tapering patients’ doses to avoid the adverse effects of withdrawal. They

fail to disclose the extremely difficult and painful effects that patients can

experience when they are removed from opioids—effects that also make it less likely

that patients will be able to stop using the drugs.

     344.     In reality, withdrawal is prevalent in patients after more than a few

weeks of therapy. Common symptoms of withdrawal include: severe anxiety,

nausea, vomiting, headaches, agitation, insomnia, tremors, hallucinations,

delirium, and pain. Some symptoms may persist for months, or even years, after a

complete withdrawal from opioids, depending on how long the patient had been

using opioids. Withdrawal symptoms trigger a feedback loop that drives patients to

seek opioids, contributing to addiction.


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    345.    Each of the publications and statements below falsely states or

suggests that withdrawal from opioids was not a problem and they should not be

hesitant about prescribing or using opioids:

Actavis        a. Documents from a 2010 sales training indicate that Actavis trained
                  its sales force that discontinuing opioid therapy can be handled
                  “simply” and that it can be done at home. Actavis’s sales
                  representative training claimed opioid withdrawal would take only a
                  week, even in addicted patients.
Endo           b. A CME sponsored by Endo, titled Persistent Pain in the Older Adult,
                  taught that withdrawal symptoms can be avoided entirely by
                  tapering the dose by 10-20% per day for ten days.
Janssen        c. A Janssen PowerPoint presentation used for training its sales
                  representatives titled “Selling Nucynta ER” indicates that the “low
                  incidence of withdrawal symptoms” is a “core message” for its sales
                  force. This message is repeated in numerous Janssen training
                  materials between 2009 and 2011. The studies supporting this claim
                  did not describe withdrawal symptoms in patients taking Nucynta
                  ER beyond 90 days or at high doses and would therefore not be
                  representative of withdrawal symptoms in the chronic pain
                  population. Patients on opioid therapy long-term and at high doses
                  will have a harder time discontinuing the drugs and are more likely
                  to experience withdrawal symptoms. In addition, in claiming a low
                  rate of withdrawal symptoms, Janssen relied upon a study that only
                  began tracking withdrawal symptoms in patients two to four days
                  after discontinuing opioid use; Janssen knew or should have known
                  that these symptoms peak earlier than that for most patients.
                  Relying on data after that initial window painted a misleading
                  picture of the likelihood and severity of withdrawal associated with
                  chronic opioid therapy. Janssen also knew or should have known that
                  the patients involved in the study were not on the drug long enough
                  to develop rates of withdrawal symptoms comparable to rates of
                  withdrawal suffered by patients who use opioids for chronic pain—
                  the use for which Janssen promoted Nucynta ER.
               d. Janssen sales representatives told Plaintiff’s prescribers that
                  patients on Janssen’s drugs were less susceptible to withdrawal than
                  those on other opioids.




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Purdue         e. Purdue sponsored APF’s A Policymaker’s Guide to Understanding
                  Pain & Its Management, which taught that “Symptoms of physical
                  dependence can often be ameliorated by gradually decreasing the
                  dose of medication during discontinuation,” but did not disclose the
                  significant hardships that often accompany cessation of use.
               f. Purdue sales representatives told prescribers that wrote opioid
                  prescriptions paid for by Plaintiff and the Workers’ Compensation
                  Payors that the effects of withdrawal from opioid use can be
                  successfully managed.
               g. Purdue sales representatives told prescribers that wrote opioid
                  prescriptions paid for by Plaintiff and the Workers’ Compensation
                  Payors that the potential for withdrawal on Butrans was low due to
                  Butrans’s low potency and its extended release mechanism.
           F. Defendants and their third-party allies misrepresented that
              increased dosage poses no significant additional risks.

    346.     Each of the following misrepresentations was created with the intent

and expectation that, by misrepresenting and failing to disclose the known risks of

high dose opioids, prescribers and patients would be more likely to continue to

prescribe and use opioids, even when they were not effective in reducing patients’

pain, and not to discontinue opioids even when tolerance required them to reach

even higher doses.

    347.     Defendants and their third-party allies claimed that patients and

prescribers could increase doses of opioids indefinitely without added risk, even

when pain was not decreasing or when doses had reached levels that were

“frighteningly high,” suggesting that patients would eventually reach a stable,

effective dose. Each of Defendants’ claims also omitted warnings of increased

adverse effects that occur at higher doses, and misleadingly suggested that there

was no greater risk to higher dose opioid therapy.




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        348.   These claims are false. Patients receiving high doses of opioids as part

of long-term opioid therapy are three to nine times more likely to suffer an overdose

from opioid-related causes than those on low doses. As compared to available

alternative pain remedies, scholars have suggested that tolerance to the respiratory

depressive effects of opioids develops at a slower rate than tolerance to analgesic

effects. Accordingly, the practice of continuously escalating doses to match pain

tolerance can, in fact, lead to overdose even where opioids are taken as

recommended. The FDA has itself acknowledged that available data suggest a

relationship between increased doses and the risk of adverse effects. Moreover, it is

harder for patients to terminate use of higher-dose opioids without severe

withdrawal effects, which contributes to a cycle of continued use, even when the

drugs provide no pain relief and are causing harm—the signs of addiction.

        349.   Each of the following claims suggests that high-dose opioid therapy is

safe:

 Actavis          a. Documents from a 2010 sales training indicate that Actavis trained
                     its sales force that “individualization” of opioid therapy depended on
                     increasing doses “until patient reports adequate analgesia” and to
                     “set dose levels on [the] basis of patient need, not on [a]
                     predetermined maximal dose.” Actavis further counseled its sales
                     representatives that the reasons some physicians had for not
                     increasing doses indefinitely were simply a matter of physician
                     “comfort level,” which could be overcome or used as a tool to induce
                     them to switch to Actavis’s opioid, Kadian.
 Cephalon         b. Cephalon sponsored APF’s Treatment Options: A Guide for People
                     Living with Pain (2007), which claimed that some patients “need” a
                     larger dose of their opioid, regardless of the dose currently
                     prescribed.
                  c. Cephalon sponsored a CME written by KOL Dr. Lynn Webster,
                     Optimizing Opioid Treatment for Breakthrough Pain, which was
                     offered online by Medscape, LLC from September 28, 2007 through
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               December 15, 2008. The CME taught that non-opioid analgesics and
               combination opioids that include aspirin and acetaminophen are less
               effective to treat breakthrough pain because of dose limitations.
            d. Cephalon sales representatives assured prescribers that wrote opioid
               prescriptions paid for by the Workers’ Compensation Payors that
               opioids were safe, even at high doses.
Endo        e. Endo sponsored a website, painknowledge.com, through APF and
               NIPC, which, in 2009, claimed that opioids may be increased until
               “you are on the right dose of medication for your pain,” and once that
               occurred, further dose increases would not occur. Endo funded the
               site, which was a part of Endo’s marketing plan, and tracked visitors
               to it.
            f. Endo distributed a patient education pamphlet edited by KOL Dr.
               Russell Portenoy titled Understanding Your Pain: Taking Oral
               Opioid Analgesics. In Q&A format, it asked: “If I take the opioid now,
               will it work later when I really need it?” The response was: “The dose
               can be increased . . . . You won’t ‘run out’ of pain relief.”
Janssen     g. Janssen sponsored a patient education guide entitled Finding Relief:
               Pain Management for Older Adults (2009), which its personnel
               reviewed and approved an its sales force distributed. This guide
               listed dose limitations as “disadvantages” of other pain medicines and
               omitted any discussion of risks of increased doses of opioids. The
               publication also falsely claimed that it is a “myth” that “opioid doses
               have to be bigger over time.”
Purdue      h. Purdue’s In the Face of Pain website, along with initiatives of APF,
               promoted the notion that if a patient’s doctor does not prescribe them
               what—in their view—is a sufficient dose of opioids, they should find
               another doctor who will. In so doing, Purdue exerted undue, unfair,
               and improper influence over prescribers who face pressure to accede
               to the resulting demands.
            i. Purdue sponsored APF’s A Policymaker’s Guide to Understanding
               Pain & Its Management, which taught that dose escalations are
               “sometimes necessary,” even indefinitely high ones. This suggested
               that high dose opioids are safe and appropriate and did not disclose
               the risks from high dose opioids. This publication is still available
               online.
            j. Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which taught patients that opioids have “no
               ceiling dose” and are therefore the most appropriate treatment for
               severe pain. The guide also claimed that some patients “need” a



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                    larger dose of the drug, regardless of the dose currently prescribed.
                    This language fails to disclose heightened risks at elevated doses.
                 k. Purdue sponsored a CME issued by the American Medical
                    Association in 2003, 2007, 2010, and 2013. The CME, Overview of
                    Management Options, was edited by KOL Dr. Russell Portenoy,
                    among others, and taught that other drugs, but not opioids, are
                    unsafe at high doses.
                 l. Purdue sales representatives told prescribers that wrote opioid
                    prescriptions paid for by Plaintiff and the Workers’ Compensation
                    Payors that opioids were just as effective for treating patients long-
                    term and omitted any discussion that increased tolerance would
                    require increasing, and increasingly dangerous, doses.
            G. Defendants and their third-party allies deceptively omitted or
               minimized adverse effects of opioids and overstated the risks
               of alternative forms of pain treatment.

     350.     Each of the Defendants’ misrepresentations was created with the intent

and expectation that, by omitting the known, serious risks of chronic opioid therapy,

including the risks of addiction, abuse, overdose, and death, and emphasizing or

exaggerating risks of competing products, prescribers and patients would be more

likely to choose opioids. Defendants and their third-party allies routinely ignored

the risks of chronic opioid therapy. These include (beyond the risks associated with

misuse, abuse, and addiction): hyperalgesia, a “known serious risk associated with

chronic opioid analgesic therapy in which the patient becomes more sensitive to

certain painful stimuli over time;” 83 hormonal dysfunction; decline in immune

function; mental clouding, confusion, and dizziness; increased falls and fractures in

the elderly; neonatal abstinence syndrome (when an infant exposed to opioids




 Letter from Janet Woodcock, M.D., Dir., Ctr. for Drug Eval. & Res., to Andrew
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Kolodny, M.D., Pres. Physicians for Responsible Opioid Prescribing, Re Docket No.
FDA-2012-P-0818 (Sept. 10, 2013).

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prenatally withdraws from the drugs after birth); and potentially fatal interactions

with alcohol or benzodiazepines, which are used to treat post-traumatic stress

disorder and anxiety (disorders frequently coexisting with chronic pain

conditions). 84

     351.    Despite these serious risks, Defendants asserted, or implied, that

opioids were appropriate first-line treatments and safer than alternative

treatments, including NSAIDs such as ibuprofen (Advil, Motrin) or naproxen

(Aleve). While NSAIDs can pose significant gastrointestinal, renal, and cardiac

risks, particularly for elderly patients, Defendants’ exaggerated descriptions of

those risks were deceptive in themselves, and also made their omissions regarding

the risks of opioids all the more striking and misleading. Defendants and their

third-party allies described over the counter NSAIDs as life-threatening and falsely

asserted that they were responsible for 10,000-20,000 deaths annually (more than

opioids), when in reality the number is closer to 3,200. This description of NSAIDs

starkly contrasted with their representation of opioids, for which the listed risks

were nausea, constipation, and sleepiness (but not addiction, overdose, or death).

Compared with NSAIDs, opioids are responsible for roughly four times as many

fatalities annually.




84Several of these risks do appear in the FDA-mandated warnings. See, e.g., the
August 13, 2015 OxyContin Label, Section 6.2, identifying adverse reactions
including: “abuse, addiction … death, … hyperalgesia, hypogonadism . . . mood
altered . . . overdose, palpitations (in the context of withdrawal), seizures, suicidal
attempt, suicidal ideation, syndrome of inappropriate antidiuretic hormone
secretion, and urticaria [hives].”

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     352.   As with the preceding misrepresentations, Defendants’ false and

misleading claims regarding the comparative risks of NSAIDs and opioids had the

effect of shifting the balance of opioids’ risks and purported benefits. While opioid

prescriptions have exploded over the past two decades, the use of NSAIDs has

declined during that same time.

     353.   Each of the following reflects Defendants’ deceptive claims and

omissions about the risks of opioids, including in comparison to NSAIDs:

 Actavis         a. Documents from a 2010 sales training indicate that Actavis
                    trained its sales force that the ability to escalate doses during
                    long-term opioid therapy, without hitting a dose ceiling, made
                    opioid use safer than other forms of therapy that had defined
                    maximum doses, such as acetaminophen or NSAIDs.
                 b. Actavis also trained physician-speakers that “maintenance
                    therapy with opioids can be safer than long-term use of other
                    analgesics,” including NSAIDs, for older persons.
                 c. Kadian sales representatives told prescribers that wrote opioid
                    prescriptions paid for by Plaintiff and the Workers’
                    Compensation Payors were more toxic than opioids.
 Cephalon        d. Cephalon sponsored APF’s Treatment Options: A Guide for
                    People Living with Pain (2007), which taught patients that
                    opioids differ from NSAIDs in that they have “no ceiling dose”
                    and are therefore the most appropriate treatment for severe
                    pain. The publication attributed 10,000 to 20,000 deaths
                    annually to NSAID overdose. Treatment Options also warned
                    that risks of NSAIDs increase if “taken for more than a period
                    of months,” with no corresponding warning about opioids.
                 e. Cephalon sales representatives told prescribers that wrote
                    opioid prescriptions paid for by the Workers’ Compensation
                    Payors that NSAIDs were more toxic than Cephalon’s opioids.
 Endo            f. Endo distributed a “case study” to prescribers titled Case
                    Challenges in Pain Management: Opioid Therapy for Chronic
                    Pain. The study cites an example, meant to be representative,
                    of a patient “with a massive upper gastrointestinal bleed
                    believed to be related to his protracted use of NSAIDs” (over
                    eight years), and recommends treating with opioids instead.

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             g. Endo sponsored a website, painknowledge.com, through APF
                and NIPC, which contained a flyer called “Pain: Opioid
                Therapy.” This publication included a list of adverse effects
                from opioids that omitted significant adverse effects like
                hyperalgesia, immune and hormone dysfunction, cognitive
                impairment, tolerance, dependence, addiction, and death.
                Endo continued to provide funding for this website through
                2012, and closely tracked unique visitors to it.
             h. Endo provided grants to APF to distribute Exit Wounds (2009),
                which omitted warnings of the risk of interactions between
                opioids and benzodiazepines, which would increase fatality
                risk. Exit Wounds also contained a lengthy discussion of the
                dangers of using alcohol to treat chronic pain but did not
                disclose dangers of mixing alcohol and opioids.
             i. Endo sales representatives told prescribers that wrote opioid
                prescriptions paid for by Plaintiff and the Workers’
                Compensation Payors that NSAIDs were more toxic than
                opioids.
Janssen      j. Janssen sponsored a patient education guide titled Finding
                Relief: Pain Management for Older Adults (2009), which its
                personnel reviewed and approved and its sales force
                distributed. This publication described the advantages and
                disadvantages of NSAIDs on one page, and the “myths/facts” of
                opioids on the facing page. The disadvantages of NSAIDs are
                described as involving “stomach upset or bleeding,” “kidney or
                liver damage if taken at high doses or for a long time,”
                “adverse reactions in people with asthma,” and “can increase
                the risk of heart attack and stroke.” The only adverse effects of
                opioids listed are “upset stomach or sleepiness,” which the
                brochure claims will go away, and constipation.
             k. Janssen sponsored APF’s Exit Wounds (2009), which omits
                warnings of the risk of interactions between opioids and
                benzodiazepines. Janssen’s label for Duragesic, however,
                states that use with benzodiazepines “may cause respiratory
                depression, [low blood pressure], and profound sedation or
                potentially result in coma. Exit Wounds also contained a
                lengthy discussion of the dangers of using alcohol to treat
                chronic pain but did not disclose dangers of mixing alcohol and
                opioids.
             l. Janssen sales representatives told prescribers that wrote
                opioid prescriptions paid for by Plaintiff and the Workers’
                Compensation Payors that Nucynta was not an opioid, making

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                     it a good choice for chronic pain patients who previously were
                     unable to continue opioid therapy due to excessive side effects.
                     This statement was misleading because Nucynta is, in fact, an
                     opioid and has the same effects as other opioids.
 Purdue           m. Purdue sponsored APF’s Exit Wounds (2009), which omits
                     warnings of the risk of interactions between opioids and
                     benzodiazepines, which would increase fatality risk. Exit
                     Wounds also contained a lengthy discussion of the dangers of
                     using alcohol to treat chronic pain but did not disclose dangers
                     of mixing alcohol and opioids.
                  n. Purdue sponsored APF’s Treatment Options: A Guide for
                     People Living with Pain (2007), which advised patients that
                     opioids differ from NSAIDs in that they have “no ceiling dose”
                     and are therefore the most appropriate treatment for severe
                     pain. The publication attributes 10,000 to 20,000 deaths
                     annually to NSAID overdose. Treatment Options also warned
                     that risks of NSAIDs increase if “taken for more than a period
                     of months,” with no corresponding warning about opioids.
                  o. Purdue sponsored a CME issued by the American Medical
                     Association in 2003, 2007, 2010, and 2013; The CME,
                     Overview of Management Options, was edited by KOL Dr.
                     Russell Portenoy, among others, and taught that NSAIDs and
                     other drugs, but not opioids, are unsafe at high doses.
                  p. Purdue sales representatives told prescribers that wrote opioid
                     prescriptions paid for by Plaintiff and the Workers’
                     Compensation Payors NSAIDs were more toxic than opioids.

            H. Purdue misleadingly promoted Oxycontin as providing 12
               hours of relief.

     354.     In addition to making the deceptive statements above, Purdue also

dangerously misled doctors and patients about OxyContin’s duration and onset of

action.

     355.     Purdue promotes OxyContin as an extended-release opioid, but the

oxycodone does not enter the body on a linear rate. OxyContin works by releasing a

greater proportion of oxycodone into the body upon administration, and the release



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gradually tapers, as illustrated in the following chart, which was, upon information

and belief, adapted from Purdue’s own sales materials: 85




The reduced release of the drug over time means that the oxycodone no longer

provides the same level of pain relief; as a result, in many patients, OxyContin does

not last for the 12 hours for which Purdue promotes it—a fact that Purdue has

known at all times relevant to this action.

     356.    OxyContin tablets provide an initial absorption of approximately 40%

of the active medicine. This has a two-fold effect. First, the initial rush of nearly



85Jim Edwards, “How Purdue Used Misleading Charts to Hide OxyContin’s
Addictive Power,” CBSNews.com, Sept. 28, 2011. The 160 mg dose is no longer
marketed. Purdue’s promotional materials in the past displayed a logarithmic scale,
which gave the misleading impression the concentration remained constant.


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half of the powerful opioid—OxyContin is roughly twice as powerful as morphine—

triggers a powerful psychological response. OxyContin thus behaves more like an

immediate release opioid, which Purdue itself once claimed was more addicting in

its original 1995 FDA-approved drug label. Second, the initial burst of oxycodone

means that there is less of the drug at the end of the dosing period, which results in

the drug not lasting for a full 12 hours and precipitates withdrawal symptoms in

patients, a phenomenon known as “end of dose” failure. (The FDA found in 2008

that a “substantial number” of chronic pain patients will experience “end-of-dose

failure” with OxyContin.) The combination of fast onset and end-of-dose failure

makes OxyContin particularly addictive, even compared with other opioids.

     357.   Purdue nevertheless has falsely promoted OxyContin as if it were

effective for a full 12 hours. Its advertising in 2000 included claims that OxyContin

provides “Consistent Plasma Levels Over 12 Hours.” That claim was accompanied

by a chart depicting plasma levels on a logarithmic scale. The chart minimized the

rate of end-of-dose failure by depicting 10 mg in a way that it appeared to be half of

100 mg in the table’s y-axis. That chart, shown below, depicts the same information

as the chart above, but does so in a way that makes the absorption rate appear

more consistent:




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       358.   Subsequently other Purdue advertisements also emphasized “Q12h”

(meaning twice-daily) dosing. These include an advertisement in the February 2005

Journal of Pain and 2006 Clinical Journal of Pain featuring an OxyContin logo

with two pill cups, reinforcing the twice-a-day message. Other advertisements that

ran in the 2005 and 2006 issues of the Journal of Pain depict a sample prescription

for OxyContin, with “Q12h” handwritten for emphasis.

       359.   The fact that OxyContin did not provide pain relief for a full 12 hours

was known to Purdue, and Purdue’s competitors, but was not disclosed to general

practitioners. Purdue’s knowledge of some pain specialists’ tendency to prescribe

OxyContin three times per day instead of two (which would have compensated for

end-of-dose failure) was set out in Purdue’s internal documents as early as 1999 and

is apparent from MEDWATCH Adverse Event reports for OxyContin. 86 Even

Purdue’s competitor, Endo, was aware of the problem; Endo attempted to position


86   MEDWATCH refers to the FDA’s voluntary adverse event reporting system.
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its Opana ER drug as offering “durable” pain relief, which Endo understood to

suggest a contrast to OxyContin. Opana ER advisory board meetings featured pain

specialists citing lack of 12-hour dosing as a disadvantage of OxyContin. Endo even

ran advertisements for Opana ER referring to “real” 12-hour dosing.

     360.   Purdue’s failure to disclose the prevalence of end-of-dose failure meant

that prescribers who wrote opioid prescriptions paid for by Plaintiff and the

Workers’ Compensation Payors were not informed of risks relating to addiction, and

that they received the misleading message that OxyContin would be effective for

treating chronic pain for the advertised duration. Furthermore, doctors would

compensate by increasing the dose or prescribing “rescue” opioids, which had the

same effect as increasing the amounts of opioids prescribed to a patient. 87, 88




87Purdue’s Clinical Issues in Opioid Prescribing, put out in 2005 under Purdue’s
unbranded Partners Against Pain banner, states that “it is recommended that a
supplementary immediate-release medication be provided to treat exacerbations of
pain that may occur with stable dosing.” References to “rescue” medication appear
in publications Purdue sponsored such as APF’s A Policymaker’s Guide (2011) and
the 2013 CME Overview of Pain Management Options.
88The Connecticut Attorney General’s office filed a citizens’ petition with the FDA
on January 27, 2004, requesting that the OxyContin label be amended with a
warning not to prescribe the drug more than twice daily as a means of
compensating for end-of-dose failure. The FDA denied this request on September
11, 2008. The FDA found that the state had failed to present sufficient evidence
that more frequent dosing caused adverse outcomes, but the FDA did not challenge
the Connecticut finding that end-of-dose failure of OxyContin was prevalent.
Indeed, the FDA found that end-of-dose failure affected a “substantial” number of
chronic pain patients prescribed OxyContin.

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   VI.      Each Manufacturing Defendant engaged in deceptive marking,
            both branded and unbranded, that targeted and reached
            prescribers, including prescribers of patients receiving workers’
            compensation benefits.

     361.     The Manufacturing Defendants—with the aid the Front Groups and

KOLs—were able to affect a sea change in medical opinion in favor of accepting

opioids as a medically necessary long-term treatment for chronic pain. As set forth

below, each Defendant contributed to that result through a combination of both

direct marketing efforts and third-party marketing efforts over which that

Defendant exercised editorial control. These deceptive and misleading statements

were directed to, and reached, prescribers with the intent of distorting their views

on the risks, benefits, and superiority of opioids for treatment of chronic pain.

     362.     The Manufacturing Defendants engaged in their deceptive marketing

campaign, both nationwide and specifically to prescribers that wrote opioid

prescriptions paid for by Plaintiff and the Workers’ Compensation Payors, using a

number of strategies. The Manufacturing Defendants trained their sales forces and

recruited physician speakers to deliver these deceptive messages and omissions,

and they in turn conveyed them to prescribers. The Manufacturing Defendants also

broadly disseminated promotional messages and materials, both by delivering them

personally to doctors during detailing visits and by mailing deceptive

advertisements directly to prescribers. Because they are disseminated by the

Manufacturing Defendants and relate to their drugs, these materials are considered

“labeling” within the meaning of 21 C.F.R. § 1.3(a), which means Defendants are

liable for their content.


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     363.     The misrepresentations received by doctors constitutes an integral

piece of a centrally directed marketing strategy to change medical perceptions

regarding the use of opioids to treat chronic pain. Defendants were aware of each of

these misrepresentations, and Defendants approved of them and oversaw their

dissemination at the national, corporate level.

            A. Actavis

     364.     As described below, Actavis promoted its branded opioid, Kadian,

through a highly deceptive marketing campaign, carried out principally through its

sales force and recruited physician speakers. As internal documents indicate, this

campaign rested on a series of misrepresentations and omissions regarding the

risks, benefits, and superiority of opioids, and indeed incorporated each of the types

of deceptive messages. Based on the highly coordinated and uniform nature of

Actavis’s marketing, Actavis conveyed these deceptive messages to prescribers that

wrote opioid prescriptions paid for by Plaintiff and the Workers’ Compensation

Payors. Actavis did so with the intent that prescribers and/or consumers would rely

on the messages in choosing to use opioids to treat chronic pain. 89

            (a) Actavis’ deceptive direct marketing.

     365.     To help devise its marketing strategy for Kadian, Actavis commissioned

a report from one of its consultants in January 2005 about barriers to market entry.

The report concluded that two major challenges facing opioid manufacturers in 2005



89Actavis also sold various generic opioids, including Norco, which were widely
prescribed, and benefited from Actavis’s overall promotion of opioids, but were not
directly marketed by sales representatives.
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were (i) overcoming “concerns regarding the safety and tolerability” of opioids, and

(ii) the fact that “physicians have been trained to evaluate the supporting data

before changing their respective practice behavior.” To address these challenges, the

report advocated a “[p]ublication strategy based on placing in the literature key

data that influence members of the target audience” with an “emphasis . . . on

ensuring that the message is believable and relevant to the needs of the target

audience.” This would entail the creation of “effective copy points . . . backed by

published references” and “developing and placing publications that demonstrate

[the] efficacy [of opioids] and [their] safety/positive side effect profile.” According to

the report, this would allow physicians to “reach[] a mental agreement” and change

their “practice behavior” without having first evaluated supporting data—of which

Actavis (and other Defendants) had none.

     366.    The consulting firm predicted that this manufactured body of literature

“w[ould], in turn, provide greater support for the promotional message and add

credibility to the brand’s advocates” based on “either actual or perceived ‘scientific

exchange’” in relevant medical literature. (emphasis added). To this end, it planned

for three manuscripts to be written during the first quarter of 2005. Of these, “[t]he

neuropathic pain manuscript will provide evidence demonstrating KADIAN is as

effective in patients with presumptive neuropathic pain as it is in those with other

pain types”; “[t]he elderly subanalysis . . . will provide clinicians with evidence that

KADIAN is efficacious and well tolerated in appropriately selected elderly patients”

and will “be targeted to readers in the geriatrics specialty”; and “[t]he QDF/BID



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manuscript will . . . .call attention to the fact that KADIAN is the only sustained-

release opioid to be labeled for [once or twice daily] use.” In short, Actavis knew

exactly what each study would show—and how that study would fit into its

marketing plan—before it was published. Articles matching Actavis’s descriptions

later appeared in the Journal of Pain and the Journal of the American Geriatrics

Society.

     367.   To ensure that messages based on this science reached individual

physicians, Actavis deployed sales representatives, or detailers, to visit prescribers,

including those who would write opioid prescriptions paid for by Plaintiff and other

Workers’ Compensation Payors. At the peak of Actavis’s promotional efforts in

2011, the company spent $6.7 million on detailing.

     368.   To track its detailers’ progress, Actavis’s sales and marketing

department actively monitored the prescribing behavior of physicians. It tracked

the Kadian prescribing activity of individual physicians and assessed the success of

its marketing efforts by tabulating how many Kadian prescriptions a prescriber

wrote after he or she had been detailed. As described below, Kadian monitored

numerous physicians that wrote opioid prescriptions paid for by Plaintiff and the

Workers’ Compensation Payors.

     369.   Actavis also planned to promote Kadian by giving presentations at

conferences of organizations where it believed it could reach a high concentration of

pain specialists. Its choice of conferences was also influenced by the host’s past

support of opioids. For example, Actavis documents show that Actavis presented



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papers concerning Kadian at an annual meeting of AGS because AGS’s guidelines

“support the use of opioids.”

     370.     Actavis targeted prescribers using both its sales force and recruited

physician speakers, as described below.

            (b) Actavis’ deceptive sales training.

     371.     Actavis’s sales representatives targeted physicians to deliver sales

messages that were developed centrally and deployed uniformly across the country.

These sales representatives were critical in delivering Actavis’s marketing

strategies and talking points to individual prescribers.

     372.     Actavis’s strategy and pattern of deceptive marketing is evident in its

internal training materials. A sales education module titled “Kadian Learning

System” trained Actavis’s sales representatives on the marketing messages—

including deceptive claims about improved function, the risk of addiction, the false

scientific concept of “pseudoaddiction,” and opioid withdrawal—that sales

representatives were directed and required, in turn, to pass on to prescribers,

nationally.

     373.     The sales training module, dated July 1, 2010, includes the

misrepresentations documented in this Complaint, starting with its promise of

improved function. The sales training instructed Actavis sales representatives that

“most chronic benign pain patients do have markedly improved ability to function

when maintained on chronic opioid therapy,” when, in reality, available data

demonstrate that patients on chronic opioid therapy are less likely to participate in



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daily activities like work. The sales training also misleadingly implied that the dose

of prescription opioids could be escalated without consequence and omitted

important facts about the increased risks of high dose opioids. First, Actavis taught

its sales representatives, who would pass the message on to doctors, that pain

patients would not develop tolerance to opioids, which would have required them to

receive increasing doses: “Although tolerance and dependence do occur with long-

term use of opioids, many studies have shown that tolerance is limited in most

patients with [Chronic pain].” Second, Actavis instructed its sales personnel that

opioid “[d]oses are titrated to pain relief, and so no ceiling dose can be given as to

the recommended maximal dose.” Actavis failed to explain to its sales

representatives and, through them, to doctors, the greater risks associated with

opioids at high doses.

     374.    Further, the 2010 sales training module highlighted the risks of

alternate pain medications without providing a comparable discussion of the risks

of opioids, painting the erroneous and misleading impression that opioids are safer.

Specifically, the document claimed that “NSAIDs prolong the bleeding time by

inhibiting blood platelets, which can contribute to bleeding complications” and “can

have toxic effects on the kidney.” Accordingly, Actavis coached its sales

representatives that “[t]he potential toxicity of NSAIDs limits their dose and, to

some extent, the duration of therapy” since “[t]hey should only be taken short term.”

By contrast, the corresponding section related to opioids neglects to include a single

side effect or risk associated with the use of opioids, including from long-term use.



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     375.    This sales training module also severely downplayed the main risk

associated with Kadian and other opioids—addiction. It represented that “there is

no evidence that simply taking opioids for a period of time will cause substance

abuse or addiction” and, instead, “[i]t appears likely that most substance-abusing

patients in pain management practices had an abuse problem before entering the

practice.” This falsely suggests that few patients would become addicted, that only

those with a prior history of abuse are at risk of opioid addiction, and that doctors

could screen for those patients and safely prescribe to others. To the contrary, opioid

addiction affects a significant population of patients; while patients with a history of

abuse may be more prone to addiction, all patients are at risk, and doctors may not

be able to identify, or safely prescribe to, patients at greater risk.

     376.    The sales training also noted that there were various “signs associated

with substance abuse,” including past history or family history of substance or

alcohol abuse, frequent requests to change medication because of side effects or lack

of efficacy, and a “social history of dysfunctional or high-risk behaviors including

multiple arrests, multiple marriages, abusive relationships, etc.” This is misleading,

as noted above, because it implies that only patients with these kinds of behaviors

and history become addicted to opioids.

     377.    Further, the sales training neglected to disclose that no risk-screening

tools related to opioids have ever been scientifically validated. Indeed, the AHRQ’s

Evidence Report on opioids stated it could identify “[n]o study” that had evaluated

the effectiveness of various risk mitigation strategies—including the types of



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patient screening implied in Actavis’s sales training—on outcomes related to

overdose, addiction, abuse or misuse.

     378.    The sales training module also directed representatives to counsel

doctors to be on the lookout for the signs of “[p]seudoaddiction,” which were defined

as “[b]ehaviors (that mimic addictive behaviors) exhibited by patients with

inadequately treated pain.” However, the concept of “pseudoaddiction” was

unsubstantiated and meant to mislead doctors and patients about the risks and

signs of addiction.

     379.    Finally, the 2010 national training materials trivialized the harms

associated with opioid withdrawal by explaining that “[p]hysical dependence simply

requires a tapered withdrawal should the opioid medication no longer be needed.”

This, however, overlooks the fact that the side effects associated with opiate

withdrawal are severe and a serious concern for any person who wishes to

discontinue long-term opioid therapy.

     380.    The Kadian Learning System module dates as of July 2010, but Actavis

sales representatives were passing deceptive messages on to prescribers even before

then. A July 2010 “Dear Doctor” letter issued by the FDA indicated that “[b]etween

June 2009 and February 2010, Actavis sales representatives distributed . . .

promotional materials that . . . omitted and minimized serious risks associated with

[Kadian].” Certain risks that were misrepresented included the risk of “[m]isuse,

[a]buse, and [d]iversion of [o]pioids” and, specifically, the risk that “[o]pioid agonists

have the potential for being abused and are sought by drug abusers and people with



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addiction disorders and are subject to criminal diversion.” The FDA also took issue

with an advertisement for its misrepresenting Kadian’s ability to help patients “live

with less pain and get adequate rest with less medication,” when the supporting

study did not represent “substantial evidence or substantial clinical experience.”

     381.   Actavis’s documents also indicate that the company continued to

deceptively market its drugs after 2010. Specifically, a September 2012 Kadian

Marketing Update, and the “HCP Detail” aid contained therein, noted that Kadian’s

“steady state plasma levels” ensured that Kadian “produced higher trough

concentrations and a smaller degree of peak-to-trough fluctuations” than other

opioids.

     382.   Actavis also commissioned surveys of prescribers to ensure Kadian

sales representatives were promoting the “steady-state” message. That same

survey—paid for and reviewed by Actavis—found repeated instances of prescribers

being told by sales representatives that Kadian had low potential of abuse or

addiction. This survey also found that prescribers were influenced by Actavis’s

messaging. A number of Kadian prescribers stated that they prescribed Kadian

because it was “without the addictive potential” and wouldn’t “be posing high risk

for addiction.” As a result, Actavis’s marketing documents celebrated a “perception”

among doctors that Kadian had “low abuse potential”.

     383.   Finally, the internal documents of another Defendant, Endo, indicate

that pharmaceutical sales representatives employed by Endo, Actavis, and Purdue

discussed the AAPM/APS Guidelines with doctors during detailing visits. These



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guidelines deceptively concluded that the risk of addiction is manageable for

patients regardless of past abuse histories.

            (c) Actavis’ deceptive speaker training.

     384.     Actavis also relied on speakers—physicians whom Actavis recruited to

market opioids to their peers—to convey similar marketing messages. Actavis set a

goal to train 100 new Kadian speakers in 2008 alone, with a plan to set up “power

lunch teleconferences” connecting speakers to up to 500 participating sites

nationwide. Actavis sales representatives, who were required to make a certain

number of sales visits each day and week, saw the definition of sales call expanded

to accommodate these changes; such calls now included physicians’ “breakfast &

lunch meetings with Kadian advocate/speaker.”

     385.     A training program for Actavis speakers included training on many of

the same messages found in the Kadian Learning System, as described below. The

deceptive messages in Actavis’s speakers’ training are concerning for two reasons:

(a) the doctors who participated in the training were, themselves, prescribing

doctors, and the training was meant to increase their prescriptions of Kadian; and

(b) these doctors were trained, paid, and directed to deliver these messages to other

doctors who would write prescriptions of Kadian.

     386.     Consistent with the training for sales representatives, Actavis’s

speakers’ training falsely minimized the risk of addiction posed by long-term opioid

use. Actavis claimed, without scientific foundation, that “[o]pioids can be used with

minimal risk in chronic pain patients without a history of abuse or addiction.” The



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training also deceptively touted the effectiveness of “Risk Tools,” such as the Opioid

Risk Tool, in determining the “risk for developing aberrant behaviors” in patients

being considered for chronic opioid therapy. In recommending the use of these

screening tools, the speakers’ training neglected to disclose that none of them had

been scientifically validated.

     387.   The speakers’ training also made reference to “pseudoaddiction” as a

“[c]ondition characterized by behaviors, such as drug hoarding, that outwardly

mimic addiction but are in fact driven by a desire for pain relief and usually signal

undertreated pain.” It then purported to assist doctors in identifying those

behaviors that actually indicated a risk of addiction from those that did not.

Behaviors it identified as “[m]ore suggestive of addiction” included “[p]rescription

forgery,” “[i]njecting oral formulations,” and “[m]ultiple dose escalations or other

nonadherence with therapy despite warnings.” Identified as “[l]ess suggestive of

addiction” were “[a]ggressive complaining about the need for more drugs,”

“[r]equesting specific drugs,” “[d]rug hoarding during periods of reduced symptoms,”

and “[u]napproved use of the drug to treat another symptom.” By portraying the

risks in this manner, the speakers’ training presentation deceptively gave doctors a

false sense of security regarding the types of patients who can become addicted to

opioids and the types of behaviors these patients exhibit.

     388.   The speakers’ training downplayed the risks of opioids, while focusing

on the risks of competing analgesics like NSAIDs. For example, it asserted that

“Acetaminophen toxicity is a major health concern.” The slide further warned that



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“Acetaminophen poisoning is the most common cause of acute liver failure in an

evaluation of 662 U.S. Subjects with acute liver failure between 1998-2003,” and

was titled “Opioids can be a safer option than other analgesics.” However, in

presenting the risks associated with opioids, the speakers’ training focused on

nausea, constipation, and sleepiness, and ignored the serious risks of hyperalgesia,

hormonal dysfunction, decline in immune function, mental clouding, confusion, and

dizziness; increased falls and fractures in the elderly, neonatal abstinence

syndrome, and potentially fatal interactions with alcohol or benzodiazepines. As a

result, the training exaggerated the risks of NSAIDs, both absolutely and relative to

opioids, to make opioids appear to be a more attractive first-line treatment for

chronic pain.

     389.   The speakers’ training also misrepresented the risks associated with

increased doses of opioids. For example, speakers were instructed to “[s]tart low and

titrate until patient reports adequate analgesia” and to “[s]et dose levels on [the]

basis of patient need, not on predetermined maximal dose.” However, the speakers’

training neglected to warn speakers (and speakers bureau attendees) that patients

on high doses of opioids are more likely to suffer adverse events.

             iv.   Actavis’ deceptive statements to prescribers and patients.

     390.   The misleading messages and training materials Actavis provided to its

sales force and speakers were part of a broader strategy to convince prescribers to

use opioids to treat their patients’ pain, without complete and accurate information

about the risks, benefits, and alternatives. This deception was national in scope and



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included prescribers that wrote opioid prescriptions paid for by Plaintiff and the

Workers’ Compensation Payors. Actavis’s nationwide messages reached these

prescribers in a number of ways. For example, they were carried to these

prescribers by Actavis’s sales representatives during detailing visits as well as

made available to patients and prescribers through websites and ads, including ads

in prominent medical journals. They have also been delivered to prescribers

Actavis’s paid speakers, who were required by Actavis policy and by FDA

regulations to stay true to Actavis’s nationwide messaging.

     391.     Once trained, Actavis’s sales representatives and speakers were

directed to, and did, visit these potential prescribers to deliver their deceptive

messages. These contacts are demonstrated by Actavis’s substantial effort in

tracking the habits of individual physicians that wrote prescriptions paid for

Plaintiff and the Workers’ Compensation Payors prescribing Kadian, and by the

direct evidence of Actavis detailing these prescribers.

     392.     Actavis tracked, in substantial detail, the prescribing behavior of

physicians prescribing opioid prescriptions to claimants.

            B. Cephalon

     393.     At the heart of Cephalon’s deceptive promotional efforts was a

concerted and sustained effort to expand the market for its branded opioids, Actiq

and Fentora, far beyond their FDA-approved use in opioid-tolerant cancer patients.

Trading on their rapid-onset formulation, Cephalon touted its opioids as the answer

to “breakthrough pain”—a term its own KOL allies planted in the medical



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literature—whether cancer pain or not. Cephalon promoted this message through

its sales force, paid physician speakers, advertisements, and CMEs, even after the

FDA issued the company warnings and rejected an expanded drug indication.

     394.     Even as it promoted Actiq and Fentora off-label, Cephalon also

purveyed many of the deceptive messages described above. It did so both directly—

through detailing visits and speaker programs—and through the publications and

CMEs of its third-party partners. These messages included misleading claims about

functional improvement, addiction risk, pseudoaddiction, and the safety of

alternatives to opioids.

     395.     Based on the highly coordinated and uniform nature of Cephalon’s

marketing, Cephalon conveyed these deceptive messages to prescribers that wrote

opioid prescriptions paid for by Plaintiff and the Workers’ Compensation Payors.

The materials that Cephalon generated in collaboration with third-parties were also

distributed or made available nationally and specifically to prescribers that wrote

opioid prescriptions paid for by Plaintiff and the Workers’ Compensation Payors.

Cephalon distributed these messages and/or facilitated their distribution with the

intent that prescribers would rely on them in choosing to use opioids to treat

chronic pain.

            (a) Cephalon’s deceptive direct marketing.

     396.     Like the other Defendants, Cephalon directly engaged in misleading

and deceptive marketing of its opioids through its sales force and branded

advertisements. These messages were centrally formulated and intended to reach



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prescribers nationwide, including those that wrote opioid prescriptions paid for by

Plaintiff and the Workers’ Compensation Payors. Cephalon also spent the money

necessary to aggressively promote its opioid drugs, setting aside $20 million to

market Fentora in 2009 alone.

          ii.      Cephalon’s fraudulent off-label marketing of Actiq and
                   Fentora.

     397.       Chief among Cephalon’s direct marketing efforts was its campaign to

deceptively promote its opioids for off-label uses. Cephalon reaped significant

revenue from selling its opioids for treatment of chronic non-cancer pain. However,

neither of its two opioid drugs— Actiq or Fentora—is approved for this purpose.

Instead, both have indications that are very clearly and narrowly defined to limit

their use to a particular form of cancer pain. Despite this restriction, and in order to

claim its piece of the broader chronic non-cancer pain market, Cephalon deceptively

and unlawfully marketed Actiq and then Fentora for patients and uses for which

they were not safe, effective, or allowed. This resulted in prescriptions written and

paid and, grievously, caused patients to be injured and die. Cephalon’s efforts to

expand the market for its drugs beyond cancer pain extended to prescribers that

wrote opioid prescriptions paid for by Plaintiff and the Workers’ Compensation

Payors.




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     398.   Cephalon’s Actiq is a powerful opioid narcotic that is delivered to the

bloodstream by a lollipop lozenge that dissolves slowly in the mouth. As described

by one patient, Actiq “tastes like the most delicious candy you ever ate.” 90

     399.   Actiq is appropriately used only to treat “breakthrough” cancer pain

that cannot be controlled by other medications. Breakthrough pain is a short-term

flare of moderate-to-severe pain in patients with otherwise stable persistent pain.

Actiq is a rapid-onset drug that takes effect within 10-15 minutes but lasts only a

short time. It is also an extremely strong drug, considered to be at least 80 times

more powerful than morphine. Fentanyl, a key ingredient in Actiq, has been linked

to fatal respiratory complications in patients. Actiq is not safe in any dose for

patients who are not opioid tolerant, meaning patients who have taken specific

doses of opioids for a week or longer and whose systems have acclimated to the

drugs.

     400.   In 1998, the FDA approved Actiq “ONLY for the management of

breakthrough cancer pain in patients with malignancies who are already receiving

and who are tolerant to opioid therapy for their underlying persistent cancer

pain.” 91 (emphasis in FDA document). Because of Actiq’s dangers, wider, off-label

uses—as the FDA label makes clear—are not permitted:

             This product must not be used in opioid non-tolerant patients
             because life-threatening respiratory depression and death could

 See John Carreyrou, Narcotic ‘Lollipop’ Becomes Big Seller Despite FDA Curbs,
90

Wall St. J., Nov. 3, 2006.
91FDA Approval Letter for NDA 20-747 (Nov. 4, 1998) at 5,
http://www.accessdata.fda.gov/drugsatfda_docs/appletter/1998/20747ltr.pdf
(accessed November 18, 2019).

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             occur at any dose in patients not on a chronic regimen of opioids.
             For this reason, ACTIQ is contraindicated in the management of
             acute or postoperative pain. 92

     401.   Actiq and Fentora are thus intended to be used only in the care of

cancer patients and only by oncologists and pain specialists who are knowledgeable

of, and skilled in, the use of Schedule II opioids to treat cancer pain. Unlike other

drugs, of which off-label uses are permitted but cannot be promoted by the drug

maker, Actiq and Fentora are so potent that off-label use for opioid naïve patients is

barred by the FDA, as their labels make clear.

     402.   Notwithstanding the drug’s extreme potency and related dangers, and

the FDA’s explicit limitations, Cephalon actively promoted Actiq for chronic non-

cancer pain—an unapproved, off-label use. Cephalon marketed Actiq as appropriate

for the treatment of various conditions including back pain, headaches, pain

associated with sports-related injuries, and other conditions not associated with

cancer and for which it was not approved, appropriate, or safe.

     403.   Actiq’s initial sales counted in the tens of millions of dollars,

corresponding to its limited patient population. But by 2005, Actiq sales reached

$412 million, making it Cephalon’s second-highest selling drug. As a result of

Cephalon’s deceptive, unlawful marketing, sales exceeded $500 million by 2006.




92Actiq Drug Label, July 2011. The 1998 version does not substantively differ:
“Because life-threatening hypoventilation could occur at any dose in patients not
taking chronic opiates, Actiq is contra- indicated in the management of acute or
postoperative pain. This product must not be used in opioid non-tolerant patients.”
(emphasis in original).

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     404.     Actiq was set to lose its patent protection in September 2006. To

replace the revenue stream that would be lost once generic competitors came to

market, Cephalon purchased a new opioid drug, Fentora, from Cima Labs and, in

August 2005, submitted a New Drug Application (“NDA”) to the FDA for approval.

Like Actiq, Fentora is an extremely powerful and rapid-onset opioid. It is

administered by placing a tablet in the mouth until it disintegrates and is absorbed

by the mucous membrane that lines the inside of the mouth.

     405.     On September 25, 2006, the FDA approved Fentora, like Actiq, only for

the treatment of breakthrough cancer pain in cancer patients who were already

tolerant to around-the-clock opioid therapy for their underlying persistent cancer

pain. Fentora’s unusually strong and detailed black box warning label—the most

serious medication warning required by the FDA—makes clear that, among other

things:

            Fatal respiratory depression has occurred in patients treated with
            FENTORA, including following use in opioid non-tolerant patients
            and improper dosing. The substitution of FENTORA for any other
            fentanyl product may result in fatal overdose.

            Due to the risk of respiratory depression, FENTORA is
            contraindicated in the management of acute or postoperative pain
            including headache/migraine and in opioid non-tolerant patients. 93

     406.     When Cephalon launched Fentora on October 1, 2006, it picked up the

playbook it had developed for Actiq and simply substituted in Fentora. Cephalon

immediately shifted 100 general pain sales representatives from selling Actiq to



93Fentora Drug Label, February 2013, http://www.accessda ta.fda.gov/ drugs at fda
_ docs/ label/ 2013/021947s008lbl.pdf (accessed November 18, 2019).
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selling Fentora to the very same physicians for uses that would necessarily and

predictably be off label. Cephalon’s marketing of Actiq therefore “primed the

market” for Fentora. Cephalon had trained numerous KOLs to lead promotional

programs for Fentora, typically including off-label uses for the drug. Cephalon billed

Fentora as a major advance that offered a significant upgrade in the treatment of

breakthrough pain generally—not breakthrough cancer pain in particular—from

Actiq. Cephalon also developed a plan in 2007 to target elderly chronic pain patients

via a multi-city tour with stops at AARP events, YMCAs, and senior living facilities.

     407.     On February 12, 2007, only four months after the launch, Cephalon

CEO Frank Baldino told investors:

            [W]e’ve been extremely pleased to retain a substantial portion,
            roughly 75% of the `rapid onset opioid market. We executed our
            transition strategy and the results in our pain franchise have been
            better than we expected. With the successful launch of FENTORA
            and the progress in label expansion program, we are well positioned
            to grow our pain franchise for many years to come. 94

     408.     On May 1, 2007, just seven months after Fentora’s launch, Cephalon’s

then-Executive Vice President for Worldwide Operations, Bob Roche, bragged to

financial analysts that Fentora’s reach would exceed even Actiq’s. He described the

company’s successful and “aggressive” launch of Fentora that was persuading

physicians to prescribe Fentora for ever broader uses. He identified two “major

opportunities”—treating breakthrough cancer pain and:

            The other opportunity of course is the prospect for FENTORA
            outside of cancer pain, in indications such as breakthrough lower


94See Cephalon Q4 2006 Earnings Call Transcript, Seeking Alpha (February 12,
2007, 8:48 PM EST) at 5.
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            back pain and breakthrough neuropathic pain. . . .
            ....
            We believe that a huge opportunity still exists as physicians and
            patients recognize FENTORA as their first choice rapid onset
            opioid medication. . . . [opioids are] widely used in the treatment
            of. . . non-cancer patients . . . .
            ....
            Of all the patients taking chronic opioids, 32% of them take that
            medication to treat back pain, and 30% of them are taking their
            opioids to treat neuropathic pain. In contrast only 12% are taking
            them to treat cancer pain, 12%.

            We know from our own studies that breakthrough pain episodes
            experienced by these non-cancer sufferers respond very well to
            FENTORA. And for all these reasons, we are tremendously
            excited about the significant impact FENTORA can have on
            patient health and wellbeing and the exciting growth potential
            that it has for Cephalon.

            In summary, we have had a strong launch of FENTORA and
            continue to grow the product aggressively. Today, that growth is
            coming from the physicians and patient types that we have
            identified through our efforts in the field over the last seven years.
            In the future, with new and broader indications and a much
            bigger field force presence, the opportunity that FENTORA
            represents is enormous. 95

     409.     On September 10, 2007, Cephalon sent letters to doctors warning of

deaths and other “serious adverse events” connected with the use of Fentora,

indicating that “[t]hese deaths occurred as a result of improper patient selection

(e.g., use in opioid non-tolerant patients), improper dosing, and/or improper product




95See Cephalon Q1 2007 Earnings Call Transcript, Seeking Alpha (May 1, 2007,
8:48 PM EST) at 23,
http://seekingalpha.com/article/34163-cephalon-q1-2007-earnings-call-
transcript?page=1 (accessed November 18, 2019).
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substitution.” 96 The warning did not mention Cephalon’s deliberate role in the

“improper patient selection.”

     410.    Two weeks later, the FDA issued its own Public Health Advisory. The

FDA emphasized, once again, that Fentora should be prescribed only for approved

conditions and that dose guidelines should be carefully followed. The FDA Advisory

made clear that several Fentora-related deaths had occurred in patients who were

prescribed the drug for off-label uses. The FDA Advisory warned that Fentora

should not be used for any off-label conditions, including migraines, post-operative

pain, or pain due to injury, and that it should be given only to patients who have

developed opioid tolerance. The Advisory reiterated that, because Fentora contains

a much greater amount of fentanyl than other opiate painkillers, it is not a suitable

substitute for other painkillers. 97

     411.    Notwithstanding the regulatory scrutiny, Cephalon’s off-label

marketing continued. Cephalon’s 2008 internal audit of its Sales & Marketing

Compliance Programs concluded that marketing and tactical documents, as written,

may be construed to promote off-label uses. The same report acknowledged that

Cephalon lacked a process to confirm that speakers’ program participants were

following Cephalon’s written, formal policies prohibiting off-label promotion, and

that “non-compliant [Cephalon Speaker Programs] may be taking place.” Moreover,



96Letter from Jeffrey M. Dayno, M.D., Vice President, Medical Services, Cephalon,
Inc. to Healthcare Providers (Sept. 10, 2007).

97 FDA Public Health Advisory, Important Information for the Safe Use of Fentora
(fentanyl buccal tablets) (Sept. 26, 2007).
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the report acknowledged that Cephalon’s “call universe” may include “inappropriate

prescribers”— prescribers who had nothing to do with cancer pain.

     412.   Cephalon filed a supplemental new drug application, (“sNDA”), asking

the FDA to approve Fentora for the treatment of non-cancer breakthrough pain.

Cephalon admitted that Fentora already had been heavily prescribed for non-cancer

pain, but argued that such widespread use demonstrated why Fentora should be

approved for these wider uses. 98 Cephalon’s application also conceded that “[t]o

date, no medication has been systematically evaluated in clinical studies or

approved by the FDA for the management of [breakthrough pain] in patients with

chronic persistent non-cancer-related pain.” Id.

     413.   In response to Cephalon’s application, the FDA presented data showing

that 95% of all Fentora use was for treatment of non-cancer pain. 99 By a vote of 17-

3, the relevant Advisory Committee—a panel of outside experts—voted against

recommending approval of Cephalon’s sNDA for Fentora, citing the potential harm

from broader use. On September 15, 2008, the FDA denied Cephalon’s application

and requested, in light of Fentora’s already off-label use, that Cephalon implement

and demonstrate the effectiveness of proposed enhancements to Fentora’s Risk

Management Program. In December 2008, the FDA followed that request with a


98See Fentora CII: Advisory Committee Briefing Document, U.S. FDA Anesthetic &
Life Support Drugs Advisory Comm. & Drug Safety & Risk Mgmt. Advisory Comm.
(May 6, 2008).
99See Yoo Jung Chang & Lauren Lee, Review of Fentora and Actiq Adverse Events
from the Adverse Event Reporting System (“AERS”) Database, U.S. FDA Anesthetic
& Life Support Drugs Advisory Comm. & Drug Safety & Risk Mgmt. Advisory
Comm. (May 6, 2008).

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formal request directing Cephalon to submit a Risk Evaluation and Mitigation

Strategy for Fentora.

      414.   Undeterred by the rejection of its NDA, Cephalon continued to use its

general pain sales force to promote Fentora off-label to pain specialists as an

upgrade of Actiq for the treatment of non-cancer breakthrough pain. Deceptively

and especially dangerously, Cephalon also continued to promote Fentora for use by

all cancer patients suffering breakthrough cancer pain, and not only those who were

opioid tolerant.

      415.   On March 26, 2009, the Drug Marketing, Advertising, and

Communications Division of the FDA (“DDMAC”) issued a Warning Letter to

Cephalon, telling Cephalon that its promotional materials for Fentora amounted to

deceptive, off-label promotion of the drug. 100 Specifically, the Warning Letter

asserted that a sponsored link on Google and other search engines for Fentora,

which said “[l]earn about treating breakthrough pain in patients with cancer,” was

improper because it “misleadingly broaden[ed] the indication for Fentora by

implying that any patient with cancer who requires treatment for breakthrough

pain is a candidate for Fentora therapy . . . when this is not the case.”

      416.   DDMAC emphasized that Fentora’s label was limited to cancer patients

with breakthrough pain “who are already receiving and who are tolerant to around-

the-clock opioid therapy for their underlying persistent cancer pain.” (emphasis in


100Letter from Michael Sauers, Regulatory Review Officer, Division of Drug
Marketing, Advertising and Communications, to Carole S. Marchione, Senior
Director and Group Leader, Regulatory Affairs (March 26, 2009).

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original). DDMAC explained that the advertisement was “especially concerning

given that Fentora must not be used in opioid non-tolerant patients because life-

threatening hypoventilation and death could occur at any dose in patients not on a

chronic regimen of opioids.” (Emphasis in original). DDMAC also warned Cephalon

that, based on a review of Cephalon-sponsored links for Fentora on internet search

engines, the company’s advertisements were “misleading because they make

representations and/or suggestions about the efficacy of Fentora, but fail to

communicate any risk information associated with the use” of the drug. (emphasis

in original).

     417.       Cephalon’s own market research studies confirm that its Fentora

promotions were not focused on physicians who treat breakthrough cancer pain.

Cephalon commissioned several market research studies to determine whether

oncologists provided an “adequate” market potential for Fentora. These studies’

central goal was to determine whether oncologists treat breakthrough cancer pain

themselves, or whether they refer such patients to general pain specialists. The first

study, completed in 2007, reported that 90% of oncologists diagnose and treat

breakthrough cancer pain themselves, and do not refer their breakthrough cancer

pain patients to pain specialists. The second study, completed in 2009, confirmed

the results of the 2007 study, this time reporting that 88% of oncologists diagnose

and treat breakthrough cancer pain themselves and rarely, if ever, refer those

patients to general pain specialists. (One reason that general pain specialists

typically do not treat oncological pain is that the presence of pain can, in itself, be



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an indicator of a change in the patient’s underlying condition that should be

monitored by the treating oncologist.)

      418.   Cephalon was well aware that physicians were prescribing Fentora for

off-label uses.

      419.   Cephalon was also aware that its detailing had an impact on

prescription rates.

      420.   In 2011, Cephalon wrote and copyrighted an article titled “2011 Special

Report: An Integrated Risk Evaluation and Risk Mitigation Strategy for Fentanyl

Buccal Tablet (FENTORA®) and Oral Transmucosal Fentanyl Citrate (ACTIQ®)”

that was published in Pain Medicine News. 101 The article promoted Cephalon’s

drugs for off-label uses by stating that the “judicious use of opioids can facilitate

effective and safe management of chronic pain” and noted that Fentora “has been

shown to be effective in treatment of [break through pain] associated with multiple

causes of pain,” not just cancer. 102

         iii. Cephalon’s misrepresentation of the risks associated with the
              use of opioids for the long-term treatment of chronic pain.

      421.   Cephalon’s conduct in marketing Actiq and Fentora for chronic non-

cancer pain, despite their clear (and deadly) risks and unproved benefits, was an

extension, and reaped the benefits, of Cephalon’s generally deceptive promotion of

opioids for chronic pain.




101 http://www.pharmacytimes.com/publications/issue/2012/january2012/r514-jan-
12-rems (accessed November 18, 2019).
102 Id.


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      422.   There is insufficient scientific evidence to corroborate a link between

chronic opioid therapy and increased functionality. There is however, sufficient

evidence to show increased risks of overdose and addiction. 103

      423.   Along with deploying its sales representatives, Cephalon used speakers’

bureaus to help reach prescribers. The company viewed each treating physician as a

vehicle to generate prescriptions—whether written by that physician directly or

caused indirectly by his or her influence over other physicians.

      424.   Having determined that speakers were an effective way to reach

prescribers, Cephalon set to work ensuring that its speakers would disseminate its

misleading messages. Cephalon did not disclose to speakers that, even when these

tools are applied, they are unable to control for the risk of addiction.

      425.   As with the other Defendants, Cephalon deployed the made-up concept

of “pseudoaddiction” to encourage prescribers to address addictive behavior in the

worst way possible—with more opioids.

      426.   Working with FSMB, Cephalon also trained its speakers to turn

doctors’ fear of discipline on its head—doctors, who believed that they would be

disciplined if their patients became addicted to opioids, were taught instead that

they would be punished if they failed to prescribe opioids to their patients with

pain. Through this messaging, Cephalon aimed to normalize the prescribing of




  Thomas R. Frieden & Debra Houry, Reducing the Risks of Relief – The CDC
103

Opioid-Prescribing Guideline, 347 New Eng. J. Med. 1501-04 (2016).
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opioids for chronic pain and failed to acknowledge the serious risks of long-term

opioid use and its inappropriateness as a front-line treatment for pain.

    427.     Finally, Cephalon also developed a guidebook called Opioid Medications

and REMS: A Patient’s Guide, which deceptively minimized the risks of addiction

from the long-term use of opioids. Specifically, the guidebook claimed that “patients

without a history of abuse or a family history of abuse do not commonly become

addicted to opioids,” which is dangerously false. Cephalon distributed the guidebook

broadly, and it was available to, and intended to reach, prescribers that wrote

opioid prescriptions paid for by Plaintiff and the Workers’ Compensation Payors.

    428.     The misleading messages and materials Cephalon provided to its sales

force and its speakers were part of a broader strategy to convince prescribers to use

opioids to treat their patients’ pain, without complete and accurate information

about the risks, benefits, and alternatives. This deception was national in scope and

included prescribers that wrote opioid prescriptions paid for by Plaintiff and the

Workers’ Compensation Payors. Cephalon’s nationwide messages have reached

these prescribers in a number of ways. For example, they were delivered by

Cephalon’s sales representatives in detailing visits and made available to patients

and prescribers through websites and ads, including ads in prominent medical

journals. They have also been delivered to prescribers by Cephalon’s paid speakers,

who were required by Cephalon policy to stay true to the company’s nationwide

messaging.

             iv.   Cephalon’s deceptive third-party statements.



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     429.   Like the other Defendants, Cephalon also relied on third parties to

disseminate its messages through deceptive publications and presentations. By

funding, developing and reviewing the content, and distributing and facilitating the

distribution of these messages, Cephalon exercised editorial control over them.

Cephalon, in some instances, used its sales force to directly distribute certain

publications by these Front Groups and KOLs, rendering those publications

“labeling” within the meaning of § 21 C.F.R. § 1.3(a) and making Cephalon

responsible for their contents. Cephalon also deployed its KOLs as speakers for

talks and CMEs to selected groups of prescribers.

     430.   Cephalon’s relationships with several such Front Groups and KOLs—

and the misleading and deceptive publications and presentations those

relationships generated—are described below.

     431.   In 2007, for example, Cephalon sponsored and distributed through its

sales representatives FSMB’s Responsible Opioid Prescribing, which was drafted by

Dr. Fishman. Dr. Fishman was frequently hired by a consulting Firm, Conrad &

Associates LLC, to write pro-opioid marketing pieces disguised as science. Dr.

Fishman’s work was reviewed and approved by drug company representatives, and

he felt compelled to draft pieces that he admits distorted the risks and benefits of

chronic opioid therapy in order to meet the demands of his drug company sponsors.

     432.   Responsible Opioid Prescribing was a signature piece of Dr. Fishman’s

work and contained a number of deceptive statements. This publication claimed

that, because pain had a negative impact on a patient’s ability to function, relieving



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pain—alone—would “reverse that effect and improve function.” However, the truth

is far more complicated; functional improvements made from increased pain relief

can be offset by a number of problems, including addiction.

     433.   Responsible Opioid Prescribing also misrepresented the likelihood of

addiction by mischaracterizing drug-seeking behavior as “pseudoaddiction.” It

explained that “requesting drugs by name,” engaging in “demanding or

manipulative behavior,” seeing more than one doctor to obtain opioids, and

hoarding were all signs of “pseudoaddiction” and are likely the effects of

undertreated pain, rather than true addiction. There is no scientific evidence to

support the concept of “pseudoaddiction,” and any suggestion that addictive

behavior masquerades as “pseudoaddiction” is false.

     434.   Cephalon spent $150,000 to purchase copies of Responsible Opioid

Prescribing in bulk. It then used its sales force to distribute these copies to 10,000

prescribers and 5,000 pharmacists nationwide. These were available to, and

intended to, reach prescribers and pharmacists that wrote prescriptions for and

dispensed prescriptions to, respectively, the claimants of Plaintiff and the Workers’

Compensation Payors.

     435.   Cephalon also exercised considerable control over the Front Group

APF, which published and disseminated many of the most egregious falsehoods

regarding chronic opioid therapy. Their relationship, and several of the APF

publications, are described in detail below.




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    436.    Documents indicate that Cephalon provided APF with substantial

assistance in publishing deceptive information regarding the risks associated with

the use of opioids for chronic pain. An April 3, 2008 Fentora Assessment Strategy

Tactics Team Meeting presentation outlines Cephalon’s strategy to prepare for a

meeting at which the FDA Advisory Committee would consider expanding the

indication of Fentora to include chronic non-cancer pain. Cephalon prepared by

“reaching out to third-party organizations, KOLs, and patients to provide context

and, where appropriate, encourage related activity.” First among the Front Groups

listed was APF.

    437.    Cephalon was among the drug companies that worked with APF to

“educate” the Institute of Medicine of the National Academies (IOM) on issues

related to chronic opioid therapy. APF President Will Rowe circulated a document

to Cephalon and other drug company personnel that contained key message points

and suggested that they “[c]onsider using this document in your communications

with the members of the IOM Committee.” According to Rowe, recipients should

“consider this a working document which you can add to or subtract from.” Rowe

also advised that, if recipients “have an ally on that Committee,” they should

“consider sharing this document with that person.”

    438.    Cephalon personnel responded enthusiastically, with Cephalon’s

Associate Director for Alliance Development stating her belief that “the document

does a good job of bringing together many important ideas.” Cephalon reviewed and

directed changes to this document, with the Cephalon Associate Director thanking



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Rowe “for incorporating the points we had raised.” The close collaboration between

Cephalon and APF on this project demonstrates their agreement to work

collaboratively to promote the use of opioids as an appropriate treatment for chronic

pain.

      439.   Cephalon’s influence over APF’s activities was so pervasive that APF’s

President, Will Rowe, even reached out to Defendants—including Cephalon—rather

than his own staff, to identify potential authors to answer a 2011 article critical of

opioids that had been published in the Archives of Internal Medicine.

      440.   Starting in 2007, Cephalon sponsored APF’s Treatment Options: A

Guide for People Living with Pain. 104 It is rife with misrepresentations regarding

the risks, benefits, and superiority of opioids.

      441.   For example, Treatment Options deceptively asserts that the long-term

use of opioids to treat chronic pain could help patients function in their daily lives

by stating that, when used properly, opioids “give [pain patients] a quality of life

[they] deserve.” There is no scientific evidence corroborating that statement, and

such statements are, in fact, false. Available data demonstrate that patients on

chronic opioid therapy are actually less likely to participate in life activities like

work.

      442.   Treatment Options also claims that addiction is rare and is evident

from patients’ conduct in self-escalating their doses, seeking opioids from multiple




104https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf
(accessed November 18, 2019)
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doctors, or stealing the drugs. Treatment Options further minimizes the risk of

addiction by claiming that it can be avoided through the use of screening tools, like

“opioid agreements,” which can “ensure [that patients] take the opioid as

prescribed.” Nowhere does Treatment Options explain to patients and prescribers

that neither “opioid agreements” nor any other screening tools have been

scientifically validated to decrease the risks of addiction, and the publication’s

assurances to the contrary are false and deceptive.

     443.   Treatment Options also promotes the use of opioids to treat chronic pain

by painting a misleading picture of the risks of alternate treatments, most

particularly NSAIDs. Treatment Options notes that NSAIDs can be dangerous at

high doses, and attributes 10,000 to 20,000 deaths a year annually to NSAID

overdose. According to Treatment Options, NSAIDs are different from opioids

because opioids have “no ceiling dose,” which is beneficial since some patients

“need” larger doses of painkillers than they are currently prescribed. These claims

misleadingly suggest that opioids are safe even at high doses and omit important

information regarding the risks of high-dose opioids.

     444.   Additionally, Treatment Options warns that the risks associated with

NSAID use increase if NSAIDs are “taken for more than a period of months,” but

deceptively omits any similar warning about the risks associated with the long-term

use of opioids. This presentation paints a misleading picture of the risks and

benefits of opioid compared with alternate treatments.




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     445.    APF distributed 17,200 copies of Treatment Options in 2007 alone. It

was intended to reach prescribers and pharmacists that wrote prescriptions for and

dispensed opioids, respectively, to the claimants of Plaintiff and the Workers’

Compensation Payors.

     446.    Cephalon also knew that its misleading messages would be more likely

to be believed by prescribers if they were corroborated by seemingly neutral

scientific support.

     447.    Employing these tactics, Cephalon caused the term “breakthrough

pain”—a term it seeded in the medical literature—to be used in articles published

by practitioners and clinicians it supported. With funding from Cephalon, for

example, Dr. Portenoy wrote an article that purported to expand the definition of

breakthrough cancer pain to non-cancer indications, vastly expanding the

marketing potential of Cephalon’s Fentora. The article was published in the

nationally circulated Journal of Pain in 2006 and helped drive a surge in Fentora

prescriptions.

     448.    The concept of “breakthrough pain” ultimately formed the sole basis for

the central theme of promotional messages Cephalon cited to support the approval

and marketing of Actiq and Fentora, rapid-acting opioids which begin to work very

quickly but last only briefly. Neither of these drugs had a natural place in the

treatment of chronic pain before Cephalon’s marketing campaign changed medical

practice. A recent literature survey of articles describing non-cancer breakthrough

pain calls into question the validity of the concept, suggesting it is not a distinct



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pain condition but a hypothesis to justify greater dosing of opioids. In other words,

Cephalon conjured the science of breakthrough pain in order to sell its drugs.

      449.   As one scholar has pointed out, references to breakthrough pain in

articles published on the MEDLINE bibliographic database spiked in 1998 and

again in 2006. 105 These spikes coincide with FDA’s approval of Actiq and Fentora.

      450.   Cephalon developed sophisticated plans for the deployment of its KOLs,

broken down by sub-type and specialty, to reach targeted groups of prescribers

through CMEs. Cephalon used the CME programs it sponsored to deceptively

portray the risks related to the use of opioids to treat chronic non-cancer pain and

promote the off-label use of Actiq and Fentora.

      451.   In 2007 and 2008, Cephalon sponsored three CMEs that each

positioned Actiq and Fentora as the only “rapid onset opioids” that would provide

effective analgesia within the time period during which “breakthrough pain” was at

its peak intensity. Although the CMEs used only the generic names of the drugs,

the description of the active ingredient and means of administration means that a

physician attending the CME knew it referred only to Actiq or Fentora.

      452.   The CMEs taught attendees that there was no sound basis for the

distinction between cancer and non-cancer “breakthrough pain,” and one instructed

patients that Actiq and Fentora were commonly used in non-cancer patients, thus

effectively endorsing this use. Optimizing Opioid Treatment for Breakthrough Pain,




  Adriane Fugh-Berman, Marketing Messages in Industry-Funded CME,
105

PharmedOut, Georgetown U. Med. Ctr. (June 25, 2010).
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offered online by Medscape, LLC from September 28, 2007, through December 15,

2008, was prepared by KOL Dr. Webster and M. Beth Dove. It recommends

prescribing a “short-acting opioid” (e.g., morphine, hydromorphone, oxycodone)

“when pain can be anticipated,” or a rapid-onset opioid when it cannot. The only

examples of rapid-onset opioids then on the market were oral transmucosal fentanyl

citrate (i.e., Actiq) or fentanyl effervescent buccal tablet (i.e., Fentora): “Both are

indicated for treatment of [breakthrough pain] in opioid-tolerant cancer patients

and are frequently prescribed to treat [breakthrough pain] in noncancer patients as

well.”

     453.     Optimizing Opioid Treatment for Breakthrough Pain not only

deceptively promoted Cephalon’s drugs for off-label use, but also misleadingly

portrayed the risks, benefits, and superiority of opioids for the treatment of chronic

pain. For example, the CME misrepresented that Actiq and Fentora would help

patients regain functionality by advising that they improve patients’ quality of life

and allow for more activities when taken in conjunction with long-acting opioids.

The CME also minimized the risks associated with increased opioid doses by

explaining that NSAIDs were less effective than opioids for the treatment of

breakthrough pain because of their dose limitations, without disclosing the

heightened risk of adverse events on high-dose opioids.

     454.     Around the same time, Dr. Webster was receiving nearly $2 million in

funding from Cephalon.




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      455.   Optimizing Opioid Treatment for Breakthrough Pain was available

online and was intended to reach prescribers that wrote opioid prescriptions for the

claimants of Plaintiff and the Workers’ Compensation Payors.

      456.   Cephalon similarly used an educational grant to sponsor the CME

Breakthrough Pain: Improving Recognition and Management, which was offered

online between March 31, 2008, and March 31, 2009, by Medscape, LLC. The direct

result of Cephalon’s funding was a purportedly educational document that echoed

Cephalon’s marketing messages. The CME deceptively omitted Actiq’s and Fentora’s

tolerance limitations, cited examples of patients who experienced pain from

accidents, not from cancer, and, like Cephalon’s Optimizing Opioid Treatment CME,

taught that Actiq and Fentora were the only products on the market that would take

effect before the breakthrough pain episode subsided. This CME was available

online and was intended to reach prescribers that wrote opioid prescriptions paid for

by Plaintiff and the Workers’ Compensation Payors.

      457.   Lastly, KOL Dr. Fine authored a CME, sponsored by Cephalon, titled

Opioid-Based Management of Persistent and Breakthrough Pain, with KOLs Dr.

Christine A. Miaskowski and Michael J. Brennan, M.D. Cephalon paid to have this

CME published in a supplement of Pain Medicine News in 2009. 106 It instructed

prescribers that “clinically, broad classification of pain syndromes as either cancer-

or noncancer-related has limited utility,” and recommended dispensing “rapid onset




106https://www.yumpu.com/en/document/view/11409251/opioid-based-management-
of-persistent-and-breakthrough-pain (accessed November 18, 2019).

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opioids” for “episodes that occur spontaneously” or unpredictably, including “oral

transmucosal fentanyl,” i.e., Actiq, and “fentanyl buccal tablet,” i.e., Fentora,

including in patients with chronic non-cancer pain. Dr. Miaskowski disclosed in

2009, in connection with the APS/AAPM Opioid Treatment Guidelines, that she

served on Cephalon’s speakers bureau. 107 Dr. Fine also received funding from

Cephalon for consulting services.

     458.     Opioid-Based Management of Persistent and Breakthrough Pain was

available to and was intended to reach prescribers that wrote opioid prescriptions

paid for by Plaintiff and the Workers’ Compensation Payors.

     459.     Cephalon’s control over the content of these CMEs is apparent based on

its advance knowledge of their content. A December 2005 Cephalon launch plan set

forth key “supporting messages” to position Fentora for its product launch. Among

them was the proposition that “15-minute onset of action addresses the

unpredictable urgency of [breakthrough pain].” Years later, the same marketing

messages reappeared in the Cephalon-sponsored CMEs described above. Echoing

the Cephalon launch plan, Optimizing Opioid Treatment for Breakthrough Pain

stated that “[t]he unpredictability of [breakthrough pain] will strongly influence the

choice of treatment” and that Fentora “delivers an onset of analgesia that is similar

to [Actiq] at ≤ 15 minutes.” Similarly, Opioid-Based Management of Persistent and




 10714of 21 panel members who drafted the AAPM/APS Guidelines received
 support from Janssen, Cephalon, Endo, and Purdue.

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Breakthrough Pain defined “breakthrough pain” as “unpredictable,” over a table

describing both cancer and non-cancer “breakthrough pain.”

     460.     Cephalon tracked the effectiveness of its deceptive marketing through

third parties, demonstrating that Cephalon not only planned for, but depended

upon, their activities as a key element of its marketing strategy. These programs

were available to prescribers that wrote opioid prescriptions paid for by Plaintiff

and the Workers’ Compensation Payors, and, based on the uniform and nationwide

character of Cephalon’s marketing, featured the same deceptive messages described

above.

               v.   Cephalon’s deceptive third-party statements to
                    prescribers and patients.

     461.     Cephalon used various measures to disseminate its deceptive

statements regarding the risks of off-label use of Actiq and Fentora and the risks,

benefits, and superiority of opioids to patients and prescribers that wrote opioid

prescriptions paid for by Plaintiff and the Workers’ Compensation Payors.

     462.     Cephalon’s speakers regularly held talks for prescribers that wrote

opioid prescriptions paid for by Plaintiff and the Workers’ Compensation Payors.

These talks followed the same deceptive talking points covered in Cephalon’s

speakers’ training.

     463.     Cephalon also targeted prescribers that wrote opioid prescriptions paid

for by Plaintiff and the Workers’ Compensation Payors through the use of its sales

force.




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     464.    Given that Cephalon’s own studies demonstrated that the

overwhelming majority of oncologists diagnose and treat breakthrough cancer pain

themselves, Cephalon knew the only purpose of representatives meeting with these

prescribers was to promote off-label use. Based on the uniform and nationwide

character of Cephalon’s marketing, Cephalon’s deceptive messages would have been

disseminated to prescribers that wrote opioid prescriptions paid for by Plaintiff and

the Workers’ Compensation Payors by Cephalon’s sales representatives during

these events.

     465.    Sales representatives, and the misrepresentations on which they were

trained, drove significant Fentora sales.

            C. Endo

     466.    Endo promoted its opioids through the full array of marketing channels.

The company deployed its sales representatives, paid physician speakers, journal

supplements, and advertising in support of its branded opioids, principally Opana

and Opana ER. Misleading claims about the purportedly lower abuse potential of

Opana ER was featured prominently in this campaign. Endo also made many other

deceptive statements and omissions. These included deceptive messages about

functional improvement, addiction risk, “pseudoaddiction,” addiction screening tools,

and the safety of alternatives to opioids.

     467.    At the same time, Endo also relied on third-party partners to promote

the safety, efficacy, and superiority of opioids generally, through a combination of

CMEs, websites, patient education pamphlets, and other publications. These


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materials echoed the misrepresentations described above, and also made deceptive

statements about withdrawal symptoms and the safety of opioids at higher doses.

     468.     Because of the extensive, highly coordinated and uniform nature of

Endo’s marketing, it is likely and believed that Endo conveyed these deceptive

messages to prescribers that wrote opioid prescriptions paid for by Plaintiff and

other Workers’ Compensation Payors. The materials that Endo generated in

collaboration with third-parties also were distributed or made available nationwide,

and specifically to prescribers that wrote opioid prescriptions paid for by Plaintiff

and the Workers’ Compensation Payors. Endo distributed these messages or

facilitated their distribution with the intent that prescribers and/or consumers

would rely on them in choosing to use opioids to treat chronic pain.

            (a) Endo’s deceptive direct marketing.

     469.     Like the other Defendants, Endo used deceptive direct marketing to

increase the sales of its dangerous opioids. As set forth below, Endo conveyed these

deceptive messages in training of its sales force and recruited speakers, who in turn

conveyed them to physicians; in a misleading journal supplement; and in

unbranded advertising.

     470.     Endo’s promotion of Opana ER relied heavily on in-person marketing,

including to prescribers that wrote opioid prescriptions, including those it is

believed wrote prescriptions paid for by Plaintiff and other Workers’ Compensation

Payors. Endo had an aggressive detailing program. In the first quarter of 2010

alone, sales representatives made nearly 72,000 visits to prescribers nationwide to



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detail Opana ER. Between 2007 and 2013, Endo spent between $3 million and $10

million each quarter to promote opioids through its sales force.

     471.      Endo’s sales representatives, like those of the other Defendants,

targeted physicians to deliver sales messages that were developed centrally and

deployed uniformly across the country. These sales representatives were critical in

transmitting Endo’s marketing strategies and talking points to individual

prescribers.

     472.      Endo specifically directed its sales force to target physicians who would

prescribe its drugs to treat chronic pain. For example, an Opana Brand Tactical

Plan dated August 2007 aimed to increase “Opana ER business from [the Primary

Care Physician] community” by more than 45% by the end of that year. Indeed,

Endo sought to develop strategies that would be most persuasive to primary care

doctors—strategies that sought to influence the prescribing behavior of primary

care physicians through the use of subject matter experts. A February 2011 Final

Report on Opana ER Growth Trends, for example, predicted that Endo’s planned

“[u]se of Pain Specialists as local thought leaders should affect increased primary

care adoption.”

     473.      Endo trained its sales force to make a number of misrepresentations to

physicians nationwide, including, it is believed, to physicians that wrote opioid

prescriptions paid for by Plaintiff and other Workers’ Compensation Payors. Endo’s

sales representatives were trained to represent to these prescribers that Opana ER

would help patients regain function they had lost to chronic pain; that Endo opioids



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had a lower potential for abuse because they were “designed to be crush resistant,”

despite the fact that “clinical significance of INTAC Technology or its impact on

abuse/misuse ha[d] not been established for Opana ER;” and that drug seeking

behavior was a sign of undertreated pain rather than addiction.

     474.   Endo knew that its marketing reached physicians repeatedly because it

tracked their exposure. Internal Endo documents dated August 23, 2006

demonstrate that the following percentages of physicians would view an Endo

journal insert (or paid supplement) at least 3 times in an 8-month period: 86% of

neurologists; 86% of rheumatologists; 85% of oncologists; 85% of anesthesiologists;

70% of targeted primary care physicians; and 76% of OB/GYNs.

     475.   Endo was not only able to reach physicians through its marketing, but

also successfully impart its marketing messages as well. The company found that

its promotional materials tripled prescribers’ ability to recall the sales message and

doubled their willingness to prescribe Opana ER in the future. This was true of

marketing that contained deceptions.

     476.   For example, according to internal Endo documents, up to 10% of

physicians it detailed were able to recall, without assistance, the message that

Opana ER had “Minimal/less abuse/misuse” potential than other drugs. The Endo

message that prescribers retained was a plain misrepresentation: that use of Opana

ER was unlikely to lead to abuse and addiction. Although Opana ER always has

been classified under Schedule II as a drug with a “high potential for abuse”, the

largest single perceived advantage of Opana ER, according to a survey of 187



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physicians who reported familiarity with the drug, was “perceived low abuse

potential,” cited by 15% of doctors as an advantage. Low abuse potential was among

the deceptive messages that prescribers that wrote opioid prescriptions received,

and retained, from Endo sales representatives, including on belief physicians that

wrote opioid prescriptions paid for by Plaintiff and other Workers’ Compensation

Payors.

     477.   Endo’s internal documents acknowledged the misleading nature of

these statements, conceding that “Opana ER has an abuse liability similar to other

opioid analgesics as stated in the [FDA-mandated] box warning.” A September 2012

Opana ER Business Plan similarly stated that Endo needed a significant

investment in clinical data to support comparative effectiveness, scientific

exchange, benefits and unmet need, while citing lack of “head-to-head data” as a

barrier to greater share acquisition.

     478.   Nevertheless, Endo knew that its marketing was extremely effective in

turning physicians into prescribers. Nationally, the physicians Endo targeted for in-

person marketing represented approximately 84% of all prescribers of Opana ER in

the first quarter of 2010. Endo also observed that the prescribers its sales

representatives visited wrote nearly three times as many prescriptions per month

for Opana ER as those physicians who were not targeted for Endo’s marketing—7.4

prescriptions per month versus 2.5. The most heavily targeted prescribers wrote

nearly 30 prescriptions per month. Internal Endo documents from May 2008

indicate that Endo expected that each of its sales representatives would generate


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19.6 prescriptions per week by the end of 2008. As summarized by a February 2011

report on Opana ER growth trends, Endo’s “[a]ggressive detailing [is] having an

impact.”

     479.   More broadly, Endo’s sales trainings and marketing plans demonstrate

that its sales force was trained to provide prescribers with misleading information

regarding the risks of opioids when used to treat chronic pain. Foremost among

these messages were misleading claims that the risks of addiction, diversion, and

abuse associated with opioids—and Endo’s products in particular—were low, and

lower than other opioids.

                  (b) Endo’s sale force deceptively minimized the risks of
                      addiction associated with chronic opioid therapy.

     480.   By way of illustration, Endo’s Opana ER INTAC Technology Extended-

Release Sell Sheet Implementation Guide, which instructs Endo sales personnel how

to effectively “support key messages” related to the marketing of Opana ER, states

that it is an “approved message” for sales representatives to stress that Opana ER

was “designed to be crush resistant,” even though this internal document conceded

that “the clinical significance of INTAC Technology or its impact on abuse/misuse

has not been established for Opana ER.”

     481.   Other Endo documents acknowledged the limitations on Opana ER’s

INTAC technology, conceding that while Opana ER may be resistant to

pulverization, it can still be “ground” and “cut into small pieces” by those looking to

abuse the drug.




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     482.   Endo’s claims about the crush-resistant design of Opana ER also made

their way to the company’s press releases. A January 2013 article in Pain Medicine

News, based in part on an Endo press release, described Opana ER as “crush-

resistant.” This article was posted on the Pain Medicine News website, which was

accessible to patients and prescribers that wrote opioid prescriptions for the

claimants of Plaintiff and the Workers’ Compensation Payors.

     483.   The only reason to promote the crush resistance of Opana ER was to

persuade doctors that there was less risk of abuse, misuse, and diversion of the

drug. The idea that Opana ER was less addictive than other drugs was the precise

message that prescribers that wrote opioid prescriptions paid for by Plaintiff and

the Workers’ Compensation Payors took from Endo’s marketing.

     484.   On May 10, 2013, the FDA warned Endo that there was no evidence

that Opana ER’s design “would provide a reduction in oral, intranasal, or

intravenous abuse” and that the post-marketing data Endo had submitted to the

FDA “are insufficient to support any conclusion about the overall or route-specific

rates of abuse.” Even though it was rebuked by the FDA, Endo continued to market

Opana ER as having been designed to be crush resistant, knowing that this would

(falsely) imply that Opana actually was crush resistant and that this crush-

resistant quality would make Opana ER less likely to be abused.

     485.   Endo’s sales training and the promotional materials distributed by its

sales representatives also minimized the risk of addiction. Endo also circulated

education materials that minimized the risk of addiction. For example, Endo



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circulated an education pamphlet with the Endo logo titled “Living with Someone

with Chronic Pain,” which implied, to persons providing care to chronic pain

patients, that addiction was not a substantial concern by stating that “[m]ost health

care providers who treat people with pain agree that most people do not develop an

addiction problem.” This pamphlet was downloadable from Endo’s website and

accessible to prescribers that wrote opioid prescriptions paid for by Plaintiff and the

Workers’ Compensation Payors.

     486.   Endo’s sales training also misrepresented the risks of addiction

associated with Endo’s products by implying that Opana’s prolonged absorption

would make it less likely to lead to abuse. For example, a presentation titled

“Deliver the Difference for the Opana Brand in POA II” sets out that one of the

“[k]ey [m]essages” for the Endo sales force was that Opana ER provides “[s]table,

steady-state plasma levels for true 12-hour dosing that lasts.” Endo’s sales

representatives used this messaging to imply to prescribers that wrote opioid

prescriptions paid for by Plaintiff and the Workers’ Compensation Payors that

Opana ER provided “steady state” pain relief, making Opana less likely to incite

euphoria in patients and less likely to lead to addiction.

     487.   Endo further instructed its sales force to promote the misleading

concept of “pseudoaddiction,”—i.e., that drug-seeking behavior was not cause for

alarm, but merely a manifestation of undertreated pain. In a sales training

document titled “Understanding the Primary Care MD and their use of Opioids,”

Endo noted that the “biggest concerns” among primary care physicians were



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“prescription drug abuse (84.2%), addiction (74.9%), adverse effects (68%), tolerance

(60.7%), and medication interaction (32%).” In response to these concerns, Endo

instructed its sales representatives to ask whether their customers were

“confus[ing] ‘pseudo-addiction’ with ‘drug-seekers’” and how confident they were

that their health care providers “know these differences (Tolerance, Dependence,

Addiction, Pseudo- Addiction . . .).”

                (c) Endo’s sale force deceptively implied that chronic opioid
                   therapy would improve patients’ ability to function.

     488.    In addition to their deceptive messages regarding addiction, Endo’s

promotional materials and sales trainings also misleadingly claimed that patients

using opioids for the long- term treatment of chronic pain would experience

improvements in their daily function. In reality, long-term opioid use has not been

shown to, and does not, improve patients’ function, and, in fact, is often

accompanied by serious side effects that degrade function. Endo’s own internal

documents acknowledged that claims about improved quality of life were

unsubstantiated “off label claims.”

     489.    Nevertheless, Endo distributed product advertisements that suggested

that using Opana ER to treat chronic pain would allow patients to perform

demanding tasks like work as a chef. One such advertisement states prominently on

the front: “Janice is a 46-year-old chef with chronic low back pain. She needs a

treatment option with true 12-hour dosing.” The advertisement does not mention

the “moderate to severe pain” qualification in Opana ER’s indication, except in the

fine print. These advertisements were mailed to prescribers and distributed by


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Endo’s sales force in detailing visits, which would have included Endo

representatives’ visits to prescribers.

     490.    In a 2007 sales tool that was intended to be shown by Endo sales

personnel to physicians during their detailing visits, Endo highlighted a

hypothetical patient named “Bill,” a 40-year-old construction worker who was

reported to suffer from chronic low back pain. According to the sales tool, Opana ER

will make it more likely that Bill can return to work and support his family.

     491.    Similarly, training materials for sales representatives from March 2009

ask whether it is true or false that “[t]he side effects of opioids prevent a person

from functioning and can cause more suffering than the pain itself.” The materials

indicate that this is “[f]alse” because “[t]he overall effect of treatment with opioids is

very favorable in most cases.”

     492.    A sales training video dated March 8, 2012 that Endo produced and

used to train its sales force makes the same types of claims. A patient named

Jeffery explains in the video that he suffers from chronic pain and that “chronic

pain [ . . .] reduces your functional level.” Jeffery claims that after taking Opana

ER, he “can go out and do things” like attend his son’s basketball game and

“[t]here’s no substitute for that.” This video was shown to Endo’s sales force, which

adopted its misleading messaging in its nationwide sales approach.

     493.    Claims of improved functionality were central to Endo’s marketing

efforts for years. A 2012 Endo Business Plan lists ways to position Opana ER, and

among them is the claim that Opana ER will help patients “[m]aintain[] normal



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functionality, sleep, [and] work/life/performance productivity” and have a positive

“[e]ffect on social relationships.” Indeed, that business plan describes the “Opana

ER Vision” as “[t]o make the Opana franchise (Opana ER, Opana, Opana Injection)

the choice that maximizes improvement in functionality and freedom from the

burden of moderate-to-severe pain.”

              iv. Endo’s sale force deceptively presented the risks and
                  benefits of opioids to make them appear safer than other
                  analgesics.

     494.     Endo further misled patients and prescribers by downplaying the risks

of opioids in comparison to other pain relievers. For example, Endo distributed a

presentation titled Case Challenges in Pain Management: Opioid Therapy for

Chronic Pain. This study held out as a representative example one patient who had

taken NSAIDs for more than eight years and, as a result, developed “a massive

upper gastrointestinal bleed.” The presentation recommended treating this patient

with opioids instead. By focusing on the adverse side effects of NSAIDs, while

omitting discussion of serious side effects associated with opioids, this presentation

misleadingly portrayed the comparative risks and benefits of these drugs.

     495.     Endo distributed Case Challenges in Pain Management: Opioid

Therapy for Chronic Pain to 116,000 prescribers in 2007, including primary care

physicians.

               v. Endo’s speakers bureau deceptively minimized the risks of
                  addiction associated with chronic opioid therapy.

     496.     In addition to its sales representatives’ visits to doctors, Endo also used

deceptive science and speaker programs to spread its deceptive messages.


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     497.   Endo leaned heavily on its speakers’ bureau programs. In 2008 alone,

Endo spent nearly $4 million to promote up to 1,000 speakers programs around the

country. Endo contracted with a medical communications firm to operate its

speakers bureau program, planning to hold a total of 500 “fee-for-service . . . peer-to-

peer promotional programs” for Opana ER in just the second half of 2011, including

dinners, lunches and breakfasts. These programs were attended by sales

representatives, revealing their true purpose as marketing, rather than

educational, events.

     498.   Endo’s internal reporting stated that the “return on investment” turned

positive 8-12 weeks after such programs. Endo measured that return on investment

in numbers of prescriptions written by physicians who attended the events. One

internal Endo document concluded: “[w]e looked at the data for [the] 2011 program

and the results were absolutely clear: physicians who came into our speaker

programs wrote more prescriptions for Opana ER after attending than they had

before they participated. You can’t argue with results like that.”

     499.   These speakers bureau presentations included the very same

misrepresentations Endo disseminated through its sales representatives. A 2012

speaker slide deck for Opana ER— on which Endo’s recruited speakers were trained

and to which they were required to adhere to in their presentations—

misrepresented that the drug had low abuse potential, in addition to suggesting

that as many as one-quarter of the adult population could be candidates for opioid

therapy.



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     500.    In addition, a 2013 training module directed speakers to instruct

prescribers that “OPANA ER with INTAC is the only oxymorphone designed to be

crush resistant” and advised that “[t]he only way for your patients to receive

oxymorphone ER in a formulation designed to be crush resistant is to prescribe

OPANA ER with INTAC.” This was a key point in distinguishing Opana ER from

competitor drugs. Although Endo mentioned that generic versions of oxymorphone

were available, it instructed speakers to stress that “[t]he generics are not designed

to be crush resistant.” This was particularly deceptive given that Opana ER was not

actually crush-resistant.

     501.    In 2009, Endo wrote a talk titled The Role of Opana ER in the

Management of Chronic Pain. The talk included a slide titled “Use of Opioids is

Recommended for Moderate to Severe Chronic Noncancer Pain,” which cited the

AAPM/APS Guidelines—and their accompanying misstatements regarding the

likelihood of addiction (by claiming that addiction risks were manageable regardless

of patients’ past abuse histories) while omitting their disclaimer regarding the lack

of supporting evidence in favor of that position. This dangerously misrepresented to

doctors the force and utility of the 2009 Guidelines.

     502.    The misleading messages and materials Endo provided to its sales force

and its speakers were part of a broader strategy to convince prescribers to use

opioids to treat their patients’ pain, irrespective of the risks, benefits, and

alternatives. This deception was national in scope and due to the highly

coordinated, uniform and extensive nature of Endo’s marketing it is believed



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reached and affected prescribers that wrote opioid prescriptions paid for by Plaintiff

and the Workers’ Compensation Payors in a number of ways. For example, they

were carried by Endo’s sales representatives during detailing visits as well as made

available to patients and prescribers that wrote opioid prescriptions through

websites and ads. They also have been delivered to prescribers that wrote opioid

prescriptions by Endo’s paid speakers, who were required by Endo policy and by

FDA regulations to stay true to Endo’s nationwide messaging.

             vi. Endo’s misleading journal supplement.

     503.    In 2007, Endo commissioned the writing, and paid for the publishing of

a supplement available for CME credit in the Journal of Family Practice called Pain

Management Dilemmas in Primary Care: Use of Opioids. The supplement

deceptively minimized the risk of addiction by emphasizing the effectiveness of

screening tools. Specifically, it recommended screening patients using tools like the

Opioid Risk Tool or the Screener and Opioid Assessment for Patients with Pain. It

also falsely claimed that, through the use of tools like toxicology screens, pill counts,

and a “maximally structured approach,” even patients at high risk of addiction

could safely receive chronic opioid therapy. Endo distributed 96,000 copies of this

CME nationwide, and it was available to, and was intended to, reach prescribers,

including those, it is believed, that wrote opioid prescriptions paid for by Plaintiff

and the Workers’ Compensation Payors.

            vii. Endo’s deceptive unbranded advertising.

     504.    Endo also used unbranded advertisements to advance its goals. By

electing to focus on unbranded marketing, Endo was able to make claims about the

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benefits of its opioids that the FDA would never allow in its branded materials. The

chart below compares an Endo unbranded statement with one of Endo’s FDA-

regulated, branded statements:


           Living with Someone                    Opana ER Advertisement
             with Chronic Pain                        (2011/2012/2013)
            (2009) (Unbranded)                           (Branded)


       Patient education material                     Endo advertisement
            created by Endo


  “Most health care providers who             “[C]ontains oxymorphone, an opioid
  treat people with pain agree that           agonist and Schedule II controlled
  most people do not develop an               substance with an abuse liability
  addiction problem.”                         similar to other opioid agonists, legal
                                              or illicit.”

                                              “All patients treated with opioids
                                              require careful monitoring for signs
                                              of abuse and addiction, since use of
                                              opioid analgesic products
                                              carries the risk of addiction
                                              even under appropriate medical
                                              use.”



            viii. Endo’s deceptive third-party statements.

    505.     Endo’s efforts were not limited to directly making misrepresentations

through its marketing materials, its speakers, and its sales force. Endo believed

that support for patient advocacy and professional organizations would reinforce

Endo’s position as “the pain management company.”

    506.     Prior to, but in contemplation of, the 2006 launch of Opana ER, Endo

developed a “Public Stakeholder Strategy.” Endo identified “tier one” advocates to

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assist in promoting the approval and acceptance of its new extended release opioid.

Endo also intended to enlist the support of organizations that would be “favorable”

to schedule II opioids from a sales perspective and that engaged in, or had the

potential to advocate for, public policy. Endo sought to develop its relationships with

these organizations through its funding. In 2008, Endo spent $1 million per year to

attend conventions of these pro-opioid medical societies, including meetings of

AAPM, APS, and the American Society of Pain Management Nursing (“ASPMN”).

     507.    APF’s ability to influence professional societies and other third parties

is demonstrated by its approach to responding to a citizens’ petition filed with the

FDA by the Physicians for Responsible Opioid Prescribing (the “PROP Petition”).

The PROP petition, filed by a group of prescribers who had become concerned with

the rampant prescribing of opioids to treat chronic pain, asked the FDA to require

dose and duration limitations on opioid use and to change the wording of the

approved indication of various long-acting opioids to focus on the severity of the

pain they are intended to treat.

     508.    The PROP Petition set off a flurry of activity at Endo. It was

understood that Endo would respond to the petition but Endo personnel wondered

“[s]hould we . . . consider filing a direct response to this [citizens’ petition] or do you

think we are better served by working through our professional society affiliations?”

One Endo employee responded: “My sense is the societies are better placed to make

a medical case than Endo.” Endo’s Director of Medical Science agreed that “a reply




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from an external source would be most impactful.” These communications reflected

Endo’s absolute confidence that the professional societies would support its position.

             ix. American Pain Foundation (APF)

     509.   One of the societies with which Endo worked most closely was APF.

Endo provided substantial assistance to, and exercised editorial control, over the

deceptive and misleading messages that APF conveyed through its National

Initiative on Pain Control (“NIPC”). Endo was one of APF’s biggest financial

supporters, providing more than half of the $10 million APF received from opioid

manufacturers during its lifespan. Endo spent $1.1 million on the NIPC program in

2008 alone, funding earmarked in part, for the creation of CME materials that were

intended to be used repeatedly.

     510.   Endo’s influence over APF’s activities was so pervasive that APF

President Will Rowe reached out to Defendants—including Endo—rather than his

own staff, to identify potential authors to answer a 2011 article critical of opioids

that had been published in the Archives of Internal Medicine. Personnel from

Defendants Purdue, Endo, Janssen, and Cephalon worked with Rowe to formulate

APF’s response which was ultimately published.

     511.   Documents also indicate that Endo personnel were given advance

notice of the materials APF planned to publish on its website and provided an

opportunity to comment on the content of those materials before they were

published. For example, in early July of 2009, APF’s Director of Strategic

Development wrote to Endo personnel to give them advance notice of content that

APF planned to be “putting . . . up on the website but it’s not up yet.” The Endo
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employee assured the sender that she “w[ould] not forward it to anyone at all” and

promised that she would “‘double delete it’ from [her] inbox.” In response, APF’s

Director of Strategic Development replied internally with only four words: “And

where’s the money?”

    512.    At no time was Endo’s relationship with APF closer than during its

sponsorship of the National Initiative on Pain Control (“NIPC”). Before being taken

over by APF, the NIPC was sponsored by Professional Postgraduate Services which

the Accreditation Council for Continuing Medical Education determined to be a

“commercial interest” and could no longer serve as a sponsor. In response, Endo

reached out to APF. An August 2009 document titled “A Proposal for the American

Pain Foundation to Assume Sponsorship of the National Initiative on Pain Control,”

pointed out that “[f]or the past 9 years, the NIPC has been supported by

unrestricted annual grants from Endo Pharmaceuticals, Inc.” According to this

document, APF’s sponsorship of the NIPC “[o]ffers the APF a likely opportunity to

generate new revenue, as Endo has earmarked substantial funding: $1.2 million in

net revenue for 2010 to continue the NIPC.” Further, sponsorship of the APF would

“[p]rovide[] numerous synergies to disseminate patient education materials,”

including “[h]andouts to attendees at all live events to encourage physicians to drive

their patients to a trusted source for pain education—the APF website.”

    513.    A September 14, 2009 presentation to APF’s board contained a

materially similar discussion of NIPC sponsorship, emphasizing the financial

benefit to APF from assuming the role of administering NIPC. The proposal



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“offer[ed] a solution to continue the development and implementation of the NIPC

initiative as non-certified . . . yet independent education to physicians and

healthcare professionals in the primary care setting, while providing the APF with

a dependable, ongoing source of grant revenue.” A number of benefits related to

NIPC sponsorship were listed, but chief among them was “a likely opportunity [for

APF] to generate new revenue, as Endo has earmarked substantial funding: $1.2

million in net revenue for 2010 to continue the NIPC.”

     514.   Internal Endo scheduling documents indicate that “NIPC module

curriculum development, web posting, and live regional interactive workshops”

were Endo promotional tasks in 2010. Endo emails indicate that Endo personnel

reviewed the content created by NIPC and provided feedback.

     515.   Behind the scenes, Endo exercised substantial control over NIPC’s

work. Endo exerted its control over NIPC by funding NIPC and APF projects;

developing, specifying, and reviewing content; and taking a substantial role in the

distribution of NIPC and APF materials, which in effect determined which

messages were actually delivered to prescribers and consumers. As described below,

Endo projected that it would be able to reach tens of thousands of prescribers

nationwide through the distribution of NIPC materials.

     516.   From 2007 until at least 2011, Endo also meticulously tracked the

distribution of NIPC materials, demonstrating Endo’s commercial interest in, and

access to, NIPC’s reach. Endo knew exactly how many participants viewed NIPC

webinars and workshops and visited its website, Painknowledge.com. Endo not only



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knew how many people viewed NIPC’s content, but what their backgrounds were

(e.g., primary care physicians or neurologists). Endo’s access to and detailed

understanding of the composition of the audience at these events demonstrates how

deeply Endo was involved in NIPC’s activities. Moreover, Endo tracked the

activities of NIPC—ostensibly a third party—just as it tracked its own commercial

activity.

     517.   Endo worked diligently to ensure that the NIPC materials it helped to

develop would have the broadest possible distribution. Endo’s 2008 to 2012 Opana

Brand Tactical Plan indicates that it sought to reach 1,000 prescribers in 2008

through live NIPC events, and also to “[l]everage live programs via enduring

materials and web posting.” Endo also planned to disseminate NIPC’s work by

distributing two accredited newsletters to 60,000 doctors nationwide for continuing

education credit and by sponsoring a series of 18 NIPC regional case-based

interactive workshops. Endo had earmarked more than one million dollars for NIPC

activities in 2008 alone.

     518.   In short, NIPC was a key piece of Endo’s marketing strategy. Indeed,

internal APF emails question whether it was worthwhile for APF to continue

operating NIPC given that NIPC’s work was producing far more financial benefits

for Endo than for APF. Specifically, after Endo approved a $244,337.40 grant

request to APF to fund a series of NIPC eNewsletters, APF personnel viewed it as

“[g]reat news,” but cautioned that “the more I think about this whole thing, [Endo’s]

making a lot of money on this with still pretty slender margins on [APF’s] end.”



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APF’s commitment to NIPC’s “educational” mission did not figure at all in APF’s

consideration of the value of its work, nor was Endo’s motive or benefit in doubt.

    519.    NIPC distributed a series of eNewsletter CMEs focused on “key topic[s]

surrounding the use of opioid therapy” sponsored by Endo. These newsletters were

edited by KOL Dr. Fine and listed several industry-backed KOLs, including Dr.

Webster, as individual authors. Endo estimated that roughly 60,000 prescribers

viewed each one. These CMEs were available to prescribers that wrote opioid

prescriptions paid for by Plaintiff and the Workers’ Compensation Payors. Before-

and-after surveys, summarized in the chart below, showed that prescriber comfort

with prescribing opioids ranged from 27% to 62% before exposure to the CME, and

from 76% to 92% afterwards:




    520.    Endo documents made it clear that the persuasive power of NIPC

speakers was directly proportional to their perceived objectivity. Accordingly, Endo

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personnel directed that, when giving Endo-sponsored talks, NIPC faculty would not

appear to be “Endo Speakers.” Nevertheless, the two parties understood that Endo

and NIPC shared a common “mission to educate physicians” and working “through

the APF . . . [wa]s a great way to work out . . .problems that could have been there

without the APF’s participation and support.”

    521.    The materials made available on and through NIPC included

misrepresentations. For example, Endo worked with NIPC to sponsor a series of

CMEs titled Persistent Pain in the Older Patient and Persistent Pain in the Older

Adult. These CMEs misrepresented the prevalence of addiction by stating that

opioids have “possibly less potential for abuse” in elderly patients than in younger

patients, even though there was no evidence to support such an assertion.

Moreover, whereas withdrawal symptoms are always a factor in discontinuing long-

term opioid therapy, Persistent Pain in the Older Adult also misleadingly indicated

that such symptoms can be avoided entirely by tapering the patient’s does by 10-

20% per day for ten days. Persistent Pain in the Older Patient, for its part, made

misleading claims that opioid therapy has been “shown to reduce pain and improve

depressive symptoms and cognitive functioning.” NIPC webcast these CMEs from

its own website, where they were available to, and were intended to reach,

prescribers that wrote opioid prescriptions paid for by Plaintiff and the Workers’

Compensation Payors.

    522.    Working with NIPC enabled Endo to make a number of misleading

statements through the NIPC’s website, Painknowledge.com. Endo tracked visitors



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to PainKnowledge.com and used Painknowledge.com to broadcast notifications

about additional NIPC programming that Endo helped to create.

     523.   APF made a grant request to Endo to create an online opioid “tool-kit”

for NIPC and to promote NIPC’s website, Painknowledge.com. In so doing, APF

made clear that it planned to disseminate Defendants’ misleading messaging. The

grant request expressly indicated APF’s intent to make misleading claims about

functionality, noting: “Some of these people [in chronic pain] may be potential

candidates for opioid analgesics, which can improve pain, function, and quality of

life.” Endo provided $747,517 to fund the project.

     524.   True to APF’s word, Painknowledge.com misrepresented that opioid

therapy for chronic pain would lead to improvements in patients’ ability to function.

Specifically, in 2009 the website instructed patients and prescribers that, with

opioids, a patient’s “level of function should improve” and that patients “may find

[they] are now able to participate in activities of daily living, such as work and

hobbies, that [they] were not able to enjoy when [their] pain was worse.”

     525.   Painknowledge.com also deceptively minimized the risk of addiction by

claiming that “[p]eople who take opioids as prescribed usually do not become

addicted.” Painknowledge.com did not stop there. It deceptively portrayed opioids as

safe at high doses and also misleadingly omitted serious risks, including the risks of

addiction and death, from its description of the risks associated with the use of

opioids to treat chronic pain.




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     526.    Endo was the sole funder of Painknowledge.com, and it continued to

provide that funding despite being aware of the website’s misleading contents.

     527.    Finally, Endo also sponsored APF’s publication and distribution of Exit

Wounds, a publication aimed at veterans that also contained a number of

misleading statements about the risks, benefits, and superiority of opioids to treat

chronic pain. Exit Wounds was drafted by Derek Mcginnis.” Derek Mcginnis was

frequently hired by a consulting Firm, Conrad & Associates LLC, to write pro-opioid

marketing pieces disguised as science. Derek Mcginnis’s work was reviewed and

approved by drug company representatives, and he felt compelled to draft pieces

that he admits distorted the risks and benefits of chronic opioid therapy in order to

meet the demands of his drug company sponsors.

     528.    Exit Wounds is a textbook example of by Derek Mcginnis on the drug

companies’ behalf. The book misrepresented the functional benefits of opioids by

stating that opioid medications “increase your level of functioning” (emphasis in

original).

     529.    Exit Wounds also misrepresented that the risk of addiction associated

with the use of opioids to treat chronic pain was low. It claimed that “[l]ong

experience with opioids shows that people who are not predisposed to addiction are

very unlikely to become addicted to opioid pain medications.”

     530.    Finally, Exit Wounds misrepresented the safety profile of using opioids

to treat chronic pain by omitting key risks associated with their use. Specifically, it

omitted warnings of the risk of interactions between opioids and benzodiazepines—



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a warning sufficiently important to be included on Endo’s FDA-required labels. Exit

Wounds also contained a lengthy discussion of the dangers of using alcohol to treat

chronic pain but did not disclose dangers of mixing alcohol and opioids—a

particular risk for veterans.

     531.   As outlined above, Endo exercised dominance over APF and the projects

it undertook in an effort to promote the use of opioids to treat chronic pain. In

addition, as outlined above, Derek Mcginnis’s work was being reviewed and

approved by drug company representatives, motivating him to draft pro-opioid

propaganda masquerading as science. Combined, these factors gave Endo

considerable influence over the work of Derek Mcginnis and over APF. Further, by

paying to distribute Exit Wounds, Endo endorsed and approved its contents.

     532.   In addition to its involvement with APF, Endo worked closely with

other third-party Front Groups and KOLs to disseminate deceptive messages

regarding the risks, benefits, and superiority of opioids for the treatment of chronic

pain. As with certain APF publications, Endo in some instances used its sales force

to directly distribute certain publications by these Front Groups and KOLs, making

those publications “labeling” within the meaning of 21 C.F.R.§ 1.3(a).

     533.   In 2007, Endo sponsored FSMB’s Responsible Opioid Prescribing, which

in various ways deceptively portrayed the risks, benefits, and superiority of opioids

to treat chronic pain. Responsible Opioid Prescribing was drafted by “Dr. Fishman.”

     534.   Endo spent $246,620 to help FSMB distribute Responsible Opioid

Prescribing. Endo approved this book for distribution by its sales force. Based on the



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uniform and nationwide character of Endo’s marketing campaign, and the fact that

Endo purchased these copies specifically to distribute them, these copies were

distributed to physicians nationwide, including, it is believed, physicians that

wrote opioid prescriptions paid for by Plaintiff and other Workers’ Compensation

Payors.

              x. American Geriatric Society (AGS)

     535.   In December 2009, Endo also contracted with AGS to create a CME to

promote the 2009 guidelines titled the Pharmacological Management of Persistent

Pain in Older Persons with a $44,850 donation. These guidelines misleadingly

claimed that “the risks [of addiction] are exceedingly low in older patients with no

current or past history of substance abuse,” as the study supporting this assertion

did not analyze addiction rates by age. They also stated, falsely, that “[a]ll patients

with moderate to severe pain . . . should be considered for opioid therapy (low

quality of evidence, strong recommendation)” when in reality, opioid therapy was

only an appropriate treatment for a subset of those patients, as recognized by

Endo’s FDA-mandated labels.

     536.   AGS’s grant request to Endo made explicit reference to the CME that

Endo was funding. Endo thus knew full well what content it was paying to

distribute and was in a position to evaluate that content to ensure it was accurate,

substantiated, and balanced before deciding whether or not to invest in it. After

having sponsored the AGS CME, Endo’s internal documents indicate that Endo’s

pharmaceutical sales representatives discussed the AGS guidelines with doctors

during individual sales visits.
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             xi. American Academy of Pain Medicine (AAPM)

      537.   Endo also worked with AAPM, which it viewed internally as “Industry

Friendly,” with Endo advisors and speakers among its active members. Endo

attended AAPM conferences, funded its CMEs, and distributed its publications.

      538.   A talk written by Endo in 2009 and approved by Endo’s Medical Affairs

Review Committee, 108 titled The Role of Opana ER in the Management of Chronic

Pain, includes a slide titled Use of Opioids is Recommended for Moderate to Severe

Chronic Noncancer Pain. That slide cites the AAPM/APS Guidelines, which contain

a number of misstatements and omits their disclaimer regarding the lack of

supporting evidence. This talk dangerously misrepresented to doctors the force and

utility of the 2009 Guidelines. Furthermore, Endo’s internal documents indicate

that pharmaceutical sales representatives employed by Endo, Actavis, and Purdue

discussed treatment guidelines with doctors during individual sales visits.

             xii. Key opinion leaders and misleading science.

      539.   Endo also sought to promote opioids for the treatment of chronic pain

through the use of key opinion leaders and biased, misleading science.




108Although they were given slightly different names by each Defendant, each
Defendant employed a committee that could review and approve materials for
distribution. These committees included representatives from all relevant
departments within Defendants’ organizations, including the legal, compliance,
medical affairs, and marketing departments. The task of these review committees
was to scrutinize the marketing materials Defendants planned to distribute and to
ensure that those materials were scientifically accurate and legally sound.
Tellingly, these committees were called to review only materials that created a
potential compliance issue for the company, an implicit recognition by defendants
that they ultimately would be responsible for the content under review.

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      540.      Endo’s 2010 publication plan for Opana ER identified a corporate goal

of making Opana ER the second-leading branded product for the treatment of

moderate-to-severe chronic pain (after OxyContin). Endo sought to achieve that goal

by providing “clinical evidence for the use of Opana ER in chronic low back pain and

osteoarthritis,” and subsequently successfully had articles on this topic

published. 109

      541.      In the years that followed, Endo sponsored articles authored by Endo

consultants and Endo employees, which argued that the metabolic pathways

utilized by Opana ER, compared with other opioids, were less likely to result in

drug interactions in elderly low back and osteoarthritis pain patients. In 2010, Endo

directed its publication manager to reach out to a list of consultants conducting an

ongoing Endo-funded study, to assess their willingness to respond to an article 110

that Endo believed emphasized the risk of death from opioids, “without [] fair

balance.” 111




109These studies suffered from the limitations common to the opioid literature—and
worse. None of the comparison trials lasted longer than three weeks. Endo also
commissioned a six-month, open label trial during which a full quarter of the
patients failed to find a stable dose, and 17% of patients discontinued, citing
intolerable effects. In open label trials, subjects know which drug they are taking;
such trials are not as rigorous as double-blind, controlled studies in which neither
the patients nor the examiners know which drugs the patients are taking.
110Susan Okie, A Flood of Opioids, a Rising Tide of Deaths, 363 New Engl. J. Med.
1981 (2010), finding that opioid overdose deaths and opioid prescriptions both
increased by roughly 10-fold from 1990 to 2007.
111Endo did manage to get a letter written by three of those researchers, which was
not published.

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     542.    Endo’s reliance on flawed, biased research is also evident in its 2012

marketing materials and strategic plans. A 2012 Opana ER slide deck for Endo’s

speakers bureaus—on which these recruited physician speakers were trained and to

which they were required to adhere—misrepresented that the drug had low abuse

potential and suggested that as many as one-quarter of the adult population could

be candidates for opioid therapy. Although the FDA requires such speaker slide

decks to reflect a “fair balance” of information on benefits and risks, Endo’s slides

reflected one-sided and deeply biased information. The presentation’s 28 literature

citations were largely to “data on file” with the company, posters, and research

funded by, or otherwise connected to, Endo. Endo’s speakers relayed the

information in these slides to audiences that were unaware of the skewed science on

which the information was based.

     543.    A 2012 Opana ER Strategic Platform Review suffered from similar

defects. Only a small number of the endnotes referenced in the document, which it

cited to indicate “no gap” in scientific evidence for particular claims, were to

national-level journals. Many were published in lesser or dated journals and written

or directly financially supported by opioid manufacturers. Where the strategy

document did cite independent, peer-reviewed research, it did so out of context. For

example, it cited a 2008 review article on opioid efficacy for several claims,

including that “treatment of chronic pain reduces pain and improves functionality,”




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but it ignored the article’s overall focus on the lack of consistent effectiveness of

opioids in reducing pain and improving functional status. 112

      544.   Notwithstanding Endo’s reliance upon dubious or cherry-picked science,

in an Opana ER brand strategy plan it internally acknowledged the continuing need

for a significant investment in clinical data to support comparative effectiveness.

Endo also cited a lack of “head-to-head data” as a barrier to greater share

acquisition, and the “lack of differentiation data” as a challenge to addressing the

“#1 Key Issue” of product differentiation. This acknowledged lack of support did not

stop Endo from directing its sales representatives to tell prescribers that its drugs

were less likely to be abused or be addictive than other opioids.

      545.   Endo also worked with various KOLs to disseminate various misleading

statements about chronic opioid therapy. For example, Endo distributed a patient

education pamphlet edited by KOL Dr. Russell Portenoy titled Understanding your

Pain: Taking Oral Opioid Analgesics. This pamphlet deceptively minimized the

risks of addiction by stating that “[a]ddicts take opioids for other reasons [than pain

relief], such as unbearable emotional problems,” implying that patients who are

taking opioids for pain are not at risk of addiction.

      546.   Understanding your Pain: Taking Oral Opioid Analgesics also

misleadingly omitted any description of the increased risks posed by higher doses of

opioid medication. Instead, in a Q&A format, the pamphlet asked “[i]f I take the



  Andrea M. Trescot et al., Opioids in the management of non-cancer pain: an
112

Update of American Society of the Interventional Pain Physicians, Pain Physician
2008 Opioids Special Issue, 11:S5-S62.
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opioid now, will it work later when I really need it?” and responded that “[t]he dose

can be increased... [y]ou won’t ‘run out’ of pain relief.”

     547.    Dr. Portenoy received research support, consulting fees, and honoraria

from Endo for editing Understanding Your Pain and other projects.

     548.    Understanding Your Pain was available on Endo’s website during the

time period of this Complaint and was intended to reach prescribers that wrote

opioid prescriptions paid for by Plaintiff and the Workers’ Compensation Payors.

     549.    Endo similarly distributed a book written by Dr. Lynn Webster titled

Avoiding Opioid Abuse While Managing Pain, which stated that in the face of signs

of aberrant behavior, increasing the dose “in most cases . . . should be the clinician’s

first response.”

     550.    A slide from an Opana ER business plan contemplated distribution of

the book as part of Endo’s efforts to “[i]ncrease the breadth and depth of the

OPANA ER prescriber base via targeted promotion and educational programs.” The

slide indicates that the book would be particularly effective “for [the] PCP audience”

and instructed “[s]ales representatives [to] deliver [the book] to participating health

care professionals.” The slide, shown below, demonstrates Endo’s express

incorporation of this book by a KOL into its marketing strategy:




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    551.    Endo Documents indicate that, around 2007, the company purchased at

least 50,000 copies of the book for distribution. Internal Endo documents

Demonstrate that the book had been approved for distribution by Endo’s sales force,

and that Endo had fewer than 8,000 copies on hand in March of 2013. Based on the

nationwide and uniform character of Endo’s marketing, and the book’s approval for

distribution, this book was available to and was intended to reach prescribers.


           xiii. Endo’s deceptive statements to prescribers and patients.

    552.    Endo also directed the dissemination of the misstatements described

above to patients and prescribers through the media of its sales force, speakers

bureaus, CMEs, and the Painknowledge.com website.

    553.    Because of the extensive, highly coordinated and uniform nature of

Endo’s marketing, it is believed that Endo’s sales representatives consistent with




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their training delivered all of these deceptive messages to prescribers that wrote

opioid prescriptions paid for by Plaintiff and other Workers’ Compensation Payors.

     554.    Endo also directed misleading marketing to prescribers and patients

through the APF/NIPC materials it sponsored, reviewed, and approved. For

example, Endo hired a New York-based KOL to deliver on April 27, 2010 a CME

titled Managing Persistent Pain in the Older Patient. As described above, this CME

misrepresented the prevalence of addiction in older patients and made misleading

claims that chronic opioid therapy would improve patients’ ability to function. An

email invitation to the event and other NIPC programs was sent to “all healthcare

professionals” in APF’s database, which it is believed included that wrote opioid

prescriptions paid for by Plaintiff and other Workers’ Compensation Payors.

     555.    The significant response to Painknowledge.com also indicates that

those websites were viewed by prescribers who were exposed to the site’s misleading

information regarding the effect of opioids on patients’ ability to function and the

deceptive portrayal of the risks of opioids. As of September 14, 2010,

Painknowledge.com had 10,426 registrants, 86,881 visits, 60,010 visitors, and

364,241 page views. Upon information and belief, based on the site’s nationwide

availability, among the site’s visitors were patients and prescribers who were

exposed to the site’s misleading information regarding the effect of opioids on

patients’ ability to function and the deceptive portrayal of the risks of opioids.

     556.    Endo knew or had reason to know that harms from its deceptive

marketing would be felt in nationwide, and in particular, by the claimants of



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Plaintiff and other Workers’ Compensation Payors. Indeed, Endo saw workers’

compensation programs as a lucrative opportunity, and promoted the use of opioids

for chronic pain arising from work-related injuries, like chronic lower back pain.

Endo developed plans to “[d]rive demand for access through the employer audience

by highlighting cost of disease and productivity loss in those with pain; [with a]

specific focus on high-risk employers and employees.” In 2007, Endo planned to

reach 5,000 workers’ compensation carriers to ensure that Opana ER would be

covered under disability insurance plans. Endo knew or should have known that

claims for its opioids would be paid for by Workers’ Compensation Payors.


            D. Janssen

     557.     Janssen promoted its branded opioids, including Duragesic, Nucynta,

and Nucynta ER, through its sales representatives and a particularly active

speakers’ program. Deceptive messages regarding low addiction risk and low

prevalence of withdrawal symptoms were a foundation of this marketing campaign.

Janssen also conveyed other misrepresentations including that its opioids could

safely be prescribed at higher doses and were safer than alternatives such as

NSAIDs.

     558.     Janssen supplemented these efforts with its own unbranded website, as

well as third-party publications and a Front Group website, to promote opioids for

the treatment of chronic pain. These materials likewise made deceptive claims

about addiction risk, safety at higher doses, and the safety of alternative

treatments. They also claimed that opioid treatment would result in functional


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improvement, and further masked the risk of addiction by promoting the concept of

pseudoaddiction.

     559.   Based on the extensive and highly coordinated, uniform nature of

Janssen’s marketing, it is believed that Janssen conveyed these deceptive messages

to prescribers that wrote opioid prescriptions paid for by Plaintiff and other

Workers’ Compensation Payors. The materials that Janssen generated in

collaboration with third-parties also were distributed or made available with the

intent that prescribers, including those who wrote opioid prescriptions paid for by

Plaintiff and the Workers’ Compensation Payors would rely on them in choosing to

use opioids to treat chronic pain.

              i.   Janssen’s deceptive direct marketing.

     560.   Janssen joined the other Defendants in propagating deceptive branded

marketing that falsely minimized the risks and overstated the benefits associated

with the long-term use of opioids to treat chronic pain. Like the other Defendants,

Janssen sales representatives visited targeted physicians to deliver sales messages

that were developed centrally and deployed identically across the country. These

sales representatives were critical in transmitting Janssen’s marketing strategies

and talking points to individual prescribers. In 2011, at the peak of its effort to

promote Nucynta ER, Janssen spent more than $90 million on detailing.

     561.   Janssen’s designs to increase sales through deceptive marketing are

apparent on the face of its marketing plans. For example, although Janssen knew

that there was no credible scientific evidence establishing that addiction rates were

low among patients who used opioids to treat chronic pain, its Nucynta Business
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Plans indicated that one of the “drivers” to sell more Nucynta among primary care

physicians was the “[l]ow perceived addiction and/or abuse potential” associated

with the drug. However, there is no evidence that Nucynta is any less addictive or

prone to abuse than other opioids, or that the risk of addiction or abuse is low.

Similarly, Janssen knew that there were severe symptoms associated with opioid

withdrawal including, severe anxiety, nausea, vomiting, hallucinations, and

delirium, but Janssen touted the ease with which patients could come off opioids.

             ii.   Janssen’s deceptive sales training.

     562.   Janssen’s sales force was compensated based on the number of Nucynta

prescriptions written in each sales representative’s territory. Janssen encouraged

these sales representatives to maximize sales of Nucynta and meet their sales

targets by relying on the false and misleading statements described above.

     563.   For example, Janssen’s sales force was trained to trivialize addiction

risk. A June 2009 Nucynta training module warns that physicians are reluctant to

prescribe controlled substances like Nucynta because of their fear of addicting

patients, but this reluctance is unfounded because “the risks . . . are [actually] much

smaller than commonly believed.” Janssen also encouraged its sales force to

misrepresent the prevalence of withdrawal symptoms associated with Nucynta. A

Janssen sales training PowerPoint titled “Selling Nucynta ER and Nucynta”

indicates that the “low incidence of opioid withdrawal symptoms” is a “core

message” for its sales force. The message was touted at Janssen’s Pain District Hub

Meetings, in which Janssen periodically gathered its sales force personnel to discuss

sales strategy.
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     564.   This “core message” of a lack of withdrawal symptoms runs throughout

Janssen’s sales training materials. For example, Janssen’s “Licensed to Sell”

Facilitator’s Guide instructs those conducting Janssen sales trainings to evaluate

trainees, in part, on whether they remembered that “[w]ithdrawal symptoms after

abrupt cessation of treatment with NUCYNTA ER were mild or moderate in nature,

occurring in 11.8% and 2% of patients, respectively” and whether they were able to

“accurately convey” this “core message.” Janssen further claimed in 2008 that “low

incidence of opioid withdrawal symptoms” was an advantage of the tapentadol

molecule.

     565.   Similarly, a Nucynta Clinical Studies Facilitator’s Guide instructs

individuals training Janssen’s sales representatives to ask trainees to describe a

“key point”—that “83% of patients reported no withdrawal symptoms after abruptly

stopping treatment without initiating alternative therapy”—”as though he/she is

discussing it with a physician.”

     566.   This misrepresentation regarding withdrawal was one of the key

messages Janssen imparted to employees in the “Retail ST 101 Training” delivered

to Nucynta sales representatives.

     567.   Indeed, training modules between 2009 and 2011 instruct training

attendees that “most patients [who discontinued taking Nucynta] experienced no

withdrawal symptoms” and “[n]o patients experienced moderately severe or severe

withdrawal symptoms.”




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     568.    During the very time Janssen was instructing its sales force to

trivialize the risks of addiction and withdrawal associated with the use of Nucynta

to treat chronic pain, it knew or should have known, that significant numbers of

patients using opioids to treat chronic pain experienced issues with addiction.

Janssen knew or should have known that its studies on withdrawal were flawed

and created a misleading impression of the rate of withdrawal symptoms and, as a

result, the risk of addiction.

     569.    The misleading messages and materials Janssen provided to its sales

force were part of a broader strategy to convince prescribers to use opioids to treat

their patients’ pain, irrespective of the risks, benefits, and alternatives. This

deception was national in scope and due to the extensive, highly coordinated and

uniform nature of Janssen’s marketing it is believed reached prescribers that wrote

opioid prescriptions paid for by Plaintiff and other Workers’ Compensation Payors

in a number of ways, including through its sales force in detailing visits, as well as

through websites and ads. They were also delivered to prescribers by Janssen’s paid

speakers, who were required by Janssen policy and by FDA regulations to stay true

to Janssen’s nationwide messaging.

             iii.   Janssen’s deceptive speakers bureau programs.

     570.    Janssen did not stop at disseminating its misleading messages

regarding chronic opioid therapy through its sales force. It also hired speakers to

promote its drugs and trained them to make the very same misrepresentations

made by its sales representatives.



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     571.   Janssen’s speakers worked from slide decks—which they were required

to present—that contained the deceptive information about the risks, benefits, and

superiority of opioids outlined above. For example, a March 2011 speaker’s

presentation titled A New Perspective For Moderate to Severe Acute Pain Relief: A

Focus on the Balance of Efficacy and Tolerability set out the following adverse

events associated with use of Nucynta: nausea, vomiting, constipation, diarrhea,

dizziness, headache, anxiety, restlessness, insomnia, myalgia, and bone pain. It

completely omitted the risks of misuse, abuse, addiction, hyperalgesia, hormonal

dysfunction, decline in immune function, mental clouding, confusion, and other

known, serious risks associated with chronic opioid therapy. The presentation also

minimized the risks of withdrawal by stating that “more than 82% of subjects

treated with tapentadol IR reported no opioid withdrawal symptoms.”

     572.   An August 2011 speaker presentation titled New Perspectives in the

Management of Moderate to Severe Chronic Pain contained the same misleading

discussion of the risks associated with chronic opioid therapy. It similarly

minimized the risks of withdrawal by reporting that 86% of patients who stopped

taking Nucynta ER “abruptly without initiating alternative opioid therapy”

reported no withdrawal symptoms whatsoever. The same deceptive claims

regarding risks of adverse events and withdrawal appeared in a July 2012 speaker’s

presentation titled Powerful Pain Management: Proven Across Multiple Acute and

Chronic Pain Models.




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     573.   These speakers’ presentations were part of Janssen’s nationwide

marketing efforts. Upon information and belief, a number of these events were

available to and were intended to reach prescribers that wrote opioid prescriptions

paid for by Plaintiff and the Workers’ Compensation Payors.

             iv.   Janssen’s deceptive unbranded advertising.

     574.   Janssen was aware that its branded advertisements and speakers’

programs would face regulatory scrutiny that would not apply to its unbranded

materials, so Janssen also engaged in direct, unbranded marketing.

     575.   One such unbranded project was Janssen’s creation and maintenance of

Prescriberesponsibly.com, a website aimed at prescribers and patients that claims

that concerns about opioid addiction are “overstated.” A disclaimer at the bottom of

the website states that the “site is published by Janssen Pharmaceuticals, Inc.,

which is solely responsible for its content.” This website was available to and

intended to reach prescribers and claimants of Plaintiff and the Workers’

Compensation Payors.

              v.   Janssen’s deceptive third-party statements.

     576.   Janssen’s efforts were not limited to directly making

misrepresentations through its sales force, speakers’ bureau, and website. To avoid

regulatory constraints and give its efforts an appearance of independence and

objectivity, Janssen obscured its involvement in certain marketing activities by

“collaborat[ing] with key patient advocacy organizations” to release misleading

information about opioids.



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     577.    Janssen worked with AAPM and AGS to create a patient education

guide entitled Finding Relief: Pain Management for Older Adults (2009). In doing

so, Janssen contracted with a medical publishing firm, Conrad & Associates, LLC.

The content was drafted by a writer (“Medical Writer X”) hired by Conrad &

Associates and funded by Janssen. These materials were reviewed, in detail, by

Janssen’s medical-legal review team, which conducted detailed reviews and gave

him editorial feedback on his drafts, which was adopted in the published version.

     578.    Medical Writer X understood, without being explicitly told, that since

his work was funded and reviewed by Janssen, the materials he was writing should

aim to promote the sale of more drugs by overcoming the reluctance to prescribe or

use opioids to treat chronic pain. He knew that the publication was undertaken in

connection with the launch of a new drug and was part of its promotional effort.

Medical Writer X knew of the drug company’s sponsorship of the publication, and he

would go to the company’s website to learn about the drug being promoted. He also

knew that his clients—including Janssen—would be most satisfied with his work if

he emphasized that: (a) even when used long-term, opioids are safe and the risk of

addiction is low; (b) opioids are effective for chronic pain; and (c) opioids are under-

prescribed because doctors are hesitant, confused, or face other barriers.

     579.    Finding Relief is rife with the deceptive content: it misrepresents that

opioids increase function by featuring a man playing golf on the cover and listing

examples of expected functional improvement from opioids, like sleeping through

the night, returning to work, recreation, sex, walking, and climbing stairs. The



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guide states as a “fact” that “opioids may make it easier for people to live normally”

(emphasis in the original). The functional claims contained in Finding Relief are

textbook examples of Defendants’ use of third parties to disseminate messages the

FDA would not allow them to say themselves. Compare, e.g.:

     Branded Advertisement That Triggers           Seemingly Independent Publication:
        FDA Warning Letter (2008) 113             “Finding Relief: Pain Management for
                                                              Older Adults”
                                                     (Final Authority, Janssen 2009)

 •  Improvement in Daily Activities           •  Your recovery will be measured by
    Includes:                                    how well you reach functional goals
 Walking on a flat surface                       such as
 Standing or sitting                          Sleeping without waking from pain
 Climbing stairs                              Walking more, or with less pain
 Getting in and out of bed or bath            Climbing stairs with less pain
 Ability to perform domestic duties           Returning to work
                                              Enjoying recreational activities
                                              Having sex
                                              Sleeping in your own bed


       580.   Finding Relief also trivialized the risks of addiction describing as a

“myth” that opioids are addictive and asserting as fact that “[m]any studies show

that opioids are rarely addictive when used properly for the management of chronic

pain.”

       581.   Finding Relief further misrepresented that opioids were safe at high

doses by listing dose limitations as “disadvantages” of other pain medicines and

omitting any discussion of risks from increased doses of opioids. The publication




113This advertisement drew an FDA Warning Letter dated March 24, 2008. Though
the advertisement was by drug company King, it is used here to demonstrate the
types of claims that the FDA regarded as unsupported.

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also falsely claimed that it is a “myth” that “opioid doses have to be bigger over

time.”

     582.     Finally, Finding Relief deceptively overstated the risks associated with

alternative forms of treatment. It juxtaposed the advantages and disadvantages of

NSAIDs on one page, with the “myths/facts” of opioids on the facing page. The

disadvantages of NSAIDs are described as involving “stomach upset or bleeding,”

“kidney or liver damage if taken at high doses or for a long time,” “adverse reactions

in people with asthma,” and “increase[d] . . .risk of heart attack and stroke.”

Conversely, the only adverse effects of opioids listed by Finding Relief are “upset

stomach or sleepiness,” which the brochure claims will go away, and constipation.

The guide never mentions addiction, overdose, abuse, or other serious side effects of

opioids.

     583.     Janssen was not merely a passive sponsor of Finding Relief. Instead,

Janssen exercised control over its content and provided substantial assistance to

AGS and AAPM to distribute it. A “Copy Review Approval Form” dated October 22,

2008 indicates that key personnel from Janssen’s Advertising & Promotion, Legal,

Health Care Compliance, Medical Affairs, Medical Communications, and

Regulatory Departments reviewed and approved Finding Relief. All six Janssen

personnel approving the publication checked the box on the approval form

indicating that Finding Relief was “Approved With Changes.” After the publication

was modified at the behest of Janssen personnel, Janssen paid to have its sales

force distribute 50,000 copies of Finding Relief throughout the nation. Thus,



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Finding Relief is considered labeling for Janssen’s opioids within the meaning of 21

C.F.R. § 1.3(a).

     584.    AAPM purchased and distributed copies of Finding Relief to all of its

members.

             vi.   AGS – misleading medical education.

     585.    Janssen also worked with AGS on another project—AGS’s CME

promoting the 2009 guidelines for the Pharmacological Management of Persistent

Pain in Older Persons. These guidelines falsely claimed that “the risks [of addiction]

are exceedingly low in older patients with no current or past history of substance

abuse” although the study supporting this assertion did not analyze addiction rates

by age. They also stated falsely, that “[a]ll patients with moderate to severe pain . . .

should be considered for opioid therapy (low quality of evidence, strong

recommendation).” Based on Janssen’s control over AGS’s Finding Relief, Janssen

also would have exercised control over this project as well.

            vii.   American Pain Foundation (APF)

     586.    Janssen also worked with APF to carry out its deceptive marketing

campaign. Documents obtained from one of Janssen’s public relations firms,

Ketchum, indicate that Janssen and the firm enlisted APF as part of an effort to

“draft media materials and execute [a] launch plan” for Janssen’s drugs at an

upcoming meeting of the AAPM. Janssen also drew on APF publications to

corroborate claims in its own marketing materials and its sales training. Janssen

personnel participated in a March 2011 call with APF’s “Corporate Roundtable,” in

which they worked with APF and drug company personnel to develop strategies to

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promote chronic opioid therapy. APF personnel spoke with Janssen employees who

“shar[ed] expertise from within their company for [a] public awareness campaign.”

     587.   Their joint work on the “Corporate Roundtable” demonstrates the close

collaboration between Janssen and APF in promoting opioids for the treatment of

chronic pain. APF President Will Rowe also reached out to Defendants—including

Janssen— rather than his own staff, to identify potential authors to answer a 2011

article critical of opioids that had been published in the Archives of Internal

Medicine. Additional examples of APF’s collaboration with Janssen are laid out

below.

     588.   Prominent among these efforts was the Let’s Talk Pain website.

Janssen sponsored Let’s Talk Pain in 2009, acting in conjunction with APF,

American Academy of Pain Management, and American Society of Pain

Management Nursing. Janssen financed and orchestrated the participation of these

groups in the website.

     589.   Janssen exercised substantial control over the content of the Let’s Talk

Pain website. Janssen’s internal communications always referred to Let’s Talk Pain

as promoting tapentadol, the molecule it sold as Nucynta and Nucynta ER. Janssen

regarded Let’s Talk Pain and another website—Prescriberesponsibly.com— as

integral parts of Nucynta’s launch:




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    590.    Janssen documents also reveal that Janssen personnel viewed APF and

AAPM as “coalition members” in the fight to increase market share.

    591.    To this end, Janssen and APF entered into a partnership to “keep pain

and the importance of responsible pain management top of mind” among

prescribers and patients. They agreed to work to reach “target audiences” that

included patients, pain management physicians, primary care physicians, and

KOLs. One of the roles Janssen assumed in the process was to “[r]eview, provide

counsel on, and approve materials.” Janssen did in fact review and approve

material for the Let’s Talk Pain website, as evidenced by the following edits by a

Janssen executive to the transcript of a video that was to appear on the site:



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    592.    The final version of the video on Let’s Talk Pain omitted the stricken

language above.

    593.    This review and approval authority extended to the Let’s Talk Pain

website. Emails between Janssen personnel and a consultant indicate that, even

though the Let’s Talk Pain website was hosted by APF, Janssen had approval rights

over its content. Moreover, emails describing Janssen’s review and approval rights

related to Let’s Talk Pain indicate that this right extended to “major changes and

video additions.”

    594.    As a 2009 Janssen memo conceded, “[t]he Let’s Talk Pain Coalition is

sponsored by PriCara, a Division of Ortho-McNeil-Janssen Pharmaceuticals, Inc.”

and “[t]he Coalition and Pricara maintain editorial control of all Let’s Talk

Pain materials and publications” (emphasis added).

    595.    A 2011 Consulting Agreement between Janssen and one of APF’s

employees, relating to the dissemination of national survey data, demonstrates the

near-total control Janssen was empowered to exercise over APF in connection with

the Let’s Talk Pain website, including requiring APF to circulate and post Janssen’s

promotional content. The agreement required APF to “participate in status calls

between Janssen, APF, AAPM, ASPMN, and Ketchum as requested by Janssen”

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and required APF to “respond to requests to schedule status calls within 48 hours

of the request” (emphasis in original). APF also was required to “[r]eview and

provide feedback to media materials, including a press release, pitch email, a key

messages document, and social media messages, within one week of receipt”

(emphasis in original).

     596.    The agreement further required APF to provide a summary of the

survey results in APF’s PAIN MONITOR e-newsletter, post a link to the survey

results on APF’s Facebook page, send out tweets related to the survey, serve as a

spokesperson available for media interviews, “[s]hare information with any media

contacts with whom APF has existing relationships to promote the announcement of

the national survey findings,” identify at least two patient spokespersons to talk

about the survey data, and include the survey results in “any future APF materials,

as appropriate.” Tellingly, “any ideas made or conceived by [APF] in connection with

or during the performance” of the Agreement “shall be the property of, and belong

to, [Janssen].”

     597.    Janssen also exercised its control over Let’s Talk Pain. Janssen was

able to update the Let’s Talk Pain website to describe its corporate restructuring

and Janssen personnel asserted their control over “video additions” by reviewing

and editing the interview touting the functional benefits of opioids. Given its




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editorial control over the content of Let’s Talk Pain, Janssen was, at all times, fully

aware of—and fully involved in shaping—the website’s content. 114

      598.   Let’s Talk Pain contained a number of misrepresentations.

      599.   For example, Let’s Talk Pain misrepresented that the use of opioids for

the treatment of chronic pain would lead to patients regaining functionality. Let’s

Talk Pain featured an interview claiming that opioids were what allowed a patient

to “continue to function.”

      600.   In 2009, Let’s Talk Pain also promoted the concept of “pseudoaddiction,”

which it described as patient behaviors that may occur when pain is under-treated”

but differs “from true addiction because such behaviors can be resolved with

effective pain management” (emphasis added). Let’s Talk Pain was available to, and

was intended to, reach patients and prescribers that wrote opioid prescriptions paid

for by Plaintiff and the Workers’ Compensation Payors.

      601.   Janssen also engaged in other promotional projects with and through

APF. One such project was the publication and distribution of Exit Wounds, which,

as described above, deceptively portrayed the risks, benefits, and superiority of

opioids to treat chronic pain. Exit Wounds was drafted by “Medical Writer X.” It is

fully representative of his work on behalf of drug companies.




114It bears noting that Janssen does not publicly identify its role in creating Let’s
Talk Pain’s content. Instead, Let’s Talk Pain represents that “coalition members”
develop the content that appears on the website and lists Janssen as the only
sponsor of that coalition.
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      602.    Janssen gave APF substantial assistance in distributing Exit Wounds

throughout the nation by providing grant money and other resources.

             viii.   Janssen’s deceptive statements to prescribers and
                     patients.

      603.    Janssen also directed the misstatements described above through

CMEs, its sales force and recruited physician speakers to patients and to

prescribers, including, it is believed, those who wrote opioid prescriptions paid for

by Plaintiff and the Workers’ Compensation Payors.

      604.    Janssen sponsored CMEs and talks were attended by large numbers of

prescribers, including, it is believed, those who wrote opioid prescriptions paid for

by Plaintiff and the Workers’ Compensation Payors.

      605.    The experiences of specific prescribers who attended confirm both that

Janssen’s national marketing campaign included the misrepresentations, and that

the company disseminated these same misrepresentations to prescribers who often

wrote opioid prescriptions. In particular, prescriber accounts of presentations reflect

that Janssen detailers claimed that Nucynta was “not an opioid” because it worked

on an “alternate receptor”; 115 claimed that Janssen’s drugs would be less

problematic for patients because they had anti-abuse properties and were “steady

state”; claimed that patients on Janssen’s drugs were less susceptible to

withdrawal; omitted or minimized the risk of opioid addiction; claimed or implied




115The FDA-approved labels for both Nucynta and Nucynta ER describe the
tapentadol molecule as an “opioid agonist and a Schedule II controlled substance
that can be abused in a manner similar to other opioid agonists, legal or illicit.”

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that opioids were safer than NSAIDs; and overstated the benefits of opioids,

including by making claims of improved function.

            E. Purdue

     606.    Purdue promoted its branded opioids—principally, Oxycontin, Butrans,

and Hysingla—and opioids generally in a campaign that consistently

mischaracterized the risk of addiction and made deceptive claims about functional

improvement. Purdue did this through its sales force, branded advertisements,

promotional materials, and speakers, as well as a host of materials produced by its

third-party partners, most prominently APF. Purdue’s sales representatives and

advertising also misleadingly implied that OxyContin provides a full 12 hours of

pain relief, and its allied Front Groups and KOLs conveyed the additional deceptive

messages about opioids’ safety at higher doses, the safety of alternative therapies,

and the effectiveness of addiction screening tools.

     607.    Based on the extensive and highly coordinated, uniform nature of

Purdue’s marketing, it is believed that Purdue conveyed these deceptive messages

to prescribers that wrote opioid prescriptions paid for by Plaintiff and other

Workers’ Compensation Payors. Purdue distributed these messages or facilitated

their distribution with the intent that prescribers and/or consumers would rely on

them in choosing to use opioids to treat chronic pain.

               i.   Purdue’s deceptive marketing.

     608.    Purdue directly disseminated deceptive branded and unbranded

marketing focused on minimizing the risks associated with the long-term use of



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opioids to treat chronic pain. Purdue directed these messages to prescribers and

consumers through its sales force and branded advertisements.

      609.   Purdue engaged in in-person marketing to doctors that prescribed

opioids to claimants of Plaintiff and the Workers’ Compensation Payors. Purdue had

250 sales representatives in 2007, of whom 150 were devoted to promoting sales of

OxyContin full time. Like the other Defendants’ detailers, Purdue sales

representatives visited targeted physicians to deliver sales messages that were

developed centrally and deployed, identically, across the country. These sales

representatives were critical in delivering Purdue’s marketing strategies and

talking points to individual prescribers. 116 Indeed, Endo’s internal documents

indicate that pharmaceutical sales representatives employed by Endo, Actavis, and

Purdue discussed the AAPM/APS Guidelines, which as discussed above deceptively

concluded that the risk of addiction is manageable for patients regardless of past

abuse histories, with doctors during individual sales visits.

      610.   Purdue’s spending on detailing reached its nadir in 2006 and 2007, as

the company faced civil and criminal charges for misbranding OxyContin. Since

settling those charges in 2007, however, Purdue has sharply increased its quarterly

spending on promotion through its sales force, from under $5 million in 2007 to

more than $30 million by the end of 2014.


116Purdue did not stop there. It also tracked around 1,800 doctors whose
prescribing patterns demonstrated a probability that they were writing opioid
prescriptions for addicts and drug dealers. Purdue kept the program secret for nine
years and, when it finally did report information about these suspicious doctors to
law enforcement authorities, it only did so with respect to 8% of them.

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     611.    Purdue also marketed its drugs through branded advertisements which

relied on, among other deceptive tactics, misleading statements about the efficacy

and onset of OxyContin. Purdue marketed its drug as effective for 12 hours while

knowing that these claims were misleading because, for many patients, the pain

relief lasted for as little as eight hours, leading to end-of-dose failure and

withdrawal symptoms. This prompted doctors to prescribe, or patients to take,

higher or more frequent doses of opioids, all of which increased the risk of abuse

and addiction.

     612.    For example, a “Conversion and Titration Guide” submitted to the FDA

and distributed to physicians by Purdue, prominently referred to “Q12h OxyContin

Tablets,” meaning that each tablet was intended to “offer . . . every-twelve-hour

dosing.” Other marketing materials directed at physicians and disseminated across

the country in 2006 touted that OxyContin’s “12-hour AcroContin Delivery System”

was “designed to deliver oxycodone over 12 hours,” which offered patients “life with

Q12H relief.” Those same marketing materials included a timeline graphic with

little white paper pill cups at “8AM” and, further down the line, at “8PM” only. They

also proclaimed that OxyContin provided “Consistent Plasma Levels Over 12

Hours” and set forth charts demonstrating absorption measured on a logarithmic

scale, which fraudulently made it appear that levels of oxycodone in the

bloodstream slowly taper over a 12-hour time period.

     613.    Purdue advertisements that ran in 2005 and 2006 issues of the Journal

of Pain depicted a sample prescription for OxyContin with “Q12h” handwritten.



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Another advertisement Purdue ran in 2005 in the Journal of Pain touted

OxyContin’s “Q12h dosing convenience” and displayed two paper dosing cups, one

labeled “8 am” and one labeled “8 pm,” implying that OxyContin is effective for the

12-hour period between 8 a.m. and 8 p.m. Similar ads appeared in the March 2005

Clinical Journal of Pain.

     614.   Purdue continued to include prominent 12-hour dosing instructions in

its branded advertising, such as in a 2012 Conversion and Titration Guide, which

states: “Because each patient’s treatment is personal / Individualize the dose / Q12h

OxyContin Tablets.”

     615.   As outlined above, however, these statements are misleading because

they fail to make clear that a 12-hour dose does not equate to 12 hours of pain relief.

Nevertheless, Purdue’s direct marketing materials have misleadingly claimed

OxyContin offers 12-hour “dosing convenience.”

     616.   As described below, these deceptive statements regarding the efficacy of

OxyContin were made to prescribers and claimants.

     617.   Purdue’s direct marketing materials also misrepresented that opioids

would help patients regain functionality and make it easier for them to conduct

everyday tasks like walking, working, and exercising.

     618.   For example, in 2012, Purdue disseminated a mailer to doctors titled

“Pain vignettes.” These “vignettes” consisted of case studies describing patients

with pain conditions that persisted over a span of several months. One such patient,

“Paul,” is described as a “54-year-old writer with osteoarthritis of the hands,” and



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the vignettes imply that an OxyContin prescription will help him work. None of

these ads, however, disclosed the truth—that there is no evidence that opioids

improve patients’ lives and ability to function and that there was substantial

evidence to the contrary.

     619.    Some of the greatest weapons in Purdue’s arsenal, however, were

unbranded materials it directly funded and authored. These were in addition to the

unbranded materials, described below, that Purdue channeled through third

parties.

     620.    In 2011, Purdue published a prescriber and law enforcement education

pamphlet titled Providing Relief, Preventing Abuse, which deceptively portrayed the

signs—and therefore the prevalence—of addiction. However, Purdue knew, as

described above, that OxyContin was used non-medically by injection less than less

than 17% of the time. Yet, Providing Relief, Preventing Abuse prominently listed

side effects of injection like skin popping and track marks as “Indications of Possible

Drug Abuse”—downplaying much more prevalent signs of addiction associated with

OxyContin use such as asking for early refills, making it seem as if addiction only

occurs when opioids are taken illicitly.

     621.    Providing Relief, Preventing Abuse also deceptively camouflaged the

risk of addiction by falsely supporting the idea that drug-seeking behavior could, in

fact, be a sign of “pseudoaddiction” rather than addiction itself. Specifically, it noted

that the concept of “pseudoaddiction” had “emerged in the literature” to describe

“[drug-seeking behaviors] in patients who have pain that has not been effectively



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treated.” Nowhere in Providing Relief, Preventing Abuse did Purdue disclose the

lack of scientific evidence justifying the concept of “pseudoaddiction,” or that the

phrase itself had been coined by a Purdue vice president.

     622.    Providing Relief, Preventing Abuse was available nationally and was

intended to reach prescribers that wrote opioids prescriptions paid for by Plaintiff

and the Workers’ Compensation Payors. As described below, the deceptive

statements in Providing Relief, Preventing Abuse regarding addiction were the very

same messages Purdue directed at such prescribers through its sales force.

     623.    Purdue also disseminated misrepresentations through two of its

unbranded websites, In the Face of Pain and Partners Against Pain.

     624.    Consistent with Purdue’s efforts to portray opioid treatment as

“essential” for the proper treatment of chronic pain and label skepticism related to

chronic opioid therapy as an “inadequate understanding” that leads to “inadequate

pain control,” In the Face of Pain criticized policies that limited access to opioids as

being “at odds with best medical practices” and encouraged patients to be

“persistent” in finding doctors who will treat their pain. This was meant to imply

that patients should keep looking until they find a doctor willing to prescribe

opioids.

     625.    In the Face of Pain was available nationally and was intended to reach

prescribers, including it believed, those that wrote opioid prescriptions paid for by

Plaintiff and other Workers’ Compensation Payors.




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     626.   Purdue also used its unbranded website Partners Against Pain to

promote the same deceptive messages regarding risk of addiction and delivered by

its sales representatives. On this website, Purdue posted Clinical Issues in Opioid

Prescribing, a pamphlet that was copyrighted in 2005. Purdue also distributed a

hard-copy version of this pamphlet. Clinical Issues in Opioid Prescribing claimed

that “illicit drug use and deception” were not indicia of addiction, but rather

indications that a patient’s pain was undertreated. The publication indicated that

“[p]seudoaddiction can be distinguished from true addiction in that the behaviors

resolve when the pain is effectively treated.” In other words, Purdue suggested that

when faced with drug-seeking behavior from their patients, doctors should prescribe

more opioids—turning evidence of addiction into an excuse to sell and prescribe

even more drugs.

     627.   Purdue’s misleading messages and materials were part of a broader

strategy to convince prescribers to use opioids to treat their patients’ pain,

irrespective of the risks, benefits, and alternatives. This deception was national in

scope and in a number of ways reached prescribers that wrote opioid prescriptions,

including, it is believed, those who prescribed opiates for claimants of Plaintiff and

other Workers’ Compensation Payors. For example, they were delivered by Purdue’s

sales representatives during detailing visits as well as made available to claimants

and prescribers through websites and ads, including ads in prominent medical

journals. They would have also been delivered to prescribers by Purdue’s paid




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speakers, who were required by Purdue policy and by FDA regulations to stay true

to Purdue’s nationwide messaging.

             ii.   Purdue’s deceptive third-party statements.

     628.   Purdue’s efforts were not limited to making misrepresentations through

its own sales force and its own branded and unbranded marketing materials. As

described above, Purdue knew that regulatory constraints restricted what it could

say about its drugs through direct marketing. For this reason, like the other

Defendants, Purdue enlisted the help of third parties to release misleading

information about opioids. The most prominent of these was APF.

     629.   Purdue exercised considerable control over APF, which published and

disseminated many of the most blatant falsehoods regarding chronic opioid therapy.

Their relationship, and several of the APF publications, is described in detail below.

     630.   Purdue exercised its dominance over APF over many projects and

years. Purdue was APF’s second-biggest donor, with donations totaling $1.7 million.

Purdue informed APF that the grant money reflected Purdue’s effort to

“strategically align its investments in nonprofit organizations that share [its]

business interests,” making clear that Purdue’s funding depended upon APF

continuing to support Purdue’s business interests. Indeed, Purdue personnel

participated in a March 2011 call with APF’s “Corporate Roundtable,” where they

suggested that APF “[s]end ambassadors to talk about pain within companies and

hospitals.” Thus, Purdue suggested what role APF could play that would

complement its own marketing efforts. On that call, Purdue personnel also

committed to provide APF with a list of “industry state advocates” who could help
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promote chronic opioid therapy, individuals and groups that, upon information and

belief, APF reached out to. Purdue personnel remained in constant contact with

their counterparts at APF.

    631.    This alignment of interests was expressed most forcefully in the fact

that Purdue hired APF to provide consulting services on its marketing initiatives.

Purdue and APF entered into a “Master Consulting Services” Agreement on

September 14, 2011. That agreement gave Purdue substantial rights to control

APF’s work related to a specific promotional project. Moreover, based on the

assignment of particular Purdue “contacts” for each project and APF’s periodic

reporting on their progress, the agreement enabled Purdue to be regularly aware of

the misrepresentations APF was disseminating regarding the use of opioids to treat

chronic pain in connection with that project. The agreement gave Purdue—but not

APF—the right to end the project (and, thus, APF’s funding) for any reason. This

agreement demonstrates APF’s lack of independence and its willingness to

surrender to Purdue’s control and commercial interests, which would have carried

across all of APF’s work.

    632.    Purdue used this agreement to conduct work with APF on the Partners

Against Pain website. Partners Against Pain is a Purdue-branded site, and Purdue

holds the copyright.

    633.    However, its ability to deploy APF on this project illustrates the degree

of control Purdue exercised over APF. In 2011, it hired an APF employee to consult

on the Partners Against Pain rollout, to orchestrate the media campaign associated



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with the launch of certain content on the website, and to make public appearances

promoting the website along with a celebrity spokesperson. Purdue contemplated

paying this consultant $7,500 in fees and expenses for 26 hours of work. Purdue

would require this consultant to “to discuss and rehearse the delivery of [Purdue’s]

campaign messages” and Purdue committed that “[m]essage points will be provided

to [the] Consultant in advance and discussed on [a planned] call.” At all times,

decisions regarding the final content on the Partners Against Pain website were “at

the sole discretion of Purdue.”

     634.   APF also volunteered to supply one of its staff (a medical doctor or a

nurse practitioner) to assist Purdue as a consultant and spokesperson for the

launch of one of Purdue’s opioid-related projects, Understanding & Coping with

Lower Back Pain, which appeared on Partners Against Pain. One of the consultants

was APF’s paid employee, Mickie Brown. The consultant’s services would be

provided in return for a $10,000 consulting fee for APF and $1,500 in honoraria for

the spokesperson. All documents used by the consultant in her media appearances

would be reviewed and approved by individuals working for Purdue. It was not until

later that APF worried about “how Purdue sees this program fitting in with our

[existing] grant request.”

     635.   Given the financial and reputational incentives associated with

assisting Purdue in this project and the direct contractual relationship and editorial

oversight, APF personnel were acting under Purdue’s control at all relevant times

with respect to Partners Against Pain.



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     636.   APF acquiesced to Purdue’s frequent requests that APF provide

“patient representatives” for Partners against Pain. Moreover, APF staff and board

members and Front Groups ACPA and AAPM, among others (such as Dr. Webster),

appear on Inthefaceofpain.com as “Voices of Hope”—”champions passionate about

making a difference in the lives of people who live with pain” and providing

“inspiration and encouragement” to pain patients. APF also contracted with Purdue

for a project on back pain in which, among other things, it provided a patient

representative who agreed to attend a Purdue-run “media training session.”

     637.   According to an Assurance of Voluntary Compliance (“AVC”) entered

into between the New York Attorney General and Purdue Pharma on August 19,

2015, Inthefaceofpain.com received 251,648-page views between March 2014 and

March 2015. With the exception of one document linked to the website,

Inthefaceofpain.com makes no mention of opioid abuse or addiction. Purdue’s

copyright appears at the bottom of each page of the website, indicating its

ownership and control of its content. There is no other indication that 11 of the

individuals who provided testimonials on Inthefaceofpain.com received payments,

according to the AVC, of $231,000 for their participation in speakers’ programs,

advisory meetings and travel costs between 2008 and 2013. The New York Attorney

General found Purdue’s failure to disclose its financial connections with these

individuals had the potential to mislead consumers.

     638.   Nowhere was Purdue’s influence over APF so pronounced as it was with

the APF’s “Pain Care Forum” (“PCF”). PCF was run not by APF, but by Defendant



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Purdue’s in-house lobbyist, Burt Rosen. As described by a former drug company

employee, Rosen exercised full control of PCF, telling them “what to do and how to

do it.” This control allowed him, in turn, to run APF as, in accordance with Rosen’s

thinking, “PCF was APF, which was Purdue.” PCF meets regularly in-person and

via teleconference, and shares information through an email listserv.

     639.   In 2011, APF and another third-party advocacy group, the Center for

Practical Bioethics, were considering working together on a project. Having

reviewed a draft document provided by the Center for Practical Bioethics, the APF

employee cautioned that “this effort will be in cooperation with the efforts of the

PCF” and acknowledged that “I know you have reservations about the PCF and

pharma involvement, but I do believe working with them and keeping the lines of

communications open is important.” The Center for Practical Bioethics CEO

responded by indicating some confusion about whom to speak with, asking “[i]s Burt

Rosen the official leader” and reflecting what other sources have confirmed.

     640.   In 2007, the PCF Education Subgroup, consisting of drug companies

Purdue and Alpharma, and Front Groups APF and ACPA (self-described as

“industry-funded” groups), developed a plan to address a perceived “lack of

coordination” among the industry and pro-opioid professional and patient

organizations. PCF members agreed to develop simplified “key” messages” to use for

public education purposes. Their messages were reflected in programs like NIPC’s

Let’s Talk Pain (put together by Endo and APF), and Purdue’s In the Face of Pain.




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      641.   When the FDA required drug companies to fund CMEs related to opioid

risks in accordance with its 2009 REMS, Purdue, along with these Front Groups,

worked through the PCF to ensure that, although it was mandatory for drug

companies to fund these CMEs, it would not be mandatory for prescribers to attend

them. A survey was circulated among Defendants Endo, Janssen, and Purdue,

which predicted that the rates of doctors who would prescribe opioids for chronic

pain would fall by 13% if more than four hours of mandatory patient education were

required in accordance with the REMS. With a push from PCF, acting under

Purdue’s direction, the CMEs were not made mandatory for prescribers.

      642.   APF showed its indebtedness to Purdue and its willingness to serve

Purdue’s corporate agenda when APF chairman Dr. James N. Campbell testified on

the company’s behalf at a July 2007 hearing before the Senate Judiciary Committee

“evaluating the propriety and adequacy of the OxyContin criminal settlement.” 117

Despite its ostensible role as a patient advocacy organization, APF was willing to

overlook substantial evidence that Purdue blatantly, despite its clear knowledge to

the contrary, told physicians and patients that OxyContin was “rarely” addictive

and less addictive than other opioids. Like Purdue, APF ignored the truth about


117Evaluating the Propriety and Adequacy of the Oxycontin Criminal Settlement:
Before the S. Comm. On the Judiciary, 110th Cong. 46-50, 110-116 (2007)
(statements of Dr. James Campbell, Chairman, APF). Purdue was also able to exert
control over APF through its relationships with APF’s leadership. Purdue-sponsored
KOLs Russell Portenoy and Scott Fishman chaired APF’s board. Another APF
board member, Perry Fine, also received consulting fees from Purdue. APF board
member Lisa Weiss was an employee of a public relations firm that worked for both
Purdue and APF. Weiss, in her dual capacity, helped vet the content of the Purdue-
sponsored Policymaker’s Guide, which is described herein.

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opioids and parroted Purdue’s deceptive messaging. Dr. Campbell testified on

Purdue’s behalf that addiction was a “rare problem” for chronic pain patients and

asserted: “[T]he scientific evidence suggests that addiction to opioids prescribed by

legitimate chronic non-cancer pain patients without prior histories of substance

abuse using the medication as directed is rare. Furthermore, no causal effect has

been demonstrated between the marketing of OxyContin and the abuse and

diversion of the drug.” There was, and is, no scientific support for those statements.

     643.    APF President Will Rowe reached out to Defendants—including

Purdue—rather than his own staff, to identify potential authors to answer a 2011

article critical of opioids that had been published in the Archives of Internal

Medicine.

     644.    Purdue’s control over APF shaped, and is demonstrated by specific

APF, pro-opioid publications. These publications had no basis in science and were

driven (and can only be explained) by the commercial interest of pharmaceutical

companies—Purdue chief among them.

     645.    Purdue provided significant funding to and was involved with APF’s

creation and dissemination of A Policymaker’s Guide to Understanding Pain & Its

Management, originally published in 2011. A Policymaker’s Guide to Understanding

Pain & Its Management misrepresented that there were studies showing that the

use of opioids for the long-term treatment of chronic pain could improve patients’

ability to function.




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      646.      Specifically, A Policymaker’s Guide to Understanding Pain & Its

Management claimed that “multiple clinical studies” demonstrated that “opioids . . .

are effective in improving [d]aily function, [p]sychological health [and] [o]verall

health-related quality of life for people with chronic pain” and implied that these

studies established that the use of opioids long-term led to functional improvement.

The study cited in support of this claim specifically noted that there were no studies

demonstrating the safety of opioids long-term and noted that “[f]or functional

outcomes, the other [studied] analgesics were significantly more effective than were

opioids.” 118

      647.      The Policymaker’s Guide also misrepresented the risk of addiction. It

claimed that pain had generally been “undertreated” due to “[m]isconceptions about

opioid addiction” and that “less than 1% of children treated with opioids become

addicted.”

      648.      Moreover, the Policymaker’s Guide attempted to distract doctors from

their patients’ drug-seeking behavior by labeling it as “pseudoaddiction,” which,

according to the guide, “describes patient behaviors that may occur when pain is

undertreated.” Like Partners Against Pain, A Policymaker’s Guide noted that

“[p]seudo-addiction can be distinguished from true addiction in that this behavior

ceases when pain is effectively treated.” The similarity between these messages




118 Andrea D. Furlan et al., Opioids for chronic noncancer pain: a meta-analysis of
effectiveness and side effects, 174(11) Can. Med. Ass’n J. 1589 (2006).

                                            239
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regarding “pseudoaddiction” highlights the common, concerted effort behind

Purdue’s and its co-Defendants’ deceptive statements.

    649.    The Policymaker’s Guide further misrepresented the safety of

increasing doses of opioids and deceptively minimized the risk of withdrawal. For

example, the Policymaker’s Guide claimed that “[s]ymptoms of physical dependence”

on opioids in long-term patients “can often be ameliorated by gradually decreasing

the dose of medication during discontinuation” while omitting the significant

hardship that often accompanies cessation of use. Similarly, the Policymaker’s

Guide taught that even indefinite dose escalations are “sometimes necessary” to

reach adequate levels of pain relief while completely omitting the safety risks

associated with increased doses.

    650.    Purdue provided substantial monetary assistance toward the creation

and dissemination of the Policymaker’s Guide, providing APF with $26,000 in grant

money. APF ultimately disseminated Policymaker’s Guide on behalf of Defendants,

including Purdue. Purdue was not only kept abreast of the content of the guide as it

was being developed, but, based on the periodic reports APF provided to Purdue

regarding its progress on the Policymaker’s Guide, had editorial input of the

contents.

    651.    The Policymaker’s Guide was posted online and was available to and

intended to reach prescribers and claimants, including those who wrote opioid

prescriptions paid for by Plaintiff and other Workers’ Compensation Payors.




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     652.    Purdue’s partnership with APF did not end with the Policymaker’s

Guide. Purdue also substantially assisted APF by sponsoring Treatment Options: A

Guide for People Living with Pain, starting in 2007. Based on Purdue’s control of

other APF projects, Purdue also would have exercised control over Treatment

Options.

     653.    Treatment Options is rife with misrepresentations regarding the safety

and efficacy of opioids. For example, Treatment Options misrepresents that the

long-term use of opioids to treat chronic pain could help patients function in their

daily lives by stating that, when used properly, opioids “give [pain patients] a

quality of life [they] deserve.”

     654.     Further, as outlined above, Treatment Options claims that addiction is

rare and that, when it does occur, it involves unauthorized dose escalations,

patients who receive opioids from multiple doctors, or theft, painting a narrow and

misleading portrait of opioid addiction.

     655.    Treatment Options also promotes the use of opioids to treat long-term

chronic pain by denigrating alternate treatments, most particularly NSAIDs.

Treatment Options notes that NSAIDs can be dangerous at high doses and inflates

the number of deaths associated with NSAID use, distinguishing opioids as having

less risk. According to Treatment Options, NSAIDs are different from opioids

because opioids have “no ceiling dose.” This lack of ceiling is considered to be

beneficial as some patients “need” larger doses of painkillers than they are

currently prescribed. Treatment Options warns that the risks associated with



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NSAID use increased if NSAIDs are “taken for more than a period of months,” but

deceptively omits any similar warning about the risks associated with the long-term

use of opioids.

     656.    Treatment Options was posted online and remains online today. It was

available to and intended to reach prescribers and patients.

     657.    Purdue also engaged in other promotional projects with and through

APF. One such project was the publication and distribution of Exit Wounds, which,

as described above, deceptively portrayed the risks, benefits, and superiority of

opioids to treat chronic pain.

     658.    Purdue provided APF with substantial assistance in distributing Exit

Wounds in throughout the nation by providing grant money and other resources.

             iii.   Purdue’s work with other third-party Front Groups and
                    KOLs.

     659.    Purdue also provided other third-party Front Groups with substantial

assistance in issuing misleading statements regarding the risks, benefits, and

superiority of opioids for the long-term treatment of chronic pain.

     660.    In 2007, Purdue sponsored FSMB’s Responsible Opioid Prescribing,

which, as described above, deceptively portrayed the risks, benefits, and superiority

of opioids to treat chronic pain. Responsible Opioid Prescribing also was drafted by

Dr. Scott Fishman.

     661.    Purdue spent $150,000 to help FSMB distribute Responsible Opioid

Prescribing. The book was distributed nationally and was available to and intended




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to reach prescribers that wrote opioid prescriptions paid for by Plaintiff and the

Workers’ Compensation Payors.

     662.   Along with Janssen, Purdue worked with the AGS on a CME to

promote the 2009 guidelines for the Pharmacological Management of Persistent

Pain in Older Persons. As discussed above, these guidelines falsely claimed that

“the risks [of addiction] are exceedingly low in older patients with no current or past

history of substance abuse” as the study supporting this assertion did not analyze

addiction rates by age. They also stated, falsely, that “[a]ll patients with moderate

to severe pain should be considered for opioid therapy (low quality of evidence,

strong recommendation).”

     663.   Controversy surrounding earlier versions of AGS guidelines had taught

AGS that accepting money directly from drug companies to fund the guidelines’

development could lead to allegations of bias and “the appearance of conflict.”

Accordingly, AGS endeavored to eliminate “the root cause of that flack” by turning

down commercial support to produce the 2009 Guidelines. Having determined that

its veneer of independence would be tarnished if it accepted drug company money to

create the content, AGS decided to develop the guidelines itself and turn to the drug

companies for funding to distribute the pro-drug company content once it had been

created. As explained by AGS personnel, it was AGS’s “strategy that we will take

commercial support to disseminate [the 2009 Guidelines] if such support is

forthcoming.” AGS knew that it would be difficult to find such support unless the

report was viewed favorably by opioid makers.



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      664.   AGS sought and obtained grants from Endo and Purdue to distribute

Pharmacological Management of Persistent Pain in Older Persons. As a result, the

publication was distributed nationally, and was available to and was intended to

reach prescribers that wrote opioid prescriptions including those, it is believed, who

wrote prescriptions for claimants of Plaintiff and other Workers’ Compensation

Payors. Indeed, internal documents of another Defendant, Endo, relate reports that

pharmaceutical sales representatives employed by Purdue discussed treatment

guidelines that minimized the risk of addiction to opioids with doctors during

individual sales visits. 119

      665.   Purdue sponsored a 2012 CME program called Chronic Pain

Management and Opioid Use: Easing Fears, Managing Risks, and Improving

Outcomes. The presentation deceptively instructed doctors that, through the use of

screening tools, more frequent refills, and other techniques, high-risk patients

showing signs of addictive behavior could be treated with opioids. This CME was

presented at various locations in the United States.

      666.   Purdue also sponsored a 2011 CME taught by KOL Lynn Webster via

webinar titled Managing Patient’s Opioid Use: Balancing the Need and Risk. This

presentation also deceptively instructed prescribers that screening tools, patient

agreements, and urine test prevented “overuse of prescriptions” and “overdose


119 As described above, Purdue also provided substantial support for the AAPM/APS
guidelines. The 1997 AAPM and APS consensus statement The Use of Opioids for
the Treatment of Chronic Pain was authored by one of its paid speakers, and 14 out
of 21 panel members who drafted the AAPM/APS Guidelines received support from
Defendants Janssen, Cephalon, Endo, and Purdue.

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deaths.” At the time, Dr. Webster was receiving significant funding from Purdue.

Versions of Dr. Webster’s Opioid Risk Tool appear on, or are linked to, websites run

by Purdue (and other Defendants). The webinar was available to and was intended

to reach prescribers that wrote opioid prescriptions paid for by Plaintiff and the

Workers’ Compensation Payors.

     667.   Purdue also sponsored a CME program entitled Path of the Patient,

Managing Chronic Pain in Younger Adults at Risk for Abuse. Path of the Patient

was devoted entirely to the message of treating chronic pain with opioids. Although

the program purported to instruct a treating physician how to manage chronic pain

in younger adults at risk for abuse, it does no such thing.

     668.   This “educational” program, addressing treatment of a population

known to be particularly susceptible to opioid addiction, presents none of the

alternative treatment options available, only discussing treatment of chronic pain

with opioids.

     669.   In a role-play in Path of the Patient, a patient who suffers from back

pain tells his doctor that he is taking twice as many hydrocodone pills as directed.

The doctor reports that the pharmacy called him because of the patient’s early

refills. The patient has a history of drug and alcohol abuse. Despite these facts, the

narrator notes that, because of a condition known as “pseudoaddiction,” the doctor

should not assume his patient is addicted even if he persistently asks for a specific

drug, seems desperate, hoards medicine, or “overindulges in unapproved escalating

doses.” The doctor in the role-play treats this patient by prescribing a high-dose,



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long-acting opioid. This CME was available online and was intended to reach

prescribers that wrote opioid prescriptions including those, it is believed, who wrote

prescriptions paid for by Plaintiff and other Workers’ Compensation Payors.

      670.   Purdue also sponsored a CME titled Overview of Management Options

issued by the American Medical Association in 2003, 2007, and 2013. The CME was

edited by KOL Russel Portenoy, among others. It deceptively instructs physicians

that NSAIDs and other drugs, but not opioids, are unsafe at high doses. In reality,

the data indicates that patients on high doses of opioids are more likely to

experience adverse outcomes than patients on lower doses of the drugs. Dr.

Portenoy received research support, consulting fees, and honoraria from Purdue

(among others), and was a paid Purdue consultant. This CME was presented online

in the United States and was available to prescribers that wrote opioid

prescriptions paid for by Plaintiff and the Workers’ Compensation Payors.

             iv.   Purdue’s work with other third-party Front Groups and
                   KOLs.

      671.   Purdue also misrepresented the risks associated with long-term opioid

use by promoting scientific studies in a deceptive way. In 1998, Purdue funded two

articles by Dr. Lawrence Robbins, which showed that between 8% and 13% of the

patients he studied became addicted to opioids—a troubling statistic for Purdue,

whose market, and marketing, depended upon the claim that opioids were rarely

addictive. 120 Purdue had these articles placed in headache-specific journals where



120Lawrence Robbins, Long-Acting Opioids for Severe Chronic Daily Headache,
10(2) Headache Q. 135 (1999); Lawrence Robbins, Works in Progress: Oxycodone
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they would be less likely to be encountered by pain specialists or general

practitioners. The first of these articles has been cited a mere 16 times; the second

does not even appear on Google Scholar. Five years later, Purdue funded a study of

OxyContin in diabetic neuropathy patients, which was published in 2003.

Notwithstanding the fact that that Purdue-funded studies, testing Purdue’s own

drugs, had previously indicated that addiction rates were between 8% and 13%,

Purdue’s 2003 article reached back to the 1980 Porter-Jick Letter to support its

claim that OxyContin was not commonly addictive. This article was placed in a

prominent pain journal and has been cited hundreds of times. 121

      672.   Purdue directed the dissemination of the misstatements described

above to claimants and prescribers through the Front Groups, KOLs, and

publications described above, as well as through its sales force and through

advertisements in prominent medical journals. The deceptive statements

distributed through each of these channels reflect a common theme of

misrepresenting the benefits of Purdue’s opioids, unfairly portraying the risks of

addiction associated with their use, and deceptively implying that they would

improve patients’ ability to function.

      673.   Purdue’s deceptive message that OxyContin provided 12 hours of pain

relief was also carried directly into the offices of doctors for claimants by Purdue’s


CR, a Long-Acting Opioid, for Severe Chronic Daily Headache, 19 Headache Q. 305
(1999).
121C. Peter N. Watson et al., Controlled-release Oxycodone Relieves Neuropathic
Pain: a Randomized Controlled Trial in Painful Diabetic Neuropathy, 105 Pain 71
(2003).

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sales representatives, including those, it is believed, who wrote opioid prescriptions

paid for by Plaintiff and other Workers’ Compensation Payors.

     674.    Purdue also used its sales force to disseminate misleading statements

about the ability of opioids to improve functionality.

   VII.     The damage caused by Defendants’ fraudulent scheme.

     675.    Through their own direct promotional efforts, along with those of the

third-party Front Groups and KOLs they assisted and controlled, and whose

seemingly objective materials they distributed, the Manufacturing Defendants and

their collaborators and accomplices accomplished exactly what they set out to do:

change the institutional and public perception of the risk-benefit assessments and

standard of care for treating patients with chronic pain with opioids. As a result,

doctors treating patients with common but persistent neck, back, joint and limb

pain, including claimants of Plaintiff and other Workers’ Compensation Payors

began prescribing opioids long-term to treat chronic pain—something most would

never have considered prior to Defendants’ campaign.

     676.    But for the misleading information disseminated by Defendants,

doctors would not, in most instances, have prescribed opioids as medically necessary

or reasonably required to address chronic pain.

     677.    Thus, Defendants put into motion events and circumstances where

Plaintiff and other Workers’ Compensation Carriers would be forced to pay huge

and escalating costs to not only pay for the opioid medications, a huge expense in

and of itself, but also for additional and prolonged medical care (including addiction



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treatment and counseling), prolonged duration temporary disability payments, and

in some instances, death benefits, which but for Defendant’s deceptive acts,

omissions and activities would not have been incurred.

             A. Defendants’ fraudulent and deceptive marketing of opioids
                directly caused harm to Plaintiff and the Workers’
                Compensation Payors.

      678.     Defendants’ scheme to change the medical consensus regarding opioid

therapy for chronic pain was greatly successful. During the year 2000, outpatient

retail pharmacies filled 174 million prescriptions for opioids nationwide, rising to

257 million in 2009. 122

      679.     Opioid prescriptions increased even as the percentage of patients

visiting doctors for pain remained constant. A study of 7.8 million doctor visits

between 2000 and 2010 found that opioid prescriptions increased from 11.3% to

19.6% of visits, as NSAID and acetaminophen prescriptions fell from 38% to 29%,

driven primarily by the decline of NSAID use. 123

      680.     Approximately 20% of the population between the ages of 30 and 44

and nearly 30% of the population over 45 have used opioids. Indeed, “[o]pioids are

the most common means of treatment for chronic pain.” 124 From 1980 to 2000,



122Office of National Drug Control Policy, 2011 Prescription Drug Abuse Prevention
Plan, Whitehouse.gov, (no longer available on whitehouse.gov),
https://obamawhitehouse.archives.gov/ondcp/prescription-drug-abuse1 (accessed
November 18, 2019).
  Matthew Daubresse et al., Ambulatory Diagnosis and Treatment of
123

Nonmalignant Pain in the United States, 2000-2010, 51(10) Med. Care 870 (2013).
124Deborah Grady et al., Opioids for Chronic Pain, 171(16) Arch. Intern. Med. 1426
(2011).
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opioid prescriptions for chronic pain visits doubled. This resulted not from an

epidemic of pain, but an epidemic of prescribing. A study of 7.8 million doctor visits

found that prescribing for pain increased by 73% between 2000 and 2010—even

though the number of office visits in which patients complained of pain did not

change and prescribing of non-opioid pain medications decreased. For back pain

alone—one of the most common chronic pain conditions—the percentage of patients

prescribed opioids increased from 19% to 29% between 1999 and 2010, even as the

use of NSAIDs or acetaminophen declined and referrals to physical therapy

remained steady—and climbing.

     681.   This increase corresponds with, and was caused by, Defendants’

massive marketing push. As reflected in the chart below, according to data obtained

from a marketing research company, Defendants’ spending on marketing of opioids

nationwide—including all of the drugs at issue here—stood at more than $20

million per quarter and $91 million annually in 2000. By 2011, that figure hit its

peak of more than $70 million per quarter and $288 million annually, an increase of

more than three-fold. By 2014, the figures dropped to roughly $45 million per

quarter and $182 million annually, as Defendants confronted increasing concerns

regarding opioid addiction, abuse, and diversion, and as Janssen, which accounted

for most of the spending reduction, prepared to sell its U.S. rights to Nucynta and

Nucynta ER. Even so, Defendants still spent double what they spent in 2000 on

opioid marketing.




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    682.    Defendants’ opioid detailing visits to individual doctors made up the

largest component of this spending, with total detailing expenditures more than

doubling between 2000 and 2014 to $168 million annually.

    683.    Each Defendant’s promotional spending reflects its participation in this

marketing blitz. Between 2000 and 2011:

               •   Actavis’s promotional spending, which was virtually nonexistent

                   in the 2004-2008 period, began to sharply rise 2009. The third

                   quarter of 2011 saw a peak of $3 million at one point in 2011 and

                   nearly $7 million for the year, as shown below:




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       •   Cephalon’s quarterly spending steadily climbed from below $1

           million in 2000 to more than $4 million in 2014 (and more than

           $13 million for the year), including a peak, coinciding with the

           launch of Fentora, of nearly $9 million half way through 2007

           (and more than $27 million for the year), as shown below:




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       •   Endo’s quarterly spending went from the $2 million to $4 million

           range from 2000 to 2004 to more than $10 million following the

           launch of Opana ER in mid-2006 (and more than $38 million for

           the year in 2007) and more than $8 million coinciding with the

           launch of a reformulated version in 2012 (and nearly $34 million

           for the year):




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       •   Janssen’s quarterly spending dramatically rose from less than $5

           million in 2000 to more than $30 million in 2011, coinciding with

           the launch of Nucynta ER (with yearly spending at $142 million

           for 2011) as shown below:




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       •   Purdue’s quarterly spending notably decreased from 2000 to

           2007, as Purdue came under investigation by the Department of

           Justice, but then spiked to above $25 million in 2011 (for a total

           of $110 million that year), and continued to rise, as shown below:




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              i.   Plaintiff’s increased spending on opioids

    684.    As a direct and foreseeable consequence of Defendants’ wrongful

conduct, Plaintiff has been required to spend substantial sums on opioid

prescriptions, most if not all of which expenditure was not necessary and due to

Defendants’ tortious acts, activities and omissions. Other Workers’ Compensation

Payors have incurred similar expenses for unnecessary (and harmful) opioid

medication, which the National Council on Compensation Insurance has estimated

to account for 25% of workers’ compensation medical costs.

    685.    A study by CompPharma, LLC, reported that in 2015, workers’

compensation carriers spent $ 1.54 billion on opioids, which was 13% of the total




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U.S. spend while the total medical spend by workers’ compensation carriers was

just 1.25%. 125

      686.   In addition, Plaintiff and other Workers’ Compensation Payors incurred

healthcare costs related to opioid use, addiction and abuse, greater disability

benefits costs and other ascertainable damages and losses. Defendants’

misrepresentations regarding the safety and efficacy of long-term opioid use

proximately caused injury to Plaintiff and the Workers’ Compensation Payors.

      687.   Taken together, those costs are significant. For example, an analysis by

the New York Times, demonstrates that without any opioid prescriptions, the

average workers’ compensation claim was in 2013, $ 13,000.




125Prescription Drug Management in Workers’ Compensation, CompPharma, LLC
(2016), available at https://comppharma.com/wp-content/uploads/2016/10
/2016CompPharmaPharmacySurvey.Final_.pdf (accessed on November 14, 2019).

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With a short-term opioid prescription, that figure rose to $ 39,000 and even higher

with long-term opioid prescription at $ 117,000: 126

             a. Defendants’ misrepresentations were material.

      688.   Defendants’ misrepresentations were material to, and influenced, the

decisions of doctors to prescribe and Plaintiff and other Workers’ Compensation

Payors to pay claims for opioids for injured workers’ non-cancer related chronic

pain. That is, but for the Defendants’ misleading doctors into accepting opioids as

for treatment of non-oncological based chronic pain conditions, Plaintiff would not

have been presented with, nor paid, thousands of bills/claims for opioids

prescriptions as they did because the prescriptions would not have been written or

administrative controls implemented. However, as the doctors, based upon the

fraudulent marketing scheme of the Defendants as described throughout this

Complaint, determined the use of opioids was medically indicated, necessary and

proper for the injured workers they treated, Plaintiff and other Workers’

Compensation Payors were obligated under law to pay for the prescriptions, the

office visits associated with them, as well as any ensuing complications or prolonged

disabilities relating to the claimants the injured workers’ use of opioids.

      689.   Notably, Plaintiff‘s and other Workers’ Compensation Payors’ spending

related to opioid utilization by injured workers rose along with Defendants’




126The Soaring Cost of the Opioid Economy, NYTIMES (June 2013), available at
https://archive.nytimes.com/www.nytimes.com/interactive/2013/06/23/sunday-
review/the-soaring-cost-of-the-opioid-economy.html (accessed on November 14,
2019).

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spending to promote opioids. That spending was directly impacted by opioid use

(and its consequences in abuse, addiction, and overdose).

             B. Defendants’ fraudulent and deceptive marketing of opioids
                directly caused harm to Plaintiff and the Workers’
                Compensation Payors.

      690.     Nationally, the sharp increase in opioid use has led directly to a

dramatic increase in opioid abuse, addiction, overdose, and death. Scientific

evidence demonstrates a very strong correlation between therapeutic exposure to

opioid analgesics, as measured by prescriptions filled, and opioid abuse. “Deaths

from opioid overdose have risen steadily since 1990 in parallel with increasing

prescription of these drugs.” 127 Prescription opioid use contributed to 16,917

overdose deaths nationally in 2011—more than twice as many deaths as heroin and

cocaine combined; drug poisonings now exceed motor vehicle accidents as a cause of

death. More Americans have died from opioid overdoses than from participation in

the Vietnam War.

      691.     Contrary to Defendants’ misrepresentations, most of the illicit use

stems from prescribed opioids; in 2011. According to the CDC, the 80% of opioid

patients who take low-dose opioids from a single prescriber (in other words, who are

not illicit users or “doctor-shoppers”) account for 20% of all prescription drug

overdoses.




127Deborah Grady et al., Opioids for Chronic Pain, 171(16) Arch. Intern. Med. 1426
(2011).

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    692.     Death statistics represent only the tip of the iceberg. According to 2009

data, for every overdose death that year, there were nine abuse treatment

admissions, 30 emergency department visits for opioid abuse or misuse, 118 people

with abuse or addiction problems, and 795 non-medical users. Nationally, there

were more than 488,000 emergency room admissions for opioids other than heroin

in 2008 (up from almost 173,000 in 2004).

    693.     Emergency room visits tied to opioid use likewise have sharply

increased.

              i.   Increased opioid use has increased the costs for Plaintiff
                   and the Workers’ Compensation Payors.

    694.     In addition to paying the cost of opioid prescriptions and opioid-related

medical treatment, Plaintiff and the Workers’ Compensation Payors provide other

workers’ compensation benefits, such as disability benefits for the periods when

they cannot work while recovering from injuries, as well as treatment.

    695.     Plaintiff and the Workers’ Compensation Payors have also expended

significant funds on hospitalizations due to overdose, addiction treatment services,

and overdose reversal medications.

    696.     These payments were the direct—and, indeed, intended—result of

Defendants’ scheme.

    697.     The payments for these prescriptions, treatment, and benefits were

moreover not “medically necessary” in that opioids have not been scientifically

proven effective for the treatment of chronic non-cancer pain.




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      698.   One study by the Workers’ Compensation Research Institute suggests

that opioid prescriptions caused injured workers to incur longer durations of

temporary disability leave. 128 In that study by the Workers’ Compensation Research

Institute, the researchers found that workers with longer-term opioid prescriptions

had 251% longer duration of temporary disability benefits than workers with no

opioid prescriptions, which implies that longer-term opioid use more than triples

the duration of temporary disability benefits.

      699.   The Washington State Department of Labor and Industries has found

that receiving more than a one-week supply of opioids after an injury doubles a

worker’s risk of disability one year later. 129

      700.   In yet another study, it was reported that when prescriptions for

certain opioid pain medications were prescribed to claimants of workers’

compensation, claims were almost four times as likely to have a total cost of

$ 100,000 or more compared to claims without any prescriptions. 130

      701.   According to an annual workers’ compensation report from Express

Scripts, a pharmacy benefits manager, “the issue of opioid prescribing becomes even




128Bogdan Savych, et al , The Impact of Opioid Prescriptions on Duration of
Temporary Disability, Workers’ Compensation Research Institute (Mar. 6, 2018).
129 Washington State Department of Labor and Industries, Guidelines for
Prescriping Opioids to Treat Pain in Injured Workers (July 2013)
https://lni.wa.gov/ClaimsIns/Files/OMD/MedTreat/FINALOpioidGuideline010713.p
df.
  Jeffrey A. White, Xuguang Tao, Milan Talreja, Jack Tower & Edward Bernacki,
130

The effect of opioid use on workers’ compensation claim costs in the State of
Michigan, J. of Occupational and Envtl. Med., 54, 948-953 (2012).

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more important in workers’ compensation settings as prolonged opioid use has been

shown to be associated with poorer outcomes, longer disability and higher medical

costs for injured workers.” 131

       702.   By percentage of spend, the National Council on Compensation

Insurance has estimated that 25% of workers’ compensation medical costs result

from opioid usage.

               ii.   Defendants’ fraudulent marketing led to record profits.

       703.   All the while the use of opioids has taken an enormous toll on Plaintiff,

the Workers’ Compensation Payors, and their claimants, Defendants have gained

blockbuster profits. In 2012, health care providers wrote 259 million prescriptions

for opioid painkillers132—roughly one prescription per American adult. Opioids

generated $8 billion in revenue for drug companies just in 2010.

       704.    Financial information—where available—indicates that Defendants

each experienced a material increase in sales, revenue, and profits from the

fraudulent, misleading, and unfair market activities laid out above.

       705.   Purdue’s OxyContin sales alone increased from $45 million in 1996 to

$3.1 billion in 2010.




131   2012 Workers’ Compensation Drug Trend Report, Express Scripts (April 2013).
132Press Release, Center for Disease Control, Opioid painkiller prescribing varies
widely among states: Where you live makes a difference (July 1, 2014),
https://www.cdc.gov/media/releases/2014/p0701-opioid-painkiller.html (accessed
November 18, 2019).
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             iii.   Defendants fraudulently concealed their
                    misrepresentations.

     706.   At all times relevant to this Complaint, Defendants took steps to avoid

detection of, and fraudulently conceal, their deceptive marketing and conspiratorial

behavior.

     707.   First, and most prominently, Defendants disguised their own roles in

the deceptive marketing of chronic opioid therapy by funding and working through

patient advocacy and professional front organizations and KOLs. Defendants

purposefully hid behind these individuals and organizations to avoid regulatory

scrutiny and to prevent doctors and the public from discounting their messages.

     708.   While Defendants were listed as sponsors of many of the publications

described in this Complaint, they never disclosed their role in shaping, editing, and

exerting final approval over their content. Defendants exerted their considerable

influence on these promotional and “educational” materials.

     709.   In addition to hiding their own role in generating the deceptive content,

the Manufacturing Defendants manipulated their promotional materials and the

scientific literature to make it appear as if they were accurate, truthful, and

supported by substantial scientific evidence. The Manufacturing Defendants

distorted the meaning or import of studies they cited and offered them as evidence

for propositions they did not actually support. The true lack of support for these

Defendants’ deceptive messages was not apparent to the medical professionals who




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relied upon them in making treatment decisions, nor could they have been detected

by Plaintiff and the Workers’ Compensation Payors.

     710.   Thus, while the opioid epidemic was evident, the Manufacturing

Defendants, in furtherance of their respective marketing strategies, intentionally

concealed their own role in causing it. Defendants successfully concealed from the

medical community, patients, and third-party payors facts sufficient to arouse

suspicion of the existence of claims that Plaintiff now assert. Plaintiff was not

alerted to the existence and scope of Defendants industry-wide fraud and could not

have acquired such knowledge earlier through the exercise of reasonable diligence.

   VIII. The Distributor Defendants flooded the market with suspiciously
         large amounts of opioids.

     711.   The Distributor Defendants purchased opioid medications from drug

manufacturers, such as the named Defendants herein, on a wholesale basis and sold

them to pharmacies as part of the Opioid Supply Chain Enterprise.

     712.   The Distributor Defendants played an integral role in the chain of

opioids being distributed.

     713.   Pursuant to the federal Controlled Substances Act, distributors and

wholesalers such as Distributor Defendants are required to establish and maintain

secured inventories and records on all transactions of controlled substance drugs

such as opioid pain medications.

     714.   The Manufacturing and Distributor Defendants knew that the

controlled substances they manufactured and distributed were the kinds that were

susceptible to diversion for distribution through illegal or illegitimate distribution


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channels to a lucrative black market for the drugs related to the opiate crisis, which

created an epidemic of opiate medication addicts, which further increased the costs

to Plaintiff and the other Workers’ Compensation Payors for addiction treatment

and disability and death benefits.

     715.     The Manufacturing and Distributor Defendants were each on notice

that there was an alarming and suspicious rise in manufacturing and distributing

opioids to retailers during this time period.

     716.     As entities involved in the manufacture and distribution of opioid

medications, the Manufacturing and Distributor Defendants were engaged in

abnormally and/or inherently dangerous activity they had a duty to prevent and/or

avoid.

     717.     The Manufacturing and Distributor Defendants had a duty to notice

suspicious or alarming orders of opioid pharmaceuticals and to report suspicious

orders to the proper authorities and governing bodies including the DEA.

     718.     The Manufacturing and Distributor Defendants knew or should have

known that they were supplying vast amounts of dangerous drugs to the claimants

of Plaintiff and the Workers’ Compensation Payors that were already facing abuse,

diversion, misuse, and other problems associated with the opioid epidemic.

     719.     The Manufacturing and Distributor Defendants failed in their duty to

take any action to prevent or reduce the distribution of these drugs, which resulted

in a huge diversion of opioid medications into illicit distribution channels. The

diversion caused further injury to injured workers who had become dependent or



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addicted on opiates that they were initially prescribed by doctors treating their

work injuries, but limited or restricted the amounts they would prescribe the

worker.

      720.   The Manufacturing and Distributor Defendants were in a unique

position and had a duty to inspect, report, or otherwise limit the manufacture and

flow of these drugs to claimants of Plaintiff and the Workers’ Compensation Payors.

      721.   The Manufacturing and Distributor Defendants, in the interest of their

own massive profits, intentionally failed in this duty.

      722.   The Manufacturing and Distributor Defendants have displayed a

continuing pattern of failing to submit suspicious order reports.

      723.   In 2008, McKesson paid a $13.25 million fine to settle similar claims

regarding suspicious orders from internet pharmacies. 133

      724.   Despite these prior penalties, McKesson’s pattern of failing to report

suspicious orders continued for many years.

      725.   According to the DEA, McKesson “supplied various U.S. pharmacies an

increasing amount of oxycodone and hydrocodone pills” during the time in question,

and “frequently misused products that are part of the current opioid epidemic.” 134




133 http://www.wvgazettemail.com/news-health/20161218/suspicious-drug-order-
rules-never-enforced-by-state (accessed November 18, 2019).
134 https://www.justice.gov/opa/pr/mckesson-agrees-pay-record-150-million-

settlement-failure-report-suspicious-orders (accessed November 18, 2019).
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      726.   On January 17, 2017, the DEA announced that McKesson had agreed

to pay a record $150 million fine and suspend the sale of controlled substances from

distribution centers in several states. 135

      727.   In 2008, Defendant Cardinal paid a $34 million penalty to resolve

allegations that it failed to report suspicious opioid orders. 136

      728.   Despite this past penalty, in 2017, it was announced that Defendant

Cardinal agreed to a $44 million fine to “resolve allegations that it failed to alert the

Drug Enforcement Agency to suspicious orders of powerful narcotics by pharmacies

in Florida, Maryland, and New York. 137

      729.   Defendant AmeriSource faced a criminal inquiry “into its oversight of

painkiller sales” in 2012. 138 They have paid out fines for similar claims to the state

of West Virginia.

      730.   Despite the charges, fines, and penalties brought against the

Distributor Defendants in the past, they continued to fail to report suspicious orders

or prevent the flow of prescription opioids to the claimants of Plaintiff and the

Workers’ Compensation Payors.




135 Id.
136 https://www.justice.gov/usao-wdwa/pr/united-states-reaches-34-million-
settlement-cardinal-health-civil-penalties-under-0 (access November 18, 2019).
137 https://www.washingtonpost.com/national/health-science/cardinal-health-fined-

44-million-for-opioid-reporting-violations/2017/01/11/4f217c44-d82c-11e6-9a36-
1d296534b31e_story.html?utm_term=.7049c4431465 (accessed on November 18,
2019).
138 http://www.nytimes.com/2013/06/12/business/walgreen-to-pay-80-million-

settlement-over-painkiller-sales.html (accessed on November 18, 2019).
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     731.      The Distributor Defendants are also members of the Healthcare

Distribution Management Association (“HDMA”). The HDMA created “Industry

Compliance Guidelines” which stressed the critical role of each member of the

supply chain in distributing controlled substances. The HDMA guidelines provided

that “[a]t the center of a sophisticated supply chain, Distributors are uniquely

situated to perform due diligence in order to help support the security of controlled

substances they deliver to their customers.”

     732.      Between the years in question, including 2007 through 2016, the

Distributor Defendants have shipped millions of doses of highly addictive controlled

opioid pain killers into the market.

     733.      Many of these orders should have been stopped, or at the very least,

investigated as potential suspicious orders.

     734.      The sheer volume of the increase in opioid pain medications being

distributed to retailers, should have put the Defendants on notice to investigate and

report such orders.

     735.      The Manufacturing Defendants manufactured and delivered an

excessive and unreasonable amount of opioid pain medications to retailers.

     736.      Upon information and belief, the Manufacturing Defendants did not

refuse to manufacture, ship, or supply any opioid medications to any from 2007 to

the present.




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     737.   The Defendants knew or should have known that they were

manufacturing and distributing levels of opioid medications that far exceeded the

legitimate needs of the public and legitimate patients.

     738.   The Defendants also paid their sales force bonuses and commissions on

the sale of most or all of the highly addictive opioid pain medications.

     739.   The Defendants made substantial profits from the opioids sold.

     740.   The Manufacturing and Distributor Defendants violated the Controlled

Substances Act’s provisions and regulations for manufacturers and distributors,

including the aforementioned, by failing to properly report suspicious orders.

     741.   By the actions and inactions described above, the Manufacturing and

Distributor Defendants showed a reckless disregard for the safety of the claimants

of Plaintiff and Workers’ Compensation Payors.

     742.   By the actions and inactions described above, the Manufacturing and

Distributor Defendants caused great harm to the claimants of Plaintiff and

Workers’ Compensation Payors through additional costs for addiction treatment

and disability and death benefits. While Plaintiff and the other Workers’

Compensation Payors did not pay for the opioid pain medications that their

claimants obtained through the black market, the availability of such drugs has

resulted in Plaintiff and the other Workers’ Compensation Payors sustaining other

costs because of their responsibility to pay for medical and addiction treatment and

temporary and permanent disability benefits, all of which are increased due to the

availability of opioid pain medications through other channels.



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     743.      On December 27, 2007, the U.S. Department of Justice, Drug

Enforcement Administration, sent a letter to Cardinal stating, “This letter is being

sent to every entity in the United States registered with the Drug Enforcement

Agency (DEA) to manufacture or distribute controlled substances. The purpose of

this letter is to reiterate the responsibilities of controlled substance manufacturers

and distributors to inform DEA of suspicious orders in accordance with 21 C.F.R. §

1301.74(b).”

     744.      The DEA has provided briefings to each of the Defendant Distributors

and conducted a variety of conferences regarding their duties under federal law.

     745.      The DEA sent a letter to each of the Defendant Distributors on

September 26, 2006, warning that it would use its authority to revoke and suspend

registrations when appropriate. The letter expressly states that a distributor, in

addition to reporting suspicious orders, has a “statutory responsibility to exercise

due diligence to avoid filling suspicious orders that might be diverted into other

than legitimate medical, scientific, and industrial channels.” The DEA warns that

“even just one distributor that uses its DEA registration to facilitate diversion can

cause enormous harm.”

     746.      The DEA sent a second letter to each of the Defendant Distributors on

December 27, 2007. This letter reminded the Defendant Distributors of their

statutory and regulatory duties to “maintain effective controls against diversion”

and “design and operate a system to disclose to the registrant suspicious orders of

controlled substances.” The letter further explains:



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The regulation also requires that the registrant inform the local DEA
Division Office of suspicious orders when discovered by the registrant.
Filing a monthly report of completed transactions (e.g., “excessive
purchase report” or “high unity purchases”) does not meet the
regulatory requirement to report suspicious orders. Registrants are
reminded that their responsibility does not end merely with the filing
of a suspicious order report. Registrants must conduct an independent
analysis of suspicious orders prior to completing a sale to determine
whether the controlled substances are likely to be diverted from
legitimate channels. Reporting an order as suspicious will not absolve
the registrant of responsibility if the registrant knew, or should have
known, that the controlled substances were being diverted.

The regulation specifically states that suspicious orders include orders
of unusual size, orders deviating substantially from a normal pattern,
and orders of an unusual frequency. These criteria are disjunctive and
are not all inclusive. For example, if an order deviates substantially
from a normal pattern, the size of the order does not matter and the
order should be reported as suspicious. Likewise, a registrant need not
wait for a “normal pattern” to develop over time before determining
whether a particular order is suspicious. The size of an order alone,
whether or not it deviates from a normal pattern, is enough to trigger
the registrant’s responsibility to report the order as suspicious. The
determination of whether an order is suspicious depends not only on
the ordering patterns of the particular customer, but also on the
patterns of the registrant’s customer base and the pattern throughout
the segment of the regulated industry.

Registrants that rely on rigid formulas to define whether an order is
suspicious may be failing to detect suspicious orders. For example, a
system that identifies orders as suspicious only if the total amount of a
controlled substance ordered during one month exceeds the amount
ordered the previous month by a certain percentage or more is
insufficient. This system fails to identify orders placed by a pharmacy
if the pharmacy placed unusually large orders from the beginning of its
relationship with the distributor. Also, this system would not identify
orders as suspicious if the order were solely for one highly abused
controlled substance if the orders never grew substantially.
Nevertheless, ordering one highly abused controlled substance and
little or nothing else deviates from the normal pattern of what
pharmacies generally order.

When reporting an order as suspicious, registrants must be clear in
their communication with DEA that the registrant is actually

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      characterizing an order as suspicious. Daily, weekly, or monthly
      reports submitted by registrant indicating “excessive purchases” do not
      comply with the requirement to report suspicious orders, even if the
      registrant calls such reports “suspicious order reports.”

      Lastly, registrants that routinely report suspicious orders, yet fill these
      orders without first determining that order is not being diverted into
      other than legitimate medical, scientific, and industrial channels, may
      be failing to maintain effective controls against diversion. Failure to
      maintain effective controls against diversion is inconsistent with the
      public interest as that term is used in 21 U.S.C. §§ 823 and 824, and
      may result in the revocation of the registrant’s DEA Certificate of
      Registration.

    747.     As a result of the decade-long refusal by the Defendant Distributors to

abide by federal law, the DEA has repeatedly taken administrative action to force

compliance. The public record reveals many of these actions:

           a. On April 24, 2007, the DEA issued an Order to Show Cause and
              Immediate Suspension Order against the AmerisourceBergen
              Orlando, Florida distribution center (Orlando Facility) alleging
              failure to maintain effective controls against diversion of
              controlled substances. On June 22, 2007, AmerisourceBergen
              entered into a settlement which resulted in the suspension of its
              DEA registration;

           b. On November 28, 2007, the DEA issued an Order to Show Cause
              and Immediate Suspension Order against the Cardinal Health
              Auburn, Washington Distribution Center (Auburn Facility) for
              failure to maintain effective controls against diversion of
              hydrocodone;

           c. On December 5, 2007, the DEA issued an Order to Show Cause
              and Immediate Suspension Order against the Cardinal Health
              Lakeland, Florida Distribution Center (Lakeland Facility) for
              failure to maintain effective controls against diversion of
              hydrocodone;

           d. On December 7, 2007, the DEA issued an Order to Show Cause
              and Immediate Suspension Order against the Cardinal Health
              Swedesboro, New Jersey Distribution Center (Swedesboro



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      Facility) for failure to maintain effective controls against
      diversion of hydrocodone;

   e. On January 30, 2008, the DEA issued an Order to Show Cause
      and Immediate Suspension Order against the Cardinal Health
      Stafford, Texas Distribution Center (Stafford Facility) for failure
      to maintain effective controls against diversion of hydrocodone;

   f. On May 2, 2008, McKesson Corporation entered into an
      Administrative Memorandum of Agreement (2008 MOA) with
      the DEA which provided that McKesson would “maintain a
      compliance program designed to detect and prevent the
      diversion of controlled substances, inform DEA of suspicious
      orders required by 21 C.F.R. § 1301.74(b), and follow the
      procedures established by its Controlled Substance Monitoring
      Program”;

   g. On September 30, 2008, Cardinal Health entered into a
      Settlement and Release Agreement and Administrative
      Memorandum of Agreement with the DEA related to its Auburn
      Facility, Lakeland Facility, Swedesboro Facility, and Stafford
      Facility. The document also referenced allegations by the DEA
      that Cardinal failed to maintain effective controls against the
      diversion of controlled substances at its distribution facilities
      located in McDonough, Georgia (McDonough Facility), Valencia,
      California (Valencia Facility) and Denver, Colorado (Denver
      Facility);


   h. On February 2, 2012, the DEA issued an Order to Show Cause
      and Immediate Suspension Order against the Cardinal Health
      Lakeland, Florida Distribution Center (Lakeland Facility) for
      failure to maintain effective controls against diversion of
      oxycodone;

   i. On June 11, 2013, Walgreens paid $80 million in civil penalties
      for dispensing violations under the CSA regarding the
      Walgreens Jupiter Distribution Center and six Walgreens retail
      pharmacies in Florida;

   j. On December 23, 2016, Cardinal Health agreed to pay a $44
      million fine to the DEA to resolve the civil penalty portion of the
      administrative action taken against its Lakeland, Florida
      Distribution Center; and

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               k. On January 5, 2017, McKesson Corporation entered into an
                  Administrative Memorandum Agreement with the DEA wherein
                  it agreed to pay a $150,000,000 civil penalty for violation of the
                  2008 MOA as well as failure to identify and report suspicious
                  orders at its facilities in Aurora, CO; Aurora, IL; Delran, NJ;
                  LaCrosse, WI; Lakeland, FL; Landover, MD; La Vista, NE;
                  Livonia, MI; Methuen, MA; Sante Fe Springs, CA; Washington
                  Courthouse, OH; and West Sacramento, CA

       748.      In 2007, Bellco agreed to pay a $800,000 fine for its failure to report to

the DEA “suspicious orders” equaling 2,288 shipments of hydrocodone between

January 2005 and April 2007.

       749.      On December 19, 2016, Preet Bharara, Esq., then United States

Attorney for the Southern District of New York, and James Hunt, Special Agent in

Charge for the DEA, announced the filing and settlement of a civil lawsuit involving

Controlled Substances Act (“CSA”) claims brought by the United States against

Kinray. 139

       750.      On December 22, 2016, Kinray agreed to pay $10 million to the United

States, and admitted and accepted responsibility for failing to inform the DEA, as

required by CSA regulations, of Kinray’s receipt of suspicious orders for certain

controlled substances during the time period between January 1, 2011 and May 14,

2012. 140

       751.      As alleged, during the period from January 1, 2011 to May 14, 2012, the

DEA investigated pharmacies in New York City and elsewhere that had placed



139   Id.
140   Id.

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orders for shipments of oxycodone or hydrocodone (both Schedule II controlled

substances) from Kinray that were of unusual size and/or unusual frequency. 141 For

example, the DEA’s internal tracking system revealed that during the relevant

period, Kinray had shipped oxycodone or hydrocodone to more than 20 New York-

area pharmacy locations that placed orders for a quantity of controlled substances

many times greater than Kinray’s average sales of controlled substances to all of its

customers. 142 Such orders should have triggered “red flags” in Kinray’s ordering

system, and Kinray should have reported the suspicious orders to the DEA. But for

most of this time period, Kinray did not report a single suspicious order to the

DEA. 143

       752.      On July 9, 2015, Preet Bharara, the former United States Attorney for

the Southern District of New York, James J. Hunt, the Special Agent-in-Charge of

the New York Field Division of the U.S. DEA, and William J. Bratton, the former

Commissioner of the New York City Police Department (“NYPD”), announced that

the United States filed and settled a civil lawsuit against Rochester Drug. 144

       753.      Under the settlement, Rochester Drug admitted and accepted

responsibility for numerous violations of the CSA, and agreed to pay $360,000 in


141   Id.
142   Id.
143   Id.
144Press Release, U.S. Dep’t of Justice, Manhattan U.S. Attorney Recovers $360,000
In Civil Penalties From A Rochester Pharmaceutical Company That Violated The
Controlled Substances Act (Dec. 2, 2019), https://www.justice.gov/usao-
sdny/pr/manhattan-us-attorney-recovers-360000-civil-penalties-rochester-
pharmaceutical-company.

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penalties and to re-submit to DEA corrected record-keeping reports required by the

CSA. 145

       754.      The Complaint against Rochester Drug alleged that, following an audit

of various pharmacies in the New York City area, the DEA discovered that the

pharmacies had reported thousands of purchase orders from Rochester Drug that

Rochester Drug did not correspondingly report to the DEA through ARCOS. 146 In

response, in 2013, the DEA’s New York Field Division Tactical Diversion Squad

conducted an on-site investigation and audit at Rochester Drug’s headquarters in

Rochester, New York. The DEA’s audit confirmed that Rochester Drug’s ARCOS

reporting system was underreporting many thousands of drug sales to pharmacies

throughout the northeast region. 147

       755.      Rochester Drug responded that it expected to be able to resolve this

issue through the pending acquisition of a new computer ordering system. 148 But in

2014, DEA re-assessed Rochester Drug’s compliance, and discovered that Rochester

Drug had not implemented the new order system. 149 As a result, Rochester Drug’s

failure to electronically report thousands of shipments of CSA-controlled

substances, including Oxycodone and its variants, continued. 150 During this time,




145   Id.
146   Id.
147   Id.
148   Id.
149   Id.
150   Id.

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the DEA also determined that Rochester Drug had failed to report the theft or

significant loss of controlled substances in ARCOS, as required by the CSA and its

implementing regulations. 151

       756.      In the settlement agreement, Rochester Drug admitted that between

July 2013 and July 2014, it failed to report any electronic distribution transactions

in its DEA ARCOS reports, and admitted that between July 2012 and July 2014, it

failed to provide the required theft or significant loss reporting in ARCOS to the

DEA. 152 Under the Consent Order, Rochester Drug paid $360,000 in civil penalties

to the United States and reconstruct complete and correct historical ARCOS data

for the last five years for submission to the DEA. 153

       757.      Rather than abide by these public safety statutes, the Defendant

Distributors, individually and collectively through trade groups in the industry,

pressured the U.S. Department of Justice to “halt” prosecutions and lobbied

Congress to strip the DEA of its ability to immediately suspend distributor

registrations. The result was a “sharp drop in enforcement actions” and the passage

of the “Ensuring Patient Access and Effective Drug Enforcement Act” which,

ironically, raised the burden for the DEA to revoke a distributor’s license from




151   Id.
152   Id.
153   Id.

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“imminent harm” to “immediate harm” and provided the industry the right to “cure”

any violations of law before a suspension order can be issued. 154

      IX.     Defendants entered into and engaged in a civil conspiracy.

       758.     Defendants entered into a conspiracy to engage in the wrongful conduct

complained of herein and intended to benefit both independently and jointly from

their conspiratorial enterprise.

       759.     Defendants reached an agreement between themselves to establish,

develop, and fund an unbranded promotion and marketing network to promote the

use of opioids for the management of pain in order to mislead physicians, patients,

and others through misrepresentations or omissions regarding the appropriate uses,

risks and safety of opioids.

       760.     This network is interconnected and interrelated and relied upon

Defendants’ collective use of, and reliance upon unbranded marketing materials,

such as KOLs, scientific literature, CMEs, patient education materials, and Front

Groups. These materials were developed and funded collectively by Defendants, and




154See Lenny Bernstein and Scott Higham, Investigation: The DEA Slowed
Enforcement While the Opioid Epidemic Grew Out of Control, WASH. POST (Oct.
22, 2016), https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic- grew-out-of-control/2016/10/22/aea2bf8e-
7f71-11e6-8d13- d7c704ef9fd9_story.html?utm_term=.d84d374ef062; Lenny
Bernstein and Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, WASH. POST (Mar. 6, 2017),
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-
of-dea- enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-
a05d3c21f7cf_story.html?utm_term=.b44410552cde.

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Defendants relied upon the materials to intentionally mislead consumers and

medical providers of the appropriate uses, risks and safety of opioids.

     761.    By knowingly misrepresenting the appropriate uses, risks, and safety of

opioids, Defendants committed overt acts in furtherance of their conspiracy.


                         CLASS ACTION ALLEGATIONS

     762.    Plaintiff brings this action on behalf of itself and pursuant to Rules

23(b)(2), (b)(3) and (c)(4) of the Federal Rules of Civil Procedure on behalf of a class

of Workers’ Compensation Payors (the “Class” or “Workers’ Compensation Payors”)

defined as follows:

      During the fullest period allowed by law, all workers’ compensation
      insurers and self-insured employers in the United States (including
      territories and possessions) which pay for and provide injured workers
      worker’s compensation benefits, including medical treatment and
      prescription drug benefits as well as disability and death benefits, and
      has paid or is obligated to pay injured workers’ compensation benefits
      related to injured workers use of opioid medications in connection
      with the treatment of the injured workers’ injuries and not for acute
      pain, surgical recovery, cancer treatment, or end-of-life palliative care.

      Excluded from the Class, however, are Workers’ Compensation Payors
      that are agencies or part of any federal, state or U.S. territorial
      governments.

     763.    Plaintiff reserves the right to amend the Class definition if discovery

and further investigation reveal that the Class should be expanded or otherwise

modified.

     764.    Numerosity/Impracticability of Joinder: The members of the Class

are so numerous that joinder of all members would be impracticable.




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    765.     Commonality and Predominance: There are common questions of

law and fact that predominate over any questions affecting only individual Class

members. For example, whether the Defendants herein violated such laws

identified below in the deceptive marketing, distribution, and dispensing of opioid

medications. Moreover, common legal and factual questions, include, but are not

limited to the following aspects of Defendants’ unlawful practices:

           (a) Each Defendants’ role in creating the opioid epidemic;

           (b) Whether the Defendants herein misrepresented the safety and efficacy

of opioid pain medications;

           (c) Whether Defendants deliberately misrepresented the safety of opioid

pain medications so that Workers’ Compensation Payors would pay for the drugs;

           (d) Whether the payments made by Workers’ Compensation Payors for

opioid prescriptions, treatment and disability benefits were the foreseeable and

natural consequence of the Opioid Marketing Enterprise;

           (e) Whether Defendants’ Opioid Marketing Enterprise could have been

successful without Workers’ Compensation Payors and other Third-Party Payors

coverage of opioid pain medications;

           (f) Whether the Defendants caused or are responsible for the diversion of

opioid medication from legitimate distribution and medical channels into illicit

distribution channels, adding to the opioid epidemic and the injury and harm

sustained by the Class Members’ claimants;




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            (g) Whether the actions of the Defendants caused Workers’ Compensation

Payors to suffer economic damages and losses;

            (h) Whether Class members are entitled to payment of actual, incidental,

consequential, exemplary and/or statutory damages plus interest thereon, and if so,

what is the nature of such relief;

            (i) Whether the Court should under the circumstances certify a settlement

negation class of Workers’ Compensation Payors; and

            (j) Whether Class members are entitled to disgorgement, etc.

     766.     Typicality: Plaintiff’s claims are typical of the claims of the Workers’

Compensation Payors. Plaintiff and Class members have been injured by the same

wrongful practices of Defendants. Plaintiff’s claims arise from the same practices

and course of conduct that give rise to the claims of the Class members and are

based on the same legal theories. Plaintiff also suffered the same categories of

damages, i.e., financial loss resulting from the coverage of opioid prescriptions,

treatment and disability benefits.

     767.     Adequacy: Plaintiff is a representative who will fully and adequately

assert and protect the interests of the Class and has retained class counsel who are

experienced and qualified in prosecuting class actions. Neither Plaintiff nor their

attorneys have any interests contrary to or conflicting with the Class.

     768.     Superiority: A class action is superior to all other available methods

for the fair and efficient adjudication of this lawsuit, because individual litigation of

the claims of all Class members is economically unfeasible and procedurally



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impracticable. While the aggregate damages sustained by the Class are likely in the

hundreds of millions of dollars, if not billions, the individual damages incurred by

each Class member may be relatively too small to warrant the expense of individual

suits. The likelihood of individual Class members prosecuting their own separate

claims is remote. The court system would also be unduly burdened by individual

litigation of such cases. Further, individual members of the Class do not have a

significant interest in individually controlling the prosecution of separate actions,

and individualized litigation would also result in varying, inconsistent, or

contradictory judgments and would magnify the delay and expense to all of the

parties and the court system because of multiple trials of the same factual and legal

issues. Plaintiff is not aware of any difficulty to be encountered in the management

of this action that would preclude its maintenance as a class action. In addition,

Defendants have acted or refused to act on grounds generally applicable to the

Class and, as such, final injunctive relief or corresponding declaratory relief with

regard to the members of the Class as a whole is appropriate.

     769.     Plaintiff does not anticipate any difficulty in the management of this

litigation.


                                CAUSES OF ACTION

                                       COUNT I

                 VIOLATION OF RICO, 18 U.S.C. § 1961, ET SEQ.
            (Against the Manufacturing and Front Group Defendants)

     770.     Plaintiff incorporates by reference the preceding paragraphs of this

Complaint as if fully set forth herein.

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     771.    At all relevant times, the Manufacturing Defendants and Front Group

Defendants were and are “persons” under 18 U.S.C. § 1961(3) because they are

entities capable of holding, and do hold, “a legal or beneficial interest in property.”

     772.    The Manufacturing Defendants and Front Group Defendants each

conducted the affairs of an association-in-fact enterprise within the meaning of 18

U.S.C. § 1961(4), referred to herein as the “Opioid Marketing Enterprise”, which

consisted of the Manufacturing Defendants and Front Group Defendants, together

with the Bankrupt Purdue Companies, and KOLs who are not named as

defendants. The activities of this enterprise affected interstate commerce.

     773.    The Opioid Marketing Enterprise’s purpose and mission was to engage

in, conduct, facilitate or finance activities to generate, increase and maintain sales,

revenues, income and profits derived from the promotion, marketing and/or sale of

prescription both brand name opioid drugs and generic equivalents through the

knowing and intentional dissemination of false and misleading information about

the attributes, safety and efficacy of opioid use in general and in particular their

longer-term use in treating chronic pain conditions.

     774.    At all relevant times, the Opioid Marketing Enterprise: (a) had an

existence separate and distinct from each member of the Opioid Marketing

Enterprise; (b) was separate and distinct from the pattern of racketeering in which

the Manufacturing and Front Group Defendants engaged; (c) was an ongoing and

continuing organization consisting of individuals, persons, and legal entities,

including each of the Manufacturing and Front Group Defendants; (d) was



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characterized by interpersonal relationships between and among each member of

the Opioid Marketing Enterprise, including between the Manufacturing and Front

Group Defendants and between them and the Bankrupt Purdue Companies and

each of the KOLs; (e) had a de facto hierarchical structure whereby Front Groups

and KOLs, were subordinate to the Manufacturing Defendants who exercised

control over the Front Group and KOLs’ activities in furtherance of the enterprise’s

purpose and goals; (f) had sufficient longevity for the Opioid Marketing Enterprise

to pursue its purpose; and (g) functioned as a continuing unit.

     775.   In particular, each of the Manufacturing and Front Group Defendants,

Bankrupt Purdue Companies and KOLs, that made-up the Opioid Marketing

Enterprise had systematic links to and personal relationships with each other

through (a) joint participation in lobbying groups; (b) medical and industry

organizations; (c) contractual relationships; (d) grants; and (d) continuing

coordination of activities. These systematic links and personal relationships allowed

members of the Opioid Marketing Enterprise to act with a common purpose and to

conduct and participate in the conduct of the Opioid Marketing Enterprise.

Moreover, each of the Manufacturing and Front Group Defendants coordinated

their efforts through the same KOLs and respective Front Groups’ personnel, based

on their agreement and understanding that the Front Groups and KOLs were

industry-friendly and would work together with the Manufacturing and Front

Group Defendants (as well as with the Bankrupt Purdue Companies) to advance the

common purpose and goals of the Opioid Marketing Enterprise. Further, each



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component of the Opioid Marketing Enterprise benefited from the existence of the

other parts.

     776.      Each of the Manufacturing and Front Group Defendants, as member of

the Opioid Marketing Enterprise, conducted and participated in the conduct of the

Opioid Marketing Enterprise by playing a role and performing the acts and

activities described above in furtherance of accomplishing the Enterprise’s common

purposes, including, among other things: (a) the Manufacturing Defendants’

development and implementation of extensive campaigns of false and misleading

advertising, promotional mailings and in person detailing of the opioid medications

to prescribers which promoted or defended the wider use of opioid medications than

what was stated in their FDA labels’ indications or supported by medical science;

and (b) under the guise of being independent and trustworthy sources of fair,

balanced and scientifically/medically valid current information, the Front Group

Defendants’ respective publishing of recommendations, articles, statements,

guidelines, standards of care and websites and/or their sponsoring of CME’s and

lectures which promoted or defended the wider use of opioid medications than what

was stated in their FDA labels’ indications or supported by medical science; and (c)

the KOLs serving as lecturers, spokespersons or authors in media which promoted

or defended the wider use of opioid medications than what was stated in their FDA

labels’ indications or supported by medical science. In so doing, each of the

Manufacturing and Front Group Defendants conducted and participated in the




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conduct of the Opioid Marketing Enterprise by engaging in a pattern of

racketeering activities, mail and wire fraud, in violation of 18 U.S.C. § 1962(c).

     777.    The Manufacturing and Front Group Defendants each worked together

to coordinate the Opioid Marketing Enterprise’s goals and conceal their actual roles,

as well as the Opioid Marketing Enterprise’s existence, from the public by, among

other things: (i) funding, editing, and distributing publications that supported and

advanced their false messages; (ii) funding KOLs to promote their false messages;

(iii) funding, editing, and distributing CME programs to advance their false

messages; and (iv) tasking their own employees to direct deceptive marketing

materials and pitches directly at physicians and, in particular, at physicians lacking

the expertise of pain care specialists (that is, sales detailing).

     778.    Each of the Front Groups helped disguise the role of the Manufacturing

Defendants (and the Bankrupt Purdue Companies) by purporting to be unbiased,

independent patient-advocacy and professional organizations in order to

disseminate patient education materials—a body of biased and unsupported

scientific “literature,” and “treatment guidelines” that promoted the Defendants’

false messages.

     779.    Each of the KOLs was a physician chosen and paid by one or more of

the Manufacturing Defendants (and the Bankrupt Purdue Companies) to influence

prescribers’ habits by promoting the Defendants’ false message through, among

other things, writing favorable journal articles and delivering supportive speeches

and CMEs as if they were independent medical professionals, thereby further



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obscuring the Manufacturing Defendants’ role in the Opioid Marketing Enterprise

and the Opioid Marketing Enterprise’s existence.

     780.   The Manufacturing and Front Group Defendants conducted and

participated in the conduct of the Opioid Marketing Enterprise through a pattern of

racketeering activity within the meaning of 18 U.S.C. § 1961(5) that employed the

use of mail and interstate wire facilities, in violation of 18 U.S.C. § 1341 (mail

fraud) and § 1343 (wire fraud), to increase profits and revenue by changing

prescriber habits and public perceptions in order to increase the prescription and

use of prescription opioids.

     781.   The Manufacturing and Front Group Defendants, with knowledge and

intent, agreed to the overall objective of their fraudulent scheme and participated in

the common course of conduct to commit acts of fraud.

     782.   For the fraudulent scheme to work, each of the Manufacturing and

Front Group Defendants had to agree to implement similar tactics. Also integral to

the success of the Opioid Marketing Enterprise was that third-party payors such as

Plaintiff and the Class of Workers’ Compensation Payors would pay for the opioid

medications, which but for the illegal conduct and deceit members of the

enterprises’ members and accomplices they would not have.

     783.   As summarized herein, Manufacturing and Front Group Defendants

repeatedly and often used the mail and interstate wires to send or receive

thousands of communications, emails, publications, representations, statements,

electronic transmissions, and payments to carry out the Opioid Marketing



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Enterprise’s fraudulent scheme. The Manufacturing and Front Group Defendants’

predicate acts of racketeering activity, 18 U.S.C. § 1961(1), therefore consisted of:

      (a) Mail Fraud: Defendants violated 18 U.S.C. § 1341 and § 1346 by

frequently sending or receiving, or by causing to be sent and/or received, materials

via U.S. mail or commercial interstate carriers for the purpose of executing the

unlawful scheme to market, promote, expand the use and sell prescription opioids

by means of false pretenses, misrepresentations, false promises, and omissions.

      (b) Wire Fraud: Defendants violated 18 U.S.C. § 1343 and §1346 by

transmitting and/or receiving, or by causing to be transmitted and/or received,

materials by interstate wires, including telephone calls, fax transmission, and the

use of the internet (emails and websites) for the purpose of executing the unlawful

scheme to market, promote, expand the use and sell prescription opioids by means

of false pretenses, misrepresentations, false promises, and omissions.

     784.   Because the Manufacturing and Front Group Defendants disguised

their participation in the Opioid Marketing Enterprise, and worked to keep even

the Opioid Marketing Enterprise’s existence secret so as to give the false

appearance that their false messages reflected the views of independent third

parties, many of the precise dates of the Opioid Marketing Enterprise’s uses of the

U.S. Mail and interstate wire facilities (and corresponding predicate acts of mail

and wire fraud) have been hidden and cannot be alleged without access to the books

and records maintained by the Defendants, Front Groups, and KOLs. Indeed, an

essential part of the successful operation of the Opioid Marketing Enterprise



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depended upon secrecy. Nonetheless, Plaintiff has described occasions on which the

Marketing Manufacturing Defendants, Front Groups, and KOLs disseminated

misrepresentations and false statements to consumers, prescribers, regulators, and

how those acts were in furtherance of the scheme.

     785.   The Manufacturing and Front Group Defendants each committed,

conspired to commit, and/or aided and abetted in the commission of, at least two

predicate acts of racketeering activity (i.e., violations of 18 U.S.C. §§ 1341 and 1343)

within the past ten years. The multiple acts of racketeering activity that the

Marketing Manufacturing Defendants committed, conspired to commit, and/or

aided and abetted in the commission of, were related to each other, posed a threat of

continued racketeering activity and/or constituted continuous racketeering activity,

and therefore constituted a “pattern of racketeering activity.” The racketeering

activity was made possible by the Defendants’ regular use of the facilities, services,

distribution channels, and employees of the Opioid Marketing Enterprise.

Defendants participated in the scheme to defraud by using mail and interstate

wires (including telephones and the Internet) in interstate or foreign commerce.

     786.   Each of the Manufacturing and Front Group Defendants not only

violated the above laws but also aided and abetted others in the violations of the

above laws, thereby rendering the Defendants indictable as principals.

     787.   The pattern of racketeering activity alleged herein is continuing as of

the date of this Complaint and, upon information and belief, will continue into the




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future unless enjoined by this Court. The last racketeering incident occurred within

five years of the commission of a prior incident of racketeering.

     788.   The Manufacturing and Front Group Defendants’ multiple and

predicate acts and pattern of racketeering activity were a proximate cause of the

opioid epidemic that has injured Plaintiff and the Workers’ Compensation Payors in

the form of substantial losses of money and property that logically, directly, and

foreseeably arose from the opioid epidemic brought on by the Manufacturing and

Front Group Defendants’ acts.

     789.   The Manufacturing and Front Group Defendants’ violations of law and

their pattern of racketeering activity directly and proximately caused the Plaintiff

and Workers’ Compensation Payors Class members injury to their business and

property.

     790.   By virtue of these violations of 18 U.S.C. § 1962(c), the Manufacturing

and Front Group Defendants are liable to Plaintiff and Class members for three

times the damages they have sustained, plus costs.

                                      COUNT II

                  VIOLATION OF RICO, 18 U.S.C. § 1962(d) BY
                 CONSPIRING TO VIOLATE 18 U.S.C. § 1962(c)
            (Against Manufacturing and Front Group Defendants)

     791.   Plaintiff incorporates by reference the preceding paragraphs of this

Complaint as if fully set forth herein.




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     792.    Section 1962(d) of RICO provides that it “shall be unlawful for any

person to conspire to violate any of the provision of subsection (a), (b), or (c) of this

section.”

     793.    The Manufacturing and Front Group Defendants violated § 1962(d) by

conspiring to violate 18 U.S.C. § 1962(c) with the companies, organizations

physicians and other persons who participated in the Opioid Marketing Enterprise.

The object of this conspiracy has been and is to conduct or participate in, directly or

indirectly, the conduct of the affairs of the Opioid Marketing Enterprise, described

previously, through a pattern of racketeering activity.

     794.    The Manufacturing and Front Group Defendants and their respective

co-conspirators have engaged in numerous overt and predicate fraudulent

racketeering acts in furtherance of the conspiracy, including material

misrepresentations and omissions designed to defraud or deceive members of the

medical profession and the public regarding the safety, efficacy and utility of opioid

drugs in treating chronic pain.

     795.    Manufacturing and Front Group Defendants and their co-conspirators

sought to and have engaged in the commission of and continues to commit overt

acts, including the following unlawful racketeering predicate acts:

       (a)    multiple instances of mail fraud violation of 18 U.S.C. §§ 1341 and

              1346;

       (b)    multiple instances of wire fraud violations of 18 U.S.C. §§ 1343 and

              1346; and,


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      (c)    multiple instances of unlawful activity in violation of 18 U.S.C. § 1952.


     796.    The nature of the above-described co-conspirators’ acts, material

misrepresentations, and omissions in furtherance of the conspiracy gives rise to an

inference that they not only agreed to the objective of an 18 U.S.C. § 1962(d)

violation of RICO by conspiring to violate 18 U.S.C. § 1962(c), but they were also

aware that their ongoing fraudulent and criminal acts have been and are part of an

overall pattern of racketeering activity.

     797.    As a direct and proximate result of Manufacturing and Front Group

Defendants’ overt acts and predicate acts in furtherance of violating 18 U.S.C. §

1962(d) by conspiring to violate 18 U.S.C. § 1962(c), Plaintiff and members of the

Class have been and are continuing to be injured in their business or property as set

forth more fully above. By reason of the unlawful acts engaged in by Manufacturing

and Front Group Defendants and their co-conspirators, Plaintiff and members of

the Class have suffered ascertainable loss and damages.

     798.    Injuries suffered by Plaintiff and member of the Class were directly and

proximately caused by Manufacturing and Front Group Defendants’ racketeering

activity as described above.

     799.    By virtue of these violations of 18 U.S.C. § 1962(d), the Manufacturing

and Front Group Defendants are liable to Plaintiff and Class members for three

times the damages Plaintiff and members of the Class have sustained, plus the cost

of this suit, including reasonable attorney’s fees.




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                                      COUNT III

                VIOLATION OF RICO, 18 U.S.C. § 1961, ET SEQ.
             (Against Manufacturing and Distributor Defendants)

     800.    Plaintiff incorporates by reference the preceding paragraphs of this

Complaint as if fully set forth herein.

     801.    At all relevant times, the Manufacturing and Distributor Defendants

were and are “persons” under 18 U.S.C. § 1961(3) because they are entities capable

of holding, and do hold, “a legal or beneficial interest in property.”

     802.    The Manufacturing and Distributor Defendants each conducted the

affairs of an association-in-fact enterprise within the meaning of 18 U.S.C. §

1961(4), referred to herein as the “Opioid Supply Chain Enterprise”.

     803.    The Opioid Supply Chain Enterprise’s purpose and mission was to

increase the quota for and profiting from the increased volume of opioid sales in the

United States, including but not limited to creating or fostering a market for non-

medical use of opioids of epidemic proportions. The Opioid Supply Chain Enterprise

was an association-in-fact enterprise within the meaning of 18 U.S.C. § 1961(4)

consisting of which consisted of the Manufacturing and Distributor Defendants,

together with the Bankrupt Purdue Companies which are not named as defendants.

The activities of the Opioid Supply Chain Enterprise affected interstate commerce.

     804.    While participating in or conducting the affairs of the Opioid Supply

Chain Enterprise, the Manufacturing and Distributor Defendants hid from the

general public and suppressed and/or ignored warnings from third parties,

whistleblowers, and governmental entities about the reality of the suspicious orders

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that the Defendants were suppling or filling on a daily basis—leading to the

diversion of hundreds of millions of doses of name-brand and generic prescription

opioids into the illicit market.

     805.    At all relevant times, the Opioid Supply Chain Enterprise: (a) had an

existence separate and distinct from each member of the Opioid Supply Chain

Enterprise; (b) was separate and distinct from the pattern of racketeering in which

the Defendants engaged; (c) was an ongoing and continuing organization consisting

of legal entities, including each of the Defendants; (d) was characterized by

interpersonal relationships between and among each member of the Opioid Supply

Chain Enterprise, i.e., the Manufacturing and Distributor Defendants; (e) had

sufficient longevity for the Opioid Supply Chain Enterprise to pursue its purpose;

and (f) functioned as a continuing unit. Each member of the Opioid Supply Chain

Enterprise participated in the conduct of the Enterprise through a pattern of

racketeering activity and shared in the astounding growth of profits supplied by

fraudulently inflating opioid quotas and the resulting sales.

     806.    Many of the Manufacturing and Distributor Defendants are members,

participants, and/or sponsors of the Healthcare Distribution Alliance (“HDA”), an

industry group that published Industry Compliance Guidelines for reporting

suspicious orders and preventing diversion, and have been since at least 2006. The

Manufacturing and Distributor Defendants utilized the HDA to form the systematic

links and interpersonal relationships of the Opioid Supply Chain Enterprise and to




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assist the Manufacturing and Distributor Defendants in engaging in the pattern of

racketeering activity that gives rise to this Count.

     807.   The Manufacturing and Distributor Defendants conducted and

participated in the conduct of the Opioid Supply Chain Enterprise through a

pattern of racketeering activity within the meaning of 18 U.S.C. § 1961(5) in

connection with each of the Manufacturing and Distributor Defendants participated

by playing a role and performing the acts and activities described herein in order to

accomplish and achieve the Enterprise’s common purposes

     808.   The pattern of racketeering activity of the Opioid Supply Chain

Enterprise included the use of mail and interstate wire facilities, in furtherance of a

scheme to defraud Federal and state regulators, the American public, and the

Nation in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

     809.   By intentionally refusing to report and halt suspicious orders of their

prescription opioids, Manufacturing and Distributor Defendants engaged in a

fraudulent scheme and unlawful course of conduct constituting a pattern of

racketeering activity.

     810.   The pattern of racketeering activity of the Opioid Supply Chain

Enterprise also included the felonious manufacture, importation, receiving,

concealment, buying, selling, or otherwise dealing in a controlled substance or listed

chemical (as defined in section 102 of the Controlled Substance Act), punishable

under the laws of the United States. Specifically, 21 U.S.C. § 843(a)(4) makes it

unlawful for any person knowingly or intentionally to furnish false or fraudulent



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information in, or omit any material information from, any application, report,

record, or other document required to be made, kept, or filed under this subchapter.

A violation of 21 U.S.C. § 843(a)(4) is punishable by up to four years in jail, making

it a felony. 21 U.S.C. § 843(d)(1). The Manufacturing and Distributor Defendants

violated 21 U.S.C. § 843(a)(4) by knowingly and intentionally furnishing false

information in, and omitting material information from, reports, records, and other

documents required to be made, kept, and filed under the relevant subchapter of

Title 21 of the United States Code.

     811.    The pattern of racketeering activity of the Opioid Supply Chain

Enterprise also included violations of the Travel Act, 18 U.S.C. § 1952.

Manufacturing and Distributor Defendants violated 18 U.S.C. § 1952 in that they

used interstate facilities, the United States mail, telephones, internet and other

facilities in interstate commerce with the intent to carry on, or facilitate the

carrying on of, an “unlawful activity” within the meaning of 18 U.S.C. § 1952(b),

namely, a business enterprise involving controlled substances, and thereafter

carried on such unlawful activity, in violation of the controlled substances laws of

the United States as well as those of several states, including the Commonwealths

of Massachusetts and Pennsylvania and the States of California, New Jersey, New

York, and Illinois, all of which Plaintiff and members of the Workers’ Compensation

Payors Class provided Workers’ Compensation benefits in. By turning a blind eye to

diversion, Defendants aided and abetted the unlawful distribution and dispensing




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of prescription opioids, which in turn injured or exacerbated the injuries of injured

workers it was providing medical and disability benefits to.

     812.   In sum, the Manufacturing and Distributor Defendants’ predicate acts

of racketeering activity (18 U.S.C. § 1961(1)) consisted of:

      (a) Mail Fraud: The Manufacturing and Distributor Defendants violated 18

U.S.C. § 1341 by sending or receiving, or by causing to be sent and/or received,

materials via U.S. mail or commercial interstate carriers for the purpose of

executing the unlawful scheme to design, manufacture, market, and sell the

prescription opioids by means of false pretenses, misrepresentations, false promises,

and omissions.

      (b) Wire Fraud: The Manufacturing and Distributor Defendants violated 18

U.S.C. § 1343 by transmitting and/or receiving, or by causing to be transmitted

and/or received, materials by interstate wire for the purpose of executing the

unlawful scheme to market, promote and sell the prescription opioids by means of

false pretenses, misrepresentations, false promises, and omissions.

      (c) Controlled Substance Violations: The Manufacturing and Distributor

Defendants who are Distributor Defendants violated 21 U.S.C. § 843 by knowingly

or intentionally furnishing false or fraudulent information in, and/or omitting

material information from, documents filed with the DEA; and

      (d) Travel Act Violations: The Manufacturing and Distributor Defendants

violated 18 U.S.C. § 1952 by using the mail and facilities in interstate commerce




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with the intent to carry on, or facilitate the carrying on of, an unlawful activity,

namely, a business enterprise involving controlled substances.

     813.    The Manufacturing and Distributor Defendants, with knowledge and

intent, agreed to the overall objective of their fraudulent scheme and participated in

the common course of conduct to commit acts of fraud, mail fraud and wire fraud.

     814.    Indeed, for the Manufacturing and Distributor Defendants’ fraudulent

scheme to work, each of the Defendants had to agree to implement similar tactics.

     815.    Each of the Manufacturing and Distributor Defendants not only

violated the above laws but aided and abetted others in the violations of the above

laws, thereby rendering Defendants indictable as principals.

     816.    Many of the precise dates of the Manufacturing and Distributor

Defendants’ criminal actions at issue here have been hidden by Defendants and

cannot be alleged without access to Manufacturing and Distributor Defendants’

books and records. Indeed, an essential part of the successful operation of the

Opioid Supply Chain Enterprise alleged herein depended upon secrecy.

     817.    The pattern of racketeering activity alleged herein is continuing as of

the date of this Complaint and, upon information and belief, will continue into the

future unless enjoined by this Court.

     818.    It was foreseeable to the Manufacturing and Distributor Defendants

that the Plaintiff and the Workers’ Compensation Payors would be harmed when

they refused to report and halt suspicious orders, because their violation of the

duties imposed by the FCSA and Code of Federal Regulations allowed the


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widespread diversion of name-brand and generic prescription opioids out of

appropriate medical channels and into the illicit drug market—causing the opioid

epidemic that the FCSA intended to prevent, which resulted in additional costs to

Plaintiff and the Workers’ Compensation Payors in the form of coverage of addiction

treatment and disability benefits.

     819.   The last racketeering incident occurred within five years of the

commission of a prior incident of racketeering.

     820.   The Manufacturing and Distributor Defendants’ violations of law and

their pattern of racketeering activity directly and proximately caused the Plaintiff

and the Workers’ Compensation Payors’ injuries in their business and property. The

Manufacturing and Distributor Defendants’ pattern of racketeering activity,

including their refusal to identify, report, and halt suspicious orders of controlled

substances, logically, substantially, and foreseeably caused an opioid epidemic. The

Plaintiff and the Workers’ Compensation Payors were injured and continues to be

injured by the Manufacturing and Distributor Defendants’ pattern of racketeering

activity and the opioid epidemic that it created.

     821.   The Manufacturing and Distributor Defendants knew that the opioids

they manufactured and supplied were unsuited to treatment of long-term, chronic,

non-acute, and non-cancer pain, or for any other use not approved by the FDA and

knew that opioids were highly addictive and subject to abuse. Nevertheless, in order

to increase sales of their opioid products, the Manufacturing and Distributor

Defendants engaged in a scheme of deception by refusing to identify or report


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suspicious orders of prescription opioids that they knew were highly addictive,

subject to abuse, and were actually being diverted into the market of non-medical

use. They did so by utilizing the mail and interstate wires as part of their fraud.

     822.   The Manufacturing and Distributor Defendants’ predicate acts and

pattern of racketeering activity were a proximate cause of the opioid epidemic that

has injured Plaintiff and the Workers’ Compensation Payors in the form of

substantial losses of money and property that logically, directly, and foreseeably

arise from the opioid epidemic brought on by the Defendants’ acts.

     823.   The Manufacturing and Front Group Defendants’ violations of law and

their pattern of racketeering activity directly and proximately caused the Plaintiff

and Workers’ Compensation Payors Class members injury to their business and

property.

     824.   By virtue of these violations of 18 U.S.C. § 1962(c), the Manufacturing

and Distributor Defendants are liable to Plaintiff and Class members for three

times the damages they have sustained, plus the cost.

                                     COUNT IV

                  VIOLATION OF RICO, 18 U.S.C. § 1962(d) BY
                 CONSPIRING TO VIOLATE 18 U.S.C. § 1962(c)
             (Against Manufacturing and Distributor Defendants)

     825.   Plaintiff incorporates by reference the preceding paragraphs of this

Complaint as if fully set forth herein.




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     826.     Section 1962(d) of RICO provides that it “shall be unlawful for any

person to conspire to violate any of the provision of subsection (a), (b), or (c) of this

section.”

     827.     The Manufacturing and Distributor Defendants violated § 1962(d) by

conspiring to violate 18 U.S.C. § 1962(c) with the companies, organizations

physicians and other persons who participated in the Opioid Marketing Enterprise.

The object of this conspiracy has been and is to conduct or participate in, directly or

indirectly, the conduct of the affairs of the Opioid Marketing Enterprise, described

previously, through a pattern of racketeering activity.

     828.     The Manufacturing and Distributor Defendants and their respective co-

conspirators have engaged in numerous overt and predicate fraudulent racketeering

acts in furtherance of the conspiracy, including material misrepresentations and

omissions designed to defraud or deceive members of the medical profession and the

public regarding the safety, efficacy and utility of opioid drugs in treating chronic

pain.

     829.     The Manufacturing and Distributor Defendants and their co-

conspirators sought to and have engaged in the commission of and continues to

commit overt acts, including the following unlawful racketeering predicate acts:

        (a)   multiple instances of mail fraud violation of 18 U.S.C. §§ 1341 and

              1346;

        (b)   multiple instances of wire fraud violations of 18 U.S.C. §§ 1343 and

              1346; and,


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      (c)    multiple instances of unlawful activity in violation of 18 U.S.C. § 1952.


     830.    The nature of the above-described co-conspirators’ acts, material

misrepresentations, and omissions in furtherance of the conspiracy gives rise to an

inference that they not only agreed to the objective of an 18 U.S.C. § 1962(d)

violation of RICO by conspiring to violate 18 U.S.C. § 1962(c), but they were also

aware that their ongoing fraudulent and criminal acts have been and are part of an

overall pattern of racketeering activity.

     831.    As a direct and proximate result of Manufacturing and Distributor

Defendants’ overt acts and predicate acts in furtherance of violating 18 U.S.C. §

1962(d) by conspiring to violate 18 U.S.C. § 1962(c), Plaintiff and members of the

Class have been and are continuing to be injured in their business or property as set

forth more fully above. By reason of the unlawful acts engaged in by Manufacturing

and Distributor Defendants and their co-conspirators, Plaintiff and members of the

Class have suffered ascertainable loss and damages.

     832.    Injuries suffered by Plaintiff and member of the Class were directly and

proximately caused by Manufacturing and Distributor Defendants’ racketeering

activity as described above.

     833.    By virtue of these violations of 18 U.S.C. § 1962(d), the Manufacturing

and Distributor Defendants are liable to Plaintiff and Class members for three

times the damages Plaintiff and members of the Class have sustained, plus the cost

of this suit, including reasonable attorney’s fees.




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                                      COUNT V

                                     NUISANCE

                             (Against All Defendants)

     834.   Plaintiff incorporates by reference the preceding paragraphs of this

Complaint as if fully set forth herein.

     835.   Defendants, individually and acting through their employees and

agents, and in concert with each other, have intentionally, recklessly, or negligently

engaged in conduct or omissions which endanger or injure the Plaintiff and the

Workers’ Compensation Payors by their production, promotion, and marketing of

opioids for use by the claimants of Plaintiff and the Workers’ Compensation Payors.

     836.   Defendants’ conduct and subsequent sale of its opioid products is not

only unlawful but has also resulted in substantial and unreasonable interference

with the public health, and the public’s enjoyment of its right not to be defrauded or

negligently injured.

     837.   Defendants’ conduct is not insubstantial or fleeting. Indeed,

Defendants’ unlawful conduct has so severely impacted public health on every

geographic and demographic level, and particularly with respect to injured workers

covered by Plaintiff and the Workers’ Compensation Payors, that the public

nuisance perpetrated by Defendants’ conduct is commonly referred to as a “crisis”

and an “epidemic.” It has caused deaths, serious injuries, disabilities and a severe

disruption of public peace, order and safety; it is ongoing, and it is producing

permanent and long-lasting damage.



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     838.   Defendants’ conduct constitutes a public nuisance.

     839.   Defendants’ conduct directly and proximately caused injury to Plaintiff

and the Workers’ Compensation Payors, as discussed supra.

     840.   Plaintiff and members of the Class have been injured by reason of

Defendants’ creation of the public nuisance in particularized and different form

manner and degree than the public at large.

     841.   Plaintiff and members of the Class are entitled to recover their

damages caused by Defendants’ creation of this public nuisance in an amount to be

determined at trial, plus costs and attorneys’ fees.

                                     COUNT VI

                VIOLATION OF 720 ILCS 5/170-10.5
    AND OTHER ANALOGOUS STATE INSURANCE FRAUD LAWS OR
         UNFAIR DECEPTIVE ACTS AND PRACTICES LAWS

                             (Against All Defendants)

     842.   Plaintiff incorporates by reference the preceding paragraphs of this

Complaint as if fully set forth herein.

     843.   Under Illinois law, “[a] person commits insurance fraud when he or she

knowingly obtain, attempts to obtain, or causes to be obtained, by deception, control

over the property of an insurance company . . . by the making of a false claim or by

causing a false claim to be made on any policy of insurance issued by an insurance

company or by the making of a false claim or by causing a false claim to be made . .

. intending to deprive an insurance company or self-insured entity permanently of

the use and benefit of that property.” 720 ILCS 5/17-10.5.



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     844.   720 ILCS 5/17-10.5(e)(1) provides that anyone who commits a violation

of 720 ILCS 5/17-10.5 “shall be civilly liable to the insurance company or self-

insured entity that paid the claim or against whom the claim was made or to the

subrogee of that insurance company or self-insured entity in an amount equal to

either 3 times the value of the property wrongfully obtained or, if no property was

wrongfully obtained, twice the value of the property attempted to be obtained,

whichever amount is greater, plus attorney’s fees.”

     845.   Many other jurisdictions have similar and analogous insurance fraud

laws or construe their unfair deceptive acts and practices laws to extend to and

prohibit the fraudulent conduct addressed in the Illinois law.

     846.   In carrying out the Opioid Marketing Enterprise, Defendants

overstated the benefits of and evidence for the use of opioids for chronic non-cancer

pain, while understating the rather serious risks of opioid use, including the risks of

addiction. In disseminating such misleading information regarding the

appropriateness of their opioids for certain conditions, and in falsely presenting

those statements as those of independent, unbiased third-parties, Defendants made

misrepresentations and omissions of material facts.

     847.   Indeed, Defendants directly, as well as indirectly through their control

of third parties and/or aiding and abetting third parties, made and disseminated

untrue, false, and misleading statements to consumers and prescribers in Plaintiff

and the Workers’ Compensation Payors’ networks to promote the sale and use of

opioids to treat chronic non-cancer pain, or by causing untrue, false, and misleading



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statements about opioids to be made or disseminated to area prescribers and

consumers to promote the sale and use of opioids for treating chronic non-cancer

pain.

     848.     Defendants also made statements that omitted or concealed material

facts to promote the sale and use of opioids to treat chronic pain. Defendants and

their third-party allies repeatedly failed to disclose, or minimized, material facts

about the risks, benefits and uses of opioids. Such material omissions were

deceptive and misleading in their own right, and further rendered even otherwise

truthful statements about opinions false or misleading regarding the risks benefits

and uses of opioids—particularly for the treatment of chronic non-cancer pain.

     849.     Defendants and the third parties they controlled made and

disseminated such statements and material omissions through an array of

marketing channels, including in-person detailing, speaker events, conferences,

teleconferences, CMEs, studies, journal articles, supplements, advertisements,

brochures, websites, and other patient and doctor education materials.

     850.     Defendants and the third-parties they controlled knew that these

statements were untrue and misleading, or omitted material facts, when they made

them, and knew they would likely deceive the public, and Plaintiff and members of

the Class, and cause Plaintiff and members of the Class to pay out claims for

prescription opioids they otherwise would not have paid for—that was the entire

point.




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     851.   This conduct directly damaged Plaintiff and the Workers’

Compensation Payors, who put their trust in the physicians in their networks to

appropriately convey and balance the risks and benefits of various treatment

options for patients covered by their benefits programs. Physicians, in turn, are

inclined to trust the advice of KOLs, front groups, and other seemingly independent

sources of objective medical information. Plaintiff and the Class also put their trust

in medical management vendors and third-party health care providers to review

claims for medical necessity, and these groups likewise put their trust in seemingly

independent sources of objective medical information to determine the appropriate

standard of care. But by engaging in the conduct described herein, Defendants co-

opted those sources of information in order to convince prescribing physicians—and

through them, patients, Plaintiff and the Class—that opioids were medically

necessary to treat chronic non-cancer pain. This was especially so given Defendants’

deliberate targeting of non-specialist physicians and non-physician prescribers, who

lacked the time and expertise to evaluate the false, deceptive, and materially

misleading claims being promoted to them.

     852.   Defendants’ scheme caused prescribers to write prescriptions for

opioids to treat chronic pain that were presented to Plaintiff and the Workers’

Compensation Payors for payment. Therefore, each claim for reimbursement paid

by Plaintiff and Class members for chronic opioid therapy is the direct result of

Defendants’ false and deceptive marketing, which presented to prescribers patently




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false and deceptive information about the risks, benefits, and superiority of opioids

for the treatment of chronic non-cancer pain.

     853.   Plaintiff and the Workers’ Compensation Payors only cover the cost of

medical services and prescription drugs that are medically necessary and

reasonably required. Doctors, pharmacists, other health care providers in Plaintiff

and the Workers’ Compensation Payors’ networks (and agents thereof) expressly or

impliedly certified to Plaintiff and the Class that opioids were medically necessary

and reasonably required to treat chronic non-cancer pain, because they were

influenced by the false and deceptive statements disseminated by Defendants about

the risks, benefits, and superiority of opioids for treating chronic non-cancer pain.

     854.   Defendants caused doctors and pharmacies to submit, and Plaintiff and

the Workers’ Compensation Payors to pay claims that were false by: (a) causing

doctors to write prescriptions for chronic opioid therapy based on deceptive

representations regarding the risks, benefits, and superiority of those drugs; (b)

causing doctors to certify that these prescriptions and associated services were

medically necessary and/or reasonably required; and (c) distorting the standard of

care for treatment of chronic pain so that doctors would feel not only that it was

appropriate, but required, that they prescribe opioids long-term to treat chronic

pain. Each—or any—of these factors made claims to Plaintiff and the Workers’

Compensation Payors for chronic opioid therapy false.

     855.   These misrepresentations were material because, had Plaintiff and

members of the Class known of the false statements disseminated by Defendants,



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Plaintiff and members of the Class would have refused to pay for those opioid

prescriptions and the attendant costs related to the patients’ prescription opioid

use. As such, Defendants knowingly made, used, or caused to be made, false claims

with the intent to induce Plaintiff and Class members to approve and pay them.

     856.    As a result, Plaintiff and Class members have been injured, and

Defendants have received, or will receive, income, profits, and other benefits, which

they would not have received if they had not engaged in the violations of 720 ILCS

5/17-10.5(a)(1), as described herein.

     857.    Defendants knowing conduct and omissions and violations of statutes,

regulations and other laws providing for the health, safety and protection of

consumers and trade as set forth above further violated other interested state’s

insurance fraud and unfair and deceptive acts and practice laws analogous to the

Illinois Consumer Fraud Act, such as, by way of example, New Jersey’s Consumer

Fraud Act.

     858.    Plaintiff and the Class members have sustained ascertainable losses

and damages as result of the violation of those acts entitling them to the relief such

statutes and laws provide.

                                        COUNT VII

                                          FRAUD

     859.    Plaintiff incorporates by reference the preceding paragraphs of this

Complaint as if fully set forth herein.




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     860.    Defendants, individually and acting through their employees and

agents, and in concert with each other, knowingly made material

misrepresentations and omissions of facts to patients and prescribers as well as to

Plaintiff and the Workers’ Compensation Payors to induce them to purchase,

administer, and consume opioids as set forth in detail above.

     861.    Defendants knew at the time that they made their misrepresentations

and omissions that they were false.

     862.    Defendants intended that Plaintiff, Workers’ Compensation Payors,

physicians, patients, and/or others would rely on their misrepresentations and

omissions.

     863.    Plaintiff, Workers’ Compensation Payors, physicians, patients, and/or

others reasonably relied upon Defendants’ misrepresentations and omissions.

     864.    In the alternate, the Defendants recklessly disregarded the falsity of

their representations regarding opioids.

     865.    By reason of their reliance on Defendants’ misrepresentations and

omissions of material fact, Plaintiff and the Workers’ Compensation Payors suffered

actual pecuniary damage.

     866.    Defendants’ conduct was willful, wanton, and malicious and was

directed at the public generally.

     867.    Plaintiff and Class members are entitled to recover their damages

caused by Defendants’ fraud in an amount to be determined at trial.

                                      COUNT VIII



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                                 CIVIL CONSPIRACY

     868.      Plaintiff incorporates by reference the preceding paragraphs of this

Complaint as if fully set forth herein.

     869.      Upon information and belief, Defendants acted in coordination with

each other.

     870.      Defendants have knowingly conspired and agreed among themselves to

deprive Plaintiff and the Workers’ Compensation Payors of funds used to pay for

opioid prescriptions, treatment and disability benefits under their business

strategy.

     871.      At all times relevant to this case, Defendants conducted themselves in a

manner so as to proximately cause a breach of implied duty of good faith and fair

dealing as alleged in the above factual allegations contained in this complaint for

damages pursuant to, and in furtherance of, the conspiracy and alleged agreement

to conspire.

     872.      Defendants furthered the conspiracy by lending aid and encouragement

to distributor, retailers, and other defendants, by ratifying and adopting the acts of

the other defendants.

     873.      As a proximate cause of the wrongful actions or omissions committed by

the Defendants, Plaintiff and the Workers’ Compensation Payors have been

generally damaged in the sum that exceeds the jurisdictional minimum amount but

cannot yet be precisely calculated because Plaintiff and the Third-Payors continue

to suffer damages every moment that the Defendants willfully conspired and agreed



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among themselves to deprive Plaintiff and the Workers’ Compensation Payors of

funds used to pay for opioid prescriptions, treatment and disability benefits

     874.     All Defendants have and continue to conduct themselves maliciously

by further failing to take measures to fully arrest, alleviate and abate the

consequences of their tortious acts and omissions, which continue to cause harm

to injured workers who have been prescribed opioid drugs and Defendants thereby

continue to cause harm to Workers’ Compensation Payors, as described herein.



                                 PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, in its own right, and on behalf of others similarly
situated, demands judgment against Defendants jointly, severally and in the
alternative for the following relief:
            (a) Certification of the matter as a class action under Rule 23b(2) for

injunctive and declaratory relief;

            (b) Certification of the matter as a class action under Rule 23b(3) for

monetary damages;

            (c) Certification of the matter as an issues class under Rule 23c(4)

            (d) Certification of a Workers’ Compensation Payors negotiation class;

            (e) issuing notice to the Class of this action;

            (f) compensatory damages in an amount sufficient to fairly and completely

compensate Plaintiff for all damages;

            (g) treble damages, penalties and costs;

            (h) punitive damages;


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   (i) attorneys'fees

   (j) interest, costs and disbursements; and

   (k) such and further relief as this court may deem just and proper.




                                       Respectfully submitted,

                                       co![_EN, PLACITELLA & ROTH, P.C



                                       STEWART L. COHEN
                                                                 4L
                                       MICHAEL COREN
                                       ERIC S. PASTERNACK
                                       Two Commerce Square
                                       2001 Market Street - Suite 2900
                                       Philadelphia, PA 19103
                                       215-567-3500
                                       scohen@cprlaw.com
                                       mcoren@cprlaw.com
                                       ep asternack@cprlaw.com


                                       W. MARK LANIER-
                                       THE LANIER LAW FIRM, P.C.
                                       10940 W. Sam Houston Pkwy. N.
                                       Suite 100
                                       Houston, Texas 77064
                                       713-659-5200
                                       WMl@LanierlawFirm. com

                                       (*Pro hoc admission to be applied for)




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purpose of m11Iatmg the CIVIi docket sheet (SEE lNSTRUCTIONS ON NEXT N.GE OP rms FORM J

I. (a) PLAINTIFFS                                                                                                                    DEFENDANTS

       PUBLIC SERVICE INSURANCE COMPANY                                                                                               JANSSEN PHARMACEUTICALS. INC

      (b)   County of Residence of First Listed Plamuff    Manhattan. NY                                                            County of Residence of First Listed Defendant                                       Mon_tgomery C~unty,~~
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      (c)   Attorneys (Firm Name. Address. and Telephone Number)
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 Stewart L. Cohen. Esquire. Suite 2900, Two Commerce Square,                                                                     Smnre1ch Kosakoff & Messina, 267 Carleton Avenue. Suite 301.
Philadelphia, PA 19103                                                                                                           Central Islip. NY 11722, and O'Melveny & Myers, LLP 400 S Hope
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RELATED CASE, IF ANY:
Case Number- _ _ _ _ _ _ _ _ _ _ __                                Judge: _ _ _ _ _ _ _ _ _ _ _ __                                 Date Tenrunated; _ _ _ _ _ _ _ __

C1VTI cases are deemed related when Yes lS answered to any of the following questions:

1.      Is this case related to property included in an earlier numbered suit pending or within one year
        previously tennmated action in this court?

2       Does this case involve the same issue of fact or grow out of the same transaction as a pnor suit
        pending or within one year previously terminated action in this court?
                                                                                                                                      YesD
3.      Does thts case mvolve the validity or infrmgement of a patent already m smt or any earlier
        numbered case pending or W1tlun one year previously terminated action ofthts court?
                                                                                                                                      YesO
4.      Is this case a second or successive habeas corpus, so
        case filed by the same mdivtdual?
                                                                               unty appeal, or pro se civil nghts                     YesD
I certify that, to my knowledge, the withm case
this court except as noted above.
DATE         12/13/2019
                                                                            Atrorney-ot-Law I Pro Se Plaintiff                                    Allorney I1),   # (ifapplicable)



CIVIL: (Place a -.Jin one catqory only)

A.            Feiera/ Question Cases:                                                            ll-.   Diversity J11risiictio1t Cases:



B       1.
        2
              Indemnity Contract, Manne Contract, and All Other Contracts
              PELA                                                                              ••      l
                                                                                                        2
                                                                                                             Insurance Contract and Other Contracts
                                                                                                             Airplane Personal InJury
•       3   Jones Act-Personal In;ury
                                                                                                 •      3.   Assault, Defamallon
•       4.  Antitrust
                                                                                                   ••   4.   Marine Personal Injury

B
D
        5. Patent
        6. Labor-Management Relations
        7. Civil Rights
                                                                                                 ••
                                                                                                        5.
                                                                                                        6
                                                                                                        7.
                                                                                                             Motor V ehtcle Personal InJury
                                                                                                             Other Personal JnjUry (Please specify)
                                                                                                             Products Uabiht}'
•       8. Habeas Corpus
        9. Secunttes Act(s) Calles                                                                ••    8
                                                                                                        9.
                                                                                                             Products L1ab1hty - Asbestos
                                                                                                             All other Diversity Cases
        10. Social Security Review Cases                                                                      (Please specify)
        11. All other Federal Questmn Cases
            (Please specify) _ _ _ _ _RICO _ _ _ _ _ .



                                                                              ARBITRATION CERTIFICATION
                                                     (The effect of this certification 1s to remove !.he case jf'0111 elig1b,lity for arbilra/Jon.)

     .,,.;::.:;;c:,,..--S_t_e_w_a_rt_L_._C_o_h_e_n___,. counsel of record or pro SC: plamuff, do hereby certify•
                 suant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable m this c1v1I action case
              exceed the sum of$ l 50,000.00 exclusive ofmteresl and costs:

     D        Relief other than monetary damages 1s sought.                 \.
                                                                                                                  1
DATE:E/13/2019                                                   _d-t~J.tli( r-L-
                                                                             Allorney-at-l.aw I Pro Se Plaintiff
                                                                                                                                          t             2544_8_ _
                                                                                                                                                  Attorney ID.    # (if app/tca/Jle)


NOTE.. A !rial de novo will 'be a tnal by JUI)' only ,f1here has been comphancc Wlth        FR C.P. 38

Ctv 609 (512018)



                                                 \it \3 26\9
-·      Case 2:19-cv-05904-MMB Document 1 Filed 12/13/19 Page 322 of 322



                              IN THE CNITED STATES DISTRICT COlTRT
                          .FOR THE EASTER." DISTRICT O.F PKSNSYLVA.'~lA
                 ~   ..
                          CASE MANAGEMENT TRACK DESIGNATION .FOR..1\1
           Pubhc Service Insurance Company                                       CIVIL ACTION

                            V.

             Janssen Pharmaceuticals, Inc.
                                                                                   5904
                                                                                 NO.

     In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
     plamtiff shall complete a Case Management Track Designation Form in all civil cases at the tune of
     filmg the complaint and serve a copy on all defendants. (See§ I ·03 of the plan set forth on the reverse
     side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
     des1gnat1on, that defendant shall, with its first appearance, submit to the clerk of court and serve on
     the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
     to which that defendant believes the case should be assigned.

     SELECT ONE OF TIIE FOLLOWING CASE MA.~AGEMENT TRACKS:

     (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )

     (b) Social Security - Cases requesting review of a decision of the Secretary of Health
         and Human Services denymg plaintiff Social Security Benefits.                                   ( )

     (c) Arbitration - Cases required to be designated for arbitrat10n under Local CiVIl Rule 53.2.      ( )

     (d) Asbestos - Cases involving claims for personal injury or property damage from
         exposure to asbestos.                                                                           ( )

     (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
         commonly referred to as complex and that need special or mtense management by
         the court. (See reverse side of this form for a detailed explanation of special
         management cases.)

     (f) Standard ::v!anagement


       12/13/2019
     Date
       215-567-3500                          215-567-6019                     scohen@cprlaw.com

     Telephone                          FAX Number                           E-Mail Address


     (Civ. 660) 10/02




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